                 Case: 22-2071            Document: 4          Page: 1        Filed: 09/06/2022




                               UNITED STATES COURT OF APPEALS
                                  FOR THE FEDERAL CIRCUIT

MASIMO CORPORATION,
Patent Owner/Appellant
                                                                                   Appeal Nos. 2022-20691
v.                                                                                             2022-2070
                                                                                               2022-2071
                                                                                               2022-2072
APPLE INC.,
Petitioner/Appellee

Proceeding Nos.: IPR2021-00193, IPR2021-00195, IPR2021-00208 and IPR2021-00209
___________________________________________

                             NOTICE FORWARDING CERTIFIED LIST

         A Notice of Appeal to the United States Court of Appeals for the Federal Circuit was timely

filed July 27, 2022, in the United States Patent and Trademark Office in connection with the above

identified Inter Partes Review proceedings. Pursuant to 35 U.S.C. § 143, a Certified List is this day

being forwarded to the Federal Circuit.



                                      Respectfully submitted,

Date: September 1, 2022




                                          Under Secretary of Commerce for Intellectual Property and
                                          Director of the United States Patent and Trademark Office



1 Appeal No. 2022-2069 (Lead) is consolidated with Appeal Nos. 2022-2070, 2022-2071 and 2022-2072 (Members)

pursuant to Court Order (Dkt. 2) and Note to File (Dkt. 3) dated August 5, 2022.
              Case: 22-2071        Document: 4       Page: 2     Filed: 09/06/2022




                                 CERTIFICATE OF SERVICE

       The undersigned hereby certifies that a true and correct copy of the foregoing NOTICE

FORWARDING CERTIFIED LIST has been served, via electronic mail, on counsel for Appellant

and Appellee this 1st day of September, 2022, as follows:

  PATENT OWNER:                                             PETITIONER:

  Joseph R. Re                                              Lauren Ann Degnan
  Jeremiah Helm                                             Ashley Bolt
  Stephen C. Jensen                                         Christopher Dryer
  Jarom D. Kesler                                           Walter Karl Renner
  Stephen W. Larson                                         Adi Williams
  KNOBBE, MARTENS, OLSON & BEAR, LLP                        FISH & RICHARDSON PC
  joseph.re@knobbe.com                                      degnan@fr.com
  jeremiah.helm@knobbe.com                                  bolt@fr.com
  steve.jensen@knobbe.com                                   dryer@fr.com
  jarom.kesler@knobbe.com                                   renner@fr.com
  stephen.larson@knobbe.com                                 awilliams@fr.com
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                       U.S. DEPARTMENT OF COMMERCE
                      United States Patent and Trademark Office


                                                                        September 1, 2022
                                                                        (Date)


THIS IS TO CERTIFY that the attached document is a list of the papers that comprise the
record before the Patent Trial and Appeal Board (PTAB) for the Inter Partes Review proceeding
identified below.


                                      APPLE INC.,
                                       Petitioner,

                                             v.

                              MASIMO CORPORATION,
                                   Patent Owner.

                                   Case: IPR2021-00193
                                Patent No. 10,299,708 B1
                               By authority of the

                               DIRECTOR OF THE UNITED STATES
                               PATENT AND TRADEMARK OFFICE




                                                   Certifying Officer
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Prosecution History ~ IPR2021-00193


 Date       Document
 11/20/2020 Petition for Inter Partes Review
 11/20/2020 Petitioner’s Power of Attorney
 12/1/2020  Patent Owner’s Mandatory Notices
 12/8/2020  Notice of Filing Date Accorded to Petition
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 6/3/2021   Decision - Institution of Inter Partes Review
 6/3/2021   Scheduling Order
 6/17/2021  Patent Owner’s Objections to Petitioner’s Evidence Submitted Before Trial Institution
 7/9/2021   Petitioner’s Motion to File Supplemental Information
 7/13/2021  Order - Motion to Submit Supplemental Information
 7/19/2021  Petitioner’s Submission of Supplemental Information
 8/6/2021   Notice of Deposition - Kenny
 8/27/2021  Patent Owner’s Response to Petition
 8/27/2021  Patent Owner’s Exhibit List
 11/19/2021 Petitioner’s Reply to Patent Owner’s Response
 11/24/2021 Patent Owner’s Objections to Admissibility of Petitioner’s Evidence Served with
            Petitioner’s Reply
 12/14/2021 Petitioner’s Updated Mandatory Notices
 1/3/2022   Patent Owner’s Sur-Reply
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 6/1/2022   Final Written Decision
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                                      APPLE INC.,
                                       Petitioner,

                                             v.

                              MASIMO CORPORATION,
                                   Patent Owner.

                                   Case: IPR2021-00195
                                 Patent No. 10,376,190 B1
                               By authority of the

                               DIRECTOR OF THE UNITED STATES
                               PATENT AND TRADEMARK OFFICE




                                                   Certifying Officer
              Case: 22-2071      Document: 4      Page: 6     Filed: 09/06/2022

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 7/19/2021  Petitioner’s Submission of Supplemental Information
 8/6/2021   Notice of Deposition - Kenny
 8/20/2021  Notice of Stipulation to Modify Due Dates 1-3
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 9/2/2021   Patent Owner’s Exhibit List
 9/10/2021  Petitioner’s Objections to Evidence
 11/29/2021 Petitioner’s Reply to Patent Owner’s Response
 12/6/2021  Patent Owner’s Objections to Admissibility of Petitioner’s Evidence Submitted with
            Petitioner’s Reply
 12/14/2021 Petitioner’s Updated Mandatory Notices
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                       U.S. DEPARTMENT OF COMMERCE
                      United States Patent and Trademark Office


                                                                        September 1, 2022
                                                                        (Date)


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identified below.


                                      APPLE INC.,
                                       Petitioner,

                                             v.

                              MASIMO CORPORATION,
                                   Patent Owner.

                                   Case: IPR2021-00208
                                Patent No. 10,258,266 B1
                               By authority of the

                               DIRECTOR OF THE UNITED STATES
                               PATENT AND TRADEMARK OFFICE




                                                   Certifying Officer
              Case: 22-2071      Document: 4      Page: 8     Filed: 09/06/2022

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                                                                        September 1, 2022
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                                      APPLE INC.,
                                       Petitioner,

                                             v.

                              MASIMO CORPORATION,
                                   Patent Owner.

                                   Case: IPR2021-00209
                                 Patent No. 10,376,191 B1
                               By authority of the

                               DIRECTOR OF THE UNITED STATES
                               PATENT AND TRADEMARK OFFICE




                                                   Certifying Officer
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Trials@uspto.gov                                                 Paper 30
571-272-7822                                            Date: June 1, 2022



       UNITED STATES PATENT AND TRADEMARK OFFICE


        BEFORE THE PATENT TRIAL AND APPEAL BOARD


                             APPLE INC.,
                              Petitioner,
                                  v.
                       MASIMO CORPORATION,
                           Patent Owner.


                           IPR2021-00193
                         Patent 10,299,708 B1



Before JOSIAH C. COCKS, ROBERT L. KINDER, and
AMANDA F. WIEKER, Administrative Patent Judges.
KINDER, Administrative Patent Judge.



                            JUDGMENT
                       Final Written Decision
           Determining All Challenged Claims Unpatentable
                         35 U.S.C. § 318(a)
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IPR2021-00193
Patent 10,299,708 B1
                            I. INTRODUCTION
                               A. Background
      Apple Inc. (“Petitioner”) filed a Petition (Paper 2, “Pet.”) pursuant to
35 U.S.C. §§ 311–319 to institute an inter partes review of claims 1–29
(“challenged claims”) of U.S. Patent No. 10,299,708 B1 (Ex. 1001, “the
’708 patent”). We instituted the petitioned review (Paper 7, “Institution
Decision” or “Inst. Dec.”).
      Masimo Corporation (“Patent Owner”) filed a Patent Owner Response
(Paper 14, “PO Resp.”) to oppose the Petition. Petitioner filed a Reply
(Paper 16, “Pet. Reply”) to the Patent Owner Response. Patent Owner filed
a Sur-reply (Paper 19, “Sur-reply”) to the Reply. We conducted an oral
hearing on March 15, 2022. A transcript has been entered into the record
(Paper 29, “Tr.”).
      We have jurisdiction under 35 U.S.C. § 6(b)(4) and § 318(a). This
Decision is a final written decision under 35 U.S.C. § 318(a) and 37 C.F.R.
§ 42.73 as to the patentability of claims 1–29 of the ’708 patent. We
determine Petitioner has shown by a preponderance of the evidence that
those claims are unpatentable.

                              B. Related Matters
      The parties identify the following matters related to the ’708 patent:
      Masimo Corporation v. Apple Inc., Civil Action No. 8:20-cv-00048
(C.D. Cal.) (filed Jan. 9, 2020);
      Apple Inc. v. Masimo Corporation, IPR2020-01520 (PTAB Aug. 31,
2020) (challenging claims of U.S. Patent No. 10,258,265 B1);
      Apple Inc. v. Masimo Corporation, IPR2020-01521 (PTAB Sept. 2,
2020) (challenging claims of U.S. Patent No. 10,292,628 B1);

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      Apple Inc. v. Masimo Corporation, IPR2020-01523 (PTAB Sept. 9,
2020) (challenging claims of U.S. Patent No. 8,457,703 B2);
      Apple Inc. v. Masimo Corporation, IPR2020-01524 (PTAB Aug. 31,
2020) (challenging claims of U.S. Patent No. 10,433,776 B2);
      Apple Inc. v. Masimo Corporation, IPR2020-01526 (PTAB Aug. 31,
2020) (challenging claims of U.S. Patent No. 6,771,994 B2);
      Apple Inc. v. Masimo Corporation, IPR2020-01536 (PTAB Aug. 31,
2020) (challenging claims of U.S. Patent No. 10,588,553 B2);
      Apple Inc. v. Masimo Corporation, IPR2020-01537 (PTAB Aug. 31,
2020) (challenging claims of U.S. Patent No. 10,588,553 B2);
      Apple Inc. v. Masimo Corporation, IPR2020-01538 (PTAB Sept. 2,
2020) (challenging claims of U.S. Patent No. 10,588,554 B2);
      Apple Inc. v. Masimo Corporation, IPR2020-01539 (PTAB Sept. 2,
2020) (challenging claims of U.S. Patent No. 10,588,554 B2);
      Apple Inc. v. Masimo Corporation, IPR2020-01713 (PTAB Sept. 30,
2020) (challenging claims of U.S. Patent No. 10,624,564 B1);
      Apple Inc. v. Masimo Corporation, IPR2020-01714 (PTAB Sept. 30,
2020) (challenging claims of U.S. Patent No. 10,631,765 B1);
      Apple Inc. v. Masimo Corporation, IPR2020-01715 (PTAB Sept. 30,
2020) (challenging claims of U.S. Patent No. 10,631,765 B1);
      Apple Inc. v. Masimo Corporation, IPR2020-01716 (PTAB Sept. 30,
2020) (challenging claims of U.S. Patent No. 10,702,194 B1);
      Apple Inc. v. Masimo Corporation, IPR2020-01722 (PTAB Oct. 2,
2020) (challenging claims of U.S. Patent No. 10,470,695 B2);
      Apple Inc. v. Masimo Corporation, IPR2020-01723 (PTAB Oct. 2,
2020) (challenging claims of U.S. Patent No. 10,470,695 B2);



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      Apple Inc. v. Masimo Corporation, IPR2020-01733 (PTAB Sept. 30,
2020) (challenging claims of U.S. Patent No. 10,702,195 B1);
      Apple Inc. v. Masimo Corporation, IPR2020-01737 (PTAB Sept. 30,
2020) (challenging claims of U.S. Patent No. 10,709,366 B1)
      Apple Inc. v. Masimo Corporation, IPR2021-00195 (PTAB Nov. 20,
2020) (challenging claims of U.S. Patent No. 10,376,190 B1);
      Apple Inc. v. Masimo Corporation, IPR2021-00208 (PTAB Nov. 20,
2020) (challenging claims of U.S. Patent No. 10,258,266 B1); and
      Apple Inc. v. Masimo Corporation, IPR2021-00209 (PTAB Nov. 20,
2020) (challenging claims of U.S. Patent No. 10,376,191 B1).
Pet. 97–98; Paper 3, 3–4.
      Patent Owner further identifies the following pending patent
applications, among other issued and abandoned applications, that claim
priority to, or share a priority claim with, the ’708 patent:
      U.S. Patent Application No. 16/834,538;
      U.S. Patent Application No. 17/031,407;
      U.S. Patent Application No. 17/031,316;
      U.S. Patent Application No. 17/031,356;
      U.S. Patent Application No. 16/449,143; and
      U.S. Patent Application No. 16/805,605.
Paper 3, 2–3.

                              C. The ’708 Patent
      The ’708 patent is titled “Multi-Stream Data Collection System for
Noninvasive Measurement of Blood Constituents,” and issued on May 28,
2019, from U.S. Patent Application No. 16/261,366, filed Jan. 29, 2019.
Ex. 1001, codes (21), (22), (45), (54). The ’708 patent claims priority


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through a series of continuation and continuation-in-part applications to
Provisional Application Nos. 61/078,228 and 61/078,207, both filed July 3,
2008. Id. at codes (60), (63).
      The ’708 patent discloses a two-part data collection system including
a noninvasive sensor that communicates with a patient monitor. Id. at 2:31–
33. The sensor includes a sensor housing, an optical source, and several
photodetectors, and is used to measure a blood constituent or analyte, e.g.,
oxygen or glucose. Id. at 2:22–28, 2:57–58. The patient monitor includes a
display and a network interface for communicating with a handheld
computing device. Id. at 2:38–40.
      Figure 1 of the ’708 patent is reproduced below.




Figure 1 illustrates a block diagram of data collection system 100 including
sensor 101 and monitor 109. Id. at 11:36–47. Sensor 101 includes optical
emitter 104 and detectors 106. Id. at 11:48–52. Emitters 104 emit light that


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is attenuated or reflected by the patient’s tissue at measurement site 102. Id.
at 13:60–67. Detectors 106 capture and measure the light attenuated or
reflected from the tissue. Id. In response to the measured light,
detectors 106 output detector signals 107 to monitor 109 through front-end
interface 108. Id. at 13:64–66, 14:16–22. Sensor 101 also may include
tissue shaper 105, which may be in the form of a convex surface that: (1)
reduces the thickness of the patient’s measurement site; and (2) provides
more surface area from which light can be detected. Id. at 10:61–11:3.
      Monitor 109 includes signal processor 110 and user interface 112. Id.
at 15:6–8. “[S]ignal processor 110 includes processing logic that determines
measurements for desired analytes . . . based on the signals received from
the detectors.” Id. at 15:10–14. User interface 112 presents the
measurements to a user on a display, e.g., a touch-screen display. Id. at
15:38–48. The monitor may be connected to storage device 114 and
network interface 116. Id. at 15:52–16:3.
      The ’708 patent describes various examples of sensor devices.
Figures 14D and 14F, reproduced below, illustrate sensor devices.




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Figure 14D illustrates portions of a detector submount and Figure 14F
illustrates portions of a detector shell. Id. at 6:34–37. As shown in
Figure 14D, multiple detectors 1410c are located within housing 1430 and
under transparent cover 1432, on which protrusion 605b (or partially
cylindrical protrusion 605) is disposed. Id. at 35:23–25, 36:17–24.
Figure 14F illustrates a detector shell 306f including detectors 1410c on
substrate 1400c. Id. at 36:63–37:4. Substrate 1400c is enclosed by shielding
enclosure 1490 and noise shield 1403, which include window 1492a and
window 1492b, respectively, placed above detectors 1410c. Id.
Alternatively, cylindrical housing 1430 may be disposed under noise
shield 1403 and may enclose detectors 1410c. Id. at 37:34–36.
      Figures 4A and 4B, reproduced below, illustrate an alternative
example of a tissue contact area of a sensor device.




Figures 4A and 4B illustrate arrangements of protrusion 405 including
measurement contact area 470. Id. at 23:8–14. “[M]easurement site contact
area 470 can include a surface that molds body tissue of a measurement
site.” Id. “For example, . . . measurement site contact area 470 can be
generally curved and/or convex with respect to the measurement site.” Id. at
23:31–33. The measurement site contact area may include windows 420–



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423 that “mimic or approximately mimic a configuration of, or even house, a
plurality of detectors.” Id. at 23:39–53.

                             D. Illustrative Claim
      Of the challenged claims, claims 1 and 19 are independent. Claim 1 is
illustrative and is reproduced below.
      1. A noninvasive optical physiological sensing system
      comprising:
          [a] a platform including a planar surface;
         [b] a housing including a raised edge portion extending from
      and enclosing at least a portion of the planar surface;
          [c] at least four detectors arranged on the planar surface of the
      platform and within the housing, wherein the at least four
      detectors are arranged in a grid pattern such that a first detector
      and a second detector are arranged across from each other on
      opposite sides of a central point along a first axis, and a third
      detector and a fourth detector are arranged across from each other
      on opposite sides of the central point along a second axis which
      is perpendicular to the first axis; and
          [d] the housing including a protruding light permeable cover.
Ex. 1001, 44:36–50 (bracketed identifiers [a]–[d] added). Independent
claim 19 includes limitations similar to limitations [a]–[d] of claim 1 but
also requires distinct limitations discussed more below. Id. at 45:53–46:11
(reciting a “platform,” “at least four detectors,” and a “light permeable cover
. . . protruding above the raised wall”).




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Patent 10,299,708 B1
                           E.    Evidence Relied Upon
         Petitioner relies on the following references:
Reference                   Publication/Patent Number                     Exhibit
Aizawa     U.S. Patent Application Publication No.                        1006
           2002/0188210 A1, filed May 23, 2002, published
           December 12, 2002.
Inokawa    Japanese Patent Application Publication No. 2006-              1007,
           296564 A, filed April 18, 2005, published                      10081
           November 2, 2006.
Ohsaki     U.S. Patent Application Publication No.                        1014
           2001/0056243 A1, filed May 11, 2001, published
           December 27, 2001.
Mendelson- “A Wearable Reflectance Pulse Oximeter for                     1016
2006       Remote Physiological Monitoring,” Proceedings of
           the 28th IEEE EMBS Annual International
           Conference, 912–915 (2006).
Beyer      U.S. Patent No. 7,031,728 B2 issued April 18,                  1019
           2006.
Goldsmith U.S. Patent Application Publication No.                         1027
           2007/0093786 A1, filed July 31, 2006, published
           April 26, 2007.
Lo         U.S. Patent Application Publication No.                        1028
           2004/0138568 A1, filed June 15, 2003, published
           July 15, 2004.
Mendelson- “Design and Evaluation of a New Reflectance Pulse              1015
1988       Oximeter Sensor,” Worcester Polytechnic
           Institution, Biomedical Engineering Program,
           Worcester, MA 01609; Association for the
           Advancement of Medical Instrumentation, Vol. 22,
           No. 4, 1988, 167–173.

Pet. 1–2.
         Petitioner also relies on the declaration testimony of Thomas W.
Kenny, Ph.D. (Exhibits 1003 and 1047). Patent Owner relies on the


1
    Exhibit 1008 is an English translation of Exhibit 1007.

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declaration testimony of Vijay K. Madisetti, Ph.D. (Exhibit 2004). The
parties also provide deposition testimony from Dr. Kenny and Dr. Madisetti,
including from this and other proceedings. See Exs. 1034–1036, 2006–
2009, 2027.

                          F.         Asserted Grounds
      We instituted an inter partes review based on the following grounds:
 Claim(s) Challenged      35 U.S.C. §                    References/Basis
1–9, 11, 13–15, 19–22,
                                103           Aizawa, Inokawa
24–27
1–9, 11, 13–15, 19–22,
24–27                           103           Aizawa, Inokawa, Ohsaki

16, 27, 28                      103           Aizawa, Inokawa, Mendelson-2006
                                              Aizawa, Inokawa, Mendelson-2006,
17, 18, 29                      103
                                              Beyer
16–18, 27–29                    103           Aizawa, Inokawa, Goldsmith, Lo
10                              103           Aizawa, Inokawa, Al-Ali
1–9, 11–15, 19–26               103           Mendelson-1988, Inokawa
                                              Mendelson-1988, Inokawa,
16, 27, 28                      103
                                              Mendelson-2006
                                              Mendelson-1988, Inokawa,
17, 18, 29                      103
                                              Mendelson-2006, Beyer

                               II.     ANALYSIS
                          A.         Principles of Law
      A claim is unpatentable under 35 U.S.C. § 103 if “the differences
between the subject matter sought to be patented and the prior art are such
that the subject matter as a whole would have been obvious at the time the
invention was made to a person having ordinary skill in the art to which said
subject matter pertains.” KSR Int’l Co. v. Teleflex Inc., 550 U.S. 398, 406

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(2007). The question of obviousness is resolved on the basis of underlying
factual determinations, including (1) the scope and content of the prior art;
(2) any differences between the claimed subject matter and the prior art;
(3) the level of skill in the art; and (4) objective evidence of non-
obviousness.2 Graham v. John Deere Co., 383 U.S. 1, 17–18 (1966). When
evaluating a combination of teachings, we must also “determine whether
there was an apparent reason to combine the known elements in the fashion
claimed by the patent at issue.” KSR, 550 U.S. at 418 (citing In re Kahn,
441 F.3d 977, 988 (Fed. Cir. 2006)). Whether a combination of prior art
elements would have produced a predictable result weighs in the ultimate
determination of obviousness. Id. at 416–417.
      In an inter partes review, the petitioner must show with particularity
why each challenged claim is unpatentable. Harmonic Inc. v. Avid Tech.,
Inc., 815 F.3d 1356, 1363 (Fed. Cir. 2016); 37 C.F.R. § 42.104(b). The
burden of persuasion never shifts to Patent Owner. Dynamic Drinkware,
LLC v. Nat’l Graphics, Inc., 800 F.3d 1375, 1378 (Fed. Cir. 2015).
      We analyze the challenges presented in the Petition in accordance
with the above-stated principles.

                   B.     Level of Ordinary Skill in the Art
      Petitioner identifies the appropriate level of skill in the art as that
possessed by a person having “a Bachelor of Science degree in an academic
discipline emphasizing the design of electrical, computer, or software
technologies, in combination with training or at least one to two years of
related work experience with capture and processing of data or information,

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  The parties do not present objective evidence of non-obviousness based on
the final record.

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including but not limited to physiological monitoring technologies.” Pet. 4–
5 (citing Ex. 1003 ¶¶ 21–22). “Alternatively, the person could have also had
a Master of Science degree in a relevant academic discipline with less than a
year of related work experience in the same discipline.” Id.
      Patent Owner does not challenge using Petitioner’s asserted level of
skill, but notes that “asserted level of skill (1) requires no coursework,
training or experience with optics or optical physiological monitors;
(2) requires no coursework, training or experience in physiology; and
(3) focuses on data processing and not sensor design.” PO Resp. 9–10
(citing Pet. 4–5; Ex. 2004 ¶¶ 35–38).
      We adopt Petitioner’s assessment for the person of ordinary skill in
the art (“POSITA”) as set forth above, which appears consistent with the
level of skill reflected in the Specification and prior art.

                           C.     Claim Construction
      For petitions filed on or after November 13, 2018, a claim shall be
construed using the same claim construction standard that would be used to
construe the claim in a civil action under 35 U.S.C. § 282(b). 37 C.F.R.
§ 42.100(b) (2019). Although both parties contend that no claim term
requires express construction (Pet. 4; PO Resp. 9), the substance of the
parties’ briefing demonstrates that there is a dispute regarding the claim term
“cover.”

      1. “cover”
      Each of independent claims 1 and 19 requires “a light permeable
cover.” Ex. 1001, 44:50, 46:10.




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      Patent Owner argues that the claimed “cover” excludes “an optically
clear adhesive/epoxy” and a “resin on a surface.” PO Resp. 45–47.
According to Patent Owner, “the ’708 Patent distinguishes a resin on a
surface from a cover, explaining: ‘the cylindrical housing 1430 (and
transparent cover 1432) . . . can protect the detectors 1410c and conductors
1412c more effectively than currently-available resin epoxies.’” Id. at 45
(quoting Ex. 1001, 36:37–46).
      Patent Owner alleges that Dr. Kenny also “distinguished a sealing
resin from a cover, acknowledging a ‘layer of sealing resin’ is ‘one way to
protect the components without using a cover.’” Id. at 45–46 (quoting
Ex. 2009, 395:22–396:17). Patent Owner argues its understanding is
consistent with the prior art cited by Petitioner. Id. at 46 (citing Ex. 1008
¶ 103, Fig. 17; Ex. 1023 ¶ 35; Ex. 1012, 5:2–6, Fig. 2B; Ex. 1013 ¶ 32, Fig.
2; Ex. 1027 ¶ 85, Fig. 9B; Ex. 2004 ¶ 104).
      Petitioner replies that “there is nothing in the specification or the
prosecution history [of the ’708 patent] that would lead a [person of ordinary
skill in the art] to conclude that ‘cover’ should be interpreted based on
anything other than its plain meaning.” Pet. Reply 21 (citing Thorner v.
Sony Computer Entertainment America LLC, 669 F.3d 1362, 1368 (Fed. Cir.
2012)). That plain meaning, according to Petitioner, is that “a cover is
merely ‘something that protects, shelters, or guards.’” Id. at 21 (quoting
Ex. 1050; citing Pet. 74–75; Ex. 1047 ¶ 43). Petitioner argues that Patent
Owner’s reliance on the ’708 patent Specification takes text out of context
and, when context is considered, it is clear that “the epoxy resin to which the
’708 patent compares its cover is not [an] epoxy cover . . . but rather epoxy
that is applied to solder joints.” Id. at 21–22 (citing Ex. 1001, 36:37–46;
Ex. 1047 ¶ 45).

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        Petitioner also contends that Patent Owner “mischaracterizes
Dr. Kenny’s deposition testimony to say he agreed that ‘sealing resin’ is
somehow distinguished from a cover.” Id. at 21. Petitioner contends that
Dr. Kenny simply “clarified that using a sealing resin is ‘a pretty common
way to protect electronic components.’” Id. (citing Ex. 2009, 395:22–
396:17; Ex. 1047 ¶ 44). Moreover, Petitioner contends that “such extrinsic
evidence would not justify departure from plain meaning under Thorner.”
Id.
        In its Sur-reply, Patent Owner maintains that the ’708 patent
“specifically distinguishes a ‘resin’ on a surface from a ‘cover,’” and
Petitioner’s opposing reading is not persuasive. Sur-reply 19–21.
        Upon review of the record, we disagree with Patent Owner’s limiting
construction of “cover” to exclude epoxy and resin. The plain and ordinary
meaning of the term does not support Patent Owner’s view. A “cover”
ordinarily connotes “something that protects, shelters, or guards.”
Ex. 1050,3 288. That plain and ordinary meaning is consistent with the
’708 patent’s description of “flex circuit cover 360, which can be made of
plastic or another suitable material . . . [and] can cover and thereby protect a
flex circuit (not shown).” Ex. 1001, 22:63–65. It also is consistent with the
’708 patent’s description and illustration of “transparent cover 1432” in
Figure 14D, which covers and protects detectors 1410c and
conductors 1412c, and which “can be fabricated from glass or plastic, among
other materials.” See id. at 36:23–32 (emphasis added), Figs. 14D–14E.
        This is not the situation in which a special definition for a claim term
has been set forth in the specification with reasonable clarity, deliberateness,


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    Merriam-Webster’s Collegiate Dictionary, 11th ed. (©2005).

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and precision, so as to give notice of the inventor’s own lexicography. See
Merck & Co. v. Teva Pharms. USA, Inc., 395 F.3d 1364, 1370 (Fed. Cir.
2005); In re Paulsen, 30 F.3d 1475, 1480 (Fed. Cir. 1994). Nor do we
discern that Patent Owner “demonstrate[d] an intent to deviate from the
ordinary and accustomed meaning of a claim term by including in the
specification expressions of manifest exclusion or restriction, representing a
clear disavowal of claim scope.” Teleflex, Inc. v. Ficosa North America
Corp., 299 F.3d 1313, 1325 (Fed. Cir. 2002).
      Here, based upon our review of the intrinsic evidence, no such special
definition or express disavowal of the term “cover” to exclude epoxy and
resin exists. Patent Owner relies on the following description of Figure 14D
in that regard:
      In certain embodiments, the cylindrical housing 1430 (and
      transparent cover 1432) forms an airtight or substantially airtight
      or hermetic seal with the submount 1400c. As a result, the
      cylindrical housing 1430 can protect the detectors 1410c and
      conductors 1412c from fluids and vapors that can cause
      corrosion. Advantageously, in certain embodiments, the
      cylindrical housing 1430 can protect the detectors 1410c and
      conductors 1412c more effectively than currently-available resin
      epoxies, which are sometimes applied to solder joints between
      conductors and detectors.
Ex. 1001, 36:37–46 (emphases added). First, the sentence cited by Patent
Owner begins with the phrase “[i]n certain embodiments,” which indicates
the claimed invention is not limited and is open to other embodiments, so
there is no lexicography or disavowal here. Second, we agree with
Petitioner’s reading of this passage as distinguishing the prior art from the
claimed invention based on the location of the material (applied only to
solder joints between conductors and detectors in the prior art, as opposed to
covering the conductors and detectors in the invention) and not the type of

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material. Third, at best, the ’708 patent expresses a preference for a cover to
be made of glass or plastic, because such materials provide “more
effective[]” protection than resin epoxies that were known when the ’708
patent was filed. See id. at 36:39–45. But even this reading recognizes that
resin epoxies provide some amount of protection, albeit perhaps a lesser
amount than glass or plastic, and are not excluded from forming the material
of a cover.
      Dr. Kenny’s deposition testimony cited by Patent Owner also does not
persuade us that, in the context of the ’708 patent, epoxy or resin is excluded
from the material of a cover. Dr. Kenny testifies that “a layer of sealing
resin” “[c]ould” be used to protect the electronic components in a sensor
(Ex. 2009, 395:22–396:8). He was then asked “So that would be one way to
protect the components without using a cover, correct?” to which he
answered “[t]here are many ways to protect the elements other than using a
cover” and maintained that the proposed combination of prior art has a
“cover” to achieve purposes other than protecting electronic components,
i.e., “to improve adhesion and to improve light gathering for the operation of
the system.” Id. at 396:9–17. He did not squarely testify that sealing resin
may never be a cover.
      Accordingly, in the context of the ’708 patent, we do not construe the
claimed “cover” to exclude epoxy and resin.

      2. Other Claim Terms
      Upon consideration of the entirety of the arguments and evidence
presented, we conclude no further explicit construction of any claim term is
needed to resolve the issues presented by the arguments and evidence of
record. See Nidec Motor Corp. v. Zhongshan Broad Ocean Motor Co.


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Matal, 868 F.3d 1013, 1017 (Fed. Cir. 2017) (per curiam) (claim terms need
to be construed “only to the extent necessary to resolve the controversy”
(quoting Vivid Techs., Inc. v. Am. Sci. & Eng’g, Inc., 200 F.3d 795, 803
(Fed. Cir. 1999))).

                D.         Obviousness over Aizawa and Inokawa
      Petitioner contends that claims 1–9, 11, 13–15, 19–22, and 24–27 of
the ’708 patent would have been obvious over the combined teachings of
Aizawa and Inokawa. Pet. 7–40.

                      1.      Overview of Aizawa (Ex. 1006)
      Aizawa is a U.S. patent application publication titled “Pulse Wave
Sensor and Pulse Rate Detector,” and discloses a pulse wave sensor worn on
a user’s wrist that detects light output from a light emitting diode and
reflected from a patient’s artery. Ex. 1006, codes (54), (57).
      Figure 1(a) of Aizawa is reproduced below.




Figure 1(a) is a plan view of a pulse wave sensor. Id. ¶ 23. As shown in
Figure 1(a), pulse wave sensor 2 includes light emitting diode (“LED”) 21,
four photodetectors 22 symmetrically disposed around LED 21, and
holder 23 for storing LED 21 and photodetectors 22. Id. Aizawa discloses

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that, “to further improve detection efficiency, . . . the number of the
photodetectors 22 may be increased.” Id. ¶ 32, Fig. 4(a). “The same effect
can be obtained when the number of photodetectors 22 is 1 and a plurality of
light emitting diodes 21 are disposed around the photodetector 22.” Id. ¶ 33.
      Figure 1(b) of Aizawa is reproduced below.




Figure 1(b) is a sectional view of the pulse wave sensor. Id. ¶ 23. As shown
in Figure 1(b), pulse wave sensor 2 includes drive detection circuit 24 for
detecting a pulse wave by amplifying the outputs of photodetectors 22. Id.
Arithmetic circuit 3 computes a pulse rate from the detected pulse wave and
transmitter 4 transmits the pulse rate data to an “unshown display.” Id. The
pulse rate detector further includes outer casing 5 for storing pulse wave
sensor 2, acrylic transparent plate 6 mounted to detection face 23a of holder
23, and attachment belt 7. Id.
      Aizawa discloses that LED 21 and photodetectors 22 “are stored in
cavities 23b and 23c formed in the detection face 23a” of the pulse wave
sensor. Id. ¶ 24. Detection face 23a “is a contact side between the holder 23
and a wrist 10, respectively, at positions where the light emitting face 21s of
the light emitting diode 21 and the light receiving faces 22s of the
photodetectors 22 are set back from the above detection face 23a.” Id.


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Aizawa discloses that “a subject carries the above pulse rate detector 1 on
the inner side of his/her wrist 10 . . . in such a manner that the light emitting
face 21s of the light emitting diode 21 faces down (on the wrist 10 side).”
Id. ¶ 26. Acrylic transparent plate 6 is disposed between holder 23 and the
user’s wrist 10. Id. ¶¶ 23, 26, 30. Furthermore, “belt 7 is fastened such that
the acrylic transparent plate 6 becomes close to the artery 11 of the wrist
10.” Id. ¶ 26. “Since the acrylic transparent plate 6 is provided on the
detection face 23a of the holder 23, adhesion between the pulse rate
detector 1 and the wrist 10 can be improved, thereby further improving the
detection efficiency of a pulse wave.” Id. ¶ 30.

                    2.     Overview of Inokawa (Ex. 1008)
      Inokawa is a Japanese published patent application titled “Optical
Vital Sensor, Base Device, Vital Sign Information Gathering System, and
Sensor Communication Method,” and discloses a pulse sensor device that
may be worn on a user’s wrist. Ex. 1008, code (54), ¶ 56. 4




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 Exhibit 1008 is an English translation of Exhibit 1007. In this Decision, all
citations are to the English translation.

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      Figure 1 of Inokawa is reproduced below.




Figure 1 illustrates a perspective view of a pulse sensor. Id. ¶ 56. Pulse
sensor 1 includes box-shaped sensor unit 3 and flexible annular wristband 5.
Id. ¶ 57. Sensor unit 3 includes a top surface with display 7 and control
switch 9, and a rear surface (sensor-side) with optical device component 11
for optically sensing a user’s pulse. Id.
      Figure 2 of Inokawa is reproduced below.




Figure 2 illustrates a schematic view of the rear surface of the pulse sensor.
Id. ¶ 58. The rear-side (sensor-side) of pulse sensor 1 includes a pair of


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light-emitting elements, i.e., green LED5 21 and infrared LED 23, as well as
photodiode 25 and lens 27. Id. In various embodiments, Inokawa discloses
that the sensor-side lens is convex. See id. ¶¶ 99, 107. Green LED 21
senses “the pulse from the light reflected off of the body (i.e.[,] change in the
amount of hemoglobin in the capillary artery),” and infrared LED 23 senses
body motion from the change in reflected light. Id. ¶ 59. The pulse sensor
stores this information in memory. Id. ¶ 68. To read and store information,
the pulse sensor includes a CPU that “performs the processing to sense
pulse, body motion, etc. from the signal . . . and temporarily stores the
analysis data in the memory.” Id. ¶ 69.
        Pulse sensor 1 includes lens 27, which “makes it possible to increase
the light-gathering ability of the LED as well as to protect the LED or
PD[6].” Id. ¶¶ 15, 58. Pulse sensor 1 also uses LEDs 21 and 23 to download
data to a base station, as shown in Figure 3, reproduced below.




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    We understand “LED” to be an acronym for “light emitting diode.”
6
    We understand “PD” to be an acronym for “photodiode.”

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Figure 3 illustrates a schematic view of a pulse sensor mounted to a base
device. Id. ¶ 60. Pulse sensor 1 is depicted as mounted to base device 17,
which “is a charger with communication functionality.” Id. When so
mounted, sensor optical device component 11 and base optical device
component 41 face each other in close proximity. Id. ¶ 66. In this position,
pulse sensor 1 can output information to the base device through the coupled
optical device components. Id. ¶ 67. Specifically, the pulse sensor CPU
performs the controls necessary to transmit pulse information using infrared
LED 23 to photodetector 45 of base device 17. Id. ¶¶ 67, 70, 76. In an
alternative embodiment, additional sensor LEDs and base photodetectors can
be used to efficiently transmit data and improve accuracy. Id. ¶ 111.




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                            3. Independent Claim 1
       Petitioner contends that claim 1 would have been obvious over the
combined teachings of Aizawa and Inokawa. Pet. 12–16 (combination), 16–
24 (claim 1).

                    i.   “A noninvasive optical physiological sensing system
                         comprising:”
       Based on the final record, the cited evidence supports Petitioner’s
undisputed contention that Aizawa discloses a measurement device, i.e., a
pulse sensor worn on a wearer’s wrist. Pet. 16; see, e.g., Ex. 1006 ¶ 2 (“[A]
pulse wave sensor for detecting the pulse wave of a subject from light
reflected from a red corpuscle in the artery of a wrist of the subject by
irradiating the artery of the wrist with light.”).

                  ii.    [a] “a platform including a planar surface;”
       The cited evidence supports Petitioner’s undisputed contention that
Aizawa discloses holder 23 for storing light emitting diode 21 and
photodetectors 22 and a platform including a planar surface on which holder
23 is placed. Pet. 17–18; see, e.g., Ex. 1006 ¶ 23 (“LED 21 . . . for emitting
light having a wavelength of a near infrared range”), Figs. 1(a)–(b).
Petitioner provides the following annotated Figure 1(b) depicting the planar
surface in brown.




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Pet. 18. Annotated Figure 1(b) depicts Aizawa’s sensor with the platform
with a planar surface depicted in brown. Id. Petitioner contends that a
person of ordinary skill in the art “would have understood that the various
electronic components of Aizawa, including its detectors and emitter, are
positioned within the holder 23 and further connected, through the identified
platform that supports the holder 23, to a drive circuit 24 on the other side of
the holder/platform.” Id. (citing Ex. 1006 ¶ 23; Ex. 1003 ¶ 75).

                 iii.   [b] “a housing including a raised edge portion
                        extending from and enclosing at least a portion of the
                        planar surface”
      The cited evidence supports Petitioner’s undisputed contention that
Aizawa discloses holder 23, which includes a flat surface and a circular
raised edge extending from the surface. Pet. 19; see, e.g., Ex. 1006 ¶ 23
(“holder 23 for storing . . . light emitting diode 21 and the
photodetectors 22”), Figs. 1(a)–(b) (depicting holder 23 surrounding each
detector 22); Ex. 1003 ¶¶ 76–77. Petitioner provides annotated versions of
Aizawa’s Figures 1(a) and 1(b), which are reproduced below.




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Pet. 19–20. Figures 1(a) and 1(b) depict side and top views of Aizawa’s
sensor with the housing depicted in red (holder 23), the raised edge depicted
in purple, and the planar surface depicted in brown. Id.

                 iv.    [c] “at least four detectors arranged on the planar
                        surface of the platform and within the housing,
                        wherein the at least four detectors are arranged in a
                        grid pattern such that a first detector and a second
                        detector are arranged across from each other on
                        opposite sides of a central point along a first axis, and
                        a third detector and a fourth detector are arranged
                        across from each other on opposite sides of the


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                        central point along a second axis which is
                        perpendicular to the first axis; and”
      The cited evidence supports Petitioner’s undisputed contention that
Aizawa discloses at least four detectors 22 that are disposed around light
emitting diode 21 symmetrically in a perpendicular grid pattern around light
emitting diode 21. Pet. 20–21; see, e.g., Ex. 1006 ¶ 23 (“drive detection
circuit 24 for detecting a pulse wave by amplifying the outputs of the
photodetectors 22”), Fig. 1(a) (depicting detectors 22 spaced apart around
LED 21 in a symmetric grid pattern), Fig. 1(b) (depicting detectors 22
connected to a drive circuit 24 on the other side of the housing), ¶ 28 (“the
amplified output is converted into a digital signal for the computation of a
pulse rate”); Ex. 1003 ¶¶ 78–80.
      Petitioner provides annotated Figure 1(a) of Aizawa showing how the
four detectors “are arranged relative to a central point and first/second axes
in the manner claimed, with the first/second axes being perpendicular to
each other.” Pet. 22.




Pet. 22. Annotated Figure 1(a) depicts four detectors (in red) arranged in a
grid pattern such that the first and second detector form a first axis that is




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perpendicular to a second axis formed by the third and fourth detectors. Id.
We find Petitioner’s showing persuasive based on the final record.

                  v.    [d] “the housing including a protruding light
                        permeable cover.”
                           (1)   Petitioner’s Contentions
      Petitioner contends that the cited evidence discloses this limitation.
Pet. 12–16, 22–24. Specifically, Petitioner contends that Aizawa discloses a
protruding cover in the form of an “acrylic transparent plate” mounted over
at least a portion of the housing and to cover the at least four detectors. Id.
at 22; Ex. 1006 ¶¶ 23, 34 (“[A]crylic transparent plate 6 is provided on the
detection face 23a of the holder 23 to improve adhesion to the wrist 10.”),
Fig. 1(b) (depicting flat, transparent plate 6 between sensor 2 and wrist 10);
Ex. 1003 ¶ 83 (“Because the light permeable cover of Aizawa . . . protrudes
from the rest of the housing and is designed to be pressed into the skin when
worn, it is protruding—and is thus a protruding light permeable cover.”).
      Petitioner further contends that Inokawa also teaches a protruding
light permeable cover and provides motivation for incorporating such a
cover into Aizawa. Pet. 13, 23. Specifically, Inokawa’s lens 27 is
positioned between its sensor and the wearer’s skin, which increases the
light gathering ability of the sensor. Id. at 13, 23; see, e.g., Ex. 1008 ¶¶ 15
(“This lens makes it possible to increase the light-gathering ability of the
LED as well as to protect the LED or PD.”), 58 (disclosing “a single
photodiode (S-side PD) 25 that receives the reflected light from these
[LEDs], and an S-side lens 27”), Fig. 2.
      In light of these teachings, Petitioner contends that a person of
ordinary skill in the art “would have found it obvious to modify the flat


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acrylic plate of Aizawa, as illustrated below, to further Aizawa’s objective of
enhancing light-collection efficiency,” i.e., “by modifying the light
permeable cover of Aizawa to include a convex protrusion that acts as a
lens.” Pet. 13, 23–24.




Pet. 14–15, 23–24; Ex. 1006 ¶¶ 13 (explaining that transparent plate 6 seeks
to “improve adhesion” and “improve the detection efficiency of pulse
waves”), 30 (same); Ex. 1008 ¶ 15; Ex. 1003 ¶¶ 82–87. Petitioner’s
annotated and modified Figures depict Aizawa’s sensor including its flat
transparent plate (left) and a modified version of Aizawa’s sensor in which
the plate includes a convex protrusion. Pet. 14, 24.
      Petitioner contends this modification would have enjoyed a reasonable
expectation of success because, for example, Inokawa teaches that the cover
may be flat, like that of Aizawa, to reduce scratches, or in the form of a lens,
as in Petitioner’s proposed modification, to increase light gathering ability.
Id. at 14–16; see, e.g., Ex. 1008 ¶¶ 15 (“This lens makes it possible to
increase the light-gathering ability.”), 106 (“[B]ecause the surface of the
covers 123, 131 is flat, the surface is less prone to scratches than when the
lens protrudes.”); Ex. 1003 ¶ 88.




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                           (2)    Patent Owner’s Response
      Patent Owner counters, arguing Aizawa alone “does not ‘[disclose] a
protruding light permeable cover,’ as required by claim 1.” PO Resp. 15.
According to Patent Owner, Petitioner has presented conflicting
interpretations and assertions as to whether Aizawa’s transparent plate (6)
protrudes from holder (23). Id. (citing Pet. 9; Ex. 2004 ¶ 49). Patent Owner
explains that “Petitioner’s argument depends on arbitrarily changing
Petitioner’s identification of the ‘housing’ from (1) merely the holder
(23) . . . to (2) the holder (23) and the transparent plate (6).” Id. at 14.
However, Patent Owner argues that even if transparent plate (6) is part of the
“housing,” “there is no protrusion, as required by claim 1—the transparent
plate (6) merely forms a flat face on the ‘housing.’” Id. at 15.
      Patent Owner does not dispute that Inokawa discloses such a
protruding light permeable cover, but does argue that Petitioner has not
shown that a person of ordinary skill in the art would have been motivated to
combine Inokawa’s convex lens with Aizawa’s sensor. PO Resp. 15–35.
According to Patent Owner, “neither Petitioner nor Dr. Kenny explains why
a POSITA would have believed that Inokawa’s convex lens, which
concentrates light to a central detector, would enhance light collection in
Aizawa’s sensor (and the illustrated combination) with peripheral detectors.”
Id. at 14 (emphasis omitted). Rather, Patent Owner argues that “Petitioner,
Dr. Kenny, and the ’708 Patent all agree that a POSITA would have
understood that Inokawa’s protruding surface would direct incoming light
towards the center of the sensor,” which “undermines Petitioner’s proposed
combination because Aizawa’s detectors are located at the periphery of the
sensor.” Id. at 19. Patent Owner explains that “a POSITA would have
believed that Inokawa’s protruding surface would direct light away from the

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periphery-located detectors.” Id. at 20 (citing Ex. 2004 ¶¶ 42–43, 50–59).
As such, “a POSITA would have believed that a protruding surface would
have undesirably decreased light-collection efficiency at Aizawa’s
peripheral detectors, reducing the measured optical signal.” Id. (citing
Ex. 1006 ¶¶ 26, 30; Ex. 2004 ¶ 60). Patent Owner further argues that the
’708 patent illustrates how a protruding convex surface focuses light away
from the periphery and towards the center. Id. at 23–24 (citing Ex. 1001,
Fig. 14B).
      Patent Owner contends that Dr. Kenny’s testimony to the contrary is
either contradictory or unsupported. Patent Owner writes that “Dr. Kenny
admitted ‘one of ordinary skill in the art would expect a diffuse light source
encountering a convex lens of the sort that we’re contemplating today,
would lead to convergence of the light on the opposite side of the lens, in
general’ and that there would be ‘a convergence of most of the light rays.’”
Id. at 24 (citing Ex. 2007, 423:7–424:18) (emphases omitted). Comparing
Dr. Kenny’s testimony in the present case to prior testimony in IPR2020-
01520, Patent Owner argues that Dr. Kenny’s testimony is inconsistent or
contradictory. See id. at 15–19, 22–26 (comparing prior testimony
discussing how such a protruding surface like Inokawa’s lens would cause
incoming light to condense toward the center). Patent Owner’s contention is
that Dr. Kenny’s “testimony falls far short of establishing a valid motivation
to combine Inokawa with Aizawa, much less a reasonable expectation of
success,” with the “discussion of a reasonable expectation of success
focus[ing] almost entirely on manufacturing.” Id. at 31 (citing Ex. 2004
¶ 75; Ex. 1003 ¶ 89). This possibility that a person of ordinary skill in the
art could manufacture such a sensor, according to Patent Owner, falls short



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of showing that such a person would reasonably expect success. Id. (citing
Ex. 2004 ¶ 75; In re Stepan Co., 868 F.3d 1342, 1347 (Fed. Cir. 2017)).
      Patent Owner moreover asserts Petitioner errs in relying on Nishikawa
as supporting the unpatentability of claim 1, because Nishikawa is “not
identified as part of” the ground, which instead “includes only two
references,” Aizawa and Inokawa. PO Resp. 32 (citing Pet. 1–2, 15–16;
Ex. 1003 ¶¶ 89); id. at 33–35 (citing 35 U.S.C. § 312(a)(3); Intelligent Bio-
Systems, Inc. v. Illumina Cambridge Ltd., 821 F.3d 1359, 1369 (Fed. Cir.
2016)). Patent Owner asserts Dr. Kenny “relies heavily” on Nishikawa,
particularly “to inform the specific shape of the cover in his similar
combination, which is found nowhere in Aizawa and Inokawa.” Id. at 32,
34–35 (citing Pet. 23; Ex. 2004 ¶¶ 76–77; Ex. 2006, 179:21–180:13;
Ex. 2007, 364:2–13; Ex. 2008, 73:8–12).
      Furthermore, in Patent Owner’s view, “Petitioner’s extensive reliance
on Nishikawa makes no sense” because “Nishikawa’s device is not a
physiological sensor” but rather is “an encapsulated LED” that “directs
outgoing light through the encapsulation material and thus focuses on the
emission of light, not the detection of an optical signal.” PO Resp. 34 (citing
Ex. 1023, code (57), ¶¶ 3, 32, 35; Ex. 2004 ¶ 78). Patent Owner contrasts
such disclosure with Aizawa and Inokawa, both of which “detect[] incoming
light that passes through the cover and reaches the detectors,” and which
have a “drastically” smaller scale than Nishikawa’s LEDs. Id. (citing
Ex. 1008, Fig. 2; Ex. 2004 ¶ 78).

                          (3)    Petitioner’s Reply
      In reply, Petitioner reiterates that “a POSITA would have been
motivated to incorporate ‘an Inokawa-like lens into the cover of Aizawa to


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increase the light collection efficiency. . . .’” Pet. Reply 2–3 (quoting
Pet. 12–14; Ex. 1003 ¶¶ 82–87). Petitioner counters Patent Owner’s
arguments by contending that Patent Owner has a “misinformed
understanding of Inokawa’s lens” and “lenses in general.” Id. at 3 (citing
PO Resp. 12). According to Petitioner, “a POSITA would understand that
Inokawa’s lens generally improves ‘light concentration at pretty much all of
the locations under the curvature of the lens,’ as opposed to only at a single
point at the center as asserted by Masimo.” Id. (citing Ex. 2006, 164:8–16).
      According to Petitioner, part of Patent Owner’s misunderstanding
may be due to Patent Owner ignoring the principle of reversibility. Id. at 4–
14. For example, Petitioner contends that Patent Owner and Dr. Madisetti
“ignore[] the well-known principle of reversibility,” by which “a ray going
from P to S will trace the same route as one from S to P.” Id. at 4 (emphasis
omitted) (citing, e.g., Ex. 1052, 7,8 84, 87–92; Ex. 1049, 101, 106–111;
Ex. 1047 ¶¶ 10–18). Petitioner contends that Dr. Madisetti was evasive
when he was asked to apply the reversibility principle to the combination of
Aizawa and Inokawa in this case. Pet. Reply 6 (citing Ex. 1034, 89:12–19).
Petitioner further contends that, “based at least on the principle of
reversibility,” one of ordinary skill in the art “would have understood that
both configurations of LEDs and detectors—i.e., with the LED at the center
as in Aizawa or with the detector at the center as in Inokawa—would


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   Eugene Hecht, Optics (2nd ed. 1990).
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  It is apparent that the page numbering identified by Petitioner for
Exhibit 1052 refers to the document’s native page numbering and not the
page numbering of the exhibit appearing at the bottom, middle of each page.
For clarity and consistency, in this Decision, we also use the same page
numbering as Petitioner for Exhibit 1052.

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similarly benefit from the enhanced light-gathering ability of an Inokawa-
like lens.” Id. at 9 (citing Ex. 1047 ¶ 22).
      Petitioner also asserts that Patent Owner and Dr. Madisetti overlook
the fact that light rays reflected by body tissue in the user’s wrist, to be
received by detectors in either Aizawa’s or Inokawa’s pulse sensor, will be
“scattered” and “diffuse” and, therefore, will approach the detectors “from
various random directions and angles.” Pet. Reply 9–10, 13 (annotating
Inokawa’s Fig. 2 to illustrate the cause and nature of the back-scattering);
Ex. 1047 ¶¶ 25–26, 31. This scattered and diffuse light, according to
Petitioner, means that Inokawa’s “lens cannot focus all incoming light
toward the sensor’s center,” as Patent Owner would have it. Pet. Reply 9
(citing Ex. 1047 ¶ 23; Ex. 2006, 163:12–164:2). Petitioner asserts this is due
to Snell’s law, and provides several illustrations to illustrate why. Id. at 9–
15 (citing, e.g., Ex. 1047 ¶¶ 23–34).
      Due to the random nature of this scattered light, Petitioner explains
that one of ordinary skill in the art would have understood that a convex
cover “provides a slight refracting effect, such that light rays that may have
missed the detection area are instead directed toward that area.” Pet.
Reply 10 (citing Ex. 1047 ¶¶ 25–26). Petitioner applies this understanding
to Aizawa, and contends that using a lens with a convex protrusion in
Aizawa would “enable backscattered light to be detected within a circular
active detection area surrounding” a central light source. Id. (citing
Ex. 1051, 86, 90).
      Moreover, Petitioner dismisses the applicability of Figure 14B of the
’708 patent as illustrating the operation of a transmittance-type of sensor
that measures the attenuation of collimated light transmitted through the



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user’s body tissue, rather than the reflectance-type sensor of Aizawa. Id.
at 11–13 (citing, e.g., Ex. 1001, 35:65–67; Ex. 1047 ¶¶ 27–31).
      Petitioner further maintains that contrary to Patent Owner’s argument,
Petitioner’s illustrations of the light-focusing properties of a convex lens
discussed in the Petition filed in IPR2020-01520 (Ex. 2019, 39) and relied
upon by Dr. Kenny (Ex. 2020, 119–120) do not demonstrate “that a convex
lens directs all light to the center.” Pet. Reply 15 (citing PO Resp. 15–17).
Petitioner contends these illustrations, instead, “are merely simplified
diagrams included to illustrate . . . one example scenario (based on just one
ray and one corpuscle) where a light permeable cover can ‘reduce a mean
path length of light traveling to the at least four detectors’” as recited in
claim 12 of the patent challenged in that proceeding. Id. (citing, e.g.,
Ex. 1047 ¶ 34).

                           (4)    Patent Owner’s Sur-reply
      Patent Owner asserts that Petitioner’s Reply improperly presents
several new arguments, relying on new evidence, as compared with the
Petition. See, e.g., Sur-reply 1 (“new optics theories” and “new
arguments”), 2, 6, 7, 9, 10, 12, 13.
      Patent Owner also contends that Petitioner mischaracterizes Patent
Owner’s position, which is not that Inokawa’s lens with a convex protrusion
“would direct ‘all’ light ‘only at a single point at the center’” of the sensor.
Id. at 2 & n.2 (quoting Pet. Reply 3; citing, e.g., Ex. 2027, 63:7–64:6, 94:20–
96:1, 96:18–97:7). Patent Owner’s position, rather, is that Inokawa’s lens
condenses more light (not necessarily all light) “towards the center of the
sensor” as compared to a flat surface. Id. at 2 (quoting PO Resp. 19; citing,
e.g., Ex. 2004 ¶¶ 34, 43, 51, 53–54, 57, 67).


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      Patent Owner moreover asserts “[t]here can be no legitimate dispute
that a convex surface directs light centrally (and away from the periphery).”
Sur-reply 3–6 (citing PO Resp. 15–18; Ex. 2006, 86:19–87:6, 164:8–16,
170:22–171:5, 202:11–204:20; Ex. 2020 ¶¶ 119, 200; Ex. 2027, 181:9–
182:5). Patent Owner contends that Petitioner’s argument “that Inokawa
would improve light-gathering at all locations, regardless of the location of
the LEDs and detectors” is belied by Dr. Kenny’s testimony that “Inokawa’s
benefit would not be clear if Inokawa’s LEDs and detectors were moved”
and “confirmed that a convex surface would direct light toward the center of
the underlying sensor.” Id. at 6 (citing Pet. Reply 3–4; Ex. 2006, 86:19–
87:6, 202:11–204:20).
      Patent Owner argues that Petitioner’s discussion of the principle of
reversibility is “irrelevant” because it “assumes ideal conditions that are not
present when tissue scatters and absorbs light.” Sur-reply 6–8 (citing
Ex. 2027, 17:12–19:2, 29:11–30:7, 31:8–32:3, 38:17–42:6, 207:9–209:21,
210:8–6). The random nature of backscattered light, in Patent Owner’s
view, “hardly supports Petitioner’s argument that light will necessarily travel
the same paths regardless of whether the LEDs and detectors are reversed,”
and is irrelevant to the central issue presented here of “whether a convex
surface—as compared with a flat surface—would collect and focus
additional light on Aizawa’s peripherally located detectors.” Id. at 8–9
(citing Ex. 2027, 212:3–14).
      Patent Owner also argues that Petitioner’s position that a convex
cover will provide a “slight refracting effect,” “directly undermines
Petitioner’s provided motivation to combine,” i.e., to enhance light
collection efficiency. Id. at 10–11.



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                           (5)    Analysis
      Upon review of the foregoing, we conclude that a preponderance of
the evidence supports Petitioner’s view that it would have been obvious to
modify Aizawa’s cover 6 to include a convex lens or protrusion like that
taught in Inokawa, in order to increase the amount of backscattered light that
will be received by Aizawa’s four peripheral detectors 22, as compared with
Aizawa’s existing flat cover.
      Aizawa’s and Inokawa’s pulse sensors both gather data by emitting
light into the user’s wrist tissue, and collecting light that reflects back to the
sensor from the user’s tissue. See, e.g., Ex. 1006, Figs. 1(b), 2 (sensor 2 has
emitter 21 and four detectors 22, all facing a user’s wrist 10); Ex. 1008,
Figs. 1, 2 (sensor 1 has two emitters 21, 23 and one detector
(photodiode 25), all facing the user’s wrist when held in place by
wristband 5). Dr. Kenny testifies, and Patent Owner agrees, that the
reflection of this light by the user’s wrist tissue randomizes the propagation
direction of the reflected light rays. See Ex. 1003 ¶¶ 82–87; Ex. 1047 ¶¶ 14–
15; Ex. 2020 ¶ 128; Sur-reply 7 (“Even Petitioner admits that tissue
randomly scatters and absorbs light rays.”). This reflection principle is
illustrated by Dr. Kenny’s annotations to Inokawa’s Figure 2 reproduced
below:




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Here, Dr. Kenny has modified Inokawa’s Figure 2 (1) by removing two
black arrows, (2) by coloring Inokawa’s light detector in red and Inokawa’s
two light emitters in green, and (3) by adding several green arrows to
illustrate the various directions that light rays may be directed after
impinging on and reflecting off different tissues in the user’s wrist.
Ex. 1047 ¶ 32.
      This randomized direction of reflected light rays results in
backscattered light that is diffuse, rather than collimated, in nature.
Figure 4.12 of Exhibit 1052 illustrates the difference between diffuse and
collimated light, and is reproduced below:




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This figure provides at left a photograph and an illustration showing
incoming collimated light reflecting from a smooth surface, and at right a
photograph and an illustration of incoming collimated light reflecting from a
rough surface. See Ex. 1052, 87–88. The smooth surface provides specular
reflection, in which the reflected light rays are collimated like the incoming
light rays. See id. By contrast, the rough surface provides diffuse reflection,
in which the reflected light rays travel in random directions. See id.
      This diffuse nature of the light reflected from the user’s wrist tissue,
which both Aizawa and Inokawa aim to collect to generate pulse data,
suggests that a lens might be useful to increase the amount of collected light
and thereby increase the reliability of the pulse data generated using the
collected light. Indeed, that is taught by Inokawa. Inokawa describes using
its lens 27 to “increase the light-gathering ability” of Inokawa’s light
photodiode or detector 25.9 Ex. 1008 ¶¶ 15, 58. Furthermore, there is also
no dispute that Inokawa’s lens 27 is understood to be shaped as a convex
protrusion. See, e.g., Ex. 1003 ¶¶ 84–85 (characterizing Inokawa as
teaching a “convex protrusion that acts as a lens”); PO Resp. 1 (describing
Inokawa as teaching a “convex lens”). Thus, Inokawa demonstrates that it
was known in the art to use a lens comprising a protrusion to focus diffuse
light reflected from body tissue on to the light detecting elements of a
wrist-worn pulse sensor, and to increase the light gathered by the sensor
thereby improving the device’s calculation of the user’s pulse.



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  Although Inokawa refers to the “LED” such as emitters 21, 23 in that
regard (id. ¶ 15), rather than photodiode 25, it is undisputed that
photodiode 25 is the only component of Inokawa’s sensor 1 that gathers
light.

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      A preponderance of the evidence supports Petitioner’s view that it
would have been obvious for a person of ordinary skill in the art to apply
Inokawa’s lens technology to Aizawa’s wrist-worn pulse sensor, to similarly
improve its light collection as compared to Aizawa’s existing flat cover.
That is illustrated by the following annotated figures provided by Dr. Kenny:




The illustration at left modifies Aizawa’s Figure 1(b) to color Aizawa’s
emitter in green, its detectors in red, and Aizawa’s existing flat cover in
blue; the illustration on the right includes Aizawa’s Figure 1(b) with the
same color coding, but wherein the flat cover is modified to incorporate a
convex protrusion that covers Aizawa’s peripheral light detectors and central
light emitter. See Ex. 1003 ¶ 87. We are persuaded by Dr. Kenny’s
testimony that Snell’s law indicates that “light rays that may have otherwise
missed the detection area are instead directed toward that area as they pass
through the interface provided by the cover,” and is especially true “in
configurations like Aizawa’s in which light detectors are arranged
symmetrically about a central light source, so as to enable backscattered
light to be detected within a circular active detection area surrounding that
source.” Ex. 1047 ¶ 26; see also id. ¶¶ 23–26.
      Patent Owner correctly notes that Inokawa’s single detector 25 is
located in the central portion of Inokawa’s sensor 1, whereas Aizawa’s four
detectors 22 are located towards the periphery of Aizawa’s sensor 2.
Compare Ex. 1008, Fig. 2, with Ex. 1006, Figs. 1(a)–1(b). Nevertheless,
Petitioner’s proposed modification of Aizawa takes that arrangement into


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account, as can be seen by the following comparison between Inokawa’s
sensor and Petitioner’s proposed modification of Aizawa’s sensor:




The illustration at left annotates Inokawa’s Figure 2 to identify the central
detector in red and the lens in blue (see Ex. 1003 ¶ 85), and the illustration at
right annotates Petitioner’s proposed modification of Aizawa to illustrate the
peripheral detectors in red and the lens in blue (see id. ¶ 87). As can be
seen, the lenses are not identical. In Inokawa, the lens’s curvature is most
pronounced at the center of the lens near the central detector, and in the
proposed modification to Aizawa, the lens’s curvature is most pronounced at
the edges of the lens near the peripheral detectors. Thus, Dr. Kenny’s
proposed modification of Aizawa takes Inokawa’s general teaching of using
a convex protrusion lens to increase the amount of incoming light directed to
a light detector, and applies it to the four light detectors of Aizawa. See,
e.g., Ex. 1003 ¶ 87 (“[A] POSITA would have found it obvious to combine
the teachings of Aizawa and Inokawa such that the flat cover (left) of
Aizawa is modified to include a lens/protrusion (right) as per Inokawa in
order to ‘increase the light-gathering ability,’” and “allow more light to be
gathered and refracted toward the light receiving cavities of Aizawa, thereby
further increasing the light-gathering ability of Aizawa beyond what is
achieved through the tapered cavities.”); id. ¶¶ 82–89; Ex. 1047 ¶¶ 7–34.



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      We are cognizant of Patent Owner’s contention that Petitioner’s
ground “improperly” relies upon a reference, Nishikawa, that was not
identified as a part of the ground of unpatentability. PO Resp. 32–33. As
Patent Owner observes, Dr. Kenny characterizes his testimony as being
“inspired by” or “motivated” in part based on Nishikawa’s disclosure when
it comes to the shape of a convex lens. See, e.g., PO Resp. 32–33 (citing,
e.g., Ex. 2007, 364:2–13; Ex. 2008, 73:8–12) (emphasis omitted). We,
however, disagree with Patent Owner that any impropriety arises from
Dr. Kenny’s contemplation of the teachings of Nishikawa in connection with
the shape of a lens for a physiological sensor. The nature of Petitioner’s and
Dr. Kenny’s consideration of Nishikawa is explained in cited portions of
Dr. Kenny’s declaration, even if Nishikawa is not listed as a third reference
in the identification of the ground. See Ex. 1003 ¶ 89 (“[M]any prior art
references of this period, such as Nishikawa (shown below) demonstrate
exactly how such a lens [as taught by Inokawa] may be incorporated into a
molded cover.”); Pet. 15–16. Indeed, it follows readily from the Petition
that a skilled artisan would have appreciated that Nishikawa’s teachings
provide insight as to how “the transparent acrylic material used to make
Aizawa’s plate can be readily formed into a lens [structure] as in Inokawa.”
Pet. 15. Nishikawa describes how its “lens unit 50” can be a transparent
resin formed in the shape illustrated in Figure 6 by injection molding.
Ex. 1023 ¶¶ 22, 32, 35. Dr. Kenny also explains that Nishikawa’s lens shape
design “is intended to provide curvature in the lens where it can do the most
good and otherwise try to avoid excess use of material in order to create
curvature in locations where it wouldn’t do any good.” Ex. 2006,
179:21–180:13.



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      Moreover, we observe that a rejection based on obviousness
“require[s] an analysis that reads the prior art in context, taking account of
‘demands known to the design community,’ ‘the background knowledge
possessed by a person having ordinary skill in the art,’ and ‘the inferences
and creative steps that a person of ordinary skill in the art would employ.’”
Randall Mfg. v. Rea, 733 F.3d 1355, 1362 (Fed. Cir. 2013) (quoting KSR,
550 U.S. at 418). Furthermore, record evidence can be useful to
“demonstrate the knowledge and perspective of one of ordinary skill in the
art.” Id.; see also Ariosa Diagnostics v. Verinata Health Inc., 805 F.3d
1359, 1365 (Fed. Cir. 2015) (“Art can legitimately serve to document the
knowledge that skilled artisans would bring to bear in reading the prior art
identified as producing obviousness.”).
        As noted above, Dr. Kenny makes clear that his view as to
obviousness of the claims of the ’708 patent was “inspired by” or
“motivated” in part by Nishikawa’s teachings as to shapes generally known
to those in the art of manufacturing a lens. See, e.g., Ex. 2007, 364:2–13;
Ex. 2008, 73:12–21. We conclude that the record establishes that
Nishikawa’s teachings are representative of background knowledge of one
of ordinary skill in the art and provide context and perspective of a skilled
artisan as to the type of shapes available for a convex protruding surface,
such as that disclosed in Inokawa. That Dr. Kenny considered record
evidence cited in the Petition as informing his view of what a skilled artisan
would understand as to known types of lens shapes does not establish, in our
view, any impropriety as part of that ground.
      Patent Owner additionally asserts, and Dr. Madisetti testifies, that
Petitioner’s combination of Aizawa and Inokawa is “problematic” because it
overlooks the “small” size of Aizawa’s detectors 22 and the openings or

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cavities 23c in which they are housed. See PO Resp. 21–22 (citing
Ex. 1006, Fig. 1(a); Ex. 2004 ¶ 65). Patent Owner, however, does not
articulate what significance the size of Aizawa’s detector components have
in the obviousness evaluation based on the teachings of the prior art.
        We additionally do not agree with Patent Owner’s argument that
Petitioner’s Reply presents new arguments and evidence that should have
been first presented in the Petition. The Petition proposed a specific
modification of Aizawa to include a convex protrusion in the cover, for the
purpose of increasing the light gathering ability of Aizawa’s device. See,
e.g., Pet. 12–16. Patent Owner, in its Response, then challenged that
contention with several arguments that Petitioner’s proposed convex
protrusion would not operate in the way the Petition alleged. See, e.g., PO
Resp. 15–35. In its Reply, Petitioner provided arguments and evidence
attempting to rebut the contentions in the Patent Owner Response. See
PTAB Consolidated Trial Practice Guide (Nov. 2019),10 73 (“A party also
may submit rebuttal evidence in support of its reply.”). The Reply does not
change Petitioner’s theory for obviousness; rather, the Reply presents more
argument and evidence in support of the same theory for obviousness
presented in the Petition. Compare Pet. 12–16, with Pet. Reply 2–13.
        Patent Owner finally argues that a conclusion of obviousness “strains
credibility” because the level of ordinary skill in the art (see supra
Section II.B) does not require specific education or experience with optics or
optical physiological monitors. See, e.g., PO Resp. 30. We disagree.
Concerning motivation, an ordinarily skilled artisan would have readily
appreciated from the record at hand that: (1) Aizawa’s detector 1 operates

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     Available at https://www.uspto.gov/TrialPracticeGuideConsolidated.

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by gathering light data with its photodetectors 22; (2) a lens was known to
focus the light on photodetectors; and (3) optical lenses may be formed by
providing a convex protrusion in the lens to focus light. Indeed, Inokawa
discloses such utility, function, and structure as a part of its convex lens.
See, e.g., Ex. 1008 ¶¶ 15, 58, Fig. 2. We are persuaded that a person of
ordinary skill in the art would have understood these general concepts of
optics.
      Concerning reasonable expectation of success, we rely on
Dr. Kenny’s testimony that a person of ordinary skill in the art would have
understood that “by positioning a lens above the optical components of
Aizawa . . . the modified cover will allow more light to be gathered and
refracted toward the light receiving cavities of Aizawa, thereby further
increasing the light-gathering ability of Aizawa beyond what is achieved
through the tapered cavities,” and “would have found it obvious to combine
the teachings of Aizawa and Inokawa such that the flat cover (left) of
Aizawa is modified to include a lens/protrusion (right) as per Inokawa in
order to ‘increase the light-gathering ability.’” See, e.g., Ex. 1003 ¶ 87;
Ex. 2006, 179:21–180:13, 202:11–20.
      Thus, we conclude that one of ordinary skill in the art would have had
adequate reason to replace Aizawa’s flat cover 6 with a cover comprising a
convex protrusion, to improve light detection efficiency, and would have
had a reasonable expectation of success in doing so.

                  vi.     Summary
      For the foregoing reasons, we determine that Petitioner has met its
burden of demonstrating by a preponderance of the evidence that claim 1
would have been obvious over the cited combination of references.


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                          4. Independent Claim 19
       Independent claim 19 consists of limitations that are substantially
similar to elements [a]–[d] of claim 1. Compare Ex. 1001, 44:36–50, with
id. at 45:53–46:11 (reciting a “housing including a raised wall protruding”).
In asserting that claim 19 also would have been obvious over the combined
teachings of Aizawa and Inokawa, Petitioner refers to substantially the same
contentions presented as to claim 1. See Pet. 35–38; Ex. 1003 ¶¶ 110–115.
       Patent Owner does not present any argument for this claim other than
those we have already considered with respect to independent claim 1. PO
Resp. 11–35.
       For the same reasons discussed above, we determine that Petitioner
has met its burden of demonstrating by a preponderance of the evidence that
claim 19 would have been obvious over the cited combination of references.
See supra II.D.3.i–v; Ex. 1003 ¶¶ 110–115.

               5.     Dependent Claims 2–9, 11, 13–15, 20–22, and 24–27
       Petitioner presents undisputed contentions that claims 2–9, 11, 13–15,
20–22, and 24–27, which depend directly or indirectly from independent
claim 1 or 19, are unpatentable over the combined teachings of Aizawa and
Inokawa, and provides arguments explaining how the references teach the
limitations of these claims. Pet. 24–35, 38–40; Ex. 1003 ¶¶ 90–109, 116–
122.
       Patent Owner does not present any arguments for these claims other
than those we have already considered with respect to independent claim 1.
PO Resp. 35 (“The Petition fails to establish that independent claims 1 and
19 would have been obvious in view of [the first ground]’s cited references



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and thus fails to establish obviousness as to any of the challenged dependent
claims.”) (citing Ex. 2004 ¶ 79).
      We have considered the evidence and arguments of record and
determine that Petitioner has demonstrated by a preponderance of the
evidence that claims 2–9, 11, 13–15, 20–22, and 24–27 would have been
obvious over the combined teachings of the cited references and as
supported by the testimony of Dr. Kenny.

           E.    Obviousness over Aizawa, Inokawa, and Ohsaki
      Petitioner argues claims 1–9, 11, 13–15, 19–22, and 24–27 of the
’708 patent would have been obvious over Aizawa, Inokawa, and Ohsaki.
Pet. 2, 40–43. Patent Owner opposes. PO Resp. 35–39. We conclude a
preponderance of the evidence supports Petitioner’s assertions as to these
challenged claims. We begin our analysis with a brief summary of Ohsaki,
then we address the parties’ contentions.

                          1.    Ohsaki Disclosure
      Ohsaki discloses a pulse wave sensor attached to the back side of the
user’s wrist. Ex. 1014, codes (54), (57). Figures 1 and 2 are reproduced
below:




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Figure 1 is a cross-sectional view of pulse wave sensor 1 attached on a
user’s wrist 4. Id. ¶¶ 12, 16, 18. Figure 2 is a schematic diagram of
detecting element 2 of sensor 1 on wrist 4, and associated electronics. Id.
¶¶ 13, 17.
      Figure 1 illustrates how detecting element 2 is attached to the back
side of the wrist. In this context, the wrist’s “back” side is the side opposite
to the user’s palm, and the wrist’s “front” side is the palm side of the hand.
See, e.g., id. ¶¶ 5–6, 16.
      Detecting element 2 comprises a light emitter (LED 6) and a light
detector (photodetector 7) for optically interrogating the user’s wrist 4 tissue
to detect a pulse wave of the user. See id. ¶¶ 3, 7–8, 16, 20, 22. Translucent
board 8 of element 2 has “a convex surface . . . in intimate contact with the
surface of the user’s skin,” and “[t]hereby it is prevented that the detecting
element 2 slips off the detecting position of the user’s wrist 4.” Id. ¶¶ 9,
17–18, 25.
      Figures 3A–3B provide test data comparing the performance of a
pulse wave sensor depending on whether it is mounted to the back side or
the front side of the user’s wrist. See id. at Figs. 3A–3B, ¶¶ 14, 23–24.
Figures 4A–4B provide test data comparing the performance of a pulse wave
sensor depending on whether translucent board 8 is convex (as shown in
Figures 1 and 2) or flat. See id. at Figs. 4A–4B, ¶¶ 15, 25.

                                  2.   Claim 1
      Petitioner provides arguments and evidence, including testimony from
Dr. Kenny, in support of Petitioner’s contention that claim 1 is unpatentable
as having been obvious over Aizawa, Inokawa, and Ohsaki. Pet. 40–43;
Ex. 1003 ¶¶ 64–65, 123–127. Patent Owner provides arguments and


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evidence in opposition, including testimony from Dr. Madisetti. PO
Resp. 35–39; Ex. 2004 ¶¶ 80–86.
      This ground relies on the same prior art as in the prior ground, then
adds Ohsaki as providing a further motivation for modifying Aizawa’s flat
plate 6 to have a convex protrusion. See Pet. 40–43; Ex. 1003 ¶¶ 123–127.
Petitioner asserts “Ohsaki teaches that adding a convex surface to the light
permeable cover (i.e., [Ohsaki’s] translucent board 8) can help prevent the
device from slipping on the tissue when compared to a flat cover” such as
Aizawa’s plate 6. Pet. 42–43 (citing Ex. 1014 ¶ 25); Ex. 1003 ¶ 125.
Petitioner asserts that Aizawa, similarly to Ohsaki, “seeks to prevent
slippage between the device and the user’s wrist—and pursues this objective
by pressing its . . . [plate 6] and trying to improve ‘adhesion between the
wrist 10 and the pulse rate detector 11.’” Pet. 43 (citing Ex. 1006 ¶¶ 26, 30);
Ex. 1003 ¶ 125. Dr. Kenny testifies a POSITA “would have recognized that
Ohsaki’s addition of a convex protrusion to its light permeable cover could
be similarly implemented in Aizawa’s device to help achieve the two
references’ shared goal of minimizing slippage,” which “would have
allowed Aizawa’s sensor device to remain better adhered to the skin and
thereby increase its light-collecting efficiency.” Ex. 1003 ¶¶ 126, 142
(citing Ex. 1006 ¶¶ 26, 30; Ex. 1014 ¶ 25); Pet. 42–43.
      Patent Owner argues in opposition that the Petition is fatally deficient
because it is “unclear as to whether a POSITA would have incorporated
Inokawa’s lens or Ohsaki’s translucent board” in Aizawa. PO Resp. 36;
Ex. 2004 ¶ 80. We disagree. The first ground relies on Inokawa as
providing a first motivation for adding a protrusion to Aizawa’s flat cover:
to direct more light to Aizawa’s detectors 22. See supra Section II.D.3.v.
This ground relies additionally on Ohsaki as providing a second, and

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independent, motivation for adding a protrusion to Aizawa’s flat cover: to
reduce slippage between Aizawa’s device and the user’s wrist. See Pet. 42–
43. Neither ground seeks to bodily incorporate Inokawa’s lens or Ohsaki’s
translucent board into Aizawa’s device, and this is not required for
obviousness. See In re Keller, 642 F.2d 413, 425 (CCPA 1981).
      Patent Owner next contends that Patent Owner’s various arguments
opposing first ground also apply to this ground. See PO Resp. 35–36;
Ex. 2004 ¶ 82. For the reasons provided in Section II.D.3 above, Patent
Owner’s arguments opposing the first ground based on Aizawa and Inokawa
are unavailing.
      Patent Owner further asserts “a POSITA would have understood that
Ohsaki’s board would not prevent slippage with Aizawa’s sensor.” PO
Resp. 37 (section heading modified). According to Patent Owner, Ohsaki
indicates “its protruding surface must have longitudinal directionality” such
that “one must orient its longitudinal convex surface with the longitudinal
direction of the user’s arm.” PO Resp. 37 (citing Ex. 1014 ¶ 19); Ex. 2004
¶ 83. Patent Owner argues Aizawa’s detector 1, by contrast, uses a circular
arrangement of four detectors 22 around one emitter 21, and “Aizawa
specifically distinguishes its sensor from linear sensors such as Ohsaki’s.”
PO Resp. 37 (citing Ex. 1006, code (57), ¶¶ 9, 27, 36; Ex. 1014 ¶ 19;
Ex. 2008, 165:20–166:5); Ex. 2004 ¶ 84. Patent Owner concludes a
“POSITA would not have believed Ohsaki’s longitudinal protruding surface
would benefit Aizawa’s sensor” due to this difference. PO Resp. 38;
Ex. 2004 ¶ 85.
      Patent Owner moreover argues Ohsaki’s “protruding surface only
prevents slipping on the backhand side (i.e., watch-side) of the user’s wrist,”
and “Ohsaki’s sensor has ‘a tendency to slip off’ if it is on the palm side of

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the user’s wrist.” PO Resp. 37 (citing Ex. 1014 ¶¶ 23–24, Figs. 3A–3B);
Ex. 2004 ¶ 83. Patent Owner asserts Aizawa’s detector 1, by contrast, is
held against the front side of the user’s wrist to be close to the artery there,
and “Aizawa reports that on the palm side of the wrist, a flat surface
improves adhesion.” PO Resp. 37–38 (citing Ex. 1006, Figs. 2, 3, code (57),
¶¶ 2, 9, 13, 26–28, 30, 34, 36); Sur-reply 14–15 (similarly citing Ex. 1006);
Ex. 2004 ¶¶ 84–85. Patent Owner cites evidence demonstrating that these
arteries are on the front side of the wrist. PO Resp. 38 (citing Ex. 2010, 44,
71 (Plates 429 and 456)); Ex. 2004 ¶ 85. Patent Owner concludes a POSITA
would not have believed Ohsaki’s convex surface would benefit Aizawa’s
device based on this difference in device location on the user’s wrist. PO
Resp. 38; Ex. 2004 ¶ 85.
      Petitioner replies that, despite the differences between Aizawa and
Ohsaki identified by Patent Owner, a POSITA would nonetheless have
understood from Ohsaki that “a convex surface . . . can help prevent the
device from slipping on the tissue of the wearer compared to using a flat
cover without such protrusion.” Pet. Reply 15–16 (quoting Ex. 1003
¶¶ 125–126); Ex. 1047 ¶ 35. According to Petitioner, Ohsaki contrasts
between “flat” and “convex” detecting surfaces, and explains the “detected
pulse wave is adversely affected by the movement of the user’s wrist” with a
flat surface but not a convex surface. Pet. Reply 16 (citing Ex. 1014, Figs. 1,
2, 4A–4B, ¶¶ 15, 17, 25); Ex. 1047 ¶ 37. Petitioner asserts “Ohsaki was
relied upon not for its exact cover configuration” as Patent Owner suggests,
but instead “for the rather obvious concept that a convex surface protruding
into a user’s skin will prevent slippage.” Pet. Reply 18; Ex. 1047 ¶ 37
(“[A]dding a convex surface to Aizawa’s flat plate will serve to improve its
tendency to not slip off, not take away from it, since it is well understood

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that physically extending into the tissue and displacing the tissue with a
protrusion provides an additional adhesive effect.”).
      Patent Owner replies “Ohsaki demonstrates that a convex surface
alone does not prevent slipping because Ohsaki’s shape is designed to fit
within the underlying bone structure of the wrist and forearm on the
backhand side.” Sur-reply 16 (citing Ex. 1014, Figs. 3A–3B, ¶¶ 6, 19,
23–24). Patent Owner asserts “Ohsaki explains that a convex surface on the
palm side has a tendency to slip, notwithstanding any alleged ‘physical[]
digging.’” Id. at 17 (alteration in original). Ohsaki also teaches, according
to Patent Owner, “that one should avoid too much pressure because
otherwise the user ‘feels uncomfortable,’ which results in movement and a
tendency to slip.” Id. (citing Ex. 1014 ¶¶ 6, 18, 24).
      Upon review of the foregoing arguments and evidence, we conclude a
preponderance of the evidence supports Petitioner’s contention that a person
of ordinary skill in the art would have been motivated to modify Aizawa’s
plate 6 to include a convex protrusion, in order to help prevent slippage of
Aizawa’s detector 1 on the user’s wrist, based on Ohsaki.
      A person of ordinary skill in the art would have understood from
Ohsaki that forming a convex protrusion on the face of an optically-based
pulse sensor where it is pressed against the user’s wrist to gather optical data
will beneficially prevent slippage of the sensor during operation. Ohsaki
states: “The detecting element 2 is arranged on the user’s wrist 4 so that the
convex surface of the translucent board 8 is in intimate contact with the
surface of the user’s skin. Thereby it is prevented that the detecting
element 2 slips off the detecting position of the user’s wrist 4.” Ex. 1014
¶ 25 (emphases added). A POSITA would understand from this disclosure
that forming a convex protrusion on the tissue-contacting face of a

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wrist-worn, optically-based pulse sensor will resist movement of the sensor
on the user’s wrist during use. See Ex. 1003 ¶¶ 141–142; Ex. 1047 ¶ 52. A
POSITA would also understand this resistance to be a beneficial result,
because it will improve the pulse sensor’s ability to emit light into and detect
light reflected from the user’s wrist, to generate a pulse signal. See Ex. 1006
¶¶ 26, 30, 34; Ex. 1014 ¶¶ 23, 25, 27; Ex. 1003 ¶¶ 125–126; Ex. 1047 ¶ 37.
        Indeed, Ohsaki expressly compares the performance of a wrist-worn
pulse wave sensor depending on whether translucent board 8 is convex or
flat, and concludes the former results in improved performance over the
latter, especially when the user is moving. See Ex. 1014, Figs. 4A–4B,
¶¶ 15, 25 (stating that with “a flat surface, the detected pulse wave is
adversely affected by the movement of the user’s wrist 4,” and with “a
convex surface like the present embodiment, the variation of the amount of
the reflected light” collected by the sensor “is suppressed”). Ohsaki also
states that, with a convex protrusion, it is “prevented that noise such as
disturbance light from the outside penetrates the translucent board 8.” Id.
¶ 25.
        Patent Owner and Dr. Madisetti attempt to limit the foregoing
disclosures of Ohsaki to its particular context—a sensor having one emitter 6
disposed next to one detector 7 to define a “longitudinal” sensing direction
between them, and being attached to the back side rather than the front side
of the user’s wrist. See Ex. 2004 ¶¶ 83–85. We are not persuaded. For
example, Ohsaki’s disclosure does not support Dr. Madisetti’s conclusion
that it is only in this particular context that a convex protrusion will help
prevent slippage. See Ex. 1014 ¶ 19 (discussing the longitudinal direction
orientation of Ohsaki’s sensor); id. at Figs. 3A–3B, ¶¶ 16, 23–24 (discussing
attaching Ohsaki’s sensor to the back side of the wrist). Figures 3A–3B

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compare the performance of detecting element 2, including its translucent
board 8 having a convex protrusion, and show better performance when it is
attached to the back side of the wrist versus the front side of the wrist, when
the user is in motion. See Ex. 1014 ¶¶ 17 (Fig. 2), 23–24 (Figs. 3A–3B).
Because the tested device incorporates a convex protrusion in both instances,
Figures 3A–3B do not support Dr. Madisetti’s conclusion that “Ohsaki
teaches that a protruding surface on the palm side of the wrist would not
prevent slipping” — particularly in comparison to a flat surface such as
Aizawa’s. Ex. 2004 ¶ 85.
      We credit, instead, Dr. Kenny’s testimony that a person of ordinary
skill in the art would have understood from Ohsaki that a convex protrusion
will help prevent slippage, even in the context of Aizawa’s arrangement of
four detectors surrounding a central emitter (or emitters, when modified per
Inokawa) attached on the front side of the user’s wrist. See Ex. 1047 ¶ 37.
This is because, even in Aizawa’s arrangement, the convex protrusion will
“physically extend[] into the tissue and displac[e] the tissue,” as is illustrated
for example in Ohsaki’s Figures 1 and 2, where translucent board 8
physically extends into and displaces the tissue of wrist 4. Id.
      Dr. Madisetti also testifies that “Aizawa reports that on the palm side
of the wrist, a flat surface improves adhesion,” so “a POSITA would have
believed that adding Ohsaki’s protruding surface would have disrupted the
improved adhesion properties reported for Aizawa’s flat plate.” Ex. 2004
¶ 85 (citing Ex. 1006, Figs. 3A–3B, ¶¶ 13, 26, 28, 30, 34; Ex. 1014,
Figs. 3A–3B, ¶¶ 23–24). We disagree with this reading of Aizawa. It is true
that Aizawa’s plate 6 is illustrated as having a flat surface (Ex. 1006,
Fig. 1(b)), and that Aizawa states the plate “improve[s] adhesion” (id. ¶ 13).
Aizawa also states: “the above belt 7 is fastened such that the acrylic

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transparent plate 6 becomes close to the artery 11 of the wrist 10,” and
“[t]hereby, adhesion between the wrist 10 and the pulse rate detector 1 is
improved.” Id. ¶ 26. These disclosures, however, indicate the improved
adhesion is provided by the acrylic material of plate 6, not the flat surface of
plate 6 as Dr. Madisetti would have it. See also id. ¶¶ 30, 34 (“Since the
acrylic transparent plate 6 is provided . . . adhesion between the pulse rate
detector 1 and the wrist 10 can be improved . . . .”). Thus, there is no
teaching away from using a convex surface to improve the adhesion of
Aizawa’s detector to the user’s wrist. See, e.g., Ex. 1003 ¶ 126; Ex. 1047
¶ 37.
        Finally, we acknowledge that both Aizawa and Ohsaki express a
concern about exerting too much pressure against the front side of the user’s
wrist, because this would make the user uncomfortable. See, e.g., Ex. 1006
¶¶ 6, 26, 31; Ex. 1014 ¶¶ 6, 18, 24. Thus, a person of ordinary skill in the art
would understand that there are operational limits on how large the
protrusion can be made in Aizawa. Nonetheless, claim 1 does not place any
limitations on the size of the protrusion, and as discussed above a protrusion
would improve the ability to avoid slippage of Aizawa’s detector 1 when
worn on the front side of a user’s wrist. Therefore, it would have been
obvious to add a protrusion to Aizawa’s detector 1 for that purpose, and
optimize the size of the protrusion to avoid user discomfort.
        Based on the foregoing arguments and evidence, we conclude
Petitioner has demonstrated by a preponderance of the evidence that claim 1
is unpatentable as having been obvious over Aizawa, Inokawa, and Ohsaki.




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              3.    Claims 2–9, 11, 13–15, 19–22, and 24–27
      Petitioner relies on its arguments from the first ground based on
Aizawa and Inokawa in contending that claims 2–9, 11, 13–15, 19–22, and
24–27 are unpatentable under this ground, which adds Ohsaki. See Pet. 42;
Ex. 1003 ¶ 123–127. In defense of these claims, Patent Owner relies solely
on arguments relating to claim 1. See, e.g., PO Resp. 35–39; Ex. 2004 ¶ 86.
Thus, for the reasons provided above in relation to the first ground based on
Aizawa and Inokawa (all challenged claims) and this ground (claim 1), we
conclude Petitioner has demonstrated by a preponderance of the evidence
that claims 2–9, 11, 13–15, 19–22, and 24–27 are unpatentable as having
been obvious over Aizawa, Inokawa, and Ohsaki.

             F. Obviousness over the Combined Teachings of
                  Aizawa, Inokawa, and Mendelson-2006
      Petitioner contends that claims 16, 27, and 28 are unpatentable based
on Aizawa, Inokawa, and Mendelson-2006. Pet. 43–48. Claim 16 depends
from claim 1 and recites, “[t]he noninvasive optical physiological sensing
system of claim 1 further comprising a touch-screen display.” Ex. 1001,
45:38–39. Claim 27 ultimately depends from claim 19 and further recites,
“[t]he noninvasive optical physiological sensing system of claim 26, wherein
the noninvasive optical physiological sensing system is comprised as part of
a mobile monitoring device.” Id. at 46:43–46. Claim 28 depends from
claim 27 and further recites, “[t]he noninvasive optical physiological sensing
system of claim 27, wherein the mobile monitoring device includes a touch-
screen display.” Id. at 46:47–49.




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                        1. Mendelson-2006 (Ex. 1016)
      Mendelson-2006 is a journal article titled “A Wearable Reflectance
Pulse Oximeter for Remote Physiological Monitoring,” and discloses a
wireless wearable pulse oximeter connected to a personal digital assistant
(“PDA”). Ex. 1016, 912. 11
      Figure 1 of Mendelson-2006 is reproduced below.




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  Petitioner cites to the native page numbers that accompany the article,
rather than the page numbers added to Exhibit 1016. See, e.g., Pet. 43–45.
We follow Petitioner’s numbering scheme.

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Figure 1 illustrates a sensor module attached to the skin (top), and a
photograph of a disassembled sensor module and receiver module (bottom).
The sensor module includes an optical transducer, a stack of round printed
circuit boards, and a coin cell battery. Id. at 913.
      Figure 2 of Mendelson-2006 is reproduced below.




Figure 2 depicts a system block diagram of the wearable, wireless, pulse
oximeter including the sensor module (top) and the receiver module
(bottom). Id. The sensor module includes at least one light-emitting diode
(“LED”), a photodetector, signal processing circuitry, an embedded
microcontroller, and an RF transceiver. Id. at 912, 913. Mendelson-2006
discloses that a concentric array of discrete photodetectors could be used to
increase the amount of backscattered light detected by a reflectance type
pulse oximeter sensor. Id. at 915. The receiver module includes an
embedded microcontroller, an RF transceiver for communicating with the




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sensor module, and a wireless module for communicating with the PDA. Id.
at 913.
      As a PDA for use with the system, Mendelson-2006 discloses “the HP
iPAQ h4150 PDA because it can support both 802.11b and Bluetooth™
wireless communication” and “has sufficient computational resources.” Id.
at 914. Mendelson-2006 further discloses that
      [t]he use of a PDA as a local terminal also provides a low-cost
      touch screen interface. The user-friendly touch screen of the
      PDA offers additional flexibility. It enables multiple controls to
      occupy the same physical space and the controls appear only
      when needed. Additionally, a touch screen reduces development
      cost and time, because no external hardware is required. . . . The
      PDA can also serve to temporarily store vital medical
      information received from the wearable unit.
Id.
      The PDA is shown in Figure 3 of Mendelson-2006, reproduced below.




Figure 3 illustrates a sample PDA and its graphical user interface (“GUI”).
Id. Mendelson-2006 explains that the GUI allows the user to interact with
the wearable system. Id. “The GUI was configured to present the input and
output information to the user and allows easy activation of various

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functions.” Id. “The GUI also displays the subject’s vital signs, activity
level, body orientation, and a scrollable PPG waveform that is transmitted by
the wearable device.” Id. For example, the GUI displays numerical oxygen
saturation (“SpO2”) and heart rate (“HR”) values. Id.

                                2. Analysis
      With support from the testimony of Dr. Kenny, Petitioner contends
that claims 16, 27, and 28 are unpatentable based on Aizawa, Inokawa, and
Mendelson-2006. Pet. 43–48 (citing Ex. 1003 ¶¶ 69–71, 128–136; Ex. 1006
¶¶ 2, 15, 23, 35; Ex. 1008 ¶ 56; Ex. 1016, 912–914, Figs. 1, 3; Ex. 1022).
For instance, Petitioner applies the teachings of Mendelson-2006 to account
for the mobile monitoring device features required by claim 27 and the
touch-screen display recited in claims 16 and 28. Id.
      Patent Owner does not separately address this ground urging only that
the ground “do[es] not fix the deficiencies” that were alleged in connection
with the ground based on Aizawa and Inokawa. PO Resp. 39. As discussed
above, we do not agree with Patent Owner as to any such deficiencies. See
supra § II.D.
      We have reviewed the parties’ papers and supporting evidence and
conclude that Petitioner has shown by a preponderance of the evidence that
claims 16, 27, and 28 are unpatentable based on Aizawa, Inokawa, and
Mendelson-2006.

                G. Obviousness over the Combined Teachings of
                   Aizawa, Inokawa, Mendelson-2006, and Beyer
      Petitioner contends that claims 17, 18, and 29 are unpatentable based
on Aizawa, Inokawa, Mendelson-2006, and Beyer. Pet. 48–53. Claim 17
depends from claim 1 and recites, “a processor configured to: receive one or

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more signals from the at least four detectors, the one or more signals
indicative of a physiological parameter of a wearer of the noninvasive
optical physiological sensing system; and output information indicative of
measurements of the physiological parameter to a mobile phone.” Ex. 1001,
45:42–48. Claim 18 depends from claim 17 and further recites, “wherein at
least the processor is housed in a mobile monitoring device comprising a
touch-screen display.” Id. at 45:50–51. Claim 29 depends from claim 19
and recites, “[a] physiological monitoring system comprising: the
noninvasive optical physiological sensing system of claim 19; and a
processor configured to receive the one or more signals and communicate
physiological measurement information to a mobile phone.” Id. at 46:50–
55.

                       1. Overview of Beyer (Ex. 1019)
      Beyer is a U.S. patent titled “Cellular Phone/PDA Communication
System,” and discloses a “cellular PDA communication system for allowing
a plurality of cellular phone users to monitor each others’ location and status
[and] to initiate cellular phone calls.” Ex. 1019, code (57). Beyer’s Figure 1
is reproduced below.




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Figure 1 depicts a “cellular phone/PDA and display.” Id. at 7:8–9.

                                2. Analysis
      With support from the testimony of Dr. Kenny, Petitioner contends
that claims 17, 18, and 29 are unpatentable based on Aizawa, Inokawa,
Mendelson-2006, and Beyer. Pet. 48–53 (citing, e.g., Ex. 1003 ¶¶ 138–146;
Ex. 1016, 913–914; Ex. 1019, 1:6–15, 7:17–31, Fig. 1). For instance,
Petitioner applies the teachings of Beyer to account for showing that “using
a PDA that is also a mobile phone . . . was common practice,” and that such
devices can include a touch-screen display, as required by claim 18. Id.
      Patent Owner does not separately address this ground urging only that
the ground “do[es] not fix the deficiencies” that were alleged in connection
with the ground based on Aizawa and Inokawa. PO Resp. 39. As discussed
above, we do not agree with Patent Owner as to any such deficiencies. See
supra § II.D.
      We have reviewed the parties’ papers and supporting evidence and
conclude that Petitioner has shown by a preponderance of the evidence that


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claims 17, 18, and 29 are unpatentable based on Aizawa, Inokawa,
Mendelson-2006, and Beyer.

               H. Obviousness over the Combined Teachings of
                         Aizawa, Inokawa, and Al-Ali
        Petitioner contends that claim 10 is unpatentable over Aizawa,
Inokawa, and Al-Ali. Pet. 60–62. Dependent claim 10 ultimately depends
from independent claim 1 and recites that “the protruding light permeable
cover comprises a conductive layer configured to shield the at least four
detectors from noise.” Ex. 1001, 45:18–20.

                       1. Overview of Al-Ali (Ex. 1030)
        Al-Ali is a U.S. patent application publication titled “Multiple
Wavelength Optical Sensor.” Ex. 1030, code (54). Al-Ali discloses an
optical sensor with an emitter that radiates light into a tissue site to be
received by a detector such that, e.g., oxygen saturation may be derived. Id.
at code (57). Al-Ali describes detector 1900 having shield 1910 with
conductive surface 1920 defining windows, shown below in Figure 19A. Id.
¶ 71.




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Figure 19A depicts a top view of a detector. Al-Ali explains that light is
permitted to pass through the windows, while other electromagnetic noise is
blocked. Id. Al-Ali explains that additional shielding material also can be
applied to the ceramic substrate 1710. Id.

                                 2. Analysis
      Petitioner contends that “Al-Ali teaches shielding the detectors of a
pulse oximeter/optical sensor by placing a conductive shield 1920 above the
housing, thereby providing a Faraday cage that can allow ‘passage of light’
to the detectors while ‘blocking . . . electromagnetic noise.’” Pet. 60–61
(citing Ex. 1030 ¶ 71, Fig. 19A; Ex. 1003 ¶ 162-A). Petitioner asserts this
“improve[s] the sensitivity of the detectors, thereby leading to more reliable
pulse/signal detection.” Id. at 61.
      According to Petitioner, a person of ordinary skill in the art “would
have found it obvious to add a similar conductive shield/layer between the
detectors and the LPC [light permeable cover] to prevent electromagnetic
noise from reaching the detectors while still allowing desired
signals/wavelengths to pass through, thereby reducing the effects of noise
and resulting in improved light collection efficiency.” Id. (citing Ex. 1003 ¶
162-B). Petitioner contends that this “entails the use of known solutions to
improve similar systems and methods in the same way,” and “would have
led to [the] predictable result of reducing noise and improving signal
collection without significantly altering or hindering the functions performed
by Aizawa.” Id. at 62 (citing Ex. 1003 ¶ 162-C).
      Patent Owner does not separately address this ground urging only that
the ground “do[es] not fix the deficiencies” that were alleged in connection
with the ground based on Aizawa and Inokawa. PO Resp. 39. As discussed


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above, we do not agree with Patent Owner as to any such deficiencies. See
supra § II.D.
      We have reviewed the parties’ papers and supporting evidence and
conclude that Petitioner has shown by a preponderance of the evidence that
claim 5 is unpatentable based on Aizawa, Inokawa, and Al-Ali. Specifically,
Al-Ali teaches the use of a conductive material to eliminate noise. Ex. 1030
¶ 71. In light of this teaching, we credit Dr. Kenny’s unrebutted testimony
that a person of ordinary skill in the art would have found it obvious to
implement such a conductive material in the sensor of Aizawa and Inokawa
to also reduce noise, as was a well-known technique in the art. Ex. 1003
¶¶ 162-A, 162-B.

                I. Obviousness over the Combined Teachings of
                      Aizawa, Inokawa, Goldsmith, and Lo
      Petitioner contends that claims 16–18 and 27–29 of the ’708 patent
are unpatentable over Aizawa, Inokawa, Goldsmith, and Lo. Pet. 53–60.
      Because we have already determined that these claims are
unpatentable, we need not reach this additional ground applied to these
claims. See Boston Sci. Scimed, Inc. v. Cook Grp. Inc., 809 F. App’x 984,
990 (Fed. Cir. 2020); see supra §§ II.F–G.

                J. Obviousness over the Combined Teachings of
                         Mendelson-1988 and Inokawa
      Petitioner contends that claims 1–9, 11–15, and 19–26 of the ’708
patent would have been obvious over the combined teachings of Mendelson-




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1988 and Inokawa. Pet. 62–90.12 We note that this is the only ground to
challenge claims 12 and 23 of the ’708 patent.

                1. Overview of Mendelson-1988 (Ex. 1015)
      Mendelson-1988 discloses a pulse oximeter, with an optical
reflectance sensor suitable for noninvasive monitoring of a user’s arterial
hemoglobin oxygen saturation (SpO2), via the user’s forehead. See
Ex. 1015, 167 (title & abstract). Figure 2 is reproduced below:




Figure 2 illustrates the sensor of Mendelson-1988, including: (A) a top view
diagram; (B) a side view diagram; and (C) a photograph. Id. at 169.


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  Petitioner never refers to the ’708 patent in regards to this ground, instead
referring to the ’190 patent. We assume that this is an oversight and caused
by forgetting to change the patent number in reproducing this Petition after
drafting the highly similar petition in IPR2021-00195, which challenges the
’190 patent. As such, we will assume that Petitioner means to refer to the
’708 patent and not the ’190 patent.

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      The sensor includes two red LEDs and two infrared LEDs for emitting
light into the user’s tissue, and six photodiodes “arranged symmetrically in a
hexagonal configuration” surrounding the four emitters, to detect light
reflected back to the sensor from the user’s tissue. Id. at 168 (“SENSOR
DESIGN”). The user’s “SpO2 can be calculated from the ratio of the
reflected red and infrared photoplethysmograms.” Id. at 167. “To minimize
the amount of light transmission and reflection between the LEDs and the
photodiodes within the sensor, a ring-shaped, optically opaque shield of
black Delrin . . . was placed between the LEDs and the photodiode chips.”
Id. at 168 (col. 2). “The optical components were encapsulated inside the
package using optically clear adhesive.” Id. “The microelectronic package
was mounted inside a black Delrin housing.” Id.

                           2. Independent Claim 1
                   i.   “A noninvasive optical physiological sensing system
                        comprising:”
      The cited evidence supports Petitioner’s undisputed contention that
Mendelson-1988 discloses a noninvasive optical physiological measurement
system, i.e., an “optical reflectance sensor” that monitors “arterial
hemoglobin oxygen saturation [SpO2],” a physiological parameter of the
wearer. Pet. 68; see, e.g., Ex. 1015, 167, 172; Ex. 1003 ¶ 163. Petitioner
specifically contends that a person of ordinary skill in the art “would have
recognized that a personal computer, together with the pulse oximeter sensor
attached to it, provides the claimed sensing system.” Pet. 68 (citing
Ex. 1003 ¶ 163).




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                  ii.   “[a] a platform including a planar surface”
      The cited evidence supports Petitioner’s undisputed contention that
Mendelson-1988 discloses “LEDs and photodiode chips (i.e., emitters and
detectors) [that] are mounted on a ceramic substrate (platform) that has a
planar surface.” Pet. 68 (citing Ex. 1015, Fig. 2(b), 168) (emphasis
omitted); see, e.g., Ex. 1003 ¶ 164.

                 iii.   “[b] a housing including a raised edge portion
                        extending from and enclosing at least a portion of the
                        planar surface”
      The cited evidence supports Petitioner’s undisputed contention that
Mendelson-1988 discloses an AIRPAX package, i.e., a housing with a
ceramic substrate, i.e., a surface, and a circular raised edge extending from
the surface. Pet. 69–70. Petitioner’s annotated versions of Mendelson-
1988’s Figures 2A and 2B are reproduced below.




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Id. The modified figures depict top and side views of Mendelson-1988’s
sensor with a housing (depicted in red) having a surface (depicted in purple)
with a circular raised edge (depicted in green) extending from the surface.
Id.; Ex. 1003 ¶¶ 165–166.

                 iv.    “[c] at least four detectors arranged on the planar
                        surface of the platform and within the housing,
                        wherein the at least four detectors are arranged in a
                        grid pattern such that a first detector and a second
                        detector are arranged across from each other on
                        opposite sides of a central point along a first axis, and
                        a third detector and a fourth detector are arranged
                        across from each other on opposite sides of the




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                        central point along a second axis which is
                        perpendicular to the first axis”
      The cited evidence supports Petitioner’s undisputed contention that
Mendelson-1998 discloses “six silicon photodiodes . . . arranged
symmetrically in a hexagonal configuration” on the surface. Pet. 70 (citing
Ex. 1015, 169, Figs. 2(A)–(B); Ex. 1003 ¶ 167). Petitioner recognizes that
Mendelson-1988’s “first and second axes as shown above are not
perpendicular to each other,” but points out that Mendleson-1988 “does not
indicate that its system only works with six detectors.” Pet. 72 (citing Ex.
1003 ¶ 169; Ex. 1015, 168). According to Petitioner, “a POSITA would
have considered using different numbers of spaced-apart detectors, namely 4
or 8, to be obvious and a routine and conventional design choice.” Id. at 74
(citing Ex. 1006 ¶ 32; Ex. 1003 ¶ 171).

                  v.    “[d] the housing including a protruding light
                        permeable cover”
                           (1)   Petitioner’s Contentions
      Petitioner contends that Mendelson-1988’s sensor discloses all
limitations of claim 1, except that its light permeable cover that is arranged
above a portion of the housing and covers the detectors, i.e., the
“OPTICALLY CLEAR EPOXY” in Figure 2B, lacks the claimed
“protrusion.” See Pet. 64–67, 74–75; Ex. 1003 ¶¶ 172–181. As discussed
above in Section II.D.3, Petitioner contends that Inokawa’s sensor includes
lens 27, comprising a convex protrusion arranged to cover its light
detector 25. Pet. 65. Petitioner reasons that an ordinarily skilled artisan
would have been motivated, with a reasonable expectation of success, to
modify Mendelson-1988’s optical SpO2 sensor, in light of Inokawa’s optical


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pulse sensor, by adding a lens with a protrusion to Mendelson-1988’s cover
to improve the sensor’s light detection efficiency. Id.
      Dr. Kenny provides the following illustrations to portray the proposed
modification of Mendelson-1988’s sensor (Ex. 1003 ¶ 176):




At the left, Dr. Kenny has excerpted and annotated Mendelson-1988’s
Figure 2B, to identify the pre-existing cover (colored blue) which covers the
light emitters and detectors. See id. At the right, Dr. Kenny has illustrated
the device resulting from the proposed modification of the cover to have a
protrusion (also colored blue). See id.
      Petitioner further asserts “there are two alternative ways of identifying
the claimed ‘light permeable cover,’ or LPC,” to the modified cover above.
Pet. 74; Ex. 1003 ¶¶ 172–173. Dr. Kenny provides the following two
annotations of Mendelson-1988’s Figure 2B to identify these alternative
mappings:




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Dr. Kenny’s first mapping (top figure) equates the cover to the entire depth
of the epoxy contained within the AIRPAX package as shown in red outline.
Ex. 1003 ¶ 180. Dr. Kenny’s second mapping (bottom figure) equates the
cover to a partial depth of the epoxy within the package as shown in red
outline. Id. ¶ 181 (“[A person of ordinary skill in the art] would have been
able to use the top portion of the housing . . ., as in Nishikawa, to help form
the LPC portion on top of the sealing portion.”).
      Petitioner adds that a person of ordinary skill in the art “would have
realized that the epoxy layer [of Mendelson-1998] could have been given a
shape that would help further advance Mendelson-1988’s objective of
improving detection efficiency,” “requir[ing] only routine knowledge of


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sensor design and assembly.” Pet. 64, 66 (citing Ex. 1015, 168, 173);
Ex. 1003 ¶¶ 173, 177. For example, “as demonstrated by Nishikawa,
molding clear epoxy, as in Mendelson-1988, into a lens was well
understood.” Pet. 66–67 (citing Ex. 1023, Fig. 6, ¶¶ 22, 32, 35; Ex. 1003
¶ 178).

                          (2)   Patent Owner’s Arguments
      Patent Owner is of the view that Petitioner has not met its burden to
demonstrate the obviousness of modifying Mendelson-1988’s sensor in light
of Inokawa to have a protrusion, based on substantially the same analysis
and testimony discussed above in the context of combining Aizawa and
Inokawa. See PO Resp. 39–52; Ex. 2004 ¶¶ 91–115; supra Section II.D.3.
For example, Mendelson-1988, like Aizawa, provides a central emitter or
emitters surrounded by several detectors. Compare Ex. 1015, 169 (Fig. 2)
(showing four central LEDs surrounded by six photodiodes), with Ex. 1006,
Figs. 1(a)–1(b) (showing one central LED 21 surrounded by four
photodetectors 22).
      Patent Owner argues that Mendelson-1988 discloses only that it
encapsulates its electronic components with a flat optically clear
adhesive/epoxy, which is not a “cover.” PO Resp. 45 (citing Ex. 1004
¶¶ 102–103). Patent Owner contends that the ’708 patent distinguishes
between resin and covers. PO Resp. 45–46 (citing Ex. 1001, 36:37–46;
Ex. 2009, 395:22–396:17). Patent Owner also argues that Nishikawa, on
which Petitioner relies, “never mentions a cover, and instead discusses
encapsulation of components using an integrally molded resin.” Id. at 46
(citing Ex. 1023 ¶ 35; Ex. 2004 ¶ 104). Likewise, Patent Owner
characterizes Inokawa’s cover as a “distinct structure, not an


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undifferentiated mass of resin on a surface.” Id. (citing Ex. 1008 ¶ 103,
Fig. 17).
      Patent Owner also objects to Petitioner’s alternative mapping,
providing for a cover with a protrusion to be found in two different ways.
See PO Resp. 46–48; Ex. 2004 ¶¶ 105–107. This alternative mapping,
according to Patent Owner, is “ambiguous[],” and the second mapping
incorporates an “arbitrary” drawn line defining the bottom of the cover in
“an undifferentiated mass of material.” PO Resp. 47. Patent Owner also
argues that “Petitioner’s inability to consistently identify a ‘cover’ reveals
the hindsight-driven nature of its arguments.” Id.

                           (3)   Petitioner’s Reply
      Petitioner maintains that the Petition and supporting testimony
adequately account for the “cover” required by the claims of the ’708 patent,
including the “alternative mapping” configuration. Pet. Reply 19–23.

                           (4)   Patent Owner’s Sur-reply
      Patent Owner’s Sur-reply generally reiterates its arguments
challenging Petitioner’s contentions. PO Sur-reply 18–23.

                           (5)   Analysis
      As an initial matter, we find that a preponderance of the evidence
establishes that the Mendelson-1988 sensor’s optically clear epoxy is a light
permeable cover that is arranged above a portion of the housing and covers
the sensor’s detectors. In particular, it is clear from Figures 2A and 2B that
the epoxy extends from the top of the sensor at the dotted line in the figure,
down into the well of the AIRPAX package, to cover all four LEDs and all
six photodiodes disposed at the bottom of the well. See also Ex. 1015, 168

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(“The optical components were encapsulated inside the package using
optically clear adhesive”). Although Patent Owner disagrees, that
disagreement is premised on its proposed claim construction of the term
“cover” as excluding resins and epoxies. See PO Resp. 45–48. For reasons
provided in Section II.C.1 above, we do not find that claim construction
persuasive, and Patent Owner does not distinguish Mendelson-1988 from
claim 1 on this basis.
      Thus, we determine that Petitioner has established persuasively that
Mendelson-1988’s sensor teaches every limitation of claim 1, except that its
light permeable cover has a flat surface and, thus, does not include a
“protrusion.” We, however, conclude that a preponderance of the evidence
supports Petitioner’s contention that it would have been obvious to modify
the top surface of Mendelson-1988’s cover to include a protrusion, in order
to increase the amount of backscattered light that will be received by
Mendelson-1988’s peripheral detectors. Our reasoning is substantially
identical to the analysis provided above in connection with the ground based
on Aizawa and Inokawa, with Mendelson-1988 replacing Aizawa in the
combination. See supra Section II.D.3. Patent Owner does not cite, and we
do not discern, any material difference between Mendelson-1988 and
Aizawa that might lead to a different result here, with one possible
exception.
      That difference is Petitioner’s alternative mapping of the claimed
“cover” to Petitioner’s proposed modification of Mendelson-1988’s sensor.
We rely on the first mapping, but not Petitioner’s second mapping, to decide
in Petitioner’s favor. Petitioner’s first mapping is again reproduced here
(Ex. 1003 ¶ 180):



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In this modified and annotated version of Figure 2B of Mendelson-1988,
Dr. Kenny identifies how Mendelson-1988’s light permeable cover may be
modified to have a protrusion, wherein the cover (which Dr. Kenny has
colored blue) includes the entire depth of the optically clear epoxy contained
within the AIRPAX package (as Dr. Kenny has shown in red outline). Id.;
Pet. 74–75. Patent Owner objects to this mapping as ambiguous, but we
determine Dr. Kenny’s annotations reproduced above are sufficiently clear
to establish obviousness by a preponderance of the evidence.

                 vi.    Summary
      For the foregoing reasons, we determine that Petitioner has met its
burden of demonstrating by a preponderance of the evidence that claim 1
would have been obvious over the cited combination of references.

                           3. Independent Claim 19
      Independent claim 19 consists of limitations that are substantially
similar to elements [a]–[d] of claim 1. Compare Ex. 1001, 44:36–50, with
id. at 45:53–46:11 (reciting a “housing including a raised wall protruding”).
In asserting that claim 19 also would have been obvious over the combined



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teachings of Aizawa and Inokawa, Petitioner refers to substantially the same
contentions presented as to claim 1. See Pet. 85–88; Ex. 1003 ¶¶ 199–202.
      Patent Owner does not present any argument for this claim other than
those we have already considered with respect to independent claim 1. PO
Resp. 39–48; see, e.g., id. at 45 (“Like the Aizawa grounds, Petitioner’s
Mendelson grounds do not satisfy all of the claim limitations. Claims 1 and
19 include a housing and a light permeable cover.”) (citing Ex. 1001, 44:36–
50, 45:53–46:11).
      For the same reasons discussed above, we determine that Petitioner
has met its burden of demonstrating by a preponderance of the evidence that
claim 19 would have been obvious over the cited combination of references.
See supra §§ II.J.2.i–v; Ex. 1003 ¶¶ 172–181.

                                4.      Dependent Claim 3
      Claim 3 ultimately depends from claim 1 and recites, “[t]he
noninvasive optical physiological sensing system of claim 2, wherein the
housing is a cylindrical housing protrusion.” Ex. 1001, 44:57–59. Petitioner
recognizes that Mendelson-1988’s “particular housing shape . . . appears to
have a generally rectangular shape, not a cylindrical one.” Pet. 77–78 (citing
Ex. 1015, Fig. 2(a)). However, Petitioner contends that a person of ordinary
skill in the art “would have recognized that microelectronic packaging as
used in Mendelson-1988 comes in various shapes and sizes.” Id. at 78
(citing Ex. 1003 ¶ 185). Petitioner further contends that a person of ordinary
skill in the art “would have considered using a differently shaped housing,
namely a cylindrical one, to be obvious,” and doing so “was common
practice” prior to the ’708 patent. Id. at 78–79 (citing Ex. 1003 ¶ 186).




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Petitioner explains that its contentions are evidenced by another reference of
record, Mendelson ’799. 13 Id.
      Patent Owner characterizes Petitioner’s proposed ground for claim 3
as “facially deficient” for several reasons: (1) “Petition[er] never identifies a
motivation to pick a cylindrical-shaped housing instead of the existing
square shape”; (2) “[a person of ordinary skill in the art] would have no
particular motivation to change the shape unless a [person of ordinary skill
in the art] perceived some benefit in doing so”; (3) “Mendelson ’799 does
not disclose a cover (or even epoxy encapsulation) and thus cannot disclose
a cylindrical housing and a cover of the cylindrical housing, as claim 3
requires”; and (4) “Petitioner did not include Mendelson ’799 in any
ground.” PO Resp. 48–49 (citing Ex. 2004 ¶¶ 110–111).
      In response to Patent Owner’s arguments, Petitioner replies that
“references like Mendelson [’]799 have a circular housing and confirm the
notion that a [person of ordinary skill in the art] would have found it to be
simply a matter of design choice to use different shapes.” Pet. Reply 23
(citing Ex. 1003 ¶ 186; Ex. 1025, Fig. 7, 9:34–36; Ex. 1047 ¶ 48). Petitioner
also contends “neither the ’708 patent nor [Patent Owner] provides any
explanation of how the particular housing shape solves some problem or
presents some unexpected result.” Id. at 23–24 (citing In re Kuhle, 526 F.2d
553, 555 (CCPA 1975)).
      Patent Owner responds that “Petitioner’s reply reiterates its
conclusory arguments that [the proposed] change would be routine, without




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  U.S. Patent No. 6,801,799 B2, filed Feb. 6, 2003, issued Oct. 5, 2004
(“Mendelson 799,” Ex. 1025).

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identifying any reason to modify the shape from square to circular.”
Sur-reply 21–22.
      On the record before us, we conclude that a preponderance of the
evidence supports Petitioner’s contention that it would have been obvious to
modify the shape of Mendelson-1988’s AIRPAX package from square to
circular. Petitioner’s and Dr. Kenny’s general assessment that a person of
ordinary skill in the art would have been aware that a circular housing shape
was a known option for housing of components of a physiological sensor
finds support in the record. Pet. 77–78; Ex. 1003 ¶ 186. In that respect,
although Mendelson ’799 was not listed in the styling of the proposed
grounds of unpatentability based on Mendelson-1988 and Inokawa, its
teachings plainly were offered in the Petition as evidence of the background
knowledge that an ordinarily skilled artisan would have brought to bear in an
evaluation of the teachings Mendelson-1988 and Inokawa. Pet. 77–78.
Moreover, it is clear that Patent Owner understood that the proposed ground
offered in the Petition took into account the disclosure of Mendelson ’799,
and Patent Owner had opportunity to address that disclosure. Indeed, Patent
Owner availed itself of that opportunity during trial (see, e.g., PO Resp. 48–
49; Sur-reply 21–22).
      We further find unavailing Patent Owner’s argument that “Mendelson
’799 does not disclose a cover (or even epoxy encapsulation) and thus
cannot disclose a cylindrical housing and a cover of the cylindrical housing,
as claim 3 requires.” PO Resp. 49. Figure 7 of Mendelson ’799 is
reproduced below:




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Figure 7 is a top view of optical sensor 10 comprising light source 12
composed of three LEDs 12A, 12B, and 12C emitting light of three different
wavelengths, and an array of six near detectors 18 and six far detectors 16
“arranged in two concentric ring-like arrangements” surrounding light
source 12. Ex. 1025, 9:23–34. “All these elements are accommodated in a
sensor housing 17” which, as can be seen in Figure 7, is clearly circular. Id.
at 9:34–35. Patent Owner does not articulate why the presence or absence of
a cover in Mendelson ’799 somehow serves to discount Mendelson ’799’s
unambiguous presentation of a sensor housing having a shape recognizable
as circular.
       Furthermore, one of ordinary skill in the art would have understood
that the AIRPAX package of Mendelson-1988 and the housing 17 of
Mendelson ’799 are performing the same function of enclosing a central
collection of light emitters which are surrounded by an array of light
detectors in an optical sensor attached to a user’s body. See, e.g., Ex. 1015,
Figs. 2A–2B; Ex. 1025, Fig. 7. The evidence of record also does not suggest


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that the shape of such a housing has any functional significance in the
operation of the optical sensor, or that any particular known shape was
preferred or restricted. Thus, the evidence suggests that a square shape and a
circular shape of such a housing were known in the art to be predictable
substitutes for one another, and therefore obvious variants. See, e.g., KSR,
550 U.S. at 416 (“[W]hen a patent claims a structure already known in the
prior art that is altered by the mere substitution of one element for another
known in the field, the combination must do more than yield a predictable
result.”); id. at 417 (“[W]hen a patent ‘simply arranges old elements with
each performing the same function it had been known to perform’ and yields
no more than one would expect from such an arrangement, the combination
is obvious.” (citation omitted)).
      We conclude Petitioner has demonstrated by a preponderance of the
evidence that Petitioner’s ground based on Mendelson-1988 and Inokawa
conveys the unpatentability of claim 3.

      5. Dependent Claims 2, 4–9, 11–15, and 20–26
      Petitioner provides argument and evidence, including testimony from
Dr. Kenny, in support of its position that claims 2, 4–9, 11–15, and 20–26
are unpatentable over Mendelson-1988 and Inokawa. Pet. 76–77, 79–85,
88–90 (citing, e.g., Ex. 1003 ¶¶ 163–209). Patent Owner does not advance
any arguments for claims 2, 4–9, 11–15, and 20–26, that are distinct from
those provided for claims 1, 3, and 19. See PO Resp. 52. For the same
reasons set forth in Sections II.J.2–4 above, we find Patent Owner’s
arguments unavailing as to claims 2, 4–9, 11–15, and 20–26. Having
evaluated the Petition and its underlying supporting evidence, we conclude
that Petitioner has established by a preponderance of the evidence that


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claims 2, 4–9, 11–15, and 20–26 are also unpatentable based on Mendelson-
1988 and Inokawa.

              K. Obviousness over the Combined Teachings of
                Mendelson-1988, Inokawa, and Mendelson-2006
      Petitioner contends that claims 16, 27, and 28 of the ’708 patent
would have been obvious over the combined teachings of Mendelson-1988,
Inokawa, and Mendelson-2006. Pet. 90–93.
      With support from the testimony of Dr. Kenny, Petitioner contends
that claims 16, 27, and 28 are unpatentable based on Mendelson-1988,
Inokawa, and Mendelson-2006. Pet. 90–93 (citing Ex. 1003 ¶¶ 129, 210–
216; Ex. 1015, 167, 169, Fig. 2; Ex. 1016, 912–915, Figs. 1–3). For
instance, Petitioner applies the teachings of Mendelson-2006 to account for
the mobile monitoring device features required by claim 27 and the touch-
screen display recited in claims 16 and 28. Id.
      Patent Owner does not separately address this ground urging only that
the ground “do[es] not fix the Petition’s deficiencies” that were alleged in
connection with the ground based on Mendelson-1988 and Inokawa. PO
Resp. 52. As discussed above, we do not agree with Patent Owner as to any
such deficiencies. See supra § II.J.
      We have reviewed the Petition and its supporting evidence and
conclude that Petitioner has shown by a preponderance of the evidence that
claims 16, 27, and 28 are unpatentable based on Mendelson-1988, Inokawa,
and Mendelson-2006.




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             L. Obviousness over the Combined Teachings of
            Mendelson-1988, Inokawa, Mendelson-2006, and Beyer
      Petitioner contends that claims 17, 18, and 29 of the ’708 patent
would have been obvious over the combined teachings of Mendelson-1988,
Inokawa, Mendelson-2006, and Beyer. Pet. 93–96.
      With support from the testimony of Dr. Kenny, Petitioner contends
that claims 17, 18, and 29 are unpatentable based on Mendelson-1988,
Inokawa, Mendelson-2006, and Beyer. Pet. 93–96 (citing, e.g., Ex. 1003
¶¶ 72, 217–226; Ex. 1016, 912–915; Ex. 1019, 7:17–31, Fig. 1). The
Petition frequently cites back to analysis for previously addressed grounds in
explaining the arguments for this ground, as this ground contains many of
prior art references and claims that were previously addressed in various
capacities within the proposed grounds. See, e.g., id. at 94 (analyzing
claim 17 and writing “as discussed in Section III.H.1, the combined system
of Mendelson-1988-Inokawa-Mendelson-2006 can rely on the receiver
module of Mendelson-2006 to receive signals from Mendelson-1988’s
sensor and communicate with a PDA”). Petitioner further applies the
teachings of Beyer to, for example, show that a person of ordinary skill in
the art “would have considered using a different PDA than the one
mentioned in Mendelson-2006, namely the cellular PDA of Beyer, to be
obvious and a routine/conventional design choice,” as required by claim 17.
Id. at 94–95 (citing Ex. 1003 ¶¶ 72, 221–222; Pet. 48–53).
      Patent Owner does not separately address this ground urging only that
the ground “do[es] not fix the Petition’s deficiencies” that were alleged in
connection with the ground based on Mendelson-1988 and Inokawa. PO
Resp. 52. As discussed above, we do not agree with Patent Owner as to any
such deficiencies. See supra § II.J.


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      We have reviewed the Petition and its supporting evidence and
conclude that Petitioner has shown by a preponderance of the evidence that
claims 17, 18, and 29 are unpatentable based on Mendelson-1988, Inokawa,
Mendelson-2006, and Beyer.

                            III. CONCLUSION
      In summary, we determine that a preponderance of the evidence
establishes claims 1–29 of the ’708 patent are unpatentable, as shown in the
following table:14

               35                              Claims       Claims
 Claim(s)     U.S.C.       References          Shown       Not Shown
                §                            Unpatentable Unpatentable
1–9, 11,                                     1–9, 11, 13–
13–15, 19– 103          Aizawa, Inokawa      15, 19–22,
22, 24–27                                    24–27
1–9, 11,                                     1–9, 11, 13–
                        Aizawa, Inokawa,
13–15, 19– 103                               15, 19–22,
                        Ohsaki
22, 24–27                                    24–27
                        Aizawa, Inokawa,
16, 27, 28    103                            16, 27, 28
                        Mendelson-2006
                        Aizawa, Inokawa,
17, 18, 29    103       Mendelson-2006,      17, 18, 29
                        Beyer

14
   Should Patent Owner wish to pursue amendment of the challenged claims
in a reissue or reexamination proceeding subsequent to the issuance of this
decision, we draw Patent Owner’s attention to the April 2019 Notice
Regarding Options for Amendments by Patent Owner Through Reissue or
Reexamination During a Pending AIA Trial Proceeding. See 84 Fed. Reg.
16,654 (Apr. 22, 2019). If Patent Owner chooses to file a reissue application
or a request for reexamination of the challenged patent, we remind Patent
Owner of its continuing obligation to notify the Board of any such related
matters in updated mandatory notices. See 37 C.F.R. §§ 42.8(a)(3), (b)(2).

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16–18, 27–              Aizawa, Inokawa,
           10315
29                      Goldsmith, Lo
                        Aizawa, Inokawa,
10           103                             10
                        Al-Ali
1–9, 11–                Mendelson-1988,      1–9, 11–15,
             103
15, 19–26               Inokawa              19–26
                        Mendelson-1988,
16, 27, 28   103        Inokawa,             16, 27, 28
                        Mendelson-2006
                        Mendelson-1988,
                        Inokawa,
17, 18, 29   103                             17, 18, 29
                        Mendelson-2006,
                        Beyer
Overall
                                             1–29
Outcome



                                IV. ORDER
      Upon consideration of the record before us, it is:
      ORDERED that claims 1–29 of the ’708 patent have been shown to be
unpatentable; and
      FURTHER ORDERED that, because this is a final written decision,
parties to the proceeding seeking judicial review of the decision must
comply with the notice and service requirements of 37 C.F.R. § 90.2.




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  As explained above, because we conclude that the challenged
claims are unpatentable on other grounds, we do not reach the merits of
this ground.

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Patent 10,299,708 B1
FOR PETITIONER:

W. Karl Renner
Andrew Patrick
Hyun Jin In
Dan Smith
FISH & RICHARDSON P.C.
IPR50095-000913IP12@fr.com
PTABInbound@fr.com
axf-ptab@fr.com
patrick@fr.com
in@fr.com


FOR PATENT OWNER:

Joseph R. Re
Stephen W. Larson
Jarom D. Kesler
Jacob L. Peterson
KNOBBE, MARTENS, OLSON, & BEAR, LLP
AppleIPR2021-0193-708@knobbe.com
2jrr@knobbe.com
2swl@knobbe.com
2jzk@knobbe.com
2jup@knobbe.com




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Trials@uspto.gov                                                Paper 32
571-272-7822                                       Entered: May 25, 2022


       UNITED STATES PATENT AND TRADEMARK OFFICE


        BEFORE THE PATENT TRIAL AND APPEAL BOARD


                             APPLE INC.,
                              Petitioner,

                                  v.

                       MASIMO CORPORATION,
                            Patent Owner.


                           IPR2021-00195
                         Patent 10,376,190 B1



Before JOSIAH C. COCKS, ROBERT L. KINDER, and
AMANDA F. WIEKER, Administrative Patent Judges.
WIEKER, Administrative Patent Judge.


                             JUDGMENT
                        Final Written Decision
            Determining All Challenged Claims Unpatentable
                          35 U.S.C. § 318(a)
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                            I.   INTRODUCTION

                                 A. Background

      Apple Inc. (“Petitioner”) filed a Petition requesting an inter partes
review of claims 1–14 and 16–30 (“challenged claims”) of U.S. Patent
No. 10,376,190 B1 (Ex. 1001, “the ’190 patent”). Paper 2 (“Pet.”). Masimo
Corporation (“Patent Owner”) waived filing a preliminary response.
Paper 6. We instituted an inter partes review of all challenged claims 1–14
and 16–30 on all grounds of unpatentability, pursuant to 35 U.S.C. § 314.
Paper 7 (“Inst. Dec.”).
      After institution, Patent Owner filed a Response (Paper 15, “PO
Resp.”) to the Petition, Petitioner filed a Reply (Paper 18, “Pet. Reply”), and
Patent Owner filed a Sur-reply (Paper 22, “PO Sur-reply”). An oral hearing
was held on March 15, 2022, and a transcript of the hearing is included in
the record. Paper 31 (“Tr.”).
      We issue this Final Written Decision pursuant to 35 U.S.C. § 318(a)
and 37 C.F.R. § 42.73. For the reasons set forth below, Petitioner has met
its burden of showing, by a preponderance of the evidence, that challenged
claims 1–14 and 16–30 of the ’190 patent are unpatentable.

                              B. Related Matters

      The parties identify the following matters related to the ’190 patent:
      Masimo Corporation v. Apple Inc., Civil Action No. 8:20-cv-00048
(C.D. Cal.) (filed Jan. 9, 2020);
      Apple Inc. v. Masimo Corporation, IPR2020-01520 (PTAB Aug. 31,
2020) (challenging claims of U.S. Patent No. 10,258,265 B1);




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      Apple Inc. v. Masimo Corporation, IPR2020-01521 (PTAB Sept. 2,
2020) (challenging claims of U.S. Patent No. 10,292,628 B1);
      Apple Inc. v. Masimo Corporation, IPR2020-01523 (PTAB Sept. 9,
2020) (challenging claims of U.S. Patent No. 8,457,703 B2);
      Apple Inc. v. Masimo Corporation, IPR2020-01524 (PTAB Aug. 31,
2020) (challenging claims of U.S. Patent No. 10,433,776 B2);
      Apple Inc. v. Masimo Corporation, IPR2020-01526 (PTAB Aug. 31,
2020) (challenging claims of U.S. Patent No. 6,771,994 B2);
      Apple Inc. v. Masimo Corporation, IPR2020-01536 (PTAB Aug. 31,
2020) (challenging claims of U.S. Patent No. 10,588,553 B2);
      Apple Inc. v. Masimo Corporation, IPR2020-01537 (PTAB Aug. 31,
2020) (challenging claims of U.S. Patent No. 10,588,553 B2);
      Apple Inc. v. Masimo Corporation, IPR2020-01538 (PTAB Sept. 2,
2020) (challenging claims of U.S. Patent No. 10,588,554 B2);
      Apple Inc. v. Masimo Corporation, IPR2020-01539 (PTAB Sept. 2,
2020) (challenging claims of U.S. Patent No. 10,588,554 B2);
      Apple Inc. v. Masimo Corporation, IPR2020-01713 (PTAB Sept. 30,
2020) (challenging claims of U.S. Patent No. 10,624,564 B1);
      Apple Inc. v. Masimo Corporation, IPR2020-01714 (PTAB Sept. 30,
2020) (challenging claims of U.S. Patent No. 10,631,765 B1);
      Apple Inc. v. Masimo Corporation, IPR2020-01715 (PTAB Sept. 30,
2020) (challenging claims of U.S. Patent No. 10,631,765 B1);
      Apple Inc. v. Masimo Corporation, IPR2020-01716 (PTAB Sept. 2,
2020) (challenging claims of U.S. Patent No. 10,702,194 B1);
      Apple Inc. v. Masimo Corporation, IPR2020-01722 (PTAB Oct. 2,
2020) (challenging claims of U.S. Patent No. 10,470,695 B2);



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      Apple Inc. v. Masimo Corporation, IPR2020-01723 (PTAB Oct. 2,
2020) (challenging claims of U.S. Patent No. 10,470,695 B2);
      Apple Inc. v. Masimo Corporation, IPR2020-01733 (PTAB Sept. 30,
2020) (challenging claims of U.S. Patent No. 10,702,195 B1);
      Apple Inc. v. Masimo Corporation, IPR2020-01737 (PTAB Sept. 30,
2020) (challenging claims of U.S. Patent No. 10,709,366 B1)
      Apple Inc. v. Masimo Corporation, IPR2021-00193 (PTAB Nov. 20,
2020) (challenging claims of U.S. Patent No. 10,299,708 B1);
      Apple Inc. v. Masimo Corporation, IPR2021-00208 (PTAB Nov. 20,
2020) (challenging claims of U.S. Patent No. 10,258,266 B1); and
      Apple Inc. v. Masimo Corporation, IPR2021-00209 (PTAB Nov. 20,
2020) (challenging claims of U.S. Patent No. 10,376,191 B1).
Pet. 100; Paper 3, 3–4.
      Patent Owner further identifies the following pending patent
applications, among other issued and abandoned applications, that claim
priority to, or share a priority claim with, the ’190 patent:
      U.S. Patent Application No. 16/834,538;
      U.S. Patent Application No. 17/031,407;
      U.S. Patent Application No. 17/031,316;
      U.S. Patent Application No. 17/031,356;
      U.S. Patent Application No. 16/449,143; and
      U.S. Patent Application No. 16/805,605.
Paper 3, 1–3.

                              C. The ’190 Patent
      The ’190 patent is titled “Multi-Stream Data Collection System for
Noninvasive Measurement of Blood Constituents,” and issued on August 13,


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2019, from U.S. Patent Application No. 16/409,304, filed May 10, 2019.
Ex. 1001, codes (21), (22), (45), (54). The ’190 patent claims priority
through a series of continuation and continuation-in-part applications to
Provisional Application Nos. 61/078,228 and 61/078,207, both filed July 3,
2008. Id. at codes (60), (63).
      The ’190 patent discloses a two-part data collection system including
a noninvasive sensor that communicates with a patient monitor. Id. at 2:31–
33. The sensor includes a sensor housing, an optical source, and several
photodetectors, and is used to measure a blood constituent or analyte, e.g.,
oxygen or glucose. Id. at 2:22–28, 57–58. The patient monitor includes a
display and a network interface for communicating with a handheld
computing device. Id. at 2:38–40.
      Figure 1 of the ’190 patent is reproduced below.




Figure 1 illustrates a block diagram of data collection system 100 including
sensor 101 and monitor 109. Id. at 11:36–47. Sensor 101 includes optical
emitter 104 and detectors 106. Id. at 11:48–52. Emitters 104 emit light that

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is attenuated or reflected by the patient’s tissue at measurement site 102. Id.
at 13:60–67. Detectors 106 capture and measure the light attenuated or
reflected from the tissue. Id. In response to the measured light,
detectors 106 output detector signals 107 to monitor 109 through front-end
interface 108. Id. at 13:64–66, 14:16–22. Sensor 101 also may include
tissue shaper 105, which may be in the form of a convex surface that:
(1) reduces the thickness of the patient’s measurement site; and (2) provides
more surface area from which light can be detected. Id. at 10:61–11:3.
      Monitor 109 includes signal processor 110 and user interface 112. Id.
at 15:6–8. “[S]ignal processor 110 includes processing logic that determines
measurements for desired analytes . . . based on the signals received from
the detectors 106.” Id. at 15:10–14. User interface 112 presents the
measurements to a user on a display, e.g., a touch-screen display. Id. at
15:38–48. The monitor may be connected to storage device 114 and
network interface 116. Id. at 15:52–16:3.
      The ’190 patent describes various examples of sensor devices.
Figures 14D and 14F, reproduced below, illustrate detector portions of
sensor devices.




Figure 14D illustrates portions of a detector submount and Figure 14F
illustrates portions of a detector shell. Id. at 6:34–37. As shown in

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Figure 14D, multiple detectors 1410c are located within housing 1430 and
under transparent cover 1432, on which protrusion 605b (or partially
cylindrical protrusion 605) is disposed. Id. at 35:23–25, 36:17–24.
Figure 14F illustrates detector shell 306f including detectors 1410c on
substrate 1400c. Id. at 36:63–37:4. Substrate 1400c is enclosed by shielding
enclosure 1490 and noise shield 1403, which include window 1492a and
window 1492b, respectively, placed above detectors 1410c. Id.
Alternatively, cylindrical housing 1430 may be disposed under noise
shield 1403 and may enclose detectors 1410c. Id. at 37:34–36.
      Figures 4A and 4B, reproduced below, illustrate an alternative
example of a tissue contact area of a sensor device.




Figures 4A and 4B illustrate arrangements of protrusion 405 including
measurement contact area 470. Id. at 23:8–14. “[M]easurement site contact
area 470 can include a surface that molds body tissue of a measurement
site.” Id. “For example, . . . measurement site contact area 470 can be
generally curved and/or convex with respect to the measurement site.” Id. at
23:31–33. The measurement site contact area may include windows 420–
423 that “mimic or approximately mimic a configuration of, or even house, a
plurality of detectors.” Id. at 23:39–53.



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                              D. Illustrative Claim

      Of the challenged claims, claims 1 and 26 are independent. Claim 1 is
illustrative and is reproduced below.
      1. A noninvasive optical physiological measurement device
      adapted to be worn by a wearer, the noninvasive optical
      physiological measurement device providing an indication of a
      physiological parameter of the wearer comprising:
          [a] one or more light emitters;
         [b] a housing having a surface and a circular raised edge
      extending from the surface;
         [c] at least four detectors arranged on the surface and spaced
      apart from each other, the at least four detectors configured to
      output one or more signals responsive to light from the one or
      more light emitters attenuated by body tissue, the one or more
      signals indicative of a physiological parameter of the wearer; and
          [d] a light permeable cover arranged above at least a portion
      of the housing, the light permeable cover comprising a protrusion
      arranged to cover the at least four detectors.
Ex. 1001, 44:37–53 (bracketed identifiers [a]–[d] added). Independent
claim 26 includes limitations substantially similar to limitations [a]–[d] of
claim 1. Id. at 46:22–40 (reciting a “circular housing” with a “wall”;
reciting a “lens portion”).

                              E. Applied References
      Petitioner relies upon the following references:
            Beyer, Jr., U.S. Patent No. 7,031,728 B2, filed Sept. 21, 2004,
      issued Apr. 18, 2006 (Ex. 1019, “Beyer”);
            Ohsaki et al., U.S. Patent Application Publication
      No. 2001/0056243 A1, filed May 11, 2001, published December 27,
      2001 (Ex. 1014, “Ohsaki”);




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            Aizawa, U.S. Patent Application Publication
      No. 2002/0188210 A1, filed May 23, 2002, published December 12,
      2002 (Ex. 1006, “Aizawa”);
            Lo et al., U.S. Patent Application Publication
      No. 2004/0138568 A1, filed Jan. 15, 2003, published July 15, 2004
      (Ex. 1028, “Lo”);
            Inokawa et al., Japanese Patent Application Publication
      No. 2006-296564 A, filed April 18, 2005, published November 2,
      2006 (Ex. 1007, “Inokawa”);1
            Goldsmith et al., U.S. Patent Application Publication
      No. 2007/0093786 A1, filed July 31, 2006, published April 26, 2007
      (Ex. 1027, “Goldsmith”);
            Al-Ali et al., U.S. Patent Application Publication
      No. 2008/0242958 A1, filed Mar. 26, 2008, published Oct. 2, 2008
      (Ex. 1030, “Al-Ali”);
            Y. Mendelson et al., “Design and Evaluation of a New
      Reflectance Pulse Oximeter Sensor,” Association for the
      Advancement of Medical Instrumentation, Vol. 22, No. 4, 167–173
      (1988) (Ex. 1015, “Mendelson-1988”); and
            Y. Mendelson et al., “A Wearable Reflectance Pulse Oximeter
      for Remote Physiological Monitoring,” Proceedings of the 28th IEEE
      EMBS Annual International Conference, 912–915 (2006) (Ex. 1016,
      “Mendelson-2006”).
Pet. 4. Petitioner also submits, inter alia, the Declaration of Thomas W.
Kenny, Ph.D. (Ex. 1003), and the Second Declaration of Thomas W. Kenny
(Ex. 1047). Patent Owner submits, inter alia, the Declaration of Vijay K.
Madisetti, Ph.D. (Ex. 2004). The parties also provide deposition testimony
from Dr. Kenny and Dr. Madisetti, including from this and other
proceedings. See Exs. 1034–1036, 2006–2009, 2027.




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 Petitioner relies on a certified English translation of Inokawa (Ex. 1008).
In this Decision, we also refer to the translation.

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                            F. Asserted Grounds

      Petitioner asserts that claims 1–14 and 16–30 are unpatentable based
upon the following grounds (Pet. 1–2):
 Claim(s) Challenged        35 U.S.C. §                References/Basis
 1–14, 16, 17, 19–23,
                                103          Aizawa, Inokawa
 26–29
 1–14, 16, 17, 19–23,
                                103          Aizawa, Inokawa, Ohsaki
 26–29
                                             Aizawa, Inokawa, Mendelson-
 23, 24                         103
                                             2006
                                             Aizawa, Inokawa, Goldsmith,
 23–25                          103
                                             Lo
                                             Aizawa, Inokawa, Mendelson-
 25                             103
                                             2006, Beyer
 5                              103          Aizawa, Inokawa, Al-Ali
 1–14, 16–22, 26–30             103          Mendelson-1988, Inokawa
                                             Mendelson-1988, Inokawa,
 23, 24                         103
                                             Mendelson-2006
                                             Mendelson-1988, Inokawa,
 25                             103
                                             Mendelson-2006, Beyer

                             II. DISCUSSION
                           A. Claim Construction
      For petitions filed on or after November 13, 2018, a claim shall be
construed using the same claim construction standard that would be used to
construe the claim in a civil action under 35 U.S.C. § 282(b). 37 C.F.R.
§ 42.100(b) (2019).
      Although both parties contend that no claim term requires express
construction (Pet. 4–5; PO Resp. 10), the substance of the parties’ briefing
demonstrates that there is a dispute regarding the claim term “cover.”




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      1. “cover”

      Each of independent claims 1 and 26 requires “a light permeable
cover.” Ex. 1001, 44:51, 46:33.
      Patent Owner argues that the claimed “cover” excludes “an optically
clear adhesive/epoxy” and a “resin on a surface.” PO Resp. 46–47.
According to Patent Owner, “the ’190 Patent distinguishes a resin on a
surface from a cover, explaining: ‘the cylindrical housing 1430 (and
transparent cover 1432) . . . can protect the detectors 1410c and
conductors 1412c more effectively than currently-available resin epoxies.’”
Id. at 47 (quoting Ex. 1001, 36:37–46).
      Patent Owner alleges that Dr. Kenny also “distinguished a sealing
resin from a cover, acknowledging a ‘layer of sealing resin’ is ‘one way to
protect the components without using a cover.’” Id. (quoting Ex. 2009,
395:22–396:17). Patent Owner argues its understanding is consistent with
the prior art cited by Petitioner. Id. (citing Ex. 1008 ¶ 103, Fig. 17; Ex. 1023
¶ 35; Ex. 1012, 5:2–6, Fig. 2B; Ex. 1013 ¶ 32, Fig. 2; Ex. 1027 ¶ 85, Fig. 9B
Ex. 2004 ¶ 104).
      Petitioner replies that “there is nothing in the specification or the
prosecution history [of the ’190 patent] that would lead a [person of ordinary
skill in the art] to conclude that ‘cover’ should be interpreted based on
anything other than its plain meaning.” Pet. Reply 20 (citing Thorner v.
Sony Computer Entertainment America LLC, 669 F.3d 1362, 1368 (Fed. Cir.
2012)). That plain meaning, according to Petitioner, is that “a cover is
merely ‘something that protects, shelters, or guards.’” Id. at 20–21 (quoting
Ex. 1050; citing Pet. 73–75; Ex. 1047 ¶ 43). Petitioner argues that Patent
Owner’s reliance on the ’190 patent Specification takes text out of context


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and, when context is considered, it is clear that “the epoxy resin to which the
’190 patent compares its cover is not [an] epoxy cover . . . but rather epoxy
that is applied to solder joints.” Id. at 21 (citing Ex. 1001, 36:37–46;
Ex. 1047 ¶ 45).
      Petitioner also contends that Patent Owner “mischaracterizes
Dr. Kenny’s deposition testimony to say he agreed that ‘sealing resin’ is
somehow distinguished from a cover.” Id. Petitioner contends that
Dr. Kenny simply “clarified that using a sealing resin is ‘a pretty common
way to protect electronic components.’” Id. (citing Ex. 2009, 395:22–
396:17; Ex. 1047 ¶ 44). Moreover, Petitioner contends that “such extrinsic
evidence would not justify departure from plain meaning under Thorner.”
Id.
      In its Sur-reply, Patent Owner maintains that the ’190 patent
“specifically distinguishes a ‘resin’ on a surface from a ‘cover,’” and
Petitioner’s opposing reading is not persuasive. PO Sur-reply 18–19.
      Upon review of the record, we disagree with Patent Owner’s limiting
construction of “cover” to exclude epoxy and resin. The plain and ordinary
meaning of the term does not support Patent Owner’s view. A “cover”
ordinarily connotes “something that protects, shelters, or guards.” Ex. 1050
(Merriam-Webster’s Collegiate Dictionary, 11th ed. (©2005)), 288. That
plain and ordinary meaning is consistent with the ’190 patent’s description
of “flex circuit cover 360, which can be made of plastic or another suitable
material . . . [and] can cover and thereby protect a flex circuit (not shown).”
Ex. 1001, 22:62–66. It is also consistent with the ’190 patent’s description
and illustration of “transparent cover 1432” in Figure 14D, which covers and
protects detectors 1410c and conductors 1412c, and which “can be



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fabricated from glass or plastic, among other materials.” See id. at 36:22–36
(emphasis added), Figs. 14D–14E.
      This is not the situation in which a special definition for a claim term
has been set forth in the specification with reasonable clarity, deliberateness,
and precision, so as to give notice of the inventor’s own lexicography. See
Merck & Co. v. Teva Pharms. USA, Inc., 395 F.3d 1364, 1370 (Fed. Cir.
2005); In re Paulsen, 30 F.3d 1475, 1480 (Fed. Cir. 1994). Nor do we
discern that Patent Owner “demonstrate[d] an intent to deviate from the
ordinary and accustomed meaning of a claim term by including in the
specification expressions of manifest exclusion or restriction, representing a
clear disavowal of claim scope.” Teleflex, Inc. v. Ficosa North America
Corp., 299 F.3d 1313, 1325 (Fed. Cir. 2002).
      Here, based upon our review of the intrinsic evidence, no such special
definition or express disavowal of the term “cover” to exclude epoxy and
resin exists. Patent Owner relies on the following description of Figure 14D
in that regard:
      In certain embodiments, the cylindrical housing 1430 (and
      transparent cover 1432) forms an airtight or substantially airtight
      or hermetic seal with the submount 1400c. As a result, the
      cylindrical housing 1430 can protect the detectors 1410c and
      conductors 1412c from fluids and vapors that can cause
      corrosion.    Advantageously, in certain embodiments, the
      cylindrical housing 1430 can protect the detectors 1410c and
      conductors 1412c more effectively than currently-available resin
      epoxies, which are sometimes applied to solder joints between
      conductors and detectors.
Ex. 1001, 36:37–46 (emphases added). First, the sentence cited by Patent
Owner begins with the phrase “[i]n certain embodiments,” which indicates
the claimed invention is not limited and is open to other embodiments, so
there is no lexicography or disavowal here. Second, we agree with

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Petitioner’s reading of this passage as distinguishing the prior art from the
claimed invention based on the location of the material (applied only to
solder joints between conductors and detectors in the prior art, as opposed to
covering the conductors and detectors in the invention) and not the type of
material. Third, at best, the ’190 patent expresses a preference for a cover to
be made of glass or plastic, because such materials provide “more
effective[]” protection than resin epoxies that were known when the
’190 patent was filed. See id. at 36:42–46. But even this reading recognizes
that resin epoxies provide some amount of protection, albeit perhaps a lesser
amount than glass or plastic, and are not excluded from forming the material
of a cover.
      Dr. Kenny’s deposition testimony cited by Patent Owner also does not
persuade us that, in the context of the ’190 patent, epoxy or resin is excluded
from the material of a cover. Dr. Kenny testifies that “a layer of sealing
resin” “[c]ould” be used to protect the electronic components in a sensor
(Ex. 2009, 395:22–396:8). He was then asked “So that would be one way to
protect the components without using a cover, correct?” to which he
answered “[t]here are many ways to protect the elements other than using a
cover” and maintained that the proposed combination of prior art has a
“cover” to achieve purposes other than protecting electronic components,
i.e., “to improve adhesion and to improve light gathering for the operation of
the system.” Id. at 396:9–17. He did not squarely testify that sealing resin
may never be a cover.
      Accordingly, in the context of the ’190 patent, we do not construe the
claimed “cover” to exclude epoxy and resin.




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        2. Other Claim Terms

        Upon consideration of the entirety of the arguments and evidence
presented, we conclude no further explicit construction of any claim term is
needed to resolve the issues presented by the arguments and evidence of
record. See Nidec Motor Corp. v. Zhongshan Broad Ocean Motor Co.
Matal, 868 F.3d 1013, 1017 (Fed. Cir. 2017) (per curiam) (claim terms need
to be construed “only to the extent necessary to resolve the controversy”
(quoting Vivid Techs., Inc. v. Am. Sci. & Eng’g, Inc., 200 F.3d 795, 803
(Fed. Cir. 1999))).

                             B. Principles of Law

        A claim is unpatentable under 35 U.S.C. § 103 if “the differences
between the subject matter sought to be patented and the prior art are such
that the subject matter as a whole would have been obvious at the time the
invention was made to a person having ordinary skill in the art to which said
subject matter pertains.” KSR Int’l Co. v. Teleflex Inc., 550 U.S. 398, 406
(2007). The question of obviousness is resolved on the basis of underlying
factual determinations, including (1) the scope and content of the prior art;
(2) any differences between the claimed subject matter and the prior art;
(3) the level of skill in the art; and (4) objective evidence of non-
obviousness. 2 Graham v. John Deere Co., 383 U.S. 1, 17–18 (1966). When
evaluating a combination of teachings, we must also “determine whether
there was an apparent reason to combine the known elements in the fashion
claimed by the patent at issue.” KSR, 550 U.S. at 418 (citing In re Kahn,
441 F.3d 977, 988 (Fed. Cir. 2006)). Whether a combination of prior art


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    Patent Owner does not present objective evidence of non-obviousness.

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elements would have produced a predictable result weighs in the ultimate
determination of obviousness. Id. at 416–417.
      In an inter partes review, the petitioner must show with particularity
why each challenged claim is unpatentable. Harmonic Inc. v. Avid Tech.,
Inc., 815 F.3d 1356, 1363 (Fed. Cir. 2016); 37 C.F.R. § 42.104(b). The
burden of persuasion never shifts to Patent Owner. Dynamic Drinkware,
LLC v. Nat’l Graphics, Inc., 800 F.3d 1375, 1378 (Fed. Cir. 2015).
      We analyze the challenges presented in the Petition in accordance
with the above-stated principles.

                     C. Level of Ordinary Skill in the Art
      Petitioner identifies the appropriate level of skill in the art as that
possessed by a person having “a Bachelor of Science degree in an academic
discipline emphasizing the design of electrical, computer, or software
technologies, in combination with training or at least one to two years of
related work experience with capture and processing of data or information.”
Pet. 5 (citing Ex. 1003 ¶¶ 21–22). “Alternatively, the person could have also
had a Master of Science degree in a relevant academic discipline with less
than a year of related work experience in the same discipline.” Id.
      Patent Owner makes several observations regarding Petitioner’s
identified level of skill in the art but, “[f]or this proceeding, [Patent Owner]
nonetheless applies Petitioner’s asserted level of skill.” PO Resp. 10–11
(citing Ex. 2004 ¶¶ 35–38).
      We adopt Petitioner’s assessment as set forth above, which appears
consistent with the level of skill reflected in the Specification and prior art.




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              D. Obviousness over the Combined Teachings of
                            Aizawa and Inokawa

      Petitioner contends that claims 1–14, 16, 17, 19–23, and 26–29 of the
’190 patent would have been obvious over the combined teachings of
Aizawa and Inokawa. Pet. 8–42.
                     1. Overview of Aizawa (Ex. 1006)
      Aizawa is a U.S. patent application publication titled “Pulse Wave
Sensor and Pulse Rate Detector,” and discloses a pulse wave sensor that
detects light output from a light emitting diode and reflected from a patient’s
artery. Ex. 1006, codes (54), (57).
      Figure 1(a) of Aizawa is reproduced below.




Figure 1(a) is a plan view of a pulse wave sensor. Id. ¶ 23. As shown in
Figure 1(a), pulse wave sensor 2 includes light emitting diode (“LED”) 21,
four photodetectors 22 symmetrically disposed around LED 21, and
holder 23 for storing LED 21 and photodetectors 22. Id. Aizawa discloses
that, “to further improve detection efficiency, . . . the number of the
photodetectors 22 may be increased.” Id. ¶ 32, Fig. 4(a). “The same effect
can be obtained when the number of photodetectors 22 is [one] and a




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plurality of light emitting diodes 21 are disposed around the
photodetector 22.” Id. ¶ 33.
      Figure 1(b) of Aizawa is reproduced below.




Figure 1(b) is a sectional view of the pulse wave sensor. Id. ¶ 23. As shown
in Figure 1(b), pulse wave sensor 2 includes drive detection circuit 24 for
detecting a pulse wave by amplifying the outputs of photodetectors 22. Id.
¶ 23. Arithmetic circuit 3 computes a pulse rate from the detected pulse
wave and transmitter 4 transmits the pulse rate data to an “unshown
display.” Id. The pulse rate detector further includes outer casing 5 for
storing pulse wave sensor 2, acrylic transparent plate 6 mounted to detection
face 23a of holder 23, and attachment belt 7. Id. ¶ 23.
      Aizawa discloses that LED 21 and photodetectors 22 “are stored in
cavities 23b and 23c formed in the detection face 23a” of the pulse wave
sensor. Id. ¶ 24. Detection face 23a “is a contact side between the holder 23
and a wrist 10, respectively, at positions where the light emitting face 21s of
the light emitting diode 21 and the light receiving faces 22s of the
photodetectors 22 are set back from the above detection face 23a.” Id. ¶ 24.
Aizawa discloses that “a subject carries the above pulse rate detector 1 on
the inner side of his/her wrist 10 . . . in such a manner that the light emitting

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face 21s of the light emitting diode 21 faces down (on the wrist 10 side).”
Id. ¶ 26. Furthermore, “the above belt 7 is fastened such that the acrylic
transparent plate 6 becomes close to the artery 11 of the wrist 10. Thereby,
adhesion between the wrist 10 and the pulse rate detector 1 is improved.”
Id. ¶¶ 26, 34.
                     2. Overview of Inokawa (Ex. 1008)
      Inokawa is a Japanese published patent application titled “Optical
Vital Sensor, Base Device, Vital Sign Information Gathering System, and
Sensor Communication Method,” and discloses a pulse sensor device.
Ex. 1008 ¶ 6.
      Figure 1 of Inokawa is reproduced below.




Figure 1 illustrates a schematic view of a pulse sensor. Id. ¶ 56. Pulse
sensor 1 includes box-shaped sensor unit 3 and flexible annular wristband 5.
Id. ¶ 57. Sensor unit 3 includes a top surface with display 7 and control
switch 9, and a rear surface (sensor-side) with optical device component 11
for optically sensing a user’s pulse. Id.



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      Figure 2 of Inokawa is reproduced below.




Figure 2 illustrates a schematic view of the rear surface of the pulse sensor.
Id. ¶ 58. The rear-side (sensor-side) of pulse sensor 1 includes a pair of
light-emitting elements, i.e., green LED 21 and infrared LED 23, as well as
photodiode 25 and lens 27. Id. In various embodiments, Inokawa discloses
that the sensor-side lens is convex. See id. ¶¶ 99, 107. Green LED 21
senses “the pulse from the light reflected off of the body (i.e.[,] change in the
amount of hemoglobin in the capillary artery),” and infrared LED 23 senses
body motion from the change in reflected light. Id. ¶ 59. The pulse sensor
stores this information in memory. Id. ¶ 68. To read and store information,
the pulse sensor includes a CPU that “performs the processing to sense
pulse, body motion, etc. from the signal . . . and temporarily stores the
analysis data in the memory 63.” Id. ¶ 69.




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      Figure 3 of Inokawa is reproduced below.




Figure 3 illustrates a schematic view of a pulse sensor mounted to a base
device. Id. ¶ 60. Pulse sensor 1 is depicted as mounted to base device 17,
which “is a charger with communication functionality.” Id. When so
mounted, sensor optical device component 11 and base optical device
component 41 face each other in close proximity. Id. ¶ 66. In this position,
pulse sensor 1 can output information to the base device through the coupled
optical device components. Id. ¶ 67. Specifically, the pulse sensor CPU
performs the controls necessary to transmit pulse information using infrared
LED 23 to photodetector 45 of base device 17. Id. ¶¶ 67, 70, 76. In an
alternative embodiment, additional sensor LEDs and base photodetectors can
be used to efficiently transmit data and improve accuracy. Id. ¶ 111.




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                              3. Independent Claim 1

      Petitioner contends that claim 1 would have been obvious over the
combined teachings of Aizawa and Inokawa. Pet. 13–17 (combination), 17–
23 (claim 1).

                    i.   “A noninvasive optical physiological measurement
                         device adapted to be worn by a wearer, the
                         noninvasive optical physiological measurement device
                         providing an indication of a physiological parameter
                         of the wearer comprising”
      The cited evidence supports Petitioner’s undisputed contention that
Aizawa discloses a noninvasive optical physiological measurement device,
i.e., a pulse sensor worn on a wearer’s wrist, that indicates a physiological
parameter of the wearer. Pet. 17; see, e.g., Ex. 1006 ¶ 2 (“[A] pulse wave
sensor for detecting the pulse wave of a subject from light reflected from a
red corpuscle in the artery of a wrist of the subject by irradiating the artery
of the wrist with light.”).

                   ii.   “[a] one or more light emitters”
      The cited evidence supports Petitioner’s undisputed contention that
Aizawa discloses LED 21 that emits light. Pet. 17–18; see, e.g., Ex. 1006
¶ 23 (“LED 21 . . . for emitting light having a wavelength of a near infrared
range”), Figs. 1(a)–(b).

                  iii.   “[b] a housing having a surface and a circular raised
                         edge extending from the surface”
      The cited evidence supports Petitioner’s undisputed contention that
Aizawa discloses holder 23, which includes a flat surface and a circular
raised edge extending from the surface. Pet. 18–19; see, e.g., Ex. 1006 ¶ 23


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(“holder 23 for storing . . . light emitting diode 21 and the
photodetectors 22”), Figs. 1(a)–(b) (depicting holder 23 surrounding each
detector 22); Ex. 1003 ¶¶ 75–76.
      Petitioner’s annotated versions of Aizawa’s Figures 1(a) and 1(b) are
reproduced below.




Pet. 18–19. The modified figures depict side and top views of Aizawa’s
sensor with the housing identified in red shading, the circular raised edge
identified in purple, and the surface depicted in brown. Id.




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                 iv.   “[c] at least four detectors arranged on the surface
                       and spaced apart from each other, the at least four
                       detectors configured to output one or more signals
                       responsive to light from the one or more light emitters
                       attenuated by body tissue, the one or more signals
                       indicative of a physiological parameter of the
                       wearer”

      The cited evidence supports Petitioner’s undisputed contention that
Aizawa discloses at least four detectors 22 that are spaced apart on the
surface, wherein the detectors output one or more signals indicative of a
physiological parameter of the wearer, e.g., pulse, in response to light
emitted by LED 21 that is attenuated by body tissue. Pet. 19–21; see, e.g.,
Ex. 1006, Fig. 1(a) (depicting detectors 22 spaced apart around LED 21),
¶¶ 23 (“drive detection circuit 24 for detecting a pulse wave by amplifying
the outputs of the photodetectors 22”), 27 (“Near infrared radiation output
toward the wrist 10 from the light emitting diode 21 is reflected by a red
corpuscle running through the artery 11 of the wrist 10 and this reflected
light is detected by the plurality of photodetectors 22 so as to detect a pulse
wave.”), 28 (“[T]he amplified output is converted into a digital signal for the
computation of a pulse rate.”); Ex. 1003 ¶¶ 77–79.

                  v.   “[d] a light permeable cover arranged above at least
                       a portion of the housing, the light permeable cover
                       comprising a protrusion arranged to cover the at least
                       four detectors.”

    Petitioner’s Contentions

      With reference to an annotated version of Aizawa’s Figure 1(b)
(reproduced below), Petitioner contends that “Aizawa teaches a light
permeable cover in the form of an acrylic transparent plate 6 (blue) that is



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mounted at the detection face 23a over at least a portion of the housing to
cover the at least four detectors (red).” Pet. 22.




The figure above shows Petitioner’s annotated version of Aizawa’s
Figure 1(b), in which transparent plate 6 is shaded in blue and identified as
“Light permeable cover.” Petitioner contends that beyond disclosing that the
acrylic transparent “helps [to] improve ‘detection efficiency,’ Aizawa does
not provide much other detail, for instance regarding its shape.” Id. at 13
(citing Ex. 1006 ¶ 30).
      Petitioner reasons, however, that one of ordinary skill in the art would
have “looked to Inokawa to enhance light collection efficiency, specifically
by modifying the light permeable cover of Aizawa to include a convex
protrusion that acts as a lens.” Id. at 14. In that regard, Petitioner points to
Inokawa’s Figure 2. Petitioner’s annotated version of that figure is
reproduced below.




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Id. Figure 2 above depicts Inokawa’s lens 27 shaded in blue. Petitioner
expresses that “Inokawa teaches that its cover may be either flat . . . such
that ‘the surface is less prone to scratches’” or may be in the form of the lens
shape shown above to “increase the light-gathering ability of the LED.” Id.
at 15 (quoting Ex. 1008 ¶ 15); see Ex. 1003 ¶¶ 83–87. Petitioner contends
that a person of ordinary skill in the art “making the design choice to
prioritize improved light collection efficiency over reduced suseptibility to
scratches could have readily modified Aizawa’s cover to include a lens as
per Inokawa.” Pet. 16 (citing Ex. 1003 ¶ 99). Petitioner also contends that a
skilled artisan would have had a reasonable expectation of success in
combining those teachings. Id. at 15 (citing Ex. 1003 ¶ 86). Petitioner adds
that Aizawa’s “transparent acrylic material . . . can be readily formed into a
lens structure as in Inokawa.” Id. at 16 (citing Ex. 1003 ¶ 87; Ex. 1009,
3:46–51, Fig. 1; Ex. 1023, Fig. 6, ¶¶ 22, 32, 35).




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      Petitioner provides annotated and modified versions of Aizawa’s
Figure 1(b) that depict the proposed combination, which are reproduced
below. Id. at 15 (citing Ex. 1003 ¶ 85).




Petitioner’s annotated figure on the left depicts Aizawa’s device with its flat
cover, and the annotated and modified figure on the right depicts the device
resulting from the combination of Aizawa and Inokawa, in which a person of
ordinary skill in the art would have replaced Aizawa’s flat cover with a
cover comprising a protrusion to “increase the light-gathering ability.” Id.
(quoting Ex. 1008 ¶ 15).
      According to Petitioner, a person of ordinary skill in the art “would
have understood how to implement Inokawa’s lens in Aizawa’s device with
a reasonable expectation of success.” Pet. 15–16 (citing Ex. 1008, Figs. 16,
17, ¶¶ 15, 106); Ex. 1003 ¶ 86. The shape of the modified cover in
Dr. Kenny’s illustration of the proposed modification above is similar to the
shape of an LED lens illustrated in Exhibit 1023 (hereafter “Nishikawa”), 3
referenced by Petitioner and Dr. Kenny in connection with the proposed


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  U.S. Patent Application Publication No. 2007/0145255 A1, filed Dec. 20,
2006, published June 28, 2007 (Ex. 1023).

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ground of unpatentability. Compare Pet. 15 (illustrating proposed
modification), with Ex. 1023, Fig. 6, ¶¶ 3, 22, 30, 32, 35 (illustrating lens 50
used with LED 22, and discussing how to make the illustrated device).

    Patent Owner’s Arguments

      Patent Owner contends that the evidence does not support Petitioner’s
contention that it would have been obvious to modify Aizawa’s cover to
have a convex protrusion, in order to improve detection efficiency by
directing incoming light to Aizawa’s photodetectors 22, with a reasonable
expectation of success. PO Resp. 12–37; PO Sur-reply 1–13; Ex. 2004
¶¶ 48–78.
      According to Patent Owner, the evidence establishes that Petitioner’s
proposed modification would direct light toward the center of Aizawa’s
detector 1 where emitter 21 is located, rather than toward the periphery
where detectors 22 are located. PO Resp. 16–24; Ex. 2004 ¶¶ 50–65. Thus,
Patent Owner’s view is that a person of ordinary skill in the art “would not
have expected Inokawa’s protruding surface to accomplish” the objective of
enhancing light collection efficiency relied upon by Petitioner, because
Petitioner’s proposed modification instead “would direct light away from the
periphery-located detectors” in Aizawa, the opposite result to Petitioner’s
contention. PO Resp. 20; Ex. 2004 ¶¶ 42–43, 48–57.
      In support, Patent Owner points to Inokawa’s Figure 2, in which two
arrows illustrate light that passes through the convex protrusion of lens 27
toward the center of Inokawa’s pulse sensor 1 where detector 25 is located.
PO Resp. 14 (citing Ex. 1008 ¶ 58), 18; Ex. 2004 ¶¶ 42–43. Patent Owner
also points to the ’190 patent’s Figure 14B, which illustrates several light
rays 1420, 1422 passing through a partially cylindrical protrusion 605 to be


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centrally focused on detector(s) 1410B. PO Resp. 19 (citing Ex. 1001,
35:67–36:2, 36:56–60; Ex. 2004 ¶¶ 53–55). Patent Owner cites portions of
Dr. Kenny’s deposition testimony that, in Patent Owner’s view, support
Patent Owner’s contentions in these regards. See PO Resp. 2, 17–18 (citing
Ex. 2006, 83:15–84:2, 86:19–87:1, 202:11–204:20).
      Patent Owner also asserts that “Dr. Kenny admitted that the impact of
Inokawa’s convex lens would not be ‘obvious’ in the context of [the]
different configuration of LEDs and detectors” presented by Aizawa.
PO Resp. 20–21 (citing Ex. 2006, 87:2–6). For example, Patent Owner
points out that “light reaching Aizawa’s detectors must travel in an opposite
direction from the light in Inokawa.” Id. at 21–22 (citing Ex. 1006,
Fig. 1(b); Ex. 1008, Fig. 2); Ex. 2004 ¶¶ 61–64. In addition, according to
Patent Owner, “Petitioner’s combination is particularly problematic
because” Aizawa uses “small detectors [22] with small openings [of
cavities 23c] surrounded by a large amount of opaque material.”
PO Resp. 22 (citing Ex. 1006, Fig. 1(a)); Ex. 2004 ¶ 63. In support of its
view, Patent Owner cites portions of Dr. Kenny’s deposition testimony. See
PO Resp. 22 (citing Ex. 2006, 257:11–18).
      Patent Owner further argues that Dr. Kenny, during his deposition,
attempted to evade the foregoing problems by “disclaim[ing] Petitioner’s
reasoning [for obviousness] and assert[ing] new and improper opinions” that
undermine the reasoning provided in the Petition. PO Resp. 24. For
example, Patent Owner asserts that Dr. Kenny’s attempt to distinguish
between the ’190 patent’s Figure 14B as illustrating a lens that condenses
collimated light toward the center, as compared to Aizawa and Inokawa in
which the lens focuses diffuse light reflected by the user’s body is not



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persuasive and is not supported by record evidence. PO Resp. 25–26 (citing
Ex. 2006, 170:9–171:5; Ex. 2007, 288:13–289:5, 294:17–298:10, 298:11–
299:18, 423:7–424:18); Ex. 2004 ¶¶ 67–68. Patent Owner also objects to
Dr. Kenny’s testimony that, “while a protruding surface would generally
direct more light to the center,” it “would also capture some light that
otherwise would not be captured” by Aizawa’s detectors 22, as lacking
evidentiary support and relying on impermissible hindsight. PO Resp. 26–
27 (citing Ex. 1001, 7:61–63; Ex. 2004 ¶¶ 69–70; Ex. 2006, 204:21–206:5,
206:22–208:1; Ex. 2007, 294:17–298:10).
      Patent Owner moreover asserts that “Dr. Kenny repeatedly distanced
himself from his own similar combination” of Aizawa and Inokawa by
refusing to talk about the specific shape, size, material, and dimensional
tolerances of the combination, so, in Patent Owner’s view, his testimony
falls short because it demonstrates at most only that the references could
have been combined. Id. at 2–3, 27–31 (citing, e.g., Ex. 2004 ¶¶ 71–73;
Ex. 2006, 51:14–52:16, 75:20–77:2, 91:9–92:13, 96:20–21, 97:11–21,
100:17–101:18, 132:10–18, 154:4–7, 164:8–16, 189:11–190:3; Ex. 2007,
308:12–309:8, 310:18–311:9, 318:3–6, 324:21–325:19, 333:20–335:4).
      Indeed, according to Patent Owner, because ordinary skill does not
require specific education or experience with optics or optical physiological
monitors (see supra Section II.C), “[i]t strains credibility that a [person of
ordinary skill in the art] . . . could balance all of the factors Dr. Kenny
identified” to reach the claimed invention. PO Resp. 32. Patent Owner
relies on Dr. Kenny’s testimony as establishing the complexity of designing
optical physiological sensors. Id. at 3–4, 32–33 (citing Ex. 2006, 86:19–
87:6; Ex. 2007, 331:19–332:11, 336:11–337:15). Patent Owner concludes



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Petitioner has failed to establish a reasonable expectation of success because
Dr. Kenny’s testimony “focuses almost entirely on manufacturing.” Id.
at 33 (citing Ex. 1003 ¶ 87; Ex. 2004 ¶ 75).
      Patent Owner moreover asserts Petitioner errs in relying on Nishikawa
as supporting the unpatentability of claim 1, because Nishikawa is “not
identified as part of” the ground, which instead “includes only two
references,” Aizawa and Inokawa. PO Resp. 34 (citing Pet. 1, 13–14;
Ex. 1003 ¶¶ 82–87); id. at 35–36 (citing 35 U.S.C. § 312(a)(3); Intelligent
Bio-Systems, Inc. v. Illumina Cambridge Ltd., 821 F.3d 1359, 1369
(Fed. Cir. 2016)). Patent Owner asserts Dr. Kenny “relies heavily” on
Nishikawa, particularly “to inform the specific shape of the cover in his
combination, which is found nowhere in Aizawa and Inokawa.” Id. at 34–35
(citing Pet. 23; Ex. 2004 ¶¶ 76–77; Ex. 2006, 179:21–180:13; Ex. 2007,
364:2–13; Ex. 2008, 73:8–12).
      Furthermore, in Patent Owner’s view, Dr. Kenny’s reliance on
Nishikawa “make[s] no sense” because “Nishikawa’s device is not a
physiological sensor” but rather is “an encapsulated LED” that “directs
outgoing light through the encapsulation material and thus focuses on the
emission of light, not the detection of an optical signal.” PO Resp. 36 (citing
Ex. 1023, code (57), ¶¶ 3, 32, 35; Ex. 2004 ¶ 78). Patent Owner contrasts
such disclosure with Aizawa and Inokawa, both of which “detect[] incoming
light that passes through the cover and reaches the detectors,” and which
have a “drastically” smaller scale than Nishikawa’s LEDs. Id. (citing
Ex. 1008, Fig. 2; Ex. 2004 ¶ 78).




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    Petitioner’s Reply

      In reply, Petitioner insists “Inokawa’s lens enhances the light-
gathering ability of Aizawa,” which would have motivated an ordinarily
skilled artisan “to incorporate ‘an Inokawa-like lens [having a protrusion]
into the cover of Aizawa to increase the light collection efficiency.’” Pet.
Reply 2–3 (bolding omitted) (citing Pet. 13–15; Ex. 1003 ¶¶ 80–87;
Ex. 1008, Fig. 2, ¶¶ 15, 58). Petitioner dismisses Patent Owner’s and
Dr. Madisetti’s opposition as being “misinformed” because a person of
ordinary skill in the art “would understand that Inokawa’s lens generally
improves ‘light concentration at pretty much all of the locations under the
curvature of the lens,’ as opposed to only at a single point at the center.” Id.
at 3–4 (quoting Ex. 2006, 164:8–16); Ex. 1047 ¶¶ 7–9.
      For example, Petitioner contends that Patent Owner and Dr. Madisetti
“ignore[] the well-known principle of reversibility,” by which “a ray going
from P to S will trace the same route as one from S to P.” Pet. Reply 4
(underlining omitted) (citing, e.g., Ex. 1052,4 84, 87–92); Ex. 1047 ¶¶ 10–
22. Petitioner contends that Dr. Madisetti was evasive when he was asked to
apply the reversibility principle to the combination of Aizawa and Inokawa
in this case. Pet. Reply 6 (citing Ex. 1034, 89:12–19, 84:2–85:7). Petitioner
further contends that, “based at least on the principle of reversibility,” one of
ordinary skill in the art “would have understood that both configurations of
LEDs and detectors—i.e., with the LED at the center as in Aizawa or with

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  Eugene Hecht, Optics (2nd ed. 1990). In referring to Exhibit 1052,
Petitioner refers to the document’s native page numbering (top corner of
each page) and not the added page numbering of the exhibit (bottom, middle
of each page). For consistency, we also refer to the native page numbering
of Exhibit 1052.

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the detector at the center as in Inokawa—would similarly benefit from the
enhanced light-gathering ability of an Inokawa-like lens.” Id. at 9 (citing
Ex. 1047 ¶ 22).
      Petitioner also asserts that Patent Owner and Dr. Madisetti overlook
the fact that light rays reflected by body tissue in the user’s wrist, to be
received by detectors in either Aizawa’s or Inokawa’s pulse sensor, will be
“scattered” and “diffuse” and, therefore, will approach the detectors “from
various random directions and angles.” Pet. Reply 9–10, 13 (annotating
Inokawa’s Fig. 2 to illustrate the cause and nature of the back-scattering);
Ex. 1047 ¶¶ 23–26. This scattered and diffuse light, according to Petitioner,
means that Inokawa’s “lens cannot focus all light toward the sensor’s
center,” as Patent Owner would have it. Pet. Reply 9 (citing Ex. 1047 ¶ 23;
Ex. 2006, 163:12–164:2). Petitioner asserts this is due to Snell’s law, and
provides several illustrations to illustrate why. Id. at 9–15 (citing, e.g.,
Ex. 1047 ¶¶ 23–34).
      Due to the random nature of this scattered light, Petitioner explains
that one of ordinary skill in the art would have understood that a convex
cover “provides a slight refracting effect, such that light rays that may have
missed the detection area are instead directed toward that area.” Pet.
Reply 10 (citing Ex. 1047 ¶¶ 25–26). Petitioner applies this understanding
to Aizawa, and contends that using a lens with a convex protrusion in
Aizawa would “enable backscattered light to be detected within a circular
active detection area surrounding” a central light source. Id.
      Moreover, Petitioner dismisses the applicability of Figure 14B of the
’190 patent as illustrating the operation of a transmittance-type of sensor
that measures the attenuation of collimated light transmitted through the



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user’s body tissue, rather than the reflectance-type sensor of Aizawa. Id.
at 11–13 (citing, e.g., Ex. 1001, 35:65–67; Ex. 1047 ¶¶ 27–31).
      Petitioner further maintains that illustrations of the light-focusing
properties of a convex lens discussed in the Petition filed in IPR2020-01520
(Ex. 2019, 39) and relied upon by Dr. Kenny (Ex. 2020, 119–120) do not
demonstrate “that a convex lens directs all light to the center.” Pet. Reply 15
(citing PO Resp. 16–18, 23). Petitioner contends these illustrations, instead,
“are merely simplified diagrams included to illustrate . . . one example
scenario (based on just one ray and one corpuscle) where a light permeable
cover can ‘reduce a mean path length of light traveling to the at least four
detectors’” as recited in claim 12 of the patent challenged in that proceeding.
Id. (citing, e.g., Ex. 1047 ¶ 34).

    Patent Owner’s Sur-reply
      Patent Owner asserts that Petitioner’s Reply improperly presents
several new arguments, relying on new evidence, as compared with the
Petition. See, e.g., PO Sur-reply 1 (“new optics theories” and “new
arguments”), 2, 6, 7, 9, 10, 12, 13.
      Patent Owner also contends that Petitioner mischaracterizes Patent
Owner’s position, which is not that Inokawa’s lens with a convex protrusion
“would direct ‘all’ light ‘only at a single point at the center’” of the sensor.
Id. at 2, n.2 (quoting Pet. Reply 3; citing, e.g., Ex. 2027, 63:7–64:6, 94:20–
96:1, 96:18–97:7). Patent Owner’s position, rather, is that Inokawa’s lens
condenses more light (not necessarily all light) “towards the center of the
sensor” as compared to a flat surface. Id. at 2 (quoting PO Resp. 19; citing,
e.g., Ex. 2004 ¶¶ 34, 43, 49, 51–52, 54–55, 67).



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      Patent Owner moreover asserts “[t]here can be no legitimate dispute
that a convex surface directs light centrally (and away from the periphery).”
PO Sur-reply 3–6 (citing PO Resp. 15–18; Ex. 2006, 164:8–16, 166:10–17,
170:22–171:5; Ex. 2020 ¶¶ 119, 200; Ex. 2027, 181:9–182:5). Patent Owner
contends that Petitioner’s argument “that Inokawa would improve light-
gathering at all locations, regardless of the location of the LEDs and
detectors” is belied by Dr. Kenny’s testimony that “Inokawa’s benefit would
not be clear if Inokawa’s LEDs and detectors were moved” and “confirmed
that a convex surface would direct light toward the center of the underlying
sensor.” Id. at 6 (citing Pet. Reply 3–4; Ex. 2006, 86:19–87:6, 202:11–
204:20).
      Patent Owner argues that Petitioner’s discussion of the principle of
reversibility is “irrelevant” because it “assumes ideal conditions that are not
present when tissue scatters and absorbs light.” PO Sur-reply 6–8 (citing
Ex. 2027, 17:12–19:2, 29:11–30:7, 31:8–32:3, 38:17–42:6, 207:9–209:21,
210:8–6). The random nature of backscattered light, in Patent Owner’s
view, “hardly supports Petitioner’s argument that light will necessarily travel
the same paths regardless of whether the LEDs and detectors are reversed,”
and is irrelevant to the central issue presented here of “whether a convex
surface—as compared with a flat surface—would collect and focus
additional light on Aizawa’s peripherally located detectors.” Id. at 8–9
(citing Ex. 2027, 212:3–14).
      Patent Owner also argues that Petitioner’s position that a convex
cover will provide a “slight” refracting effect, “directly undermines
Petitioner’s provided motivation to combine,” i.e., to enhance light
collection efficiency. Id. at 10–11.



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    Analysis

      Upon review of the foregoing, we conclude that a preponderance of
the evidence supports Petitioner’s view that it would have been obvious to
modify Aizawa’s cover 6 to include a convex lens or protrusion like that
taught in Inokawa, in order to increase the amount of backscattered light that
will be received by Aizawa’s four peripheral detectors 22, as compared with
Aizawa’s existing flat cover.
      Aizawa’s and Inokawa’s pulse sensors both gather data by emitting
light into the user’s wrist tissue and collecting the light that reflects back to
the sensor from the user’s tissue. See, e.g., Ex. 1006, Figs. 1(b), 2 (sensor 2
has emitter 21 and four detectors 22, all facing a user’s wrist 10); Ex. 1008,
Figs. 1, 2 (sensor 1 has two emitters 21, 23 and one detector
(photodiode 25), all facing the user’s wrist when held in place by
wristband 5). Dr. Kenny testifies, and Patent Owner agrees, that the
reflection of this light by the user’s wrist tissue randomizes the propagation
direction of the reflected light rays. See Ex. 1003 ¶ 117; Ex. 1047 ¶¶ 14–15;
Ex. 2020 ¶ 128; PO Sur-reply 7–8 (“Even Petitioner admits that tissue
randomly scatters and absorbs light rays.”).
      This reflection principle is illustrated by Dr. Kenny’s annotations to
Inokawa’s Figure 2 reproduced below:




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Here, Dr. Kenny has modified Inokawa’s Figure 2 by (1) removing two
black arrows, (2) coloring Inokawa’s light detector in red and Inokawa’s two
light emitters in green, and (3) adding several green arrows to illustrate the
various directions that light rays may be directed after impinging on and
reflecting off different tissues in the user’s wrist. Ex. 1047 ¶ 32.
      This randomized direction of reflected light rays results in
backscattered light that is diffuse, rather than collimated, in nature.
Figure 4.12 of Exhibit 1052 illustrates the difference between diffuse and
collimated light, and is reproduced below:




This figure provides at left a photograph and an illustration showing
incoming collimated light reflecting from a smooth surface, and at right a
photograph and an illustration of incoming collimated light reflecting from a
rough surface. See Ex. 1052, 87–88. The smooth surface provides specular
reflection, in which the reflected light rays are collimated like the incoming
light rays. See id. By contrast, the rough surface provides diffuse reflection,
in which the reflected light rays travel in random directions. See id.
      This diffuse nature of the light reflected from the user’s wrist tissue,
which both Aizawa and Inokawa aim to collect to generate pulse data,


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suggests that a lens might be useful to increase the amount of collected light
and thereby increase the reliability of the pulse data generated using the
collected light. Indeed, that is taught by Inokawa. Inokawa describes using
its lens 27 to “increase the light-gathering ability” of Inokawa’s light
photodiode or detector 25.5 Ex. 1008 ¶¶ 15, 58. Furthermore, there is also
no dispute that Inokawa’s lens 27 is understood to be shaped as a convex
protrusion. See, e.g., Ex. 1003 ¶¶ 83–84 (characterizing Inokawa as
teachings a “convex protrusion that acts as a lens”); PO Resp. 1 (describing
Inokawa as teaching a “convex lens”). Thus, Inokawa demonstrates that it
was known in the art to use a lens comprising a protrusion to focus diffuse
light reflected from body tissue on to the light detecting elements of a
wrist-worn pulse sensor, and to increase the light gathered by the sensor
thereby improving the device’s calculation of the user’s pulse.
      A preponderance of the evidence supports Petitioner’s view that it
would have been obvious for a person of ordinary skill in the art to apply
Inokawa’s lens technology to Aizawa’s wrist-worn pulse sensor, to similarly
improve its light collection as compared to Aizawa’s existing flat cover.
That is depicted in the following illustrations provided by Dr. Kenny:




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  Although Inokawa refers to the “LED” such as emitters 21, 23 in that
regard (Ex. 1008 ¶ 15), rather than photodiode 25, it is undisputed that
photodiode 25 is the only component of Inokawa’s sensor 1 that gathers
light.

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The illustration at left modifies Aizawa’s Figure 1(b) to color Aizawa’s
emitter in green, its detectors in red, and Aizawa’s existing flat cover in
blue; the illustration on the right includes Aizawa’s Figure 1(b) with the
same coloring, but wherein the flat cover is modified to incorporate a convex
protrusion that covers Aizawa’s peripheral light detectors and central light
emitter. See Ex. 1003 ¶ 85. We are persuaded by Dr. Kenny’s testimony
that Snell’s law indicates that “light rays that may have otherwise missed the
detection area are instead directed toward that area as they pass
through the interface provided by the cover,” and is especially true “in
configurations like Aizawa’s in which light detectors are arranged
symmetrically about a central light source, so as to enable backscattered
light to be detected within a circular active detection area surrounding that
source.” Ex. 1049 ¶ 26; see also id. ¶¶ 23–26.
      Patent Owner correctly notes that Inokawa’s single detector 25 is
located in the central portion of Inokawa’s sensor 1, whereas Aizawa’s four
detectors 22 are located towards the periphery of Aizawa’s sensor 2.
Compare Ex. 1008, Fig. 2, with Ex. 1006, Figs. 1(a)–1(b). Nevertheless,
Petitioner’s proposed modification of Aizawa takes that arrangement into
account, as can be seen by the following comparison between Inokawa’s
sensor and Petitioner’s proposed modification of Aizawa’s sensor:




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The illustration at left annotates Inokawa’s Figure 2 to identify the central
detector in red and the lens in blue (see Ex. 1003 ¶ 83), and the illustration at
right annotates Petitioner’s proposed modification of Aizawa to illustrate the
peripheral detectors in red and the lens in blue (see id. ¶ 85). As can be
seen, the lenses are not identical. In Inokawa the lens’s curvature is most
pronounced at the center of the lens near the central detector, and in the
proposed modification to Aizawa, the lens’s curvature is most pronounced at
the edges of the lens near the peripheral detectors. Thus, Dr. Kenny’s
proposed modification of Aizawa takes Inokawa’s general teaching of using
a convex protruding lens to increase the amount of incoming light directed
to a light detector, and applies it to the four light detectors of Aizawa. See,
e.g., Ex. 1003 ¶ 85 (“POSITA would have found it obvious to make the
protrusion portion of the LPC [light permeable cover]—namely the lens-
shaped light-gathering portion—to ensure that the light-concentration effect
achieved by the lens impacts all of the detectors.”); id. ¶¶ 84–87; Ex. 1047
¶¶ 7–34.
      We are cognizant of Patent Owner’s contention that Petitioner’s
ground “improperly” relies upon a reference, Nishikawa, that was not
identified as a part of the ground of unpatentability. PO Resp. 34. As Patent
Owner observes, Dr. Kenny characterizes his testimony as being “inspired
by” or “motivated” in part based on Nishikawa’s disclosure when it comes
to the shape of a convex lens. See, e.g., PO Resp. 35–37 (citing, e.g.,
Ex. 2007, 364:2–13; Ex. 2008, 73:8–12). We, however, disagree with Patent
Owner that any impropriety arises from Dr. Kenny’s contemplation of the
teachings of Nishikawa in connection with the shape of a lens for a
physiological sensor. The nature of Petitioner’s and Dr. Kenny’s



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consideration of Nishikawa is explained in cited portions of Dr. Kenny’s
declaration, even if Nishikawa is not listed as a third reference in the
identification of the ground. See Ex. 1003 ¶ 87 (“[M]any prior art references
of this period, such as Nishikawa (shown below) demonstrate exactly how
such a lens shape [as taught by Inokawa] may be incorporated into a molded
cover.”); Pet. 16. Indeed, it follows readily from the Petition that a skilled
artisan would have appreciated that Nishikawa’s teachings provide insight as
to how “the transparent acrylic material used to make Aizawa’s plate can be
readily formed into a lens structure as in Inokawa.” Pet. 16. Nishikawa
describes how its “lens unit 50” can be a transparent resin formed in the
shape illustrated in Figure 6 by injection molding. Ex. 1023 ¶¶ 22, 32, 35.
Dr. Kenny also explains that Nishikawa’s lens shape design “is intended to
provide curvature in the lens where it can do the most good and otherwise
try to avoid excess use of material in order to create curvature in locations
where it wouldn’t do any good.” Ex. 2006, 179:21–180:13.
      Moreover, we observe that a rejection based on obviousness
“require[s] an analysis that reads the prior art in context, taking account of
‘demands known to the design community,’ ‘the background knowledge
possessed by a person having ordinary skill in the art,’ and ‘the inferences
and creative steps that a person of ordinary skill in the art would employ.’”
Randall Mfg. v. Rea, 733 F.3d 1355, 1362 (Fed. Cir. 2013) (quoting KSR,
550 U.S. at 418). Furthermore, record evidence can be useful to
“demonstrate the knowledge and perspective one of ordinary skill in the art.”
Id.; see also Ariosa Diagnostics v. Verinata Health Inc., 805 F.3d 1359,
1365 (Fed. Cir. 2015) (“Art can legitimately serve to document the




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knowledge that skill artisan would bring to bear in reading the prior art
identified as producing obviousness.”).
       As noted above, Dr. Kenny makes clear that his view as to
obviousness of the claims of the ’190 patent was “inspired by” or
“motivated” in part by Nishikawa’s teachings as to shapes generally known
to those in the art of manufacturing a lens. See, e.g., Ex. 2007, 364:2–13;
Ex. 2008, 73:12–21. We conclude that the record establishes that
Nishikawa’s teachings are representative of background knowledge of one
of ordinary skill in the art and provide context and perspective of a skilled
artisan as to the type of shapes available for a convex protruding surface,
such as that disclosed in Inokawa. That Dr. Kenny considered record
evidence cited in the Petition as informing his view of what a skilled artisan
would understand as to known types of lens shapes does not establish, in our
view, any impropriety as part of that ground.
      Patent Owner additionally asserts, and Dr. Madisetti testifies, that
Petitioner’s combination of Aizawa and Inokawa is “problematic” because it
overlooks the “small” size of Aizawa’s detectors 22 and the openings or
cavities 23c in which they are housed. See PO Resp. 22 (citing Ex. 1006,
Fig. 1(a); Ex. 2004 ¶ 63). Patent Owner, however, does not articulate what
significance the size of Aizawa’s detector components have in the
obviousness evaluation based on the teachings of the prior art.
      We additionally do not agree with Patent Owner’s argument that
Petitioner’s Reply presents new arguments and evidence that should have
been first presented in the Petition. The Petition proposed a specific
modification of Aizawa to include a convex protrusion in the cover, for the
purpose of increasing the light gathering ability of Aizawa’s device. See,



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e.g., Pet. 13–16. Patent Owner, in its Response, challenged that contention
with several arguments that Petitioner’s proposed convex protrusion would
not operate in the way the Petition alleged. See, e.g., PO Resp. 16–37. In its
Reply, Petitioner provided arguments and evidence attempting to rebut the
contentions made in the Patent Owner Response. See PTAB Consolidated
Trial Practice Guide (Nov. 2019) 6, 73 (“A party also may submit rebuttal
evidence in support of its reply.”). The Reply does not change Petitioner’s
theory for obviousness; rather, the Reply presents more argument and
evidence in support of the same theory for obviousness presented in the
Petition. Compare Pet. 13–16, with Pet. Reply 2–15.
        Patent Owner finally argues that a conclusion of obviousness “strains
credibility” because the level of ordinary skill in the art (see supra
Section II.C) does not require specific education or experience with optics or
optical physiological monitors. See, e.g., PO Resp. 32. We disagree.
Concerning motivation, the record demonstrates that an ordinarily skilled
artisan would have readily appreciated that: (1) Aizawa’s detector 1
operates by gathering light with its photodetectors 22; (2) a lens was known
to focus light on photodetectors; and (3) optical lenses may be formed by
providing a convex protrusion in the lens to focus light. Indeed, Inokawa
discloses such utility, function, and structure as a part of its convex lens.
See, e.g., Ex. 1008 ¶¶ 15, 58, Fig. 2. We are persuaded that a person of
ordinary skill in the art would have understood these general concepts of
optics.
        Concerning reasonable expectation of success, we credit Dr. Kenny’s
testimony that a person of ordinary skill in the art would have understood

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    Available at https://www.uspto.gov/TrialPracticeGuideConsolidated.

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that by “positioning a lens above the optical components of Aizawa . . . the
modified cover will allow more light to be gathered and refracted toward the
light receiving cavities of Aizawa, thereby further increasing the light-
gathering ability of Aizawa beyond what is achieved through the tapered
cavities,” and “would have found it obvious to make the protrusion portion
of the LPC—namely the lens-shaped light-gathering portion—to ensure that
the light-concentration effect achieved by the lens impacts all of the
detectors.” See, e.g., Ex. 1003 ¶ 85; Ex. 2006, 179:21–180:13, 202:11–20.
      Thus, we conclude that one of ordinary skill in the art would have had
adequate reason to replace Aizawa’s flat cover 6 with a cover comprising a
convex protrusion, to improve light detection efficiency, and would have
had a reasonable expectation of success in doing so.

                 vi.   Summary
      For the foregoing reasons, we determine that Petitioner has met its
burden of demonstrating by a preponderance of the evidence that claim 1
would have been obvious over the cited combination of references.

                          4. Independent Claim 26
      Independent claim 26 consists of limitations that are substantially
similar to elements [a]–[d] of claim 1. Compare Ex. 1001, 44:37–53, with
id. at 46:22–40 (reciting a “circular housing” with a “wall”; reciting a “lens
portion”). In asserting that claim 26 would have been obvious over the
combined teachings of Aizawa and Inokawa, Petitioner refers to
substantially the same contentions presented as to claim 1. See Pet. 39–41;
Ex. 1003 ¶¶ 119–124.




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       Patent Owner does not present any argument for this claim other than
those we have already considered with respect to independent claim 1. PO
Resp. 12–41.
       For the same reasons discussed above, we determine that Petitioner
has met its burden of demonstrating by a preponderance of the evidence that
claim 26 would have been obvious over the cited combination of references.
See supra II.D.3.i–v; Ex. 1003 ¶¶ 119–124.

           5. Dependent Claims 2–14, 16, 17, 19–23, and 27–29

                   i.   Dependent Claim 5
       Petitioner identifies dependent claim 5 as being challenged in its
proposed ground of unpatentability based on Aizawa and Inokawa. See
Pet. 1 (listing claims 1–14, 16, 17, 19–23, 26–29 as part of this ground), 8
(heading identifying the same challenged claims). But, Petitioner does not
present any contentions addressing the specific limitations of claim 5. See
id. at 23–42 (purportedly addressing all challenged claims beyond claim 1,
but failing to discuss claim 5). As such, Petitioner has not met its burden.

                  ii.   Dependent Claims 2–4, 6–14, 16, 17, 19–23, and 27–
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       Petitioner presents undisputed contentions that claims 2–4, 6–14, 16,
17, 19–23, and 27–29, which depend directly or indirectly from independent
claim 1 or 26, are unpatentable over the combined teachings of Aizawa and
Inokawa, and provides arguments explaining how the references teach the
limitations of these claims. Pet. 23–39, 41–42; Ex. 1003 ¶¶ 88–118, 125–
127.




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      Patent Owner does not present any arguments for these claims other
than those we have already considered with respect to independent claim 1.
PO Resp. 41 (“The Petition fails to establish that independent claims 1 and
26 are obvious and thus fails to establish any of the challenged dependent
claims are obvious.”).
      We have considered the evidence and arguments of record and
determine that Petitioner has demonstrated by a preponderance of the
evidence that claims 2–4, 6–14, 16, 17, 19–23, and 27–29 would have been
obvious over the combined teachings of the cited references and as
supported by the testimony of Dr. Kenny.

             E. Obviousness over the Combined Teachings of
                  Aizawa, Inokawa, and Mendelson-2006
      Petitioner contends that claims 23 and 24 are unpatentable based on
Aizawa, Inokawa, and Mendelson-2006. Pet. 45–50. Claim 23 depends
from claim 1 and recites, “[t]he noninvasive optical physiological
measurement device is comprised as part of a mobile monitoring device.”
Ex. 1001, 46:8–11. Claim 24 depends from claim 23 and further recites,
“the mobile monitoring device includes a touch-screen display.” Id. at
46:12–14.

                         1. Mendelson-2006 (Ex. 1016)
      Mendelson-2006 is a journal article titled “A Wearable Reflectance
Pulse Oximeter for Remote Physiological Monitoring,” and discloses a




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wireless wearable pulse oximeter connected to a personal digital assistant
(“PDA”). Ex. 1016, 912.7
      Figure 1 of Mendelson-2006 is reproduced below.




Figure 1, at top, illustrates a sensor module attached to the skin and, at
bottom, presents a photograph of a disassembled sensor module and receiver
module. The sensor module includes an optical transducer, a stack of round
printed circuit boards, and a coin cell battery. Id. at 2.




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  Petitioner cites to the native page numbering within Exhibit 1016. See,
e.g., Pet. 45–50. We follow Petitioner’s numbering scheme.

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      Figure 2 of Mendelson-2006 is reproduced below.




Figure 2 depicts a system block diagram of the wearable, wireless, pulse
oximeter including the sensor module, at top, and the receiver module, at
bottom. Id. The sensor module includes at least one LED, a photodetector,
signal processing circuitry, an embedded microcontroller, and an RF
transceiver. Id. at 1–2. Mendelson-2006 discloses that a concentric array of
discrete photodetectors could be used to increase the amount of
backscattered light detected by a reflectance type pulse oximeter sensor. Id.
at 4. The receiver module includes an embedded microcontroller, an RF
transceiver for communicating with the sensor module, and a wireless
module for communicating with the PDA. Id. at 2.
      As a PDA for use with the system, Mendelson-2006 discloses “the HP
iPAQ h4150 PDA because it can support both 802.11b and Bluetooth™
wireless communication” and “has sufficient computational resources.” Id.
at 3. Mendelson-2006 further discloses that


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      [t]he use of a PDA as a local terminal also provides a low-cost
      touch screen interface. The user-friendly touch screen of the
      PDA offers additional flexibility. It enables multiple controls to
      occupy the same physical space and the controls appear only
      when needed. Additionally, a touch screen reduces development
      cost and time, because no external hardware is required. . . . The
      PDA can also serve to temporarily store vital medical
      information received from the wearable unit.
Id.
      The PDA is shown in Figure 3 of Mendelson-2006, reproduced below.




Figure 3 illustrates a sample PDA and its graphical user interface (“GUI”).
Id. Mendelson-2006 explains that the GUI allows the user to interact with
the wearable system. Id. “The GUI was configured to present the input and
output information to the user and allows easy activation of various
functions.” Id. “The GUI also displays the subject’s vital signs, activity
level, body orientation, and a scrollable PPG waveform that is transmitted by
the wearable device.” Id. For example, the GUI displays numerical oxygen
saturation (“SpO2”) and heart rate (“HR”) values. Id.




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                                2. Analysis

      With support from the testimony of Dr. Kenny, Petitioner contends
that claims 23 and 24 are unpatentable based on Aizawa, Inokawa, and
Mendelson-2006. Pet. 45–50 (citing Ex. 1003 ¶¶ 69–71, 133–136; Ex. 1006
¶¶ 2, 15, 23, 35; Ex. 1008 ¶ 56; Ex. 1016, 912–914, Figs. 1, 3; Ex. 1022).
For instance, Petitioner applies the teachings of Mendelson-2006 to account
for the mobile monitoring device features required by claim 23 and the
touch-screen display recited in claim 24. Id.
      Patent Owner does not separately address this ground, urging only
that the ground “do[es] not fix the deficiencies” alleged in connection with
the ground based on Aizawa and Inokawa. PO Resp. 41. As discussed
above, we do not agree with Patent Owner as to any such deficiencies. See
supra § II.D.
      We have reviewed the Petition and its supporting evidence and
conclude that Petitioner has shown by a preponderance of the evidence that
claims 23 and 24 are unpatentable based on Aizawa, Inokawa, and
Mendelson-2006.

                F. Obviousness over the Combined Teachings of
                   Aizawa, Inokawa, Mendelson-2006, and Beyer

      Petitioner contends that claim 25 is unpatentable based on Aizawa,
Inokawa, Mendelson-2006, and Beyer. Pet. 56–60. Claim 25 depends from
claim 1 and recites, “a processor configured to receive the one or more
signals and communicate physiological measurement information to a
mobile phone.” Ex. 1001, 46:15–21.




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                       1. Overview of Beyer (Ex. 1019)

      Beyer is a U.S. patent titled “Cellular Phone/PDA Communication
System,” and discloses a “cellular PDA communication system for allowing
a plurality of cellular phone users to monitor each others’ location and
status[ and] to initiate cellular phone calls.” Ex. 1019, code (57). Beyer’s
Figure 1 is reproduced below.




Figure 1 depicts a “cellular phone/PDA and display.” Id. at 7:8–9.

                                 2. Analysis
      With support from the testimony of Dr. Kenny, Petitioner contends
that claim 25 is unpatentable based on Aizawa, Inokawa, Mendelson-2006,
and Beyer. Pet. 56–60 (citing, e.g., Ex. 1003 ¶¶ 150–156; Ex. 1016, 913–
914; Ex. 1019, 1:6–15, Fig. 1). For instance, Petitioner applies the teachings
of Beyer to account for the processor features required by claim 25. Id.
      Patent Owner does not separately address this ground, urging only
that the ground “do[es] not fix the deficiencies” alleged in connection with
the ground based on Aizawa and Inokawa. PO Resp. 41. As discussed


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above, we do not agree with Patent Owner as to any such deficiencies. See
supra § II.D.
       We have reviewed the Petition and its supporting evidence and
conclude that Petitioner has shown by a preponderance of the evidence that
claim 25 is unpatentable based on Aizawa, Inokawa, Mendelson-2006, and
Beyer.

                G. Obviousness over the Combined Teachings of
                          Aizawa, Inokawa, and Al-Ali
       Petitioner contends that claim 5 is unpatentable over Aizawa,
Inokawa, and Al-Ali. Pet. 60–62. Dependent claim 5 ultimately depends
from independent claim 1 and recites that “the light permeable cover
comprises a conductive layer configured to shield the at least four detectors
from noise.” Ex. 1001, 44:64–67.

                         1. Overview of Al-Ali (Ex. 1030)

       Al-Ali is a U.S. patent application publication titled “Multiple
Wavelength Optical Sensor.” Ex. 1030, code (54). Al-Ali discloses an
optical sensor with an emitter that radiates light into a tissue site to be
received by a detector such that, e.g., oxygen saturation may be derived. Id.
at code (57). Al-Ali describes detector 1900 having shield 1910 with
conductive surface 1920 defining windows, shown below in Figure 19A-B.
Id. ¶ 71.




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Figure 19A depicts a top view of a detector. Al-Ali explains that light is
permitted to pass through the windows, while other electromagnetic noise is
blocked. Id. Al-Ali explains that additional shielding material also can be
applied to the ceramic substrate 1710. Id.

                                 2. Analysis
      Petitioner contends that “Al-Ali teaches shielding the detectors of a
pulse oximeter/optical sensor by placing a conductive shield 1920 above the
housing, thereby providing a Faraday cage that can allow ‘passage of light’
to the detectors while ‘blocking . . . electromagnetic noise.’” Id. at 60 (citing
Ex. 1030 ¶ 71, Fig. 19A; Ex. 1003 ¶ 156-A). Petitioner asserts this
“improve[s] the sensitivity of the detectors, thereby leading to more reliable
pulse/signal detection.” Id. at 61.
      According to Petitioner, a person of ordinary skill in the art “would
have found it obvious to add a similar conductive shield/layer between the
detectors and the LPC to prevent electromagnetic noise from reaching the
detectors while still allowing desired signals/wavelengths to pass through,
thereby reducing the effects of noise and resulting in improved light


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collection efficiency.” Id. (citing Ex. 1003 ¶ 156-B). Petitioner contends
that this “entails the use of known solutions to improve similar systems and
methods in the same way,” and “would have led to [the] predictable result of
reducing noise and improving signal collection without significantly altering
or hindering the functions performed by Aizawa.” Id. at 62 (citing Ex. 1003
¶ 156-C).
      Patent Owner does not separately address this ground, urging only
that the ground “do[es] not fix the deficiencies” alleged in connection with
the ground based on Aizawa and Inokawa. PO Resp. 41. As discussed
above, we do not agree with Patent Owner as to any such deficiencies. See
supra § II.D.
      We have reviewed the Petition and its supporting evidence and
conclude that Petitioner has shown by a preponderance of the evidence that
claim 5 is unpatentable based on Aizawa, Inokawa, and Al-Ali. Specifically,
Al-Ali teaches the use of a conductive material to eliminate noise. Ex. 1030
¶ 71. In light of this teaching, we credit Dr. Kenny’s unrebutted testimony
that a person of ordinary skill in the art would have found it obvious to
implement such a conductive material in the sensor of Aizawa and Inokawa
to reduce noise, as was well-known in the art. Ex. 1003 ¶¶ 156-A, 156-B.

                H. Obviousness over the Combined Teachings of
                          Aizawa, Inokawa, and Ohsaki

      Petitioner contends that claims 1–14, 16, 17, 19–23, and 26–29 are
unpatentable over Aizawa, Inokawa, and Ohsaki. Pet. 42–45.
      Because we have already determined that these claims are
unpatentable based on Aizawa and Inokawa, which is dispositive as to these
challenged claims, we need not reach this additional ground applied to these


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claims. See SAS Inst. Inc. v. Iancu, 138 S. Ct. 1348, 1359 (2018) (holding
that a petitioner “is entitled to a final written decision addressing all of the
claims it has challenged”); Boston Sci. Scimed, Inc. v. Cook Grp. Inc., 809
F. App’x 984, 990 (Fed. Cir. 2020) (“[T]he Board need not address issues
that are not necessary to the resolution of the proceeding.”).

              I.    Obviousness over the Combined Teachings of
                       Aizawa, Inokawa, Goldsmith, and Lo

      Petitioner contends that claims 23–25 are unpatentable over Aizawa,
Inokawa, Goldsmith, and Lo. Pet. 51–56.
      Because we have already determined that these claims are
unpatentable based on Aizawa, Inokawa, and Mendelson-2006 (claims 23–
24) or Mendelson-2006 and Beyer (claim 25), we need not reach this
additional ground applied to these claims. See SAS Inst., 138 S. Ct. at 1359;
Boston Sci., 809 F. App’x at 990.

              J. Obviousness over the Combined Teachings of
                       Mendelson-1988 and Inokawa

      Petitioner contends that claims 1–14, 16–22, and 26–30 of the
’190 patent would have been obvious over the combined teachings of
Mendelson-1988 and Inokawa. Pet. 62–94.

                   1. Overview of Mendelson-1988 (Ex. 1015)

      Mendelson-1988 discloses a pulse oximeter, with an optical
reflectance sensor suitable for noninvasive monitoring of a user’s arterial
hemoglobin oxygen saturation (SpO2), via the user’s forehead. See
Ex. 1015, 167 (title & abstract).




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      Figure 2 is reproduced below:




Figure 2 illustrates the sensor of Mendelson-1988, including: (A) a top view
diagram; (B) a side view diagram; and (C) a photograph. Id. at 169.
      The sensor includes two red LEDs and two infrared LEDs for emitting
light into the user’s tissue, and six photodiodes “arranged symmetrically in a
hexagonal configuration” surrounding the four emitters, to detect light
reflected back to the sensor from the user’s tissue. Id. at 168 (“SENSOR
DESIGN”). The user’s “SpO2 can be calculated from the ratio of the
reflected red and infrared photoplethysmograms.” Id. at 167. “To minimize
the amount of light transmission and reflection between the LEDs and the
photodiodes within the sensor, a ring-shaped, optically opaque shield of
black Delrin . . . was placed between the LEDs and the photodiode chips.”
Id. at 168 (col. 2). “The optical components were encapsulated inside the




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package using optically clear adhesive.” Id. “The microelectronic package
was mounted inside a black Delrin housing.” Id.

                             2. Independent Claim 1
         Petitioner contends that claim 1 would have been obvious over the
combined teachings of Mendelson-1988 and Inokawa. Pet. 63–67
(combination), 68–75 (claim 1).

                    i.    “A noninvasive optical physiological measurement
                          device adapted to be worn by a wearer, the
                          noninvasive optical physiological measurement device
                          providing an indication of a physiological parameter
                          of the wearer comprising”

         The cited evidence supports Petitioner’s undisputed contention that
Mendelson-1988 discloses a noninvasive optical physiological measurement
device, i.e., an “optical reflectance sensor” that monitors “arterial
hemoglobin oxygen saturation,” a physiological parameter of the wearer.
Pet. 68; see, e.g., Ex. 1015, code (57), 167, 172; Ex. 1003 ¶ 157.

                   ii.    “[a] one or more light emitters”
         The cited evidence supports Petitioner’s undisputed contention that
Mendelson-1988 discloses two red LEDs and two infrared LEDs. Pet. 68;
see, e.g., Ex. 1015, 168 (“The optical reflectance sensor used in this study
consists of two red (peak emission wavelength: 660 nm) and two infrared
(peak emission wavelength: 930 nm) LED chips.”)), Fig. 2(a); Ex. 1003
¶ 158.




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                 iii.   “[b] a housing having a surface and a circular raised
                        edge extending from the surface”

      The cited evidence supports Petitioner’s undisputed contention that
Mendelson-1988 discloses an AIRPAX package, i.e., a housing with a
ceramic substrate, i.e., a surface, and a circular raised edge extending from
the surface. Pet. 69. Petitioner’s annotated versions of Mendelson-1988’s
Figures 2A and 2B are reproduced below.




Pet. 69–70. The modified figures depict top and side views of Mendelson-
1988’s sensor with a housing (depicted in red) having a surface (depicted in




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purple) with a circular raised edge (depicted in green) extending from the
surface. Id.; Ex. 1003 ¶ 159.8

                   iv.    “[c] at least four detectors arranged on the surface
                          and spaced apart from each other, the at least four
                          detectors configured to output one or more signals
                          responsive to light from the one or more light emitters
                          attenuated by body tissue, the one or more signals
                          indicative of a physiological parameter of the
                          wearer”

         The cited evidence supports Petitioner’s undisputed contention that
Mendelson-1998 discloses “six silicon photodiodes . . . arranged
symmetrically in a hexagonal configuration” on the surface. Pet. 69, 72; see,
e.g., Ex. 1015, 168, Figs. 2(A)–(B). Mendelson-1998 discloses that the
photodiodes output “current pulses” indicative of a physiological parameter
of the wearer in response to light emitted by the emitters and reflected from
the skin. Pet. 72–73; see, e.g., Ex. 1015, 167 (“SpO2 can be calculated from
the ratio of the reflected red and infrared photoplethysmograms.”); Ex. 1003
¶ 163.




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 Petitioner also alleges that, “[a]lternatively, the outer wall of the AIRPAX
microelectronic package (housing), as indicated below, can be modified to
be a circular raised edge extending from the surface.” Pet. 70–72 (emphasis
omitted). We do not rely on this alternative contention regarding claim 1.

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                  v.    “[d] a light permeable cover arranged above at least
                        a portion of the housing, the light permeable cover
                        comprising a protrusion arranged to cover the at least
                        four detectors.”

Petitioner’s Contentions

      Petitioner contends that Mendelson-1988’s sensor discloses all
limitations of claim 1, except that its light permeable cover, i.e., the
“OPTICALLY CLEAR EPOXY” in Figure 2B, which is arranged above a
portion of the housing and covers the detectors, lacks the claimed
“protrusion.” See Pet. 73–75; Ex. 1003 ¶¶ 165–171. As discussed above in
Section II.D.3, Petitioner contends that Inokawa’s sensor includes lens 27,
comprising a convex protrusion arranged to cover its light detector 25.
Pet. 65. Petitioner reasons that an ordinarily skilled artisan would have been
motivated, with a reasonable expectation of success, to modify
Mendelson-1988’s optical SpO2 sensor, in light of Inokawa’s optical pulse
sensor, by adding a lens with a protrusion to Mendelson-1988’s cover to
improve the sensor’s light detection efficiency. Id. at 66.
      Dr. Kenny provides the following illustrations to portray the proposed
modification of Mendelson-1988’s sensor (Ex. 1003 ¶ 168):




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At the left, Dr. Kenny has excerpted and annotated Mendelson-1988’s
Figure 2B, to identify the pre-existing cover (colored blue) which covers the
light emitters and detectors. See id. At the right, Dr. Kenny has illustrated
the device resulting from the proposed modification of the cover to have a
protrusion (also colored blue). See id.
      Petitioner further asserts “there are two alternative ways of mapping
the claimed ‘light permeable cover,’ or LPC, to the modified cover above.”
Pet. 74; Ex. 1003 ¶¶ 172–173. Dr. Kenny provides the following two
annotations of Mendelson-1988’s Figure 2B to identify these alternative
mappings:




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Dr. Kenny’s first mapping (top figure) equates the cover to the entire depth
of the epoxy contained within the AIRPAX package as shown in red outline.
Ex. 1003 ¶ 172. Dr. Kenny’s second mapping (bottom figure) equates the
cover to a partial depth of the epoxy within the package as shown in red
outline. Id. ¶ 173 (“[A person of ordinary skill in the art] would have been
able to use the top portion of the housing . . ., as in Nishikawa, to help form
the LPC portion on top of the sealing portion.”).
      Petitioner adds that a person of ordinary skill in the art “would have
realized that the epoxy layer [of Mendelson-1998] could have been given a
shape that would help further advance Mendelson-1988’s objective of
improving detection efficiency,” “requir[ing] only routine knowledge of
sensor design and assembly.” Pet. 64, 66 (citing Ex. 1015, 168, 173);
Ex. 1003 ¶¶ 165, 169. For example, “as demonstrated by Nishikawa,
molding clear epoxy, as in Mendelson-1988, into a lens was well
understood.” Pet. 66–67 (citing Ex. 1023, Fig. 6, ¶¶ 22, 32, 35, 37; Ex. 1003
¶ 170).

Patent Owner’s Arguments
      Patent Owner is of the view that Petitioner has not met its burden to
demonstrate the obviousness of modifying Mendelson-1988’s sensor to have
a protrusion, based on substantially the same analysis and testimony
discussed above in the context of combining Aizawa and Inokawa. See PO
Resp. 43–46; Ex. 2004 ¶¶ 94–100; supra Section II.D.3. For example,
Mendelson-1988, like Aizawa, provides a central emitter or emitters
surrounded by several detectors. Compare Ex. 1015, 169 (Fig. 2) (showing
four central LEDs surrounded by six photodiodes), with Ex. 1006,



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Figs. 1(a)–1(b) (showing one central LED 21 surrounded by four
photodetectors 22).
      Patent Owner argues that Mendelson-1988 discloses only that it
encapsulates its electronic components with a flat optically clear
adhesive/epoxy, which is not a “cover.” PO Resp. 46 (citing Ex. 1004
¶¶ 102–103). Patent Owner contends that the ’190 patent distinguishes
between resin and covers. PO Resp. 47 (citing Ex. 1001, 36:37–46). Patent
Owner also argues that Nishikawa, on which Petitioner relies, “never
mentions a cover, and instead discusses encapsulation of components using
an integrally molded resin.” Id. (citing Ex. 1023 ¶ 35). Likewise, Patent
Owner characterizes Inokawa’s cover as a “distinct structure, not an
undifferentiated mass of resin on a surface.” Id. (citing Ex. 1008 ¶ 103).
      Patent Owner also objects to Petitioner’s alternative mapping,
providing for a cover with a protrusion to be found in two different ways.
See PO Resp. 46–49; Ex. 2004 ¶¶ 102–107. This alternative mapping, in
according to Patent Owner, is “ambiguous[],” and the second mapping
incorporates an “arbitrary” line drawn to define the bottom of the cover in
“an undifferentiated mass of material.” PO Resp. 48–49. Patent Owner
also argues that “Petitioner’s inability to consistently identify a ‘cover’
reveals the hindsight-driven nature of its arguments.” Id. at 49.

Petitioner’s Reply

      Petitioner maintains that the Petition and supporting testimony
adequately account for the “cover” required by the claims of the ’190 patent,
including the “alternative mapping” configuration. Pet. Reply 22.




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Patent Owner’s Sur-reply

         Patent Owner’s Sur-reply generally reiterates its arguments
challenging Petitioner’s contentions. PO Sur-reply 18–20.

Analysis

         As an initial matter, we find that a preponderance of the evidence
establishes that the Mendelson-1988 sensor’s optically clear epoxy is a light
permeable cover that is arranged above a portion of the housing and covers
the sensor’s detectors. In particular, it is clear from Figures 2A and 2B that
the epoxy extends from the top of the sensor at the dotted line in the figure,
down into the well of the AIRPAX package, to cover all four LEDs and all
six photodiodes disposed at the bottom of the well. See also Ex. 1015, 168
(“The optical components were encapsulated inside the package using
optically clear adhesive.”). Although Patent Owner disagrees, its position is
premised on its proposed claim construction of the term “cover” as
excluding resins and epoxies. See PO Resp. 46–48. For reasons provided in
Section II.A.1 above, we do not find that claim construction persuasive, and
Patent Owner does not distinguish Mendelson-1988 from claim 1 on this
basis.
         Thus, we determine that Petitioner has established persuasively that
Mendelson-1988’s sensor teaches every limitation of claim 1, except that its
light permeable cover has a flat surface and, thus, does not include a
“protrusion.” We, however, conclude that a preponderance of the evidence
supports Petitioner’s contention that it would have been obvious to modify
the top surface of Mendelson-1988’s cover to include a protrusion, in order
to increase the amount of backscattered light received by Mendelson-1988’s
peripheral detectors. Our reasoning is substantially identical to the analysis

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provided above in connection with the ground based on Aizawa and
Inokawa, with Mendelson-1988 replacing Aizawa in the combination. See
supra Section II.D.3. Patent Owner does not cite, and we do not discern,
any material difference between Mendelson-1988 and Aizawa that might
lead to a different result here, with one possible exception.
      That difference is Petitioner’s alternative mapping of the claimed
“cover” in the proposed modification of Mendelson-1988. We rely on the
first mapping, but not the second, to decide in Petitioner’s favor.
Petitioner’s first mapping is again reproduced here (Ex. 1003 ¶ 172):




In this modified and annotated version of Figure 2B of Mendelson-1988,
Dr. Kenny identifies how Mendelson-1988’s light permeable cover may be
modified to have a protrusion, wherein the modified cover (colored blue)
includes the entire depth of the optically clear epoxy contained within the
AIRPAX package (outlined red). Id.; Pet. 74. Patent Owner objects to this
mapping as ambiguous, but we determine Dr. Kenny’s annotations
reproduced above are sufficiently clear to establish obviousness by a
preponderance of the evidence.




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                 vi.   Summary

      For the foregoing reasons, we determine that Petitioner has met its
burden of demonstrating by a preponderance of the evidence that claim 1
would have been obvious over the cited combination of references.

                          3. Independent Claim 26
      Independent claim 26 consists of limitations that are substantially
similar to elements [a]–[d] of claim 1. Compare Ex. 1001, 44:37–53, with
id. at 46:22–40 (reciting a “circular housing” with a “wall”; reciting a “lens
portion . . . in optical communication with the . . . detectors”). In asserting
that claim 26 would have been obvious over the combined teachings of
Mendelson-1988 and Inokawa, Petitioner refers to many of the same
contentions presented as to claim 1. See Pet. 88–91; Ex. 1003 ¶¶ 206–212.
      We address the parties’ contentions to the extent they vary or expand
upon those discussed above. We do not address contentions that we have
already considered with respect to independent claim 1.
      With respect to the limitation reciting “a lens portion . . . comprising a
protrusion in optical communication with the at least four detectors,”
Petitioner additionally contends that “because reflected light received by
Mendelson-1988’s six detectors passes through the protruded lens portion as
provided by Inokawa, the lens/protrusion is in optical communication with
the detectors.” Pet. 91. We agree. As discussed in Section II.J.2.v, we are
persuaded that an ordinarily skilled artisan would have been motivated, with
a reasonable expectation of success, to modify Mendelson-1988’s sensor, in
light of Inokawa’s sensor, by adding a protruding lens to Mendelson-1988’s
cover to improve the sensor’s light detection efficiency. See, e.g., Pet. 66.
In the proposed modification, emitted and reflected light passes through the

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added lens/protrusion, taught by Inokawa, before reaching the detectors.
Ex. 1003 ¶ 211. As such, we agree that it is “in optical communication,” as
claimed.
      With respect to the limitation reciting “a circular housing comprising
a surface and a wall protruding from the surface,” Petitioner contends that
“[a]lthough the housing [of Mendelson-1998] appears to have a square
shape, not a circular one, a [person of ordinary skill in the art] would have
recognized that microelectronic packaging as used in Mendelson-1988
comes in various shapes and sizes,” and that such an artisan “would have
considered using a differently shaped housing, namely a circular one, to be
obvious” because a circular housing with a circular wall was well known
and the shape would have imparted nothing new or inventive. Pet. 89–90
(citing, e.g., Ex. 1003 ¶¶ 206–209). For example, Petitioner relies on
Mendelson-799, 9 which discloses a sensor for an optical measurement
device having a circular shape. Id. (citing Ex. 1025, Fig. 7, 9:34–36).
      Patent Owner argues that Mendelson-1988 and Inokawa provide
square housings for their components. PO Resp. 52. According to Patent
Owner, “Petition never identifies a motivation to pick a circular-shaped
housing instead of the existing square shape” and that a skilled artisan would
not have made such a modification without some perceived benefit for doing
so. Id. at 53 (citing, e.g., Ex. 2004 ¶ 114). Patent Owner objects to
Petitioner’s reliance on the sensor shape taught by Mendelson-799 because
(1) Mendelson-799 is not included in any ground, and (2) Mendelson-799




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  U.S. Patent No. 6,801,799 B2, filed Feb. 6, 2003, issued Oct. 5, 2004
(“Mendelson-799,” Ex. 1025).

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does not disclose a cover and, as such, “cannot disclose a circular housing
and a cover of the circular housing, as claim 26 requires.” Id.
      In its Reply, Petitioner contends that “neither the ’190 patent nor
[Patent Owner] provides any explanation of how the particular housing
shape solves some problem or presents some unexpected result.” Pet.
Reply 24.
      In its Sur-reply, Patent Owner reiterates its positions from its
Response. PO Sur-reply 21.
      We are persuaded by Petitioner’s contentions. As discussed in
Section II.J.2.iii, Mendelson-1988 discloses a housing in the form of an
AIRPAX package that has a square shape when viewed from above. See
Ex. 1015, Fig. 2(A). Petitioner’s and Dr. Kenny’s general assessment that a
person of ordinary skill in the art would have understood that a circular
housing shape was a known option for housing components of a
physiological sensor finds support in the record. Pet. 88–90; Ex. 1003
¶¶ 208–209. In that respect, although Mendelson-799 was not listed in the
styling of the proposed grounds of unpatentability, its teachings plainly were
offered in the Petition as evidence of the background knowledge that an
ordinarily skilled artisan would have brought to bear in an evaluation of the
teachings of Mendelson-1988 and Inokawa. Pet. 88–90. Moreover, it is
clear that Patent Owner understood that the proposed ground offered in the
Petition considered the disclosure of Mendelson-799, and Patent Owner had
opportunity to address that disclosure. Indeed, Patent Owner availed itself
of that opportunity during trial (see, e.g., PO Resp. 53; PO Sur-reply 21).
      We further find unavailing Patent Owner’s argument that
“Mendelson[-799] does not disclose a cover (or even epoxy encapsulation)



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and thus cannot disclose a circular housing and a cover of the circular
housing, as claim 26 requires.” PO Resp. 53. Figure 7 of Mendelson-799 is
reproduced below:




Figure 7 is a top view of optical sensor 10 comprising light source 12
composed of three LEDs 12A, 12B, and 12C emitting light of three different
wavelengths, and an array of six near detectors 18 and six far detectors 16
“arranged in two concentric ring-like arrangements” surrounding light
source 12. Ex. 1025, 9:23–34. “All these elements are accommodated in a
sensor housing 17” which, as can be seen in Figure 7, is clearly circular. Id.
at 9:34–35. Patent Owner does not articulate why the presence or absence of
a cover in Mendelson-799 somehow serves to discount the unambiguous
presentation of a sensor housing having a circular shape.
      Furthermore, one of ordinary skill in the art would have understood
that the AIRPAX package of Mendelson-1988 and the housing 17 of
Mendelson-799 are performing the same function of enclosing a central
collection of light emitters which are surrounded by an array of light
detectors in an optical sensor attached to a user’s body. See, e.g., Ex. 1015,
Figs. 2A–2B; Ex. 1025, Fig. 7. The evidence of record also does not suggest
that the shape of such a housing has any functional significance in the

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operation of the optical sensor, or that any particular shape was preferred or
restricted. Thus, the evidence suggests that a square shape and a circular
shape of such a housing were known in the art to be predictable substitutes
for one another, and therefore obvious variants. See, e.g., KSR, 550 U.S.
at 416 (“[W]hen a patent claims a structure already known in the prior art
that is altered by the mere substitution of one element for another known in
the field, the combination must do more than yield a predictable result.”); id.
at 417 (“[W]hen a patent ‘simply arranges old elements with each
performing the same function it had been known to perform’ and yields no
more than one would expect from such an arrangement, the combination is
obvious.” (citation omitted)).
      For the foregoing reasons, we determine that Petitioner has met its
burden of demonstrating by a preponderance of the evidence that claim 26
would have been obvious over the cited combination of references.

                4. Dependent Claims 2–14, 16–22, and 27–30
                   i.   Dependent Claim 3
      Dependent claim 3 recites that “the circular raised edge creates a gap
between the surface and the light permeable cover.” Ex. 1001, 44:58–60.
      For this claim, Petitioner relies upon a different mapping of the
“circular raised edge” than that primarily relied upon in claim 1. See supra
§ II.J.2.iii, n.8 (identifying, but not relying upon, Petitioner’s alternate
mapping). Specifically, Petitioner contends that although Mendelson-1988’s
sensor presents a square shape, it would have been obvious to a skilled
artisan that a circular shape, and circular raised edge, could have been used.
Pet. 71; see also supra § II.J.3 (similar arguments regarding claim 26).



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Petitioner presents an annotated version of Mendelson-1988’s Figure 2(B)
below.




The annotated figure identifies an outer edge of Mendelson-1988’s AIRPAX
package with the label “Circular raised edge.” Pet. 71; Ex. 1003 ¶ 160.
      Regarding claim 3, Petitioner contends that, in the modified sensor of
Mendelson-1988 and Inokawa, “the [light permeable cover] portion is
separated from the surface by a gap,” as shown below. Pet. 76.




The annotated and modified figure above presents Mendelson-1988’s sensor
with the epoxy formed to extend from the bottom surface upward through a
protruding cover, and with a line identifying the upper portion of the epoxy

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that Petitioner contends is the light permeable cover. Thus, according to
Petitioner, “[t]he size of the gap above is defined, in part, by the raised edge
of the housing, which as described above for [1b] can be circular, that
surrounds the epoxy structure and serves as a mold that define its overall
height (and thus the size of the gap).” Pet. 77 (citing Ex. 1023 ¶¶ 34–38,
Figs. 5–6; Ex. 1003 ¶¶ 178–179).
      In response, Patent Owner argues that “drawing an arbitrary line
through an undifferentiated mass of material does not create a ‘gap,’” and
characterizes Petitioner’s alternate mappings as ambiguous. PO Resp. 49
(citing Ex. 2004 ¶¶ 108–109; Ex. 2007, 355:12–359:5). Patent Owner
argues that the term “gap” requires some kind of “break,” which is absent in
the proposed combination. Id. (citing Ex. 1001, 36:24–28; Ex. 1017;
Ex. 2004 ¶ 110). Moreover, Patent Owner argues that in this mapping, it is
not the circular raised edge that “creates” the gap, as claimed. Id. at 51.
      In its Reply, Petitioner contends that “the ‘line’ between the
LPC/cover and the epoxy encapsulation layer underneath is not arbitrary,
instead being formed, for instance, by a common manufacturing technique
for creating epoxy lenses in which the epoxy lens layer is provided on top of
a separately formed epoxy encapsulation layer.” Pet. Reply 23–24 (citing
Ex. 1003 ¶¶ 178–179; Ex. 1047 ¶ 49).
      In its Sur-reply, Patent Owner argues that Petitioner’s reliance on
Nishikawa for teachings of how to manufacture separate epoxy layers is
unavailing because Nishikawa’s process seeks to avoid any gaps in the
epoxy. PO Sur-reply 21 (citing Pet. 67).
      Upon review of the foregoing, we conclude Petitioner’s case for the
obviousness of claim 3 falls short. Petitioner’s identification of the bottom



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border of the LPC “cover” in this mapping is arbitrary, and is not supported
by a preponderance of the evidence. Dr. Kenny does not provide any
persuasive reasoning in support of his identification of the “cover” as
terminating at the bottom border he has identified, when the same mass of
epoxy extends further beyond that border to the surface of the sensor. See
Ex. 1003 ¶¶ 90–91. We perceive no such reasoning, apart from
impermissible hindsight.
      Dr. Kenny testifies that “the height of the ‘circular wall’ in
Mendelson-1988 necessarily impacts the position of the LPC (cover), in turn
necessarily impacting the size of the ‘gap’ between the cover and the
surface,” and, as such, the “line” between the cover and epoxy underneath is
not arbitrary. Ex. 1047 ¶ 49; see also Ex. 1003 ¶ 90. Instead, Dr. Kenny
asserts, this represents a common manufacturing technique to form separate
layers of epoxy, for example, as taught by Nishikawa. Ex. 1047 ¶ 49 (citing
Ex. 1023 ¶¶ 34–38, Figs. 5–6).
      But we find this testimony deficient in two primary ways. First,
Dr. Kenny’s reliance on Nishikawa is misplaced. Dr. Kenny relies on
Nishikawa’s disclosure that sealing portion 40 and lens unit 50 may be
formed in separate injection molding steps, leading to a defined border
between them which is shown as a horizontal line in Nishikawa’s Figure 6.
Ex. 1023 ¶¶ 34–35. Thus, Nishikawa does establish, as Dr. Kenny testifies,
that Mendelson-1988’s epoxy layer could have been formed in a two-step
injection molding process, leading to a border between two layers of epoxy.
However, Dr. Kenny errs in “focus[ing] on what a skilled artisan would have
been able to do, rather than what a skilled artisan would have been
motivated to do.” Polaris Indus., Inc. v. Arctic Cat, Inc., 882 F.3d 1056,



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1068–69 (Fed. Cir. 2018) (citing InTouch Techs., Inc. v. VGO Commc’ns,
Inc., 751 F.3d 1327, 1352 (Fed. Cir. 2014)). Dr. Kenny does not provide
any persuasive motivation for using Nishikawa’s two-step molding process
within the context of Mendelson-1988’s sensor. Thus, we conclude
Dr. Kenny “succumbed to hindsight bias in [his] obviousness analysis.”
InTouch, 751 F.3d at 1352.
      Second, Dr. Kenny’s testimony that the height of the circular wall
impacts the position of the cover is belied by Dr. Kenny’s illustration of the
proposed modification in which the “line” dividing the cover from the epoxy
is located below the full height of the circular wall. See Ex. 1047 ¶ 48.
Thus, in no way does the AIRPAX package wall create the gap. Instead, the
identified “gap” (to the extent it can be named as such) is created by the
height of the lower layer of epoxy purportedly laid down in Nishikawa’s
first injection molding step.
      For the foregoing reasons, we conclude Petitioner has not
demonstrated by a preponderance of the evidence that claim 3 is
unpatentable over Mendelson-1988 and Inokawa. Dependent claims 6–14
and 16 depend further from claim 3 and, as such, Petitioner’s contentions
with respect to those claims also fail.

                  ii.   Dependent Claim 5

      Petitioner identifies dependent claim 5 as being challenged in its
proposed ground of unpatentability based on Mendelson-1988 and Inokawa.
See Pet. 2 (listing claims 1–14, 16–22, and 26–30 as part of this ground), 62
(heading identifying the same challenged claims). But, Petitioner does not
present any contentions addressing the specific limitations of claim 5. See



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id. at 75–94 (purportedly addressing all challenged claims beyond claim 1).
As such, Petitioner has not met its burden.

                iii.   Dependent Claims 2, 4, 17–22, and 27–30
      Petitioner presents undisputed contentions that claims 2, 4, 17–22, and
27–30, which depend directly or indirectly from independent claim 1 or 26,
are unpatentable over the combined teachings of Mendelson-1988 and
Inokawa, and provides arguments explaining how the references teach the
limitations of these claims. Pet. 75–78, 84–87, 91–94; Ex. 1003 ¶¶ 174–175,
180, 198–203, 213–219.
      Patent Owner does not present any arguments for these claims other
than those we have already considered with respect to independent claims 1
and 26. PO Resp. 57 (“The Petition fails to establish that independent
claims 1 and 26 are obvious over the cited references of Ground 2A and
therefore fails to establish obviousness of any of the challenged dependent
claims.”).
      We have considered the evidence and arguments of record and
determine that Petitioner has demonstrated by a preponderance of the
evidence that claims 2, 4, 17–22, and 27–30 would have been obvious over
the combined teachings of the cited references and as supported by the
testimony of Dr. Kenny.

             K. Obviousness over the Combined Teachings of
               Mendelson-1988, Inokawa, and Mendelson-2006

      With support from the testimony of Dr. Kenny, Petitioner contends
that claims 23 and 24 would have been obvious over the combined teachings
of Mendelson-1988, Inokawa, and Mendelson-2006. Pet. 94–97 (citing



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Ex. 1003 ¶¶ 220–224; Ex. 1008 ¶ 56; Ex. 1015, 167, 171, Fig. 2; Ex. 1016,
912–915, Figs. 1–3; Ex. 1022). For instance, Petitioner applies the teachings
of Mendelson-2006 to account for the mobile monitoring device features
required by claim 23 and the touch-screen display recited in claim 24. Id.
      Patent Owner does not separately address this ground, urging only
that the ground “do[es] not fix the Petition’s deficiencies” alleged in
connection with the ground based on Mendelson-1988 and Inokawa. PO
Resp. 57. As discussed above, we do not agree with Patent Owner as to any
such deficiencies. See supra § II.J.
      We have reviewed the Petition and its supporting evidence and
conclude that Petitioner has shown by a preponderance of the evidence that
claims 23 and 24 are unpatentable based on Mendelson-1988, Inokawa, and
Mendelson-2006.

             L. Obviousness over the Combined Teachings of
            Mendelson-1988, Inokawa, Mendelson-2006, and Beyer
      With support from the testimony of Dr. Kenny, Petitioner contends
that claim 25 would have been obvious over the combined teachings of
Mendelson-1988, Inokawa, Mendelson-2006, and Beyer. Pet. 97–99 (citing,
e.g., Ex. 1003 ¶¶ 224–231; Ex. 1016, 913–914; Ex. 1019, 1:6–15, Fig. 1).
For instance, Petitioner applies the teachings of Beyer to account for the
processor features required by claim 25. Id.
      Patent Owner does not separately address this ground, urging only
that the ground “do[es] not fix the Petition’s deficiencies” alleged in
connection with the ground based on Mendelson-1988 and Inokawa. PO
Resp. 57. As discussed above, we do not agree with Patent Owner as to any
such deficiencies. See supra § II.J.


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        We have reviewed the Petition and its supporting evidence and
conclude that Petitioner has shown by a preponderance of the evidence that
claim 25 is unpatentable based on Mendelson-1988, Inokawa, Mendelson-
2006, and Beyer.

                              III. CONCLUSION

        In summary: 10
      Claims     35 U.S.C. § Reference(s)/      Claims      Claims Not
                                Basis           Shown         Shown
                                              Unpatentable Unpatentable
 1–14, 16,
                              Aizawa,         1–14, 16, 17,
 17, 19–23,          103                                       5
                              Inokawa         19–23, 26–29
 26–29
                              Aizawa,
                              Inokawa,
 23, 24              103                      23, 24
                              Mendelson-
                              2006
                              Aizawa,
                              Inokawa,
 25                  103                      25
                              Mendelson-
                              2006, Beyer
                              Aizawa,
 5                   103      Inokawa, Al-    5
                              Ali



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  Should Patent Owner wish to pursue amendment of the challenged claims
in a reissue or reexamination proceeding subsequent to the issuance of this
decision, we draw Patent Owner’s attention to the April 2019 Notice
Regarding Options for Amendments by Patent Owner Through Reissue or
Reexamination During a Pending AIA Trial Proceeding. See 84 Fed. Reg.
16654 (Apr. 22, 2019). If Patent Owner chooses to file a reissue application
or a request for reexamination of the challenged patent, we remind Patent
Owner of its continuing obligation to notify the Board of any such related
matters in updated mandatory notices. See 37 C.F.R. § 42.8(a)(3), (b)(2).

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                               Aizawa,
                               Inokawa,
 23–25              10311
                               Goldsmith,
                               Lo
 1–14, 16,                     Aizawa,
 17, 19–23,         10312      Inokawa,
 26–29                         Ohsaki
                               Mendelson-
 1–14, 16–                                     1, 2, 4, 5, 17–
                     103       1988,                             3, 5–14, 16
 22, 26–30                                     22, 26–30
                               Inokawa
                               Mendelson-
                               1988,
 23, 24              103       Inokawa,        23, 24
                               Mendelson-
                               2006
                               Mendelson-
                               1988,
 25                  103       Inokawa,        25
                               Mendelson-
                               2006, Beyer
 Overall                                       1–14, 16–30
 Outcome


                                  IV. ORDER

      Upon consideration of the record before us, it is:
      ORDERED that claims 1–14 and 16–30 of the ’190 patent have been
shown to be unpatentable; and




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   As explained above, because we conclude that the challenged
claims are unpatentable on other grounds, we do not reach the merits of
this ground.
13
   As explained above, because we conclude that the challenged
claims are unpatentable on other grounds, we do not reach the merits of
this ground.

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      FURTHER ORDERED that, because this is a final written decision,
parties to the proceeding seeking judicial review of the decision must
comply with the notice and service requirements of 37 C.F.R. § 90.2.




For PETITIONER:

Walter K. Renner
Andrew Patrick
Hyun Jin In
Roberto J. DeVoto
FISH & RICHARDSON P.C.
axf-ptab@fr.com
patrick@fro.com
in@fr.com
devoto@fr.com


For PATENT OWNER:

Jarom D. Kesler
Joseph R. Re
Stephen W. Larson
Jacob L. Peterson
KNOBBE, MARTENS, OLSEN, & BEAR, LLP
2jzk@knobbe.com
2jrr@knobbe.com
2slw@knobbe.com
2jup@knobbe.com




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                           CERTIFICATE OF SERVICE

      I hereby certify that the original of this Notice of Appeal was filed via

U.S.P.S. Priority Mail Express on July 27, 2022 with the Director of the United

States Patent and Trademark Office at the address below:

Office of the Solicitor
United States Patent and Trademark Office
Mail Stop 8, P.O. Box 1450
Alexandria, Virginia 22313-1450

      A copy of this Notice of Appeal is being filed and served on July 27, 2022 as

follows:

To the USPTO Patent Trial and Appeal Board:
Patent Trial and Appeal Board
Madison Building East
600 Dulany Street
Alexandria, VA 22313

(via PTABe2e – as authorized by the Board)

To the U.S. Court of Appeals for the Federal Circuit:
Clerk of Court
U.S. Court of Appeals for the Federal Circuit
717 Madison Place, N.W.
Washington, DC 20439

(via CM/ECF – with filing fee)

Counsel for Petitioner Apple, Inc.

                                  W. Karl Renner
                                    Hyun Jin In
                                    Dan Smith
                                 Andrew B. Patrick
                              Fish & Richardson P.C.
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Apple v. Masimo

                                3200 RBC Plaza
                              60 South Sixth Street
                             Minneapolis, MN 55402
                           IPR50095-0010IP1@fr.com
                             PTABInbound@fr.com
                                   in@fr.com

Dated: July 27, 2022             By: /Jarom Kesler/
                                     Jarom D. Kesler (Reg. No. 57,046)
                                     Joseph R. Re (Reg. No. 31,291)
                                     Stephen W. Larson (Reg. No. 69,133)
                                     Jacob L. Peterson (Reg. No. 65,096)
                                     Attorneys for Patent Owner
                                     Masimo Corporation
55958330
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Trials@uspto.gov                                                   Paper 32
571-272-7822                                              Date: June 1, 2022



       UNITED STATES PATENT AND TRADEMARK OFFICE


        BEFORE THE PATENT TRIAL AND APPEAL BOARD


                            APPLE INC.,
                             Petitioner,
                                    v.
                      MASIMO CORPORATION,
                          Patent Owner.


                          IPR2021-00208
                        Patent 10,258,266 B1



Before JOSIAH C. COCKS, ROBERT L. KINDER, and
AMANDA F. WIEKER, Administrative Patent Judges.
KINDER, Administrative Patent Judge.



                            JUDGMENT
                       Final Written Decision
           Determining All Challenged Claims Unpatentable
                         35 U.S.C. § 318(a)
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Patent 10,258,266 B1
                           I. INTRODUCTION
                               A. Background
      Apple Inc. (“Petitioner”) filed a Petition (Paper 2, “Pet.”) pursuant to
35 U.S.C. §§ 311–319 to institute an inter partes review of claims 1–6, 8–
16, 18, and 19 (“challenged claims”) of U.S. Patent No. 10,258,266 B1
(Ex. 1001, “the ’266 patent”). We instituted the petitioned review (Paper 7).
      Masimo Corporation (“Patent Owner”) filed a Patent Owner Response
(Paper 15, “PO Resp.”) to oppose the Petition. Petitioner filed a Reply
(Paper 18, “Pet. Reply”) to the Patent Owner Response. Patent Owner filed
a Sur-reply (Paper 22, “Sur-reply”) to the Reply. We conducted an oral
hearing on March 15, 2022. A transcript has been entered into the record
(Paper 31, “Tr.”).
      We have jurisdiction under 35 U.S.C. § 6(b)(4) and § 318(a). This
Decision is a final written decision under 35 U.S.C. § 318(a) and 37 C.F.R.
§ 42.73 as to the patentability of claims 1–6, 8–16, 18, and 19 of the
’266 patent. We determine Petitioner has shown by a preponderance of the
evidence that those claims are unpatentable.

                             B. Related Matters
      The parties identify the following matters related to the ’266 patent:
      Masimo Corporation v. Apple Inc., Civil Action No. 8:20-cv-00048
(C.D. Cal.);
      Apple Inc. v. Masimo Corporation, IPR2020-01520 (PTAB Aug. 31,
2020) (challenging claims of U.S. Patent No. 10,258,265 B1);
      Apple Inc. v. Masimo Corporation, IPR2020-01521 (PTAB Sept. 2,
2020) (challenging claims of U.S. Patent No. 10,292,628 B1);



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      Apple Inc. v. Masimo Corporation, IPR2020-01523 (PTAB Sept. 9,
2020) (challenging claims of U.S. Patent No. 8,457,703 B2);
      Apple Inc. v. Masimo Corporation, IPR2020-01524 (PTAB Aug. 31,
2020) (challenging claims of U.S. Patent No. 10,433,776 B2);
      Apple Inc. v. Masimo Corporation, IPR2020-01526 (PTAB Aug. 31,
2020) (challenging claims of U.S. Patent No. 6,771,994 B2);
      Apple Inc. v. Masimo Corporation, IPR2020-01536 (PTAB Aug. 31,
2020) (challenging claims of U.S. Patent No. 10,588,553 B2);
      Apple Inc. v. Masimo Corporation, IPR2020-01537 (PTAB Aug. 31,
2020) (challenging claims of U.S. Patent No. 10,588,553 B2);
      Apple Inc. v. Masimo Corporation, IPR2020-01538 (PTAB Sept. 2,
2020) (challenging claims of U.S. Patent No. 10,588,554 B2);
      Apple Inc. v. Masimo Corporation, IPR2020-01539 (PTAB Sept. 2,
2020) (challenging claims of U.S. Patent No. 10,588,554 B2);
      Apple Inc. v. Masimo Corporation, IPR2020-01713 (PTAB Sept. 30,
2020) (challenging claims of U.S. Patent No. 10,624,564 B1);
      Apple Inc. v. Masimo Corporation, IPR2020-01714 (PTAB Sept. 30,
2020) (challenging claims of U.S. Patent No. 10,631,765 B1);
      Apple Inc. v. Masimo Corporation, IPR2020-01715 (PTAB Sept. 30,
2020) (challenging claims of U.S. Patent No. 10,631,765 B1);
      Apple Inc. v. Masimo Corporation, IPR2020-01716 (PTAB Sept. 30,
2020) (challenging claims of U.S. Patent No. 10,702,194 B1);
      Apple Inc. v. Masimo Corporation, IPR2020-01722 (PTAB Oct. 2,
2020) (challenging claims of U.S. Patent No. 10,470,695 B2);
      Apple Inc. v. Masimo Corporation, IPR2020-01723 (PTAB Oct. 2,
2020) (challenging claims of U.S. Patent No. 10,470,695 B2);



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      Apple Inc. v. Masimo Corporation, IPR2020-01733 (PTAB Sept. 30,
2020) (challenging claims of U.S. Patent No. 10,702,195 B1);
      Apple Inc. v. Masimo Corporation, IPR2020-01737 (PTAB Sept. 30,
2020) (challenging claims of U.S. Patent No. 10,709,366 B1);
      Apple Inc. v. Masimo Corporation, IPR2021-00193 (PTAB Nov. 20,
2020) (challenging claims of U.S. Patent No. 10,299,708 B1);
      Apple Inc. v. Masimo Corporation, IPR2021-00195 (PTAB Nov. 20,
2020) (challenging claims of U.S. Patent No. 10,376,190 B1); and
      Apple Inc. v. Masimo Corporation, IPR2021-00209 (PTAB Nov. 20,
2020) (challenging claims of U.S. Patent No. 10,376,191 B1).
Pet. 1, 72–73;1 Paper 3, 1, 3–4.
      Patent Owner further identifies certain issued patent applications, as
well as other pending and abandoned applications, that claim priority to, or
share a priority claim with, the ’266 patent. Paper 3, 1–3.

                             C. The ’266 Patent
      The ’266 patent is titled “Multi-Stream Data Collection System for
Noninvasive Measurement of Blood Constituents,” and issued on April 16,
2019, from U.S. Patent Application No. 16/212,537, filed December 6,
2018. Ex. 1001, codes (21), (22), (45), (54). The ’266 patent claims priority
through a series of continuation and continuation-in-part applications to
Provisional Application Nos. 61/086,060, 61/086,108, 61/086,063, and
61/086,057, each filed on August 4, 2008, as well as 61/091,732 filed on


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  Petitioner lists “U.S. Patent[] 10,299,708 (IPR2020-00193)” as a related
inter partes review petition. Pet. 73. The case number associated with
Patent No. 10,299,708 B1 is IPR2021-00193 and not “IPR2020-00193” as
listed by Petitioner.

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August 25, 2008, and 61/078,228 and 61/078,207, both filed July 3, 2008.
Id. at codes (60), (63).
      The ’266 patent discloses a two-part data collection system including
a noninvasive sensor that communicates with a patient monitor. Id. at 2:31–
33. The sensor includes a sensor housing, an optical source, and several
photodetectors, and is used to measure a blood constituent or analyte, e.g.,
oxygen or glucose. Id. at 2:22–28, 55–58. The patient monitor includes a
display and a network interface for communicating with a handheld
computing device. Id. at 2:35–41.
      Figure 1 of the ’266 patent is reproduced below.




Figure 1 illustrates a block diagram of data collection system 100 including
sensor 101 and monitor 109. Id. at 11:36–38. Sensor 101 includes
emitter 104 and detectors 106. Id. at 11:48–50. Emitter 104 emits light that
is attenuated or reflected by the patient’s tissue at measurement site 102. Id.


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at 13:61–64. Detectors 106 capture and measure the light attenuated or
reflected from the tissue. Id. In response to the measured light,
detectors 106 output detector signal 107 to monitor 109 through front-end
interface 108. Id. at 14:16–22. Sensor 101 also may include tissue
shaper 105, which may be in the form of a convex surface that: (1) reduces
the thickness of the patient’s measurement site; and (2) provides more
surface area from which light can be detected. Id. at 10:59–11:3.
      Monitor 109 includes signal processor 110 and user interface 112. Id.
at 15:6–8. “[S]ignal processor 110 includes processing logic that determines
measurements for desired analytes . . . based on the signals received from
the detectors 106.” Id. at 15:12–15. User interface 112 presents the
measurements to a user on a display, e.g., a touch-screen display. Id. at
15:38–42. In response to user input or device orientation, user interface 112
can “reorient its display indicia.” Id. at 15:44–48. The monitor may include
storage device 114 and network interface 116. Id. at 15:52–54. In some
embodiments, the monitor, including the display, is attached to the patient
by a strap. Id. at 17:64–67.
      The ’266 patent describes various examples of sensor devices.
Figures 14D and 14F, reproduced below, illustrate sensor devices.




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Figure 14D illustrates a detector submount and Figure 14F illustrates
portions of a detector shell. Id. at 6:34–37. As shown in Figure 14D,
multiple detectors 1410c are located within housing 1430 and under
transparent cover 1432, on which protrusion 605b is disposed. Id. at 36:17–
24. Figure 14F illustrates detector shell 306f including detectors 1410c on
substrate 1400c. Id. at 36:63–64. In some embodiments, the detector shell
includes walls to separate individual photodiode arrays and to “prevent or
reduce mixing of light signals.” Id. at 22:28–31. Substrate 1400c is
enclosed by shielding enclosure 1490 and noise shield 1403, which include
window 1492a and window 1492b, respectively, placed above
detectors 1410c. Id. at 36:65–37:8.
      Figures 4A and 4B, reproduced below, illustrate an alternative
example of a tissue contact area of a sensor device.




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Figures 4A and 4B illustrate arrangements of protrusion 405 including
measurement site contact area 470. Id. at 23:8–14. “[M]easurement site
contact area 470 can include a surface that molds body tissue of a
measurement site.” Id. “For example, the measurement site contact
area 470 can be generally curved and/or convex with respect to the
measurement site.” Id. at 23:31–33. The measurement site contact area
includes windows 420–423 that “mimic or approximately mimic a
configuration of, or even house, a plurality of detectors.” Id. at 23:39–53.

                            D. Illustrative Claim
      Of the challenged claims, claims 1 and 9 are independent. Claim 1 is
illustrative and is reproduced below.
             1. A noninvasive optical physiological sensor comprising:
             [a] a plurality of emitters configured to emit light into
      tissue of a user;
            [b] a plurality of detectors configured to detect light that
      has been attenuated by tissue of the user, wherein the plurality of
      detectors comprise at least four detectors;
            [c] a housing configured to house at least the plurality of
      detectors; and
            [d] a lens configured to be located between the tissue of
      the user and the plurality of detectors when the noninvasive

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      optical physiological sensor is worn by the user, wherein the lens
      comprises a single outwardly protruding convex surface
      configured to cause tissue of the user to conform to at least a
      portion of the single outwardly protruding convex surface when
      the noninvasive optical physiological sensor worn by the user
      and during operation of the noninvasive optical physiological
      sensor.
Ex. 1001, 44:36–54 (bracketed lettering [a]–[d] added). Independent claim 9
includes limitations similar to limitations [a]–[d] of claim 1, and also
includes additional recitations. Id. at 45:13–23 (additionally reciting “a lens
forming a cover,” “a circular housing including a planar surface” and a “grid
pattern”).

                           E. Applied References
      Petitioner relies upon the following references:
            Ohsaki et al., U.S. Patent Application Publication No.
      2001/0056243 A1, filed May 11, 2001, published December 27, 2001
      (Ex. 1014, “Ohsaki”);
            Aizawa, U.S. Patent Application Publication No.
      2002/0188210 A1, filed May 23, 2002, published December 12, 2002
      (Ex. 1006, “Aizawa”);
            Inokawa et al., Japanese Patent Application Publication
      No. 2006-296564 A, filed April 18, 2005, published November 2,
      2006 (Ex. 1007, “Inokawa”);2 and
            Y. Mendelson, et al., “Design and Evaluation of a New
      Reflectance Pulse Oximeter Sensor,” Association for the
      Advancement of Medical Instrumentation, Vol. 22, No. 4, 167–173
      (1988) (Ex. 1015, “Mendelson-1988”).
Pet. 2.


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 Petitioner relies on a certified English translation of Inokawa (Ex. 1008).
Ex. 1008, 24. In this Decision, we also refer to the translation.


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         Petitioner also submits, inter alia, the Declaration of Thomas W.
Kenny, Ph.D. (Ex. 1003), and the Second Declaration of Thomas W. Kenny
(Ex. 1047). Patent Owner submits, inter alia, the Declaration of Vijay K.
Madisetti, Ph.D. (Ex. 2004). The parties also provide deposition testimony
from Dr. Kenny and Dr. Madisetti, including from this and other
proceedings. See Exs. 1034–1036, 2006–2009, 2020, 2027.

                              F. Asserted Grounds
         Petitioner asserts that claims 1–6, 8–16, 18, and 19 are unpatentable
based upon the following grounds (Pet. 2):3
    Claims Challenged        35 U.S.C. §                   References/Basis
    1–6, 8–16, 18, and 19         103             Aizawa, Inokawa
    1–6, 8–16, 18, and 19         103             Aizawa, Inokawa, Ohsaki
    1–6, 8–16, 18, and 19         103             Mendelson-1988, Inokawa

                               II. DISCUSSION
                             A. Claim Construction
         For petitions filed on or after November 13, 2018, a claim shall be
construed using the same claim construction standard that would be used to
construe the claim in a civil action under 35 U.S.C. § 282(b). 37 C.F.R.

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  In a section titled “Challenge,” Petitioner asserts, inter alia, that claims 17,
18, and 29 are unpatentable over 35 U.S.C. § 103 based on the combination
of Mendelson-1988, Inokawa, Mendelson-2006 and Beyer. Pet. 1–2.
However, Mendelson-2006 and Beyer are not listed as exhibits in the
Petition (see id. at ii–iii), were not produced into the record as evidence, and
Petitioner does not present any arguments regarding the patentability of
claims 17, 18, and 29 over these references. The alleged ground challenging
claims 17, 18, and 29 based on Mendelson-1988, Inokawa, Mendelson-2006
and Beyer is not part of the Petition and claims 17 and 29 are not addressed
in this Decision.

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§ 42.100(b) (2019). Although both parties contend that no claim term
requires express construction (Pet. 3–4; PO Resp. 10), the substance of the
parties’ briefing demonstrates that there is a dispute regarding the claim term
“cover,” which appears in independent claim 9.

      1. “cover”
      Independent claim 9 requires “a lens forming a cover of the circular
housing.” Ex. 1001, 45:21. Although independent claim 1 also recites “a
lens,” it does not recite a “cover.” Id. at 44:37–54.
      Patent Owner argues that the claimed “cover” excludes “an optically
clear adhesive/epoxy” and a “resin on a surface.” PO Resp. 52. According
to Patent Owner, “the ’266 Patent distinguishes a resin on a surface from a
cover, explaining: ‘the cylindrical housing 1430 (and transparent
cover 1432) . . . can protect the detectors 1410c and conductors 1412c more
effectively than currently-available resin epoxies.’” Id. (quoting Ex. 1001,
36:37–46).
      Patent Owner alleges that Dr. Kenny also “distinguished a sealing
resin from a cover, acknowledging a ‘layer of sealing resin’ is ‘one way to
protect the components without using a cover.’” Id. at 52–53 (quoting
Ex. 2009, 395:22–396:17). Patent Owner argues its understanding is
consistent with the prior art cited by Petitioner. Id. at 53 (citing Ex. 1008
¶ 103, Fig. 17; Ex. 1023 ¶ 35; Ex. 2004 ¶¶ 113–115).
      Petitioner replies that “there is nothing in the specification or the
prosecution history [of the ’266 patent] that would lead a [person of ordinary
skill in the art] to conclude that ‘cover’ should be interpreted based on
anything other than its plain meaning.” Pet. Reply 24 (citing Thorner v.
Sony Computer Entertainment America LLC, 669 F.3d 1362, 1368 (Fed. Cir.


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2012)). That plain meaning, according to Petitioner, is that “a cover is
merely ‘something that protects, shelters, or guards.’” Id. (quoting
Ex. 1050; Ex. 1047 ¶ 48). Petitioner argues that Patent Owner’s reliance on
the ’266 patent Specification takes text out of context and, when context is
considered, it is clear that “the epoxy resin to which the ’266 patent
compares its cover is not [an] epoxy cover . . . but rather epoxy that is
applied to solder joints.” Id. at 24–25 (citing Ex. 1001, 36:50–59; Ex. 1047
¶ 50).
         Petitioner also contends that Patent Owner “mischaracterizes
Dr. Kenny’s deposition testimony to say he agreed that ‘sealing resin’ is
somehow distinguished from a cover.” Id. at 24. Petitioner contends that
Dr. Kenny simply “clarified that using a sealing resin is ‘a pretty common
way to protect electronic components.’” Id. (citing Ex. 2009, 395:22–
396:17; Ex. 1047 ¶ 49). Moreover, Petitioner contends that “such extrinsic
evidence would not justify departure from plain meaning under Thorner.”
Id.
         In its Sur-reply, Patent Owner maintains that the ’266 patent
“specifically distinguishes a ‘resin’ on a surface from a ‘cover,’” and
Petitioner’s opposing reading is not persuasive. PO Sur-reply 20–21.
         Upon review of the record, we disagree with Patent Owner’s limiting
construction of “cover” to exclude epoxy and resin. The plain and ordinary
meaning of the term does not support Patent Owner’s view. A “cover”
ordinarily connotes “something that protects, shelters, or guards.” Ex. 1050
(Merriam-Webster’s Collegiate Dictionary, 11th ed. (©2005)), 288. That
plain and ordinary meaning is consistent with the ’266 patent’s description
of “flex circuit cover 360, which can be made of plastic or another suitable
material . . . [and] can cover and thereby protect a flex circuit (not shown).”

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Ex. 1001, 22:63–65. It also is consistent with the ’266 patent’s description
and illustration of “transparent cover 1432” in Figure 14D, which covers and
protects detectors 1410c and conductors 1412c, and which “can be
fabricated from glass or plastic, among other materials.” See id. at 36:30–42
(emphasis added), Figs. 14D–14E.
      This is not the situation in which a special definition for a claim term
has been set forth in the specification with reasonable clarity, deliberateness,
and precision, so as to give notice of the inventor’s own lexicography. See
Merck & Co. v. Teva Pharms. USA, Inc., 395 F.3d 1364, 1370 (Fed. Cir.
2005); In re Paulsen, 30 F.3d 1475, 1480 (Fed. Cir. 1994). Nor do we
discern that Patent Owner “demonstrate[d] an intent to deviate from the
ordinary and accustomed meaning of a claim term by including in the
specification expressions of manifest exclusion or restriction, representing a
clear disavowal of claim scope.” Teleflex, Inc. v. Ficosa North America
Corp., 299 F.3d 1313, 1325 (Fed. Cir. 2002).
      Here, based upon our review of the intrinsic evidence, no such special
definition or express disavowal of the term “cover” to exclude epoxy and
resin exists. Patent Owner relies on the following description of Figure 14D
in that regard:
      In certain embodiments, the cylindrical housing 1430 (and
      transparent cover 1432) forms an airtight or substantially airtight
      or hermetic seal with the submount 1400c. As a result, the
      cylindrical housing 1430 can protect the detectors 1410c and
      conductors 1412c from fluids and vapors that can cause
      corrosion. Advantageously, in certain embodiments, the
      cylindrical housing 1430 can protect the detectors 1410c and
      conductors 1412c more effectively than currently-available resin
      epoxies, which are sometimes applied to solder joints between
      conductors and detectors.



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Ex. 1001, 36:37–46 (emphases added); see PO Resp. 52. First, the sentence
cited by Patent Owner begins with the phrase “[i]n certain embodiments,”
which indicates the claimed invention is not limited and is open to other
embodiments, so there is no lexicography or disavowal here. Second, we
agree with Petitioner’s reading of this passage as distinguishing the prior art
from the claimed invention based on the location of the material (applied
only to solder joints between conductors and detectors in the prior art, as
opposed to covering the conductors and detectors in the invention) and not
the type of material. Third, at best, the ’266 patent expresses a preference
for a cover to be made of glass or plastic, because such materials provide
“more effective[]” protection than resin epoxies that were known when the
’266 patent was filed. See id. at 36:42–46. But even this reading recognizes
that resin epoxies provide some amount of protection, albeit perhaps a lesser
amount than glass or plastic, and are not excluded from forming the material
of a cover.
      Dr. Kenny’s deposition testimony cited by Patent Owner also does not
persuade us that, in the context of the ’266 patent, epoxy or resin is excluded
from the material of a cover. Dr. Kenny testifies that “a layer of sealing
resin” “[c]ould” be used to protect the electronic components in a sensor
(Ex. 2009, 395:22–396:8). He was then asked “So that would be one way to
protect the components without using a cover, correct?” to which he
answered “[t]here are many ways to protect the elements other than using a
cover” and maintained that the proposed combination of prior art has a
“cover” to achieve purposes other than protecting electronic components,
i.e., “to improve adhesion and to improve light gathering for the operation of
the system.” Id. at 396:9–17. He did not squarely testify that sealing resin
may never be a cover.

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        Accordingly, in the context of the ’266 patent, we do not construe the
claimed “cover” to exclude epoxy and resin.

        2. Other Claim Terms
        Upon consideration of the entirety of the arguments and evidence
presented, we conclude no further explicit construction of any claim term is
needed to resolve the issues presented by the arguments and evidence of
record. See Nidec Motor Corp. v. Zhongshan Broad Ocean Motor Co.
Matal, 868 F.3d 1013, 1017 (Fed. Cir. 2017) (per curiam) (claim terms need
to be construed “only to the extent necessary to resolve the controversy”
(quoting Vivid Techs., Inc. v. Am. Sci. & Eng’g, Inc., 200 F.3d 795, 803
(Fed. Cir. 1999))).

                             B. Principles of Law
        A claim is unpatentable under 35 U.S.C. § 103 if “the differences
between the subject matter sought to be patented and the prior art are such
that the subject matter as a whole would have been obvious at the time the
invention was made to a person having ordinary skill in the art to which said
subject matter pertains.” KSR Int’l Co. v. Teleflex Inc., 550 U.S. 398, 406
(2007). The question of obviousness is resolved on the basis of underlying
factual determinations, including (1) the scope and content of the prior art;
(2) any differences between the claimed subject matter and the prior art;
(3) the level of skill in the art; and (4) objective evidence of non-
obviousness.4 Graham v. John Deere Co., 383 U.S. 1, 17–18 (1966). When
evaluating a combination of teachings, we must also “determine whether
there was an apparent reason to combine the known elements in the fashion

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    Patent Owner does not present objective evidence of non-obviousness.

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claimed by the patent at issue.” KSR, 550 U.S. at 418 (citing In re Kahn,
441 F.3d 977, 988 (Fed. Cir. 2006)). Whether a combination of prior art
elements would have produced a predictable result weighs in the ultimate
determination of obviousness. Id. at 416–417.
      In an inter partes review, the petitioner must show with particularity
why each challenged claim is unpatentable. Harmonic Inc. v. Avid Tech.,
Inc., 815 F.3d 1356, 1363 (Fed. Cir. 2016); 37 C.F.R. § 42.104(b). The
burden of persuasion never shifts to Patent Owner. Dynamic Drinkware,
LLC v. Nat’l Graphics, Inc., 800 F.3d 1375, 1378 (Fed. Cir. 2015).
      We analyze the challenges presented in the Petition in accordance
with the above-stated principles.

                     C. Level of Ordinary Skill in the Art
      Petitioner identifies the appropriate level of skill in the art as that
possessed by a person having “a Bachelor of Science degree in an academic
discipline emphasizing the design of electrical, computer, or software
technologies, in combination with training or at least one to two years of
related work experience with capture and processing of data or information.”
Pet. 4 (citing Ex. 1003 ¶¶ 21–22). “Alternatively, the person could have also
had a Master of Science degree in a relevant academic discipline with less
than a year of related work experience in the same discipline.” Id.
      Patent Owner makes several observations regarding Petitioner’s
identified level of skill in the art but, “[f]or this proceeding, [Patent Owner]
nonetheless applies Petitioner’s asserted level of skill.” PO Resp. 10–11
(citing Ex. 2004 ¶¶ 35–38).
      We adopt Petitioner’s assessment as set forth above, which appears
consistent with the level of skill reflected in the Specification and prior art.


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              D. Obviousness over the Combined Teachings of
                           Aizawa and Inokawa
      Petitioner contends that claims 1–6, 8–16, 18, and 19 of the ’266
patent would have been obvious over the combined teachings of Aizawa and
Inokawa. Pet. 7–44.
                     1. Overview of Aizawa (Ex. 1006)
      Aizawa is a U.S. patent application publication titled “Pulse Wave
Sensor and Pulse Rate Detector,” and discloses a pulse wave sensor that
detects light output from a light emitting diode and reflected from a patient’s
artery. Ex. 1006, codes (54), (57).
      Figure 1(a) of Aizawa is reproduced below.




Figure 1(a) is a plan view of a pulse wave sensor. Id. ¶ 23. As shown in
Figure 1(a), pulse wave sensor 2 includes light emitting diode (“LED”) 21,
four photodetectors 22 symmetrically disposed around LED 21, and
holder 23 for storing LED 21 and photodetectors 22. Id. Aizawa discloses
that, “to further improve detection efficiency, . . . the number of the
photodetectors 22 may be increased.” Id. ¶ 32, Fig. 4(a). “The same effect
can be obtained when the number of photodetectors 22 is 1 and a plurality of
light emitting diodes 21 are disposed around the photodetector 22.” Id. ¶ 33.


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      Figure 1(b) of Aizawa is reproduced below.




Figure 1(b) is a sectional view of the pulse wave sensor. Id. ¶ 23. As shown
in Figure 1(b), pulse wave sensor 2 includes drive detection circuit 24 for
detecting a pulse wave by amplifying the outputs of photodetectors 22. Id.
Arithmetic circuit 3 computes a pulse rate from the detected pulse wave and
transmitter 4 transmits the pulse rate data to an “unshown display.” Id. The
pulse rate detector further includes outer casing 5 for storing pulse wave
sensor 2, acrylic transparent plate 6 mounted to detection face 23a of
holder 23, and attachment belt 7. Id.
      Aizawa discloses that LED 21 and photodetectors 22 “are stored in
cavities 23b and 23c formed in the detection face 23a” of the pulse wave
sensor. Id. ¶ 24. Detection face 23a “is a contact side between the holder 23
and a wrist 10, respectively, at positions where the light emitting face 21s of
the light emitting diode 21 and the light receiving faces 22s of the
photodetectors 22 are set back from the above detection face 23a.” Id.
Aizawa discloses that “a subject carries the above pulse rate detector 1 on
the inner side of his/her wrist 10 . . . in such a manner that the light emitting
face 21s of the light emitting diode 21 faces down (on the wrist 10 side).”
Id. ¶ 26. Furthermore, “the above belt 7 is fastened such that the acrylic


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transparent plate 6 becomes close to the artery 11 of the wrist 10. Thereby,
adhesion between the wrist 10 and the pulse rate detector 1 is improved.”
Id. ¶¶ 26, 34.
                    2. Overview of Inokawa (Ex. 1008)
      Inokawa is a Japanese published patent application titled “Optical
Vital Sensor, Base Device, Vital Sign Information Gathering System, and
Sensor Communication Method,” and discloses a pulse sensor device.
Ex. 1008 ¶ 6.
      Figure 1 of Inokawa is reproduced below.




Figure 1 illustrates a schematic view of a pulse sensor. Id. ¶ 56. Pulse
sensor 1 includes box-shaped sensor unit 3 and flexible annular wristband 5.
Id. ¶ 57. Sensor unit 3 includes a top surface with display 7 and control
switch 9, and a rear surface (sensor-side) with optical device component 11
for optically sensing a user’s pulse. Id.




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      Figure 2 of Inokawa is reproduced below.




Figure 2 illustrates a schematic view of the rear surface of the pulse sensor.
Id. ¶ 58. The rear-side (sensor-side) of pulse sensor 1 includes a pair of
light-emitting elements, i.e., green LED 21 and infrared LED 23, as well as
photodiode 25 and lens 27. Id. In various embodiments, Inokawa discloses
that the sensor-side lens is convex. See id. ¶¶ 99, 107. Green LED 21
senses “the pulse from the light reflected off of the body (i.e.[,] change in the
amount of hemoglobin in the capillary artery),” and infrared LED 23 senses
body motion from the change in reflected light. Id. ¶ 59. The pulse sensor
stores this information in memory. Id. ¶ 68. To read and store information,
the pulse sensor includes a CPU that “performs the processing to sense
pulse, body motion, etc. from the signal . . . and temporarily stores the
analysis data in the memory.” Id. ¶ 69.




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      Figure 3 of Inokawa is reproduced below.




Figure 3 illustrates a schematic view of a pulse sensor mounted to a base
device. Id. ¶ 60. Pulse sensor 1 is depicted as mounted to base device 17,
which “is a charger with communication functionality.” Id. When so
mounted, sensor optical device component 11 and base optical device
component 41 face each other in close proximity. Id. ¶ 66. In this position,
pulse sensor 1 can output information to the base device through the coupled
optical device components. Id. ¶ 67. Specifically, the pulse sensor CPU
performs the controls necessary to transmit pulse information using infrared
LED 23 to photodetector 45 of base device 17. Id. ¶¶ 67, 70, 76. In an
alternative embodiment, additional sensor LEDs and base photodetectors can
be used to efficiently transmit data and improve accuracy. Id. ¶ 111.




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                            3. Independent Claim 1
       Petitioner contends that claim 1 would have been obvious over the
combined teachings of Aizawa and Inokawa. Pet. 13–23 (combination), 23–
30 (claim 1).

                   i.   A noninvasive optical physiological sensor
                        comprising:”
       On this record, the cited evidence supports Petitioner’s undisputed
contention that Aizawa discloses a noninvasive optical physiological sensor,
i.e., a pulse sensor worn on a wearer’s wrist. Pet. 23; see, e.g., Ex. 1006 ¶ 2
(“[A] pulse wave sensor for detecting the pulse wave of a subject from light
reflected from a red corpuscle in the artery of a wrist of the subject by
irradiating the artery of the wrist with light.”).

                  ii.   [a] “a plurality of emitters configured to emit light
                        into tissue of a user;”
Petitioner’s Undisputed Contentions
       Petitioner contends that Aizawa discloses one emitter—LED 21—and
also states that, in certain embodiments, multiple LEDs may be employed.
Pet. 7–8, 17–18. Patent Owner does not dispute this contention, and we
agree with Petitioner. See Ex. 1006 ¶¶ 23 (“LED 21”), 32 (“The
arrangement of the light emitting diode 21 and the photodetectors 22 is not
limited to this.”). For example, Aizawa explains that “[t]he same effect can
be obtained when the number of photodetectors 22 is 1 and a plurality of
light emitting diodes 21 are disposed around the photodetector.” Id. ¶ 33.
       Petitioner also contends that Inokawa teaches a sensor with two
LEDs–a green LED to sense pulse and an infrared LED to sense body
motion. Pet. 10–11. Petitioner contends that when Inokawa’s sensor is

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mounted on a base device, the infrared LED also is used to wirelessly
transmit vital information to the base device. Id. at 12–13. Patent Owner
does not dispute these contentions, and we agree with Petitioner. Inokawa
teaches a pair of LEDs 21, 23, where “the basic function of the S-side green
LED 21 is to sense the pulse from the light reflected off of the body . . .,
while the S-side infrared LED 23 serves to sense body motion from the
change in this reflected light.” Ex. 1008 ¶¶ 58–59. Inokawa also explains
that “vital sign information stored in the memory 63 [of the sensor], such as
pulse and body motion, is transmitted to the base device 17 using the S-side
infrared LED 23 of the pulse sensor 1 and the B-side PD 45 of the base
device 17,” such that “there is no need to use a special wireless
communication circuit or a communication cable.” Id. ¶¶ 76–77.

Petitioner’s Disputed Contentions
      Moreover, Petitioner contends that a person of ordinary skill in the art
would have been motivated to “provid[e] an additional emitter to Aizawa
[to] allow Aizawa’s device to use its existing infrared LED to detect body
motion while using the added green LED to detect pulse,” which would have
provided “more reliable pulse measurement that takes into account and
corrects for inaccurate readings stemming from body movement.” Pet. 18,
24; Ex. 1003 ¶¶ 71–73.
      As a second and independent motivation, Petitioner also contends that
incorporating Inokawa’s teachings would have allowed for wireless data
communication from Aizawa’s sensor, without the need for a physical
communications cable or a separate wireless communication circuit.
Pet. 20–21. Petitioner contends that although Aizawa discloses data
transmission, Aizawa “is silent about how such transmission would be


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implemented.” Id. at 20. According to Petitioner, a skilled artisan “would
have further recognized that incorporating Inokawa’s base device and LED-
based data transmission would allow Aizawa to upload data from its sensor
in a way that is wireless (thus avoiding the problems of a physical cable) and
that does not require a separate RF circuit,” and which would “improve data
transmission accuracy by using the second LED, such as the green LED, to
transmit checksum information.” Id. at 21 (citing, e.g., Ex. 1003 ¶¶ 76–78).
       To illustrate its proposed modification, Petitioner includes annotated
and modified views of Aizawa’s Figure 1(b), reproduced below. Pet. 19; see
also id. at 24 (same); Ex. 1003 ¶ 72.




Petitioner’s modified figures depict the sensor of Aizawa in which the single
emitter has been divided into two emitters operating at two different
wavelengths, as Petitioner contends would have been rendered obvious by
Inokawa. Pet. 18–19, 23–24. Petitioner contends that this modification
entails use of a known solution to improve similar systems in the same way
and would have achieved predictable results. Id. at 19, 22–23 (citing
Ex. 1003 ¶¶ 73–74, 80); see also id. at 23–24 (citing, e.g., Ex. 1003 ¶¶ 69–
81).




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Patent Owner’s Arguments
      Patent Owner disputes Petitioner’s contentions regarding the
obviousness of modifying Aizawa to include two emitters. See PO
Resp. 37–43; Sur-reply 13–15.
      First, Patent Owner argues that neither Aizawa nor Inokawa discloses
a device with both multiple detectors and multiple emitters in the same
sensor, because Aizawa’s embodiments have either a single emitter and
multiple detectors (e.g., Ex. 1006, Fig. 1(a)) or multiple emitters and a single
detector (e.g., id. ¶ 33), and Inokawa discloses multiple emitters and a single
detector (e.g., Ex. 1008, Fig. 2). See PO Resp. 37–38 (citing, e.g., Ex. 2004
¶¶ 79–80).
      Second, Patent Owner argues that the evidence does not support either
of Petitioner’s two proffered motivations for modifying Aizawa to include
two emitters. As to the first motivation (to measure body movement using a
second emitter), Patent Owner asserts that Dr. Kenny erroneously testifies
that Aizawa cannot do this with its single emitter. PO Resp. 38 (citing, e.g.,
Ex. 1006 ¶ 15; Ex. 2007, 400:7–401:10; Ex. 2004 ¶ 84). Patent Owner
argues that “Aizawa, however, expressly states that it provides a ‘device for
computing the amount of motion load from the pulse rate.’” Id. at 39.
      As to Petitioner’s second motivation (to enable transmission of data to
a base device using an optical communication link), Patent Owner argues
that “Aizawa already includes a wireless transmitter . . . so Aizawa does not
need to incorporate Inokawa’s base-device [optical] data transmission
arrangement.” PO Resp. 39–40 (citing, e.g., Ex. 1006 ¶¶ 23, 28, 35;
Ex. 2004 ¶¶ 85–86). Indeed, Patent Owner argues “Dr. Kenny
acknowledged Aizawa does not indicate there are any problems with
Aizawa’s form of data transmission.” Id. at 40 (citing Ex. 2007, 409:13–

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410:2). Patent Owner further argues that “Aizawa’s goal is ‘real-time
measuring’ with the transmitter ‘transmitting the measured pulse rate data to
a display’” but that “Inokawa’s base device, however, only transmits pulse
rate data ‘when the pulse sensor . . . is mounted onto the base device’” and,
thus, “eliminates the ability to take and display real-time measurements.”
Id. at 40–41 (citing, e.g., Ex. 1006 ¶¶ 4, 15; Ex. 1008, Abstract; Ex. 2004
¶ 86; Ex. 2009, 381:18–382:8, 383:22–385:9, 390:5–392:3).
      Patent Owner insists Inokawa does not aid Petitioner’s case, because
Inokawa discloses the benefits of using a second emitter in only two
situations, i.e., first, to improve over a “mechanically-connected system,”
e.g., with a cable for communication, and, second, to avoid use of a
“dedicated wireless communication circuit,” whereas “Aizawa already uses
wireless transmission to provide real-time heart measurements.” Id. at 41–
42 (citing, e.g., Ex. 1008 ¶ 4; Ex. 2004 ¶ 87).
      Third, Patent Owner accuses Petitioner and Dr. Kenny of overlooking
further complications that would ensue from modifying Aizawa to have two
emitters. Patent Owner argues that Dr. Kenny overlooked how placing “two
LEDs in close proximity may cause thermal interference that could create
significant issues for sensor performance.” PO Resp. 42 (citing, e.g.,
Ex. 2004 ¶ 88; Ex. 2012, 76–77). Patent Owner also argues that in the
proposed modification, when Dr. Kenny added a second LED, “he widened
[Aizawa’s] cavity in his figure without disclosing in his declaration that he
had done so,” which could impact optical performance of the device. Id. at
42–43.




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Petitioner’s Reply
      Concerning Petitioner’s first motivation, Petitioner asserts that
Aizawa does not disclose any details related to data transmission, and adding
an additional LED enables the sensor to distinguish between blood flow and
body movement, which provides a “more reliable” pulse measurement,
which is Petitioner’s asserted improvement to Aizawa. Pet. Reply 16
(citing, e.g., Ex. 1003 ¶ 72; Ex. 2007, 401:11–402:4; Ex. 1047 ¶ 36).
Moreover, Petitioner contends that by using multiple LEDs at different
wavelengths, “two separate signals” can be collected, which “will allow
Aizawa’s system to ‘take into account and correct for inaccurate readings
related to body movement’ by subtracting the ‘signal component
corresponding to body movement [] from the pulse signal to help better
isolate the desired pulse data.’” Id. (quoting Ex. 1003 ¶ 72).
      Concerning Petitioner’s second motivation, Petitioner maintains that
Inokawa’s use of two emitters having different wavelengths to upload data
to a base device using optical communication advantageously improves the
accuracy of the transmission by providing checksum information. Id. at 17
(citing, e.g., Ex. 1003 ¶ 78; Ex. 1008 ¶ 111, 44, 48; Ex. 2007, 407:7–408:20,
416:5–15; Ex. 1047 ¶ 38). Moreover, Petitioner notes that Aizawa mentions
real-time measurement only once and does not “mention that such data must
also be transmitted to some external device in real time.” Id. at 18 (citing
Ex. 1047 ¶ 38). Likewise, Petitioner explains that a person of ordinary skill
in the art “would have been fully capable of weighing potential benefits
associated with different transmission methods, for instance recognizing that
a quicker transmission may be achieved in one instance and a more accurate
one in another.” Id.



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      As to the “other complications” that Patent Owner alleges would
result from the proposed modification, Petitioner asserts “such issues are
‘part of what [a person of ordinary skill in the art] would bring . . . to the
problem and would know how to make the changes needed.’” Id. at 18
(quoting Ex. 2007, 384:8–388:12; Ex. 1047 ¶ 39).

Patent Owner’s Sur-reply
      Concerning Petitioner’s first motivation, Patent Owner argues that
Inokawa’s disclosure is just as sparse as Aizawa’s disclosure regarding how
to use optical data to measure body movement. Sur-reply 13–14 (citing
Ex. 1008 ¶ 59). Patent Owner also asserts that “Petitioner cites nothing in
Inokawa that suggests” that Inokawa’s two emitter data gathering is more
reliable or otherwise superior to Aizawa’s single emitter data gathering. Id.
      Concerning Petitioner’s second motivation, Patent Owner argues that
the proposed modification eliminates Aizawa’s ability to conduct “real-time
collection and display of physiological measurements—a key goal of
Aizawa’s system.” Id. at 14 (citing Ex. 1006 ¶¶ 4, 15; Ex. 2007, 402:6–11;
Ex. 2020 ¶ 101).
      Patent Owner also notes that Petitioner does not dispute that the
proposed modification would cause problems such as “additional cost,
energy use, and thermal problems” that would ensue from using two emitters
in the Aizawa device. Id. at 15.

Analysis
      Upon review of the foregoing, we conclude that a preponderance of
the evidence supports Petitioner’s contention that it would have been




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obvious to replace Aizawa’s single near infrared LED 21 with an infrared
LED and a green LED, in light of Inokawa.
      First, a person of ordinary skill in the art would have been motivated
to make this replacement to improve the pulse measurements recorded by
Aizawa’s detector 1. Inokawa teaches that the infrared LED’s signal can be
used “to detect vital signs” such as “body motion,” and the green LED’s
signal can be “used to detect pulse.” Ex. 1008, Fig. 2, ¶¶ 14, 58–59.
      Patent Owner correctly points out that Aizawa describes its
single-emitter detector 1 as transmitting its pulse data to “a device for
computing the amount of motion load from the pulse rate.” Ex. 1006 ¶¶ 15,
28, 35. But, this description is the only disclosure in Aizawa cited by Patent
Owner as relating to computing a motion characteristic of the user. Further,
we are unable to discern any other disclosure in Aizawa relating to motion
computation, or what Aizawa proposes to do with its motion computation.
See id. Based on the sparse nature of Aizawa’s disclosure concerning
motion load, it is not clear exactly what Aizawa proposes to do with the
computed motion load, after it is computed. See, e.g., Ex. 1047 ¶ 36
(“Patent Owner fails to explain how Aizawa senses and computes motion
load. Indeed, Aizawa is completely silent on this point.”). Aizawa does,
however, describe the motion load as being computed “from the pulse rate,”
rather than being an input to the pulse rate calculation. Ex. 1006 ¶¶ 15, 35.
      In a deposition for other proceedings related to this inter partes
review, see supra § I.B, Dr. Kenny was asked whether it was his
understanding that “Aizawa’s sensor could not account for motion load?”;
Dr. Kenny answered that “Aizawa’s sensor attempts to prevent motion load
rather than account for it.” Ex. 2007, 400:7–11 (deposition for IPR2020-
01520, IPR2020-01537, and IPR2020-01539). He explained that, because

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Aizawa uses only a single emitter with a single wavelength, “what [Aizawa]
sees as a signal would be some mixture of pulse rate and motion load if there
was no effort to prevent motion load,” so Aizawa seeks to solve the problem
of “prevent[ing] motion load from corrupting the pulse rate signal.” Id.
at 400:12–401:10. Dr. Kenny did not further explain this distinction
between preventing and accounting for motion load in his deposition
testimony cited by the parties as relating to this issue. Id. at 400:7–402:4.
We do not rely on this distinction as a basis for our present decision, because
we find no express support for it in Aizawa’s disclosure (see Ex. 1006 ¶¶ 15,
28, 35), and it is not explained in persuasive detail by Dr. Kenny.
      We nonetheless credit Dr. Kenny’s declaration testimony that a person
of ordinary skill in the art, upon reviewing Inokawa’s disclosure of using
two emitters of different wavelengths to calculate a user’s pulse and motion
separately, would have understood that these two separate measurements
would “allow for a more reliable pulse measurement that takes into account
and corrects for inaccurate readings stemming from body movement” by
“subtracting the ‘signal component corresponding to body movement [] from
the pulse signal to help better isolate the desired pulse data.” Ex. 1047
¶¶ 36, 37 (“processed in a way to compensate for movement and create a
more reliable measurement of the physiological parameter”); Ex. 1003
¶¶ 71–73. Aizawa does not disclose using the computed motion load in this
fashion, so it appears that this would improve upon the accuracy of Aizawa’s
pulse measurements, by using the computed motion load to isolate and
account for noise. See Ex. 1006 ¶¶ 15, 28, 35.
      Dr. Madisetti offers no meaningful opposing testimony in this regard.
See, e.g., Ex. 2004 ¶ 84. Instead, Dr. Madisetti incorrectly reads
Dr. Kenny’s motivation testimony as being limited to the desirability of

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adding the bare ability to measure body movement to Aizawa. See id. In
fact, Dr. Kenny further testified that it would have been beneficial to use the
measured body movement to improve the pulse measurement of the device.
See Ex. 1003 ¶¶ 71–74; Ex. 1047 ¶¶ 36–37. Dr. Madisetti does not address
that testimony. See Ex. 2004 ¶ 84.
      Thus, because Dr. Madisetti’s testimony sets up a straw man to attack,
rather than directly addressing the entirety of Dr. Kenny’s testimony in this
regard, Dr. Kenny’s testimony stands unrebutted in the record before us.
Dr. Kenny’s testimony also makes intuitive sense that measuring the user’s
motion separately from the user’s pulse, for example by using two
interrogating emitters of two different wavelengths, would provide a reliable
means of correcting the pulse data for motion artifacts by using the
separately measured motion data, rather than by trying to segregate these
two components in the single data stream provided by Aizawa’s single
emitter device. See, e.g., Ex. 1047 ¶¶ 36–37. We, therefore, are persuaded
by Dr. Kenny’s unrebutted testimony that using two emitters of different
wavelengths would improve Aizawa’s device in this way.
      Independently, we are also persuaded that a person of ordinary skill in
the art would have been motivated to replace Aizawa’s single near infrared
LED 21 with an infrared LED and a green LED, to provide a reliable method
of uploading pulse data stored by Aizawa’s wrist-worn pulse rate detector 1
to another device for display to the user. Inokawa expressly touts such
optically-based uploading of data from Inokawa’s wrist-worn sensor 1 to
Inokawa’s base device 17 as a benefit of incorporating two emitters in
sensor 1. See Ex. 1008, Figs. 3, 19, ¶¶ 3–7, 14, 76–77, 109–111. Inokawa
identifies two specific benefits of this optically-based data communication
means. First, the infrared LED can transmit the pulse data, and the green

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LED can separately transmit “checksum” information to increase the
accuracy of data transmission. Id. at Fig. 19, ¶¶ 14, 109–111. Second, using
light emitters in this fashion to perform two functions (data collection by
emitting light into the user’s wrist, and data transmission by emitting light to
photodetectors in a base device) obviates the need for providing “a special
wireless communication circuit [in the wrist-worn sensor 1] or a
communication cable.” Id. ¶¶ 3–7, 76–77.
      Patent Owner correctly points out that Aizawa already has a
“transmitter” 4 for uploading pulse data stored by Aizawa’s wrist-worn
pulse rate detector 1 to another device for processing and for display to the
user. Ex. 1006, Fig. 1(b), ¶¶ 15, 23, 28, 35. However, Aizawa’s Figure 1(b)
illustrates transmitter 4 only as an empty box contained within outer
casing 5, and Aizawa’s written description does not provide further
structural details concerning transmitter 4. See id. In particular, Aizawa
does not describe exactly how transmitter 4 transmits its data to the other
device. See id.
      Patent Owner contends that Aizawa’s transmitter 4 is a “wireless”
transmitter, and Dr. Kenny agreed to as much during his deposition. See,
e.g., PO Resp. 40; Ex. 2007, 414:19–21. They appear to equate “wireless”
communication to radio frequency communication, and not to include
optical communication, even though both radio frequency and optical
communication do not use a wire. Based on the foregoing testimony, we
assume, for this decision, that Aizawa contemplates radio frequency
communication as one embodiment by which transmitter 4 may transmit
data to devices other than detector 1.
      Patent Owner argues, and Dr. Madisetti testifies, that Aizawa’s
express disclosure goes even further. They assert Aizawa’s “goal” is to

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measure and display pulse data in real time during exercise, using the
wireless transmitter. See, e.g., PO Resp. 39–40; Ex. 2004 ¶¶ 86 (“the ability
to take and display real-time measurements, one of Aizawa’s stated goals”),
87. We find that Aizawa does not support this assertion. Instead, Aizawa
discusses prior art devices that “estimat[e] a burden on the heart of a person
who takes exercise by real-time measuring his/her heart rate at the time of
exercise” (Ex. 1006 ¶ 4 (emphasis added)), and then describes Aizawa’s
detector 1 as having a transmitter for transmitting the measured pulse rate
data to another device for display (id. ¶ 15). Aizawa does not indicate when
this transmission occurs. Aizawa also refers to “noise caused by the shaking
of the body of the subject” as a problem to be addressed (id. ¶ 6), but this
problem occurs regardless of whether the shaking results from exercise or
the normal movement of the user’s wrist over the course of the day. Thus,
Aizawa does not tout, as an important feature of Aizawa’s invention, the
real time display of pulse rate data during exercise, regardless of whether the
data gathered by Aizawa’s wrist-worn detector 1 is transmitted wirelessly or
otherwise. Id. ¶¶ 4, 6, 15.
      No doubt, a person of ordinary skill in the art would have viewed the
capability of a wrist-worn pulse detector to transmit its pulse data to another
device for display in real time while the user is exercising to be a desirable
feature in some cases, even if this is not one of Aizawa’s specifically stated
goals. See, e.g., Ex. 1048 ¶ 67 (Dr. Kenny stating: “By wirelessly
transmitting the collected data . . . the condition of a subject [can be
determined] ‘remotely.’”); Ex. 2009, 393:6–14 (in a deposition for other
related proceedings, Dr. Kenny agreeing that a person of ordinary skill in the
art “would have seen the ability to wirelessly transmit collected data as an
advantage”). Nonetheless, Inokawa expressly discloses that, in other cases,

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the benefits achieved by wireless transmission can be outweighed by
obviating the need for the wrist-worn sensor to include a special wireless
communication circuit. See Ex. 1008 ¶¶ 3–7 (discussing problems
associated with wireless transmission, such as the need for a dedicated
circuit, which is avoided by Inokawa’s system that risks “few malfunctions”
and has a “simple structure”), 76–77 (“As a result, there is no need to use a
special wireless communication circuit . . ., which makes it possible to
transmit vital sign information to the base device 17 accurately, easily, and
without malfunction.”). We therefore conclude that Petitioner’s case for
obviousness in this regard is supported by a preponderance of the evidence.
See, e.g., In re Urbanski, 809 F.3d 1237, 1243–44 (Fed. Cir. 2016) (persons
of ordinary skill in the art may be motivated to pursue desirable properties of
one prior art reference, even at the expense of foregoing a benefit taught by
another prior art reference).
      We disagree with Patent Owner’s argument that Petitioner’s case for
obviousness is deficient on the basis that neither Aizawa nor Inokawa
expressly discloses a wrist-worn sensor device that has both a plurality of
emitters and at least four detectors, as claim 1 recites. Obviousness does not
require “‘some motivation or suggestion to combine the prior art teachings’
[to] be found in the prior art.” KSR, 550 U.S. at 407, 415–418. Nor does it
require the bodily incorporation of Inokawa’s device into Aizawa’s device.
See, e.g., In re Keller, 642 F.2d 413, 425 (CCPA 1981) (test for obviousness
is not whether the features of one reference may be bodily incorporated into
the structure of the other reference, but rather is “what the combined
teachings of the references would have suggested to those of ordinary skill
in the art”); see also In re Merck & Co., 800 F.2d 1091, 1097 (Fed. Cir.
1986) (nonobviousness is not established by attacking references

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individually when unpatentability is predicated upon a combination of prior
art disclosures). Instead, “[a] person of ordinary skill is also a person of
ordinary creativity, not an automaton,” and “in many cases a person of
ordinary skill will be able to fit the teachings of multiple patents together
like pieces of a puzzle.” KSR, 550 U.S. at 420–421.
      In this case, we are persuaded that a person of ordinary skill in the art
would have been motivated to modify Aizawa’s wrist-worn detector 1 to
replace its single near infrared LED 21 with an infrared LED and a green
LED, based on Inokawa, for all the reasons provided above. A person of
ordinary skill in the art would additionally have known to keep all four
detectors 22 that are already present in Aizawa’s detector 1, so that “[e]ven
when the attachment position of the sensor is dislocated, a pulse wave can be
detected accurately,” as disclosed by Aizawa. Ex. 1006 ¶¶ 9, 27. In short,
the combination of Aizawa and Inokawa teaches that having multiple
emitters is beneficial, and having multiple detectors is beneficial, for
different and not inconsistent reasons.
      Finally, we agree with Petitioner’s position that any thermal
interference and power consumption issues that may arise in Aizawa’s
wrist-worn pulse detector, by using two emitters instead of one emitter, are
well within the capabilities of a person of ordinary skill in the art to solve.
We credit Dr. Kenny’s testimony in this regard. See Ex. 1003 ¶¶ 74, 80
(“would have led to the predictable result of more accurate and convenient
data transmission without significantly altering or hindering the functions
performed by Aizawa’s sensor”); Ex. 1047 ¶ 39. For example, Dr. Kenny
acknowledges that Aizawa already discloses adding additional emitters.
Ex. 1003 ¶ 39 (citing Ex. 1006 ¶ 33). Dr. Kenny further testifies that this
modification “amount[s] to nothing more than the use of a known technique

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[i.e., Inokawa’s use of two emitters in a wrist-worn pulse detector] to
improve similar devices [i.e., Aizawa’s wrist-worn pulse detector] in the
same way, and combining prior art elements according to known methods to
yield predictable results.” Id. ¶¶ 74, 80.
      Patent Owner cites portions of Dr. Kenny’s deposition testimony that,
in Patent Owner’s view, indicate Dr. Kenny fails to appreciate the
significance of optical interference complications posed by adding a second
emitter to Aizawa’s device, and fails to explain how this would have been
overcome. See PO Resp. 42–43 (citing Ex. 2007, 379:17–21, 384:16–
388:16, 389:17–390:20, 394:11–395:17). We have reviewed this deposition
testimony, and we conclude Patent Owner overstates its significance. It
establishes, at most, that Dr. Kenny did not expressly address this issue in
his declaration (Exhibit 1003), but Dr. Kenny’s opinion is that this would
have been within the capability of a person of ordinary skill in the art to
resolve. Based on the evidentiary record presented to us, we agree with
Dr. Kenny. For example, Inokawa discloses a wrist-worn pulse sensor 1
having two emitters 21 and 23 in close proximity to each other. See
Ex. 1008, Figs. 1–2. An artisan must be presumed to know something about
the art apart from what the relied-upon references disclose. See In re
Jacoby, 309 F.2d 513, 516 (CCPA 1962).
      Dr. Madisetti’s testimony opposing Dr. Kenny’s foregoing opinion is
premised solely on Dr. Kenny’s alleged failure to explain how issues that
arise from adding a second emitter to Aizawa would have been solved;
Dr. Madisetti does not provide any affirmative reason why these issues
would have been difficult for a person of ordinary skill in the art to solve, in
the context of Aizawa’s device or wrist-worn pulse sensing devices in
general. See Ex. 2004 ¶ 88.

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      Thus, we conclude a person of ordinary skill in the art would have
been motivated to replace Aizawa’s single near infrared LED 21 with an
infrared LED and a green LED, and would have had a reasonable
expectation of success in doing so.

                 iii.    “[b] a plurality of detectors configured to detect light
                        that has been attenuated by tissue of the user, wherein
                        the plurality of detectors comprise at least four
                        detectors”
      The cited evidence supports Petitioner’s undisputed contention that
Aizawa discloses at least four detectors 22 that detect light that has been
emitted by LED 21 and attenuated by body tissue. Pet. 24–25; see, e.g.,
Ex. 1006 ¶ 27 (disclosing that light emitted from LED 21 “is reflected by a
red corpuscle running through the artery 11 of the wrist 10 and . . . is
detected by the plurality of photodetectors 22 so as to detect a pulse wave”);
Ex. 1003 ¶¶ 82–83.

                 iv.    “[c] a housing configured to house at least the
                        plurality of detectors; and”
      The cited evidence supports Petitioner’s undisputed contention that
Aizawa discloses holder 23, which houses the detectors in a portion of the
housing. Pet. 25–26; see, e.g., Ex. 1006 ¶ 23 (“holder 23 for storing . . .
light emitting diode 21 and the photodetectors 22”), Figs. 1(a)–(b) (depicting
holder 23 surrounding detectors 22).

                  v.    “[d] a lens configured to be located between the
                        tissue of the user and the plurality of detectors when
                        the noninvasive optical physiological sensor is worn
                        by the user, wherein the lens comprises a single
                        outwardly protruding convex surface configured to
                        cause tissue of the user to conform to at least a


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                       portion of the single outwardly protruding convex
                       surface when the noninvasive optical physiological
                       sensor worn by the user and during operation of the
                       noninvasive optical physiological sensor.”
Petitioner’s Contentions
      With reference to an annotated version of Aizawa’s Figure 1(b)
(reproduced below), Petitioner contends that Aizawa “teaches a light
permeable cover in the form of an acrylic transparent plate 6 (blue) that is
mounted at the detection face 23a” of the sensor, between the user’s tissue
and the emitter/detector assembly. Pet. 8–9 (citing Ex. 1006, Fig. 1(b),
¶ 23); Ex. 1003 ¶¶ 55–56.




The figure above shows Petitioner’s annotated version of Aizawa’s
Figure 1(b), in which transparent plate 6 is shaded in blue and identified as
“Light permeable cover.” Petitioner contends that beyond disclosing that the
acrylic transparent plate “helps improve ‘detection efficiency,’ Aizawa does
not provide much other detail, for instance regarding its shape.” Id. at 14
(citing Ex. 1006 ¶ 30).

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      Petitioner reasons, however, that one of ordinary skill in the art would
have “looked to Inokawa to enhance light collection efficiency, specifically
by modifying the flat cover of Aizawa to include a lens.” Id. at 14 (citing
Ex. 1003 ¶¶ 87–91), 27–28 (“obvious to modify the flat acrylic plate of
Aizawa . . . into a lens having a single outwardly protruding convex surface .
. . to further Aizawa’s objective of enhancing its light collection
efficiency”). In that regard, Petitioner points to Inokawa’s Figure 2.
Petitioner’s annotated version of that figure is reproduced below.




Id. at 14. Figure 2 above depicts Inokawa’s lens 27 shaded in blue.
      Petitioner expresses that Inokawa teaches that its cover may be either
flat such that the surface is less prone to scratches or may be in the form of
the lens shape shown above to “increase the light-gathering ability of the
LED.” Id. at 15–16 (quoting Ex. 1008 ¶¶ 15, 106); see Ex. 1003 ¶¶ 88–91.
Petitioner contends that a person of ordinary skill in the art “making the
design choice to prioritize improved improved light collection efficiency
over reduced suseptibility to scratches could have readily modified Aizawa’s
cover to have a lens as per Inokawa.” Pet. 16 (citing Ex. 1003 ¶ 91).
Petitioner also contends that a skilled artisan would have had a reasonable
expectation of success in combining those teachings. Id. at 15–16 (citing


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Ex. 1003 ¶ 90). Petitioner adds that Aizawa’s “transparent acrylic
material . . . can be readily formed into a lens as in Inokawa.” Id. at 16
(citing Ex. 1003 ¶ 91; Ex. 1009, 3:46–51, Fig. 1; Ex. 1023, Fig. 6, ¶¶ 22, 32,
35).
       Petitioner provides annotated and modified versions of Aizawa’s
Figure 1(b) that depict the modification of the proposed combination, which
are reproduced below. Id. at 15 (citing Ex. 1003 ¶ 89).




Petitioner’s annotated figure on the left depicts the device with Aizawa’s flat
cover, wherein the annotated and modified figure on the right depicts the
device resulting from the combination of Aizawa and Inokawa, in which a
person of ordinary skill in the art would have replaced Aizawa’s flat cover
with a curved protrusion to “increase the light-gathering ability.” Id.
(quoting Ex. 1008 ¶ 15).
       According to Petitioner, a person of ordinary skill in the art “would
have understood how to implement Inokawa’s lens[]in Aizawa’s device with
a reasonable expectation of success.” Pet. 15–16 (citing Ex. 1003 ¶ 90).
The shape of the modified cover in Dr. Kenny’s illustration of the proposed
modification above is similar to the shape of an LED lens illustrated in




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Exhibit 1023 (hereafter “Nishikawa”), 5 referenced by Petitioner and
Dr. Kenny in in connection with the proposed ground of unpatentability.
Compare Pet. 15 (illustrating proposed modification), with Ex. 1023, Fig. 6,
¶¶ 3, 22, 30, 32, 35 (illustrating lens 50 used with LED 22, and discussing
how to make the illustrated device); see also Pet. 16 (citing Ex. 1023), 51–
52 (discussing teachings of Ex. 1023).
      Petitioner also contends that, in the proposed modification, the convex
surface of the lens will cause the user’s tissue to conform because the rigid
cover will be pressed against the user’s skin with pressure. Pet. 28–30;
Ex. 1003 ¶¶ 92–93, 98; Ex. 1006 ¶¶ 6, 23, 26, 30, 34; Ex. 1008, Fig. 2.

Patent Owner’s Arguments
      Patent Owner contends that the evidence does not support Petitioner’s
argument that it would have been obvious to modify Aizawa’s cover to have
a lens with an outwardly protruding convex surface, in order to improve
detection efficiency by directing incoming light to Aizawa’s
photodetectors 22, with a reasonable expectation of success. PO Resp. 16–
37; PO Sur-reply 2–13; Ex. 2004 ¶¶ 48–78.
      According to Patent Owner, the evidence establishes that Petitioner’s
proposed modification would direct light toward the center of Aizawa’s
detector 1 where emitter 21 is located, rather than toward the periphery
where detectors 22 are located. PO Resp. 16–24; Ex. 2004 ¶¶ 48–65. Thus,
Patent Owner’s view is that a person of ordinary skill in the art “would not
have expected Inokawa’s protruding surface to accomplish” the objective of
enhancing light collection efficiency relied upon by Petitioner, because

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 U.S. Patent Application Publication No. 2007/0145255 A1, filed Dec. 20,
2006, published June 28, 2007 (Ex. 1023).

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Petitioner’s proposed modification instead “would direct light away from the
periphery-located detectors” in Aizawa, the opposite result to Petitioner’s
contention. PO Resp. 20; Ex. 2004 ¶¶ 42–43, 48–57.
      In support, Patent Owner points to Inokawa’s Figure 2, in which two
arrows illustrate light that passes through the convex protrusion of lens 27
toward the center of Inokawa’s pulse sensor 1 where detector 25 is located.
PO Resp. 17–18 (citing Ex. 1008 ¶ 58); Ex. 2004 ¶¶ 51–52. Patent Owner
also points to the ’266 patent’s Figure 14B, which illustrates several light
rays 1420, 1422 passing through a partially cylindrical protrusion 605 to be
centrally focused on detector(s) 1410B. PO Resp. 18–19 (citing Ex. 1001,
35:57–60, 35:67–36:2; Ex. 2004 ¶¶ 53–54). Patent Owner cites portions of
Dr. Kenny’s deposition testimony that, in Patent Owner’s view, support
Patent Owner’s contentions in these regards. See PO Resp. 2–3, 16–18
(citing Ex. 2006, 83:15–84:2, 86:19–87:1, 108:21–109:14, 202:11–204:20).
      Patent Owner also asserts that “Dr. Kenny admitted that the impact of
Inokawa’s convex lens would not be ‘obvious’ in the context of [the]
different configuration of LEDs and detectors” presented by Aizawa.
PO Resp. 20–21 (citing Ex. 2006, 87:2–6). For example, Patent Owner
points out that “light reaching Aizawa’s detectors must travel in an opposite
direction from the light in Inokawa.” Id. at 21–22 (Ex. 2004 ¶¶ 59–62). In
addition, according to Patent Owner, “Petitioner’s combination is
particularly problematic because” Aizawa uses “small detectors [22] with
small openings [of cavities 23c] surrounded by a large amount of opaque
material.” PO Resp. 22 (citing Ex. 1006, Fig. 1(a); Ex. 2004 ¶ 63). In
support of its view, Patent Owner cites portions of Dr. Kenny’s deposition
testimony. Id. at 23 (citing Ex. 2006, 257:11–18). Patent Owner also argues
that to account for this, “Petitioner is forced to increase the size of Aizawa’s

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detectors approximately five-fold and eliminate Aizawa’s large opaque
barriers—with no analysis or explanation of such changes or the[ir] impact.”
Id. at 23–24 (citing Ex. 2004 ¶ 65).
      Patent Owner further argues that Dr. Kenny, during his deposition,
attempted to evade the foregoing problems by “disclaim[ing] Petitioner’s
reasoning [for obviousness] and assert[ing] new and improper opinions” that
undermine the reasoning provided in the Petition. PO Resp. 24. For
example, Patent Owner asserts that Dr. Kenny’s attempt to distinguish
between the ’266 patent’s Figure 14B as illustrating a lens that condenses
collimated light toward the center, as compared to Aizawa and Inokawa in
which the lens focuses diffuse light reflected by the user’s body; Patent
Owner argues this is not persuasive and is not supported by record evidence.
PO Resp. 24–26 (citing Ex. 2006, 170:9–171:5; Ex. 2007, 288:13–289:5,
294:17–298:10, 298:11–299:18, 423:7–424:18; Ex. 2004 ¶¶ 67–68). Patent
Owner also objects to Dr. Kenny’s testimony that, “while a protruding
surface would generally direct more light to the center,” it “would also
capture some light that otherwise would not be captured” by Aizawa’s
detectors 22, as lacking evidentiary support and relying on impermissible
hindsight. PO Resp. 28–29 (citing Ex. 2004 ¶ 69–71; Ex. 2006, 204:21–
206:5, 206:22–208:1; Ex. 2007, 294:17–298:10).
      Patent Owner moreover asserts that “Dr. Kenny repeatedly distanced
himself from his own similar combination” of Aizawa and Inokawa by
refusing to talk about the specific shape, size, material, and dimensional
tolerances of the combination, so, in Patent Owner’s view, his testimony
falls short because it demonstrates at most only that the references could
have been combined. Id. at 2–3, 27–31 (citing, e.g., Ex. 2004 ¶¶ 71–73;
Ex. 2006, 51:14–52:16, 75:20–77:2, 91:9–92:13, 96:20–21, 97:11–21,

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100:17–101:18, 132:10–18, 154:4–7, 164:8–16, 189:11–190:3; Ex. 2007,
308:12–309:8, 310:18–311:9, 318:3–6, 324:21–325:19, 333:20–335:4).
      Indeed, according to Patent Owner, because ordinary skill does not
require specific education or experience with optics or optical physiological
monitors (see supra Section II.C), “[i]t strains credibility that a [person of
ordinary skill in the art] . . . could balance all of the factors Dr. Kenny
identified” to reach the claimed invention. PO Resp. 31–32. Patent Owner
relies on Dr. Kenny’s testimony as establishing the complexity of designing
optical physiological sensors. Id. at 3–4, 32–33 (citing Ex. 2006, 86:19–
87:6; Ex. 2007, 331:19–332:11, 336:11–337:15). Patent Owner concludes
Petitioner has failed to establish a reasonable expectation of success because
Dr. Kenny’s testimony “focuses almost entirely on manufacturing.” Id.
at 33 (citing Ex. 1003 ¶ 91; Ex. 2004 ¶ 75).
      Patent Owner moreover asserts Petitioner errs in relying on Nishikawa
as supporting the unpatentability of claim 1, because Nishikawa is “not
identified as part of” the ground, which instead “includes only two
references,” Aizawa and Inokawa. PO Resp. 34 (citing Pet. 14; Ex. 1003
¶¶ 86–91); id. at 35–36 (citing 35 U.S.C. § 312(a)(3); Intelligent Bio-
Systems, Inc. v. Illumina Cambridge Ltd., 821 F.3d 1359, 1369 (Fed. Cir.
2016)). Patent Owner asserts Dr. Kenny “relies heavily” on Nishikawa,
particularly “to inform the specific shape of the cover in his similar
combination, which is found nowhere in Aizawa and Inokawa.” Id. at 34–35
(citing Ex. 2004 ¶¶ 76–77; Ex. 2006, 179:21–180:13; Ex. 2007, 364:2–13;
Ex. 2008, 73:8–12).
      Furthermore, in Patent Owner’s view, Dr. Kenny’s reliance on
Nishikawa “make[s] no sense” because “Nishikawa’s device is not a
physiological sensor” but rather is “an encapsulated LED” that “directs

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outgoing light through the encapsulation material and thus focuses on the
emission of light, not the detection of an optical signal.” PO Resp. 36 (citing
Ex. 1023, code (57), ¶¶ 3, 32, 35; Ex. 2004 ¶ 78). Patent Owner contrasts
such disclosure with Aizawa and Inokawa, both of which “detect[] incoming
light that passes through the cover and reaches the detectors,” and which
have a “drastically” smaller scale than Nishikawa’s LEDs. Id. at 36–37
(citing Ex. 1008, Fig. 2; Ex. 2004 ¶ 78).

Petitioner’s Reply
      In reply, Petitioner insists “Inokawa’s lens enhances the light-
gathering ability of Aizawa,” which would have motivated an ordinarily
skilled artisan “to incorporate ‘an Inokawa-like lens [having a protrusion]
into the cover of Aizawa to increase the light collection efficiency.’” Pet.
Reply 2–3 (citing Pet. 13–15; Ex. 1003 ¶¶ 86–89; Ex. 1008, Fig. 2, ¶¶ 15,
58). Petitioner dismisses Patent Owner’s and Dr. Madisetti’s opposition as
being “misinformed” because a person of ordinary skill in the art “would
understand that Inokawa’s lens generally improves ‘light concentration at
pretty much all of the locations under the curvature of the lens,’ as opposed
to only at a single point at the center.” Id. at 3 (quoting Ex. 2006, 164:8–
16); Ex. 1047 ¶¶ 7–9.
      For example, Petitioner contends that Patent Owner and Dr. Madisetti
“ignore[] the well-known principle of reversibility,” by which “a ray going
from P to S will trace the same route as one from S to P.” Pet. Reply 4




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(underlining omitted) (citing, e.g., Ex. 1052, 6 84, 87–92); Ex. 1047 ¶¶ 10–
22. Petitioner contends that Dr. Madisetti was evasive when he was asked to
apply the reversibility principle to the combination of Aizawa and Inokawa
in this case. Pet. Reply 6 (citing Ex. 1034, 89:12–19). Petitioner further
contends that, “based at least on the principle of reversibility,” one of
ordinary skill in the art “would have understood that both configurations of
LEDs and detectors—i.e., with the LED at the center as in Aizawa or with
the detector at the center as in Inokawa—would similarly benefit from the
enhanced light-gathering ability of an Inokawa-like lens.” Id. at 9 (citing
Ex. 1047 ¶ 22).
      Petitioner also asserts that Patent Owner and Dr. Madisetti overlook
the fact that light rays reflected by body tissue in the user’s wrist, to be
received by detectors in either Aizawa’s or Inokawa’s pulse sensor, will be
“scattered” and “diffuse” and, therefore, will approach the detectors “from
various random directions and angles.” Pet. Reply 9–10, 13 (annotating
Inokawa’s Fig. 2 to illustrate the cause and nature of the back-scattering);
Ex. 1047 ¶¶ 23–26. This scattered and diffuse light, according to Petitioner,
means that Inokawa’s “lens cannot focus all incoming light toward the
sensor’s center,” as Patent Owner would have it. Pet. Reply 9 (citing
Ex. 1047 ¶ 23; Ex. 2006, 163:12–164:2). Petitioner asserts this is due to




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  Eugene Hecht, Optics (2nd ed. 1990). It is apparent that the page
numbering identified by Petitioner for Exhibit 1052 refers to the documents
native page numbering and not the page numbering of the exhibit appearing
at the bottom, middle of each page. For clarity and consistency, in this
Decision, we also refer to the same page numbering as Petitioner for Exhibit
1052.

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Snell’s law, and provides several illustrations to illustrate why. Id. at 9–15
(citing, e.g., Ex. 1047 ¶¶ 23–34).
         Due to the random nature of this scattered light, Petitioner explains
that one of ordinary skill in the art would have understood that a convex
cover “provides a slight refracting effect, such that light rays that may have
missed the detection area are instead directed toward that area.” Pet.
Reply 10 (citing Ex. 1047 ¶¶ 25–26). Petitioner applies this understanding
to Aizawa, and contends that using a lens with a convex protrusion in
Aizawa would “enable backscattered light to be detected within a circular
active detection area surrounding” a central light source. Id.
         Moreover, Petitioner dismisses the applicability of Figure 14B of the
’266 patent as illustrating the operation of a transmittance-type of sensor
that measures the attenuation of collimated light transmitted through the
user’s body tissue, rather than the reflectance-type sensor of Aizawa. Id.
at 11–13 (citing, e.g., Ex. 1001, 35:65–67; Ex. 1047 ¶¶ 27–31).
         Petitioner further maintains that Patent Owner’s argument that
Petitioner’s illustrations of the light-focusing properties of a convex lens
discussed in the Petition filed in IPR2020-01520 (Ex. 2019, 39) and relied
upon by Dr. Kenny (Ex. 2020, 119–120) does not demonstrate “that a
convex lens directs all light to the center.” Pet. Reply 15 (citing PO
Resp. 16–18). Petitioner contends these illustrations, instead, “are merely
simplified diagrams included to illustrate . . . one example scenario (based
on just one ray and one corpuscle) where a light permeable cover can
‘reduce a mean path length of light traveling to the at least four detectors’”
as recited in a claim challenged in that proceeding. Id. (citing, e.g., Ex. 1047
¶ 34).



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Patent Owner’s Sur-reply
      Patent Owner asserts that Petitioner’s Reply improperly presents
several new arguments, relying on new evidence, as compared with the
Petition. See, e.g., PO Sur-reply 1 (“new optics theories” and “new
arguments”), 2, 6, 7, 9, 10, 12, 13.
      Patent Owner also contends that Petitioner mischaracterizes Patent
Owner’s position, which is not that Inokawa’s lens with a convex protrusion
“would direct ‘all’ light ‘only at a single point at the center’” of the sensor.
Id. at 2, n.2 (quoting Pet. Reply 3; citing, e.g., Ex. 2027, 63:7–64:6, 94:20–
96:1, 96:18–97:7). Patent Owner’s position, rather, is that Inokawa’s lens
condenses more light (not necessarily all light) “towards the center of the
sensor” as compared to a flat surface. Id. at 2 (quoting PO Resp. 19; citing,
e.g., Ex. 2004 ¶¶ 34, 43, 49, 51–52, 54–55, 67).
      Patent Owner moreover asserts “[t]here can be no legitimate dispute
that a convex surface directs light centrally (and away from the periphery).”
PO Sur-reply 3–6 (citing PO Resp. 16–19; Ex. 2006, 164:8–16, 166:10–17,
170:22–171:5; Ex. 2020 ¶¶ 119, 200; Ex. 2027, 181:9–182:5). Patent Owner
contends that Petitioner’s argument “that Inokawa would improve light-
gathering at all locations, regardless of the location of the LEDs and
detectors” is belied by Dr. Kenny’s testimony that “Inokawa’s benefit would
not be clear if Inokawa’s LEDs and detectors were moved” and “confirmed
that a convex surface would direct light toward the center of the underlying
sensor.” Id. at 5–6 (citing Pet. Reply 3–4; Ex. 2006, 86:19–87:6, 202:11–
204:20).
      Patent Owner argues that Petitioner’s discussion of the principle of
reversibility is “irrelevant” because it “assumes ideal conditions that are not
present when tissue scatters and absorbs light.” PO Sur-reply 6–8 (citing

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Ex. 2027, 17:12–19:2, 29:11–30:7, 31:8–32:3, 38:17–42:6, 207:9–209:21,
210:8–211:6). The random nature of backscattered light, in Patent Owner’s
view, “hardly supports Petitioner’s argument that light will necessarily travel
the same paths regardless of whether the LEDs and detectors are reversed,”
and is irrelevant to the central issue presented here of “whether a convex
surface—as compared with a flat surface—would collect and focus
additional light on Aizawa’s peripherally located detectors.” Id. at 8–9
(citing Ex. 2027, 212:3–14).
      Patent Owner also argues that Petitioner’s position that a convex
cover will provide a “slight” refracting effect, “directly undermines
Petitioner’s provided motivation to combine,” i.e., to enhance light
collection efficiency. Id. at 10–11.

Analysis
      Upon review of the foregoing, we conclude that a preponderance of
the evidence supports Petitioner’s view that it would have been obvious to
modify Aizawa’s cover 6 to include a lens with a single outwardly
protruding convex surface like that taught in Inokawa, in order to increase
the amount of backscattered light that will be received by Aizawa’s four
peripheral detectors 22, as compared with Aizawa’s existing flat cover.
      It is clear that Aizawa’s and Inokawa’s pulse sensors both gather data
by emitting light into the user’s wrist tissue, and collecting light that reflects
back to the sensor from the user’s tissue. See, e.g., Ex. 1006, Figs. 1(b), 2
(sensor 2 has emitter 21 and four detectors 22, all facing a user’s wrist 10);
Ex. 1008, Figs. 1, 2 (sensor 1 has two emitters 21, 23 and one detector
(photodiode 25), all facing the user’s wrist when held in place by
wristband 5). Dr. Kenny testifies, and Patent Owner agrees, that the


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reflection of this light by the user’s wrist tissue randomizes the propagation
direction of the reflected light rays. See Ex. 1047 ¶¶ 12, 14–17, 23;
Ex. 2020 ¶ 128; PO Sur-reply 7 (“Even Petitioner admits that tissue
randomly scatters and absorbs light rays . . . .”). This reflection principle is
illustrated by Dr. Kenny’s annotations to Inokawa’s Figure 2 reproduced
below:




Here, Dr. Kenny has modified Inokawa’s Figure 2 (1) by removing two
black arrows, (2) by coloring Inokawa’s light detector in red and Inokawa’s
two light emitters in green, and (3) by adding several green arrows to
illustrate the various directions that light rays may be directed after
impinging on and reflecting off different tissues in the user’s wrist.
Ex. 1047 ¶ 32.
      This randomized direction of reflected light rays results in
backscattered light that is diffuse, rather than collimated, in nature.
Figure 4.12 of Exhibit 1052 illustrates the difference between diffuse and
collimated light, and is reproduced below:




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This figure provides at left a photograph and an illustration showing
incoming collimated light reflecting from a smooth surface, and at right a
photograph and an illustration of incoming collimated light reflecting from a
rough surface. See Ex. 1052, 87–88. The smooth surface provides specular
reflection, in which the reflected light rays are collimated like the incoming
light rays. See id. The rough surface provides diffuse reflection, in which
the reflected light rays travel in random directions. See id.
      This diffuse nature of the light reflected from the user’s wrist tissue,
which both Aizawa and Inokawa aim to collect to generate pulse data,
suggests that a lens might be useful to increase the amount of collected light
and thereby increase the reliability of the pulse data generated using the
collected light. Indeed, that is taught by Inokawa. Inokawa describes using
its lens 27 to “increase the light-gathering ability” of Inokawa’s light
photodiode or detector 25.7 Ex. 1008 ¶¶ 15, 58. Furthermore, there is also
no dispute that Inokawa’s lens 27 is understood to be shaped to include a

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  Although Inokawa refers to the “LED” such as emitters 21, 23 in that
regard (Ex. 1008 ¶ 15), rather than photodiode 25, it is undisputed that
photodiode 25 is the only component of Inokawa’s sensor 1 that gathers
light.

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single convex protruding surface. See, e.g., Ex. 1003 ¶¶ 87–88
(characterizing Inokawa as teachings a “convex protrusion that acts as a
lens”); PO Resp. 1 (describing Inokawa as teaching a “convex lens”). Thus,
Inokawa demonstrates that it was known in the art to use a lens comprising a
protrusion to focus diffuse light reflected from body tissue on to the light
detecting elements of a wrist-worn pulse sensor, and to increase the light
gathered by the sensor thereby improving the device’s calculation of the
user’s pulse.
      A preponderance of the evidence supports Petitioner’s view that it
would have been obvious for a person of ordinary skill in the art to apply
Inokawa’s lens technology to Aizawa’s wrist-worn pulse sensor, to similarly
improve its light collection as compared to Aizawa’s existing flat cover.
That is illustrated by the following illustrations provided by Dr. Kenny:




The illustration at left modifies Aizawa’s Figure 1(b) to color Aizawa’s
emitter in green, its detectors in red, and Aizawa’s existing flat cover in
blue; the illustration on the right includes Aizawa’s Figure 1(b) with the
same color coding, but wherein the flat cover is modified to incorporate a
convex protrusion that covers Aizawa’s peripheral light detectors and central
light emitter. See Ex. 1003 ¶ 89. We are persuaded by Dr. Kenny’s
testimony that Snell’s law indicates that “light rays that may have otherwise
missed the detection area are instead directed toward that area as they pass

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through the interface provided by the cover,” and is especially true “in
configurations like Aizawa’s in which light detectors are arranged
symmetrically about a central light source, so as to enable backscattered
light to be detected within a circular active detection area surrounding that
source.” Ex. 1047 ¶ 26; see also id. ¶¶ 23–26.
      Patent Owner correctly notes that Inokawa’s single detector 25 is
located in the central portion of Inokawa’s sensor 1, whereas Aizawa’s four
detectors 22 are located towards the periphery of Aizawa’s sensor 2.
Compare Ex. 1008, Fig. 2, with Ex. 1006, Figs. 1(a)–1(b). Nevertheless,
Petitioner’s proposed modification of Aizawa takes that arrangement into
account, as can be seen by the following comparison between Inokawa’s
sensor and Petitioner’s proposed modification of Aizawa’s sensor:




The illustration at left annotates Inokawa’s Figure 2 to identify the central
detector in red and the lens in blue (see Ex. 1003 ¶ 87), and the illustration at
right annotates Petitioner’s proposed modification of Aizawa to illustrate the
peripheral detectors in red and the lens in blue (see id. ¶ 89). As can be
seen, the lenses are not identical. In Inokawa the lens’s curvature is most
pronounced at the center of the lens near the central detector, and in the
proposed modification to Aizawa, the lens’s curvature is most pronounced at
the edges of the lens near the peripheral detectors. Thus, Dr. Kenny’s
proposed modification of Aizawa takes Inokawa’s general teaching of using

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a convex protrusion lens to increase the amount of incoming light directed to
a light detector, and applies it to the light detectors of Aizawa. See, e.g.,
Ex. 1003 ¶ 88 (“[B]ecause the path of light is reversible, the light collection
function of Inokawa’s lens would work the same way regardless of whether
light is emitted toward the center (and detected by a centrally located
photodiode) or emitted away from the center (and detected by a peripherally
located photodiode).”), 90 (“That is, depending on the desired
objective of the user (e.g., less scratches or improved light-gathering), the
shape of the cover can be readily modified.”), 91 (“[T]o achieve the goal of
improving light collection efficiency, which both Aizawa and Inokawa
share, a [person of ordinary skill in the art] would have been able to, with a
reasonable expectation of success, modify Aizawa’s light permeable cover
to include a lens as taught by Inokawa.”); Ex. 1047 ¶¶ 7–34.
      We are cognizant of Patent Owner’s contention that Petitioner’s
ground “improperly” relies upon a reference, Nishikawa, that was not
identified as a part of the ground of unpatentability. PO Resp. 34. As Patent
Owner observes, Dr. Kenny characterizes his testimony as being “inspired
by” or “motivated” in part based on Nishikawa’s disclosure when it comes
to the shape of a convex lens. See, e.g., PO Resp. 34–35 (citing, e.g.,
Ex. 2007, 364:2–13; Ex. 2008, 73:8–12). We, however, disagree with Patent
Owner that any impropriety arises from Dr. Kenny’s contemplation of the
teachings of Nishikawa in connection with the shape of a lens for a
physiological sensor. The nature of Petitioner’s and Dr. Kenny’s
consideration of Nishikawa is explained in cited portions of Dr. Kenny’s
declaration, even if Nishikawa is not listed as a third reference in the
identification of the ground. See Ex. 1003 ¶ 91 (“[M]any prior art references
of this period, such as Nishikawa (shown below) demonstrate exactly how

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such a lens shape [as taught by Inokawa] may be incorporated into a molded
cover.”); Pet. 16–17. Indeed, it follows readily from the Petition that a
skilled artisan would have appreciated that Nishikawa’s teachings provide
insight as to how “the transparent acrylic material used to make Aizawa’s
plate can be readily formed into a lens as in Inokawa.” Pet. 16. Nishikawa
describes how its “lens unit 50” can be a transparent resin formed in the
shape illustrated in Figure 6 by injection molding. Ex. 1023 ¶¶ 22, 32, 35.
Dr. Kenny also explains that Nishikawa’s lens shape design “is intended to
provide curvature in the lens where it can do the most good and otherwise
try to avoid excess use of material in order to create curvature in locations
where it wouldn’t do any good.” Ex. 2006, 179:21–180:13.
      Moreover, we observe that a rejection based on obviousness
“require[s] an analysis that reads the prior art in context, taking account of
‘demands known to the design community,’ ‘the background knowledge
possessed by a person having ordinary skill in the art,’ and ‘the inferences
and creative steps that a person of ordinary skill in the art would employ.’”
Randall Mfg. v. Rea, 733 F.3d 1355, 1362 (Fed. Cir. 2013) (quoting KSR,
550 U.S. at 418). Furthermore, record evidence can be useful to
“demonstrate the knowledge and perspective one of ordinary skill in the art.”
Id.; see also Ariosa Diagnostics v. Verinata Health Inc., 805 F.3d 1359,
1365 (Fed. Cir. 2015) (“Art can legitimately serve to document the
knowledge that skill artisan would bring to bear in reading the prior art
identified as producing obviousness.”).
        As noted above, Dr. Kenny makes clear that his view as to
obviousness of the claims of the ’266 patent was “inspired by” or
“motivated” in part by Nishikawa’s teachings as to shapes generally known
to those in the art of manufacturing a lens. See, e.g., Ex. 2007, 364:2–13;

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Ex. 2008, 73:12–21. We conclude that the record establishes that
Nishikawa’s teachings are representative of background knowledge of one
of ordinary skill in the art and provide context and perspective of a skilled
artisan as to the type of shapes available for a convex protruding surface,
such as that disclosed in Inokawa. That Dr. Kenny considered record
evidence cited in the Petition as informing his view of what a skilled artisan
would understand as to known types of lens shapes does not establish, in our
view, any impropriety as part of that ground.
      Patent Owner additionally asserts, and Dr. Madisetti testifies, that
Petitioner’s combination of Aizawa and Inokawa is “problematic” because it
overlooks the “small” size of Aizawa’s detectors 22 and the openings or
cavities 23c in which they are housed. See PO Resp. 22 (citing Ex. 1006,
Fig. 1(a); Ex. 2004 ¶ 63). Patent Owner, however, does not articulate what
significance the size of Aizawa’s detector components have in the
obviousness evaluation based on the teachings of the prior art.
      We additionally do not agree with Patent Owner’s argument that
Petitioner’s Reply presents new arguments and evidence that should have
been first presented in the Petition. The Petition proposed a specific
modification of Aizawa to include a convex protrusion in the cover, for the
purpose of increasing the light gathering ability of Aizawa’s device. See,
e.g., Pet. 13–17. Patent Owner, in its Response, then challenged that
contention with several arguments that Petitioner’s proposed convex
protrusion would not operate in the way the Petition alleged. See, e.g., PO
Resp. 16–37. In its Reply, Petitioner provided arguments and evidence
attempting to rebut the contentions in the Patent Owner Response. See




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PTAB Consolidated Trial Practice Guide (Nov. 2019),8 73 (“A party also
may submit rebuttal evidence in support of its reply.”). The Reply does not
change Petitioner’s theory for obviousness; rather, the Reply presents more
argument and evidence in support of the same theory for obviousness
presented in the Petition. Compare Pet. 13–17, with Pet. Reply 2–15.
        Patent Owner finally argues that a conclusion of obviousness “strains
credibility” because the level of ordinary skill in the art (see supra
Section II.C) does not require specific education or experience with optics or
optical physiological monitors. See, e.g., PO Resp. 31–32. We disagree.
Concerning motivation, an ordinarily skilled artisan would have readily
appreciated from the record at hand that: (1) Aizawa’s detector 1 operates by
gathering light data with its photodetectors 22; (2) a lens was known to focus
the light on photodetectors; and (3) optical lenses may be formed by
providing a convex protrusion in the lens to focus light. Indeed, Inokawa
discloses such utility, function, and structure as a part of its convex lens.
See, e.g., Ex. 1008 ¶¶ 15, 58, Fig. 2. We are persuaded that a person of
ordinary skill in the art would have understood these general concepts of
optics.
        Concerning reasonable expectation of success, we rely on
Dr. Kenny’s testimony that a person of ordinary skill in the art would have
“would have sought to incorporate a convex, lens structure as in Inokawa
into Aizawa’s acrylic plate to thereby increase light collection efficiency, in
turn leading to more reliable pulse wave detection,” “would have further
understood how to” do so, “depending on the desired objective of the user,”



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    Available at https://www.uspto.gov/TrialPracticeGuideConsolidated.

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and would have enjoyed a reasonable expectation of success in doing so.
Ex. 1003 ¶¶ 88, 90–91; Ex. 2006, 179:21–180:13, 202:11–20.
      Thus, we conclude that one of ordinary skill in the art would have had
adequate reason to replace Aizawa’s flat cover 6 with a cover comprising a
convex protrusion, to improve light detection efficiency, and would have
had a reasonable expectation of success in doing so.

                 vi.    Summary
      For the foregoing reasons, we determine that Petitioner has met its
burden of demonstrating by a preponderance of the evidence that claim 1
would have been obvious over the cited combination of references.

                          4. Independent Claim 9
      Independent claim 9 consists of limitations that are substantially
similar to limitations [a]–[d] of claim 1. Compare Ex. 1001, 44:37–54, with
id. at 45:13–23 (reciting “a housing” as opposed to “a circular housing
including a planar surface”; “at least four detectors” as opposed to “at least
four detectors arranged on the planar surface” and “the four detectors are
arranged in a grid pattern”; “a lens” as opposed to “a lens forming a cover”
and omitting details of the lens’ location; the sensor is “worn by the user” as
compared to omitting details regarding user wear).
      In asserting that claim 9 also would have been obvious over the
combined teachings of Aizawa and Inokawa, Petitioner refers to the same
arguments presented as to claim 1 (Pet. 35–36, 39 (“See supra Ground 1A”))
and also presents additional arguments corresponding to the claimed
“circular housing,” “planar surface,” and “grid pattern” limitations (Pet. 36–
39). Specifically, Petitioner presents modified and annotated Figures 1(a)


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and (1b) of Aizawa (reproduced below) to demonstrate the claimed circular
housing and planar surface.




Annotated Figure 1(a) (left) depicts pulse wave sensor 2 comprising
holder 23 with detectors 22 arranged in a standard north, south, east, west
grid pattern (depicted in blue). Pet. 38. The circular shape of the holder is
highlighted in green. Id. Annotated Figure 1(b) (right) depicts pulse wave
sensor 2 comprising holder 23 (labeled in green text as “Circular housing”).
Pet. 36. The holder is adjacent to a surface, highlighted in brown, that
Petitioner equates to the claimed “planar surface.” Id.
      Patent Owner does not present any argument for these claims other
than those we have already considered with respect to independent claim 1
and our claim construction analysis above. PO Resp. 12–43.
      For the same reasons discussed above, we determine that Petitioner
has met its burden of demonstrating by a preponderance of the evidence that
claim 9 would have been obvious over the cited combination of references.
See supra II.D.3.i–v; Ex. 1003 ¶¶ 106–113.

              5. Dependent Claims 2–6, 8, 10–16, 18, and 19
      Petitioner presents undisputed contentions that claims 2–6, 8, 10–16,
18, and 19, which depend directly or indirectly from independent claim 1 or


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9, are unpatentable over the combined teachings of Aizawa and Inokawa,
and provides arguments explaining how the references teach the limitations
of these claims. Pet. 30–35, 39–44; Ex. 1003 ¶¶ 94–105, 114–124.
      Patent Owner does not present any arguments for these claims other
than those we have already considered with respect to independent claim 1.
PO Resp. 43 (“The Petition fails to establish that independent claims 1 and 9
would have been obvious . . . and thus fails to establish obviousness as to
any of the challenged dependent claims.”) (citing Ex. 2004 ¶ 89).
      We have considered the evidence and arguments of record and
determine that Petitioner has demonstrated by a preponderance of the
evidence that claims 2–6, 8, 10–16, 18, and 19 would have been obvious
over the combined teachings of the cited references and as supported by the
testimony of Dr. Kenny.

             E. Obviousness over the Combined Teachings of
                      Mendelson-1988 and Inokawa
      Petitioner contends that claims 1–6, 8–16, 18, and 19 of the ’266
patent would have been obvious over the combined teachings of Mendelson-
1988 and Inokawa. Pet. 47–71.

                1. Overview of Mendelson-1988 (Ex. 1015)
      Mendelson-1988 discloses a pulse oximeter, with an optical
reflectance sensor suitable for noninvasive monitoring of a user’s arterial
hemoglobin oxygen saturation (SpO2), via the user’s forehead. See
Ex. 1015, 167 (title & abstract). Figure 2 is reproduced below:




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Figure 2 illustrates the sensor of Mendelson-1988, including: (A) a top view
diagram; (B) a side view diagram; and (C) a photograph. Id. at 169.
      The sensor includes two red LEDs and two infrared LEDs for emitting
light into the user’s tissue, and six photodiodes “arranged symmetrically in a
hexagonal configuration” surrounding the four emitters, to detect light
reflected back to the sensor from the user’s tissue. Id. at 168 (“SENSOR
DESIGN”). The user’s “SpO2 can be calculated from the ratio of the
reflected red and infrared photoplethysmograms.” Id. at 167. “To minimize
the amount of light transmission and reflection between the LEDs and the
photodiodes within the sensor, a ring-shaped, optically opaque shield of
black Delrin . . . was placed between the LEDs and the photodiode chips.”
Id. at 168 (col. 2). “The optical components were encapsulated inside the
package using optically clear adhesive.” Id. “The microelectronic package
was mounted inside a black Delrin housing.” Id.



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                           2. Independent Claim 1
                   i.   “A noninvasive optical physiological sensor
                        comprising”
      The cited evidence supports Petitioner’s undisputed contention that
Mendelson-1988 discloses a noninvasive optical physiological sensor,
i.e., an “optical reflectance sensor” that monitors “arterial hemoglobin
oxygen saturation [SpO2],” a physiological parameter of the wearer. Pet. 52;
see, e.g., Ex. 1015, Abstract, 167, 172; Ex. 1003 ¶ 130.

                  ii.   “[a] a plurality of emitters configured to emit light
                        into tissue of a user”
      The cited evidence supports Petitioner’s undisputed contention that
Mendelson-1988 discloses two red LEDs and two infrared LEDs that emit
light into user tissue. Pet. 52–53; see, e.g., Ex. 1015, 168 (“The optical
reflectance sensor used in this study consists of two red (peak emission
wavelength: 660 nm) and two infrared (peak emission wavelength: 930 nm)
LED chips.”)), Fig. 2(a); Ex. 1003 ¶ 131.

                 iii.   “[b] a plurality of detectors configured to detect light
                        that has been attenuated by tissue of the user, wherein
                        the plurality of detectors comprise at least four
                        detectors”
      The cited evidence supports Petitioner’s undisputed contention that
Mendelson-1998 discloses “six silicon photodiodes . . . arranged
symmetrically in a hexagonal configuration” on the sensor. Pet. 53–54; see,
e.g., Ex. 1015, 168–169, Figs. 2(A)–(B). Mendelson-1998 discloses that the
photodiodes output “current pulses” indicative of a physiological parameter
of the wearer in response to light emitted by the emitters and reflected from
the skin. Pet.52; see, e.g., Ex. 1015, 167 (“SpO2 can be calculated from the

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ratio of the reflected red and infrared photoplethysmograms.”); Ex. 1003
¶ 132.

                   iv.   “[c] a housing configured to house at least the
                         plurality of detectors”
         The cited evidence supports Petitioner’s contention that Mendelson-
1988 discloses an AIRPAX package, i.e., a housing in which the detectors
are located. Pet. 54; Ex. 1015, 168. Petitioner’s annotated version of
Mendelson-1988’s Figures 2B is reproduced below.




Pet. 54. The modified figure depicts a side view of Mendelson-1988’s
sensor with a housing (depicted in red) in which the detectors (depicted in
green) are located. Id.; Ex. 1003 ¶ 133.

                   v.    “[d] a lens configured to be located between the
                         tissue of the user and the plurality of detectors when
                         the noninvasive optical physiological sensor is worn
                         by the user, wherein the lens comprises a single
                         outwardly protruding convex surface configured to
                         cause tissue of the user to conform to at least a
                         portion of the single outwardly protruding convex
                         surface when the noninvasive optical physiological




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                       sensor worn by the user and during operation of the
                       noninvasive optical physiological sensor.”
Petitioner’s Contentions
      Petitioner contends that Mendelson-1988’s sensor discloses a light
permeable cover, i.e., the “OPTICALLY CLEAR EPOXY” in Figure 2B,
that covers the detectors and is located between the user’s tissue and the
detectors when worn. Pet. 47–48, 55–56; Ex. 1003 ¶¶ 67, 134–143.
Petitioner states that Mendelson-1998 does not provide further details, such
as the “precise shape of this layer’s interface with the skin.” Pet. 48–49;
Ex. 1003 ¶ 135. As discussed above in Section II.D.3, Petitioner contends
that Inokawa’s sensor includes lens 27 positioned over light detector 25.
Pet. 49. Petitioner reasons that an ordinarily skilled artisan would have been
motivated, with a reasonable expectation of success, to modify
Mendelson-1988’s optical SpO2 sensor, in light of Inokawa’s optical pulse
sensor, by adding a lens with a single outwardly protruding convex surface
to Mendelson-1988’s cover to improve the sensor’s light detection
efficiency. Id. at 49–50.
      Dr. Kenny provides the following illustrations to portray the proposed
modification of Mendelson-1988’s sensor (Ex. 1003 ¶¶ 138–139):




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At the left, Dr. Kenny has excerpted and annotated Mendelson-1988’s
Figure 2B, to identify the pre-existing cover (colored blue) which covers the
light emitters and detectors. See id. At the right, Dr. Kenny has illustrated
the device resulting from the proposed modification of the cover to have a
single convex protrusion (also colored blue). See id.
      Petitioner adds that a person of ordinary skill in the art would have
had a reasonable expectation of success in implementing Inokawa’s lens
structure in Mendelson-1998, and that the modification would have
“require[d] only routine knowledge of sensor design and assembly.” Pet. 51;
Ex. 1003 ¶ 140. For example, Petitioner contends that prior art such as
Nishikawa9 demonstrates that “molding clear epoxy, as in Mendelson-1988,
into a lens was well understood.” Pet. 51 (citing Ex. 1023, Fig. 6, ¶¶ 22, 32,
35; Ex. 1003 ¶ 141). Indeed, Petitioner notes that Mendelson-1998 and
Nishikawa utilize the same material, which “can have the same index of
refraction, and, as such, the interface between the encapsulation portion and
the lens portion will not adversely affect the optical performance of the
modified system.” Id. at 51–52 (citing Ex. 1023 ¶ 37; Ex. 1003 ¶ 142).
      Finally, Petitioner contends that “[a]ttaching a rigid device,” as
suggested by the proposed combination of Mendelson-1998 and Inokawa,
“in such a manner will cause at least some deformation of the tissue to occur
because the skin is more pliable than the cover,” such that the modified
sensor and lens “acts to further deform the tissue of the user around the
convex surface of the lens when the device is pressed against the tissue.”
Pet. 56; Ex. 1003 ¶ 143.


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 U.S. Patent Application Publication No. 2007/0145255 A1, filed Dec. 20,
2006, published June 28, 2007 (Ex. 1023).

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Patent Owner’s Arguments
      Patent Owner is of the view that Petitioner has not met its burden to
demonstrate the obviousness of modifying Mendelson-1988’s sensor in light
of Inokawa to have a protrusion, based on substantially the same analysis
and testimony discussed above in the context of combining Aizawa and
Inokawa. See PO Resp. 47–51; Ex. 2004 ¶¶ 98–109; supra Section II.D.3.v.
For example, Patent Owner argues that Mendelson-1988, like Aizawa,
provides central emitters surrounded by several peripherally located
detectors. Compare Ex. 1015, 169 (Fig. 2) (showing four central LEDs
surrounded by six photodiodes), with Ex. 1006, Figs. 1(a)–1(b) (showing
one central LED 21 surrounded by four photodetectors 22); PO Resp. 47.
Given this arrangement, Patent Owner reiterates its argument that the
proposed combination in view of Inokawa would direct light away from the
peripheral detectors, and toward the center of the sensor, thereby
diminishing the received signal. PO Resp. 49–51.
      Additionally, and as discussed above in the context of combining
Aizawa and Inokawa, Patent Owner argues that Petitioner improperly relies
upon Nishikawa’s teachings, although Nishikawa is not identified as part of
the asserted ground of unpatentability. PO Resp. 55–57.

Petitioner’s Reply

      Petitioner incorporates its contentions as set forth regarding the
proposed combination of Aizawa and Inokawa, and responds that
Dr. Kenny’s consideration of Nishikawa was proper, as providing further
support for the proposed combination. Pet. Reply 22–23, 26–27.




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Patent Owner’s Sur-reply
      Patent Owner’s Sur-reply generally reiterates its arguments
challenging Petitioner’s contentions. PO Sur-reply 20–24.

Analysis
      As an initial matter, we find that a preponderance of the evidence
establishes that the Mendelson-1988 sensor’s optically clear epoxy is a light
permeable cover that is arranged above a portion of the housing and covers
the sensor’s detectors. In particular, it is clear from Figures 2A and 2B that
the epoxy extends from the top of the sensor at the dotted line in the figure,
down into the well of the AIRPAX package, to cover all four LEDs and all
six photodiodes disposed at the bottom of the well. See also Ex. 1015, 168
(“The optical components were encapsulated inside the package using
optically clear adhesive”).
      We also conclude that a preponderance of the evidence supports
Petitioner’s contention that it would have been obvious to modify the top
surface of Mendelson-1988’s cover to include a lens including a single
convex protruding surface, in order to increase the amount of backscattered
light that will be received by Mendelson-1988’s peripheral detectors. Our
reasoning is substantially identical to the analysis provided above in
connection with the ground based on Aizawa and Inokawa, with
Mendelson-1988 replacing Aizawa in the combination. See supra
Section II.D.3. Patent Owner does not cite, and we do not discern, any
material difference between Mendelson-1988 and Aizawa that might lead to
a different result here. For the reasons discussed in Section II.D.3, we do
not agree with Patent Owner’s arguments that the proposed combination



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would result in a diminished sensor signal, or that Petitioner improperly
relied upon Nishikawa.

                 vi.   Summary
      For the foregoing reasons, we determine that Petitioner has met its
burden of demonstrating by a preponderance of the evidence that claim 1
would have been obvious over the cited combination of references.

                           3. Independent Claim 9
      Independent claim 9 consists of limitations that are substantially
similar to limitations [a]–[d] of claim 1. Compare Ex. 1001, 44:37–54, with
id. at 45:13–23 (reciting “a housing” as opposed to “a circular housing
including a planar surface”; “at least four detectors” as opposed to “at least
four detectors arranged on the planar surface” and “the four detectors are
arranged in a grid pattern”; “a lens” as opposed to “a lens forming a cover”
and omitting details of the lens’ location; the sensor is “worn by the user” as
compared to omitting details regarding user wear).

Petitioner’s Contentions
      With respect to the “circular housing having a planar surface”
requirement, Petitioner points to Mendelson’s Figures 2(A) and 2(B) and
contends that “Mendelson-1988 discloses that its LEDs and photodiode
chips (i.e., emitters and detectors) are mounted on a ceramic substrate
(planar surface) and housed within an AIRPAX microelectronic package
(housing).” Pet. 64. Petitioner, however, characterizes the housing shown
in those figures, specifically Figure 2(A) as “appear[ing] to have a square
shape, not a circular one.” Id. Petitioner reasons that “[a person of ordinary
skill in the art] would have recognized that microelectronic packaging as

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used in Mendelson-1988 comes in various shapes and sizes” and “[a person
of ordinary skill in the art] would have considered using a differently shaped
housing, namely a circular one, to be obvious.” Id. at 64–65 (citing
Ex. 1003 ¶ 162). Petitioner also contends that employing a circular housing
was “common practice” prior to the ’266 patent, and that “there was nothing
new or inventive about changing one housing shape for another.” Id. at 65
(citing Ex. 1003 ¶ 162). Petitioner explains that its contentions are
evidenced by another reference of record, Mendelson ’799. Id.

Patent Owner’s Arguments
      Patent Owner characterizes Petitioner’s proposed ground for claim 9
as “facially deficient” for several reasons: (1) “[t]he Petition never identifies
a motivation to pick a circular-shaped housing instead of the existing square
shape”; (2) “[a person of ordinary skill in the art] would have no particular
motivation to change the shape unless a [person of ordinary skill in the art]
perceived some benefit in doing so”; (3) “Mendelson ’799 does not disclose
a cover (or even epoxy encapsulation) and thus cannot disclose a circular
housing and a cover of the circular housing, as claim 9 requires”; and (4)
“Petitioner did not include Mendelson ’799 in any ground.” PO Resp. 53–
55 (citing Ex. 2004 ¶¶ 118–119).

Petitioner’s Reply
      In response to Patent Owner’s arguments, Petitioner replies that
“references like Mendelson [’]799 have a circular housing and confirm the
notion that a [person of ordinary skill in the art] would have found it to be
simply a matter of design choice to use different shapes.” Pet. Reply 25–26
(citing Ex. 1003 ¶¶ 160–162; Ex. 1025, Fig. 7, 9:34–36; Ex. 1047 ¶ 53).


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Petitioner also contends “neither the ’266 patent nor [Patent Owner]
provides any explanation of how the particular housing shape solves some
problem or presents some unexpected result.” Id. at 26 (citing In re Kuhle,
526 F.2d 553, 555 (CCPA 1975)).

Patent Owner’s Sur-reply
         Patent Owner responds that “Petitioner’s reply reiterates its
conclusory arguments that [the proposed] change would be routine, without
identifying any reason to modify the shape from square to circular.”
Sur-reply 23.

Analysis
         As noted above, we find that a preponderance of the evidence
establishes that the Mendelson-1988 sensor’s optically clear epoxy is a light
permeable cover that is arranged above a portion of the housing and covers
the sensor’s detectors. 10 In particular, it is clear from Figures 2A and 2B that
the epoxy extends from the top of the sensor at the dotted line in the figure,
down into the well of the AIRPAX package, to cover all four LEDs and all
six photodiodes disposed at the bottom of the well. See also Ex. 1015, 168
(“The optical components were encapsulated inside the package using
optically clear adhesive.”).
         We also conclude that a preponderance of the evidence supports
Petitioner’s contention that it would have been obvious to modify the top
surface of Mendelson-1988’s epoxy to include a lens including a single
convex surface, in order to increase the amount of backscattered light that
will be received by Mendelson-1988’s peripheral detectors. Our reasoning

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     We note that claim 1 does not recite a “cover.” See supra § II.A.1.

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is substantially identical to the analysis provided above in connection with
the ground based on Aizawa and Inokawa, with Mendelson-1988 replacing
Aizawa in the combination. See supra Section II.D.3. Patent Owner does
not cite, and we do not discern, any material difference between
Mendelson-1988 and Aizawa that might lead to a different result here. For
the reasons discussed in Section II.D.3, we do not agree with Patent Owner’s
arguments that the proposed combination would result in a diminished
sensor signal, or that Petitioner improperly relied upon Nishikawa.
      Further, we determine that a preponderance of the evidence supports
Petitioner’s contention that it would have been obvious to modify the shape
of Mendelson-1988’s AIRPAX package from square to circular. Petitioner’s
and Dr. Kenny’s general assessment that a person of ordinary skill in the art
would have been aware that a circular housing shape was a known option for
housing of components of a physiological sensor finds support in the record.
Pet. 64–65; Ex. 1003 ¶¶ 161–162. In that respect, although Mendelson ’799
was not listed in the styling of the proposed grounds of unpatentability based
on Mendelson-1988 and Inokawa, its teachings plainly were offered in the
Petition as evidence of the background knowledge that an ordinarily skilled
artisan would have brought to bear in an evaluation of the teachings
Mendelson-1988 and Inokawa. Pet. 64–65. Moreover, it is clear that Patent
Owner understood that the proposed ground offered in the Petition took into
account the disclosure of Mendelson ’799, and Patent Owner had
opportunity to address that disclosure. Indeed, Patent Owner availed itself
of that opportunity during trial (see, e.g., PO Resp. 53–55; Sur-reply 23–24).
      We further find unavailing Patent Owner’s argument that “Mendelson
’799 does not disclose a cover (or even epoxy encapsulation) and thus
cannot disclose a circular housing and a cover of the circular housing, as

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claim 9 requires.” PO Resp. 55. Figure 7 of Mendelson ’799 is reproduced
below:




Figure 7 is a top view of optical sensor 10 comprising light source 12
composed of three LEDs 12A, 12B, and 12C emitting light of three different
wavelengths, and an array of six near detectors 18 and six far detectors 16
“arranged in two concentric ring-like arrangements” surrounding light
source 12. Ex. 1025, 9:23–34. “All these elements are accommodated in a
sensor housing 17” which, as can be seen in Figure 7, is clearly circular. Id.
at 9:34–35. Patent Owner does not articulate why the presence or absence of
a cover in Mendelson ’799 somehow serves to discount Mendelson ’799’s
unambiguous presentation of a sensor housing having a shape recognizable
as circular.
       Furthermore, one of ordinary skill in the art would have understood
that the AIRPAX package of Mendelson-1988 and the housing 17 of
Mendelson ’799 are performing the same function of enclosing a central
collection of light emitters which are surrounded by an array of light


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detectors in an optical sensor attached to a user’s body. See, e.g., Ex. 1015,
Figs. 2A–2B; Ex. 1025, Fig. 7. The evidence of record also does not suggest
that the shape of such a housing has any functional significance in the
operation of the optical sensor, or that any particular known shape was
preferred or restricted. Thus, the evidence suggests that a square shape and a
circular shape of such as housing were known in the art to be predictable
substitutes for one another, and therefore obvious variants. See, e.g., KSR,
550 U.S. at 416 (“[W]hen a patent claims a structure already known in the
prior art that is altered by the mere substitution of one element for another
known in the field, the combination must do more than yield a predictable
result.”); id. at 417 (“[W]hen a patent ‘simply arranges old elements with
each performing the same function it had been known to perform’ and yields
no more than one would expect from such an arrangement, the combination
is obvious.” (citation omitted)).
       We conclude Petitioner has demonstrated by a preponderance of the
evidence that Petitioner’s ground based on Mendelson-1988 and Inokawa
conveys the unpatentability of claim 9.

              4. Dependent Claims 2–6, 8, 10–16, 18, and 19
       Petitioner presents undisputed contentions that claims 2–6, 8, 10–16,
18, and 19, which depend directly or indirectly from independent claim 1 or
9, are unpatentable over the combined teachings of Mendelson-1988 and
Inokawa, and provides arguments explaining how the references teach the
limitations of these claims. Pet. 56–63, 67–71; Ex. 1003 ¶¶ 144–157, 166–
175.
       Patent Owner does not present any arguments for these claims other
than those we have already considered with respect to independent claim 1.


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PO Resp. 57 (“The Petition fails to establish that independent claims 1 and 9
are obvious . . . and therefore fails to establish obviousness of any of the
challenged dependent claims.”).
      We have considered the evidence and arguments of record and
determine that Petitioner has demonstrated by a preponderance of the
evidence that claims 2–6, 8, 10–16, 18, and 19 would have been obvious
over the combined teachings of the cited references and as supported by the
testimony of Dr. Kenny.

              F. Obviousness over the Combined Teachings of
                       Aizawa, Inokawa, and Ohsaki
      Petitioner contends that claims 1–6, 8–16, 18, and 19 of the ’266
patent would have been obvious over the combined teachings of Aizawa,
Inokawa, and Ohsaki. Pet. 44–46.
      Because we have already determined that these claims are
unpatentable based on Aizawa and Inokawa, and Mendelson-1988 and
Inokawa, which is dispositive as to all challenged claims, we need not reach
this additional ground. See SAS Inst. Inc. v. Iancu, 138 S. Ct. 1348, 1359
(2018) (holding that a petitioner “is entitled to a final written decision
addressing all of the claims it has challenged”); Boston Sci. Scimed, Inc. v.
Cook Grp. Inc., 809 F. App’x 984, 990 (Fed. Cir. 2020) (“[T]he Board need
not address issues that are not necessary to the resolution of the
proceeding.”); see supra §§ II.D–E.




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                            III. CONCLUSION
       In summary:11
     Claims    35 U.S.C. § Reference(s)/            Claims      Claims Not
                              Basis                 Shown         Shown
                                                 Unpatentable Unpatentable
 1–6, 8–16,                  Aizawa,             1–6, 8–16, 18,
                   103
 18, 19                      Inokawa             19
 1–6, 8–16,                  Mendelson-
                                                 1–6, 8–16, 18,
 18, 19            103       1988,
                                                 19
                             Inokawa
 1–6, 8–16,                  Aizawa,
                  10312
 18, 19                      Inokawa,
                             Ohsaki
 Overall                                         1–6, 8–16, 18,
 Outcome                                         19




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   Should Patent Owner wish to pursue amendment of the challenged claims
in a reissue or reexamination proceeding subsequent to the issuance of this
decision, we draw Patent Owner’s attention to the April 2019 Notice
Regarding Options for Amendments by Patent Owner Through Reissue or
Reexamination During a Pending AIA Trial Proceeding. See 84 Fed. Reg.
16654 (Apr. 22, 2019). If Patent Owner chooses to file a reissue application
or a request for reexamination of the challenged patent, we remind Patent
Owner of its continuing obligation to notify the Board of any such related
matters in updated mandatory notices. See 37 C.F.R. § 42.8(a)(3), (b)(2).
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  As explained above, because we conclude that the challenged
claims are unpatentable on other grounds, we do not reach the merits of
this ground.

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                                IV. ORDER
      Upon consideration of the record before us, it is:
      ORDERED that claims 1–6, 8–16, 18, and 19 of the ’266 patent have
been shown to be unpatentable; and
      FURTHER ORDERED that, because this is a final written decision,
parties to the proceeding seeking judicial review of the decision must
comply with the notice and service requirements of 37 C.F.R. § 90.2.




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Patent 10,258,266 B1
FOR PETITIONER:

Walter Renner
Andrew B. Patrick
Hyun Jin In
Dan Smith
FISH & RICHARDSON P.C.
Axf-ptab@fr.com
patrick@fr.com
in@fr.com
PTABInbound@fr.com


FOR PATENT OWNER:

Joseph R. Re
Stephen W. Larson
Jarom D. Kesler
Jacob L. Peterson
KNOBBE, MARTENS, OLSON, & BEAR, LLP
2jrr@knobbe.com
2swl@knobbe.com
2jzk@knobbe.com
2jup@knobbe.com




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Apple v. Masimo

                           CERTIFICATE OF SERVICE

      I hereby certify that the original of this Notice of Appeal was filed via

U.S.P.S. Priority Mail Express on July 27, 2022 with the Director of the United

States Patent and Trademark Office at the address below:

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Alexandria, Virginia 22313-1450

      A copy of this Notice of Appeal is being filed and served on July 27, 2022 as

follows:

To the USPTO Patent Trial and Appeal Board:
Patent Trial and Appeal Board
Madison Building East
600 Dulany Street
Alexandria, VA 22313

(via PTABe2e – as authorized by the Board)

To the U.S. Court of Appeals for the Federal Circuit:
Clerk of Court
U.S. Court of Appeals for the Federal Circuit
717 Madison Place, N.W.
Washington, DC 20439

(via CM/ECF – with filing fee)

Counsel for Petitioner Apple, Inc.

                                  W. Karl Renner
                                    Hyun Jin In
                                    Dan Smith
                                 Andrew B. Patrick
                              Fish & Richardson P.C.
           Case: 22-2071   Document: 4   Page: 255    Filed: 09/06/2022
IPR2021-00208 – Patent 10,258,266
Apple v. Masimo

                                3200 RBC Plaza
                              60 South Sixth Street
                             Minneapolis, MN 55402
                           IPR50095-0007IP1@fr.com
                             PTABInbound@fr.com
                                   in@fr.com

Dated: July 27, 2022             By: /Jarom Kesler/
                                     Jarom D. Kesler (Reg. No. 57,046)
                                     Joseph R. Re (Reg. No. 31,291)
                                     Stephen W. Larson (Reg. No. 69,133)
                                     Jacob L. Peterson (Reg. No. 65,096)
                                     Attorneys for Patent Owner
                                     Masimo Corporation
55958381
      Case: 22-2071   Document: 4        Page: 256   Filed: 09/06/2022
Trials@uspto.gov                                                   Paper 32
571-272-7822                                             Date: May 25, 2022


       UNITED STATES PATENT AND TRADEMARK OFFICE


        BEFORE THE PATENT TRIAL AND APPEAL BOARD


                            APPLE INC.,
                             Petitioner,

                                    v.

                      MASIMO CORPORATION,
                           Patent Owner.


                           IPR2021-00209
                         Patent 10,376,191 B1



Before JOSIAH C. COCKS, ROBERT L. KINDER, and
AMANDA F. WIEKER, Administrative Patent Judges.
WIEKER, Administrative Patent Judge.


                             JUDGMENT
                        Final Written Decision
            Determining All Challenged Claims Unpatentable
                          35 U.S.C. § 318(a)
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                            I.   INTRODUCTION

                                 A. Background

      Apple Inc. (“Petitioner”) filed a Petition requesting an inter partes
review of claims 1–6, 8–16, 18, and 19 (“challenged claims”) of U.S. Patent
No. 10,376,191 B1 (Ex. 1001, “the ’191 patent”). Paper 2 (“Pet.”). Masimo
Corporation (“Patent Owner”) waived filing a preliminary response.
Paper 6. We instituted an inter partes review of all challenged claims 1–6,
8–16, 18, and 19 on all grounds of unpatentability, pursuant to 35 U.S.C.
§ 314. Paper 7 (“Inst. Dec.”).
      After institution, Patent Owner filed a Response (Paper 15, “PO
Resp.”) to the Petition, Petitioner filed a Reply (Paper 18, “Pet. Reply”), and
Patent Owner filed a Sur-reply (Paper 22, “PO Sur-reply”). An oral hearing
was held on March 15, 2022, and a transcript of the hearing is included in
the record. Paper 31 (“Tr.”).
      We issue this Final Written Decision pursuant to 35 U.S.C. § 318(a)
and 37 C.F.R. § 42.73. For the reasons set forth below, Petitioner has met
its burden of showing, by a preponderance of the evidence, that challenged
claims 1–6, 8–16, 18, and 19 of the ’191 patent are unpatentable.

                              B. Related Matters

      The parties identify the following matters related to the ’191 patent:
      Masimo Corporation v. Apple Inc., Civil Action No. 8:20-cv-00048
(C.D. Cal.) (filed Jan. 9, 2020);
      Apple Inc. v. Masimo Corporation, IPR2020-01520 (PTAB Aug. 31,
2020) (challenging claims of U.S. Patent No. 10,258,265 B1);




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      Apple Inc. v. Masimo Corporation, IPR2020-01521 (PTAB Sept. 2,
2020) (challenging claims of U.S. Patent No. 10,292,628 B1);
      Apple Inc. v. Masimo Corporation, IPR2020-01523 (PTAB Sept. 9,
2020) (challenging claims of U.S. Patent No. 8,457,703 B2);
      Apple Inc. v. Masimo Corporation, IPR2020-01524 (PTAB Aug. 31,
2020) (challenging claims of U.S. Patent No. 10,433,776 B2);
      Apple Inc. v. Masimo Corporation, IPR2020-01526 (PTAB Aug. 31,
2020) (challenging claims of U.S. Patent No. 6,771,994 B2);
      Apple Inc. v. Masimo Corporation, IPR2020-01536 (PTAB Aug. 31,
2020) (challenging claims of U.S. Patent No. 10,588,553 B2);
      Apple Inc. v. Masimo Corporation, IPR2020-01537 (PTAB Aug. 31,
2020) (challenging claims of U.S. Patent No. 10,588,553 B2);
      Apple Inc. v. Masimo Corporation, IPR2020-01538 (PTAB Sept. 2,
2020) (challenging claims of U.S. Patent No. 10,588,554 B2);
      Apple Inc. v. Masimo Corporation, IPR2020-01539 (PTAB Sept. 2,
2020) (challenging claims of U.S. Patent No. 10,588,554 B2);
      Apple Inc. v. Masimo Corporation, IPR2020-01713 (PTAB Sept. 30,
2020) (challenging claims of U.S. Patent No. 10,624,564 B1);
      Apple Inc. v. Masimo Corporation, IPR2020-01714 (PTAB Sept. 30,
2020) (challenging claims of U.S. Patent No. 10,631,765 B1);
      Apple Inc. v. Masimo Corporation, IPR2020-01715 (PTAB Sept. 30,
2020) (challenging claims of U.S. Patent No. 10,631,765 B1);
      Apple Inc. v. Masimo Corporation, IPR2020-01716 (PTAB Sept. 2,
2020) (challenging claims of U.S. Patent No. 10,702,194 B1);
      Apple Inc. v. Masimo Corporation, IPR2020-01722 (PTAB Oct. 2,
2020) (challenging claims of U.S. Patent No. 10,470,695 B2);



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      Apple Inc. v. Masimo Corporation, IPR2020-01723 (PTAB Oct. 2,
2020) (challenging claims of U.S. Patent No. 10,470,695 B2);
      Apple Inc. v. Masimo Corporation, IPR2020-01733 (PTAB Sept. 30,
2020) (challenging claims of U.S. Patent No. 10,702,195 B1);
      Apple Inc. v. Masimo Corporation, IPR2020-01737 (PTAB Sept. 30,
2020) (challenging claims of U.S. Patent No. 10,709,366 B1);
      Apple Inc. v. Masimo Corporation, IPR2021-00193 (PTAB Nov. 20,
2020) (challenging claims of U.S. Patent No. 10,299,708 B1);
      Apple Inc. v. Masimo Corporation, IPR2021-00195 (PTAB Nov. 20,
2020) (challenging claims of U.S. Patent No. 10,376,190 B1); and
      Apple Inc. v. Masimo Corporation, IPR2021-00208 (PTAB Nov. 20,
2020) (challenging claims of U.S. Patent No. 10,258,266 B1).
Pet. 71–72; Paper 3, 3–4.
      Patent Owner further identifies the following pending patent
applications, among other issued and abandoned applications, that claim
priority to, or share a priority claim with, the ’191 patent:
      U.S. Patent Application No. 16/834,538;
      U.S. Patent Application No. 17/031,407;
      U.S. Patent Application No. 17/031,316;
      U.S. Patent Application No. 17/031,356;
      U.S. Patent Application No. 16/449,143; and
      U.S. Patent Application No. 16/805,605.
Paper 3, 1–3.

                              C. The ’191 Patent
      The ’191 patent is titled “Multi-Stream Data Collection System for
Noninvasive Measurement of Blood Constituents,” and issued on August 13,


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2019, from U.S. Patent Application No. 16/409,515, filed May 10, 2019.
Ex. 1001, codes (21), (22), (45), (54). The ’191 patent claims priority
through a series of continuation and continuation-in-part applications to
Provisional Application Nos. 61/078,228 and 61/078,207, both filed July 3,
2008. Id. at codes (60), (63).
      The ’191 patent discloses a two-part data collection system including
a noninvasive sensor that communicates with a patient monitor. Id. at 2:35–
37. The sensor includes a sensor housing, an optical source, and several
photodetectors, and is used to measure a blood constituent or analyte, e.g.,
oxygen or glucose. Id. at 2:26–32, 61–62. The patient monitor includes a
display and a network interface for communicating with a handheld
computing device. Id. at 2:42–45.
      Figure 1 of the ’191 patent is reproduced below.




Figure 1 illustrates a block diagram of data collection system 100 including
sensor 101 and monitor 109. Id. at 11:42–44. Sensor 101 includes optical
emitter 104 and detectors 106. Id. at 11:54–56. Emitters 104 emit light that

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is attenuated or reflected by the patient’s tissue at measurement site 102. Id.
at 13:67–14:3. Detectors 106 capture and measure the light attenuated or
reflected from the tissue. Id. In response to the measured light,
detectors 106 output detector signals 107 to monitor 109 through front-end
interface 108. Id. at 14:3–6, 14:22–28. Sensor 101 also may include tissue
shaper 105, which may be in the form of a convex surface that: (1) reduces
the thickness of the patient’s measurement site; and (2) provides more
surface area from which light can be detected. Id. at 10:57–11:9.
      Monitor 109 includes signal processor 110 and user interface 112. Id.
at 15:12–14. “[S]ignal processor 110 includes processing logic that
determines measurements for desired analytes . . . based on the signals
received from the detectors.” Id. at 15:17–20. User interface 112 presents
the measurements to a user on a display, e.g., a touch-screen display. Id. at
15:42–55. The monitor may be connected to storage device 114 and
network interface 116. Id. at 15:56–62.
      The ’191 patent describes various examples of sensor devices.
Figures 14D and 14F, reproduced below, illustrate detector portions of
sensor devices.




Figure 14D illustrates portions of a detector submount and Figure 14F
illustrates portions of a detector shell. Id. at 6:40–43. As shown in

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Figure 14D, multiple detectors 1410c are located within housing 1430 and
under transparent cover 1432, on which protrusion 605b (or partially
cylindrical protrusion 605) is disposed. Id. at 35:36–40, 36:30–37.
Figure 14F illustrates a detector shell 306f including detectors 1410c on
substrate 1400c. Id. at 37:9–17. Substrate 1400c is enclosed by shielding
enclosure 1490 and noise shield 1403, which include window 1492a and
window 1492b, respectively, placed above detectors 1410c. Id. at 37:18–25.
Alternatively, cylindrical housing 1430 may be disposed under noise
shield 1403 and may enclose detectors 1410c. Id. at 37:47–49.
      Figures 4A and 4B, reproduced below, illustrate an alternative
example of a tissue contact area of a sensor device.




Figures 4A and 4B illustrate arrangements of protrusion 405 including
measurement contact area 470. Id. at 23:13–19. “[M]easurement site
contact area 470 can include a surface that molds body tissue of a
measurement site.” Id. “For example, . . . measurement site contact
area 470 can be generally curved and/or convex with respect to the
measurement site.” Id. at 23:36–38. The measurement site contact area may
include windows 420–423 that “mimic or approximately mimic a
configuration of, or even house, a plurality of detectors.” Id. at 23:44–58.



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                             D. Illustrative Claim

      Of the challenged claims, claims 1 and 9 are independent. Claim 1 is
illustrative and is reproduced below.
      1. A noninvasive optical physiological sensor comprising:
          [a] a plurality of emitters configured to emit light into tissue
              of a user;
          [b] a plurality of detectors configured to detect light that has
             been attenuated by tissue of the user, wherein the plurality
             of detectors comprise at least four detectors;
          [c] a housing configured to house at least the plurality of
             detectors in a circular portion of the housing; and
          [d] a lens configured to be located between tissue of the user
             and the plurality of detectors when the noninvasive optical
             physiological sensor is worn by the user, wherein the lens
             comprises a single outwardly protruding convex surface
             configured to cause tissue of the user to conform to at least
             a portion of the single outwardly protruding convex
             surface when the noninvasive optical physiological sensor
             is worn by the user and during operation of the
             noninvasive optical physiological sensor.
Ex. 1001, 44:50–67 (bracketed identifiers [a]–[d] added). Independent
claim 9 includes limitations similar to limitations [a]–[d] of claim 1. Id. at
45:26–36 (reciting a “planar surface”; “at least four detectors” arranged in a
“grid pattern” on the planar surface; and “a lens forming a cover of the
housing”).

                            E. Applied References

      Petitioner relies upon the following references:
            Ohsaki et al., U.S. Patent Application Publication
      No. 2001/0056243 A1, filed May 11, 2001, published December 27,
      2001 (Ex. 1014, “Ohsaki”);


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              Aizawa, U.S. Patent Application Publication
        No. 2002/0188210 A1, filed May 23, 2002, published December 12,
        2002 (Ex. 1006, “Aizawa”);
              Inokawa et al., Japanese Patent Application Publication
        No. 2006-296564 A, filed April 18, 2005, published November 2,
        2006 (Ex. 1007, “Inokawa”);1 and
              Y. Mendelson et al., “Design and Evaluation of a New
        Reflectance Pulse Oximeter Sensor,” Association for the
        Advancement of Medical Instrumentation, Vol. 22, No. 4, 167–173
        (1988) (Ex. 1015, “Mendelson-1988”).
Pet. 3. Petitioner also submits, inter alia, the Declaration of Thomas W.
Kenny, Ph.D. (Ex. 1003), and the Second Declaration of Thomas W. Kenny
(Ex. 1047). Patent Owner submits, inter alia, the Declaration of Vijay K.
Madisetti, Ph.D. (Ex. 2004). The parties also provide deposition testimony
from Dr. Kenny and Dr. Madisetti, including from this and other
proceedings. See Exs. 1034–1036, 2006–2009, 2020, 2027.

                             F. Asserted Grounds

        Petitioner asserts that claims 1–6, 8–16, 18, and 19 are unpatentable
based upon the following grounds:
    Claim(s) Challenged      35 U.S.C. §             References/Basis
    1–6, 8–16, 18, 19           103            Aizawa, Inokawa
    1–6, 8–16, 18, 19           103            Aizawa, Inokawa, Ohsaki
    1–6, 8–16, 18, 19           103            Mendelson-1988, Inokawa




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 Petitioner relies on a certified English translation of Inokawa (Ex. 1008).
In this Decision, we also refer to the translation.

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                             II. DISCUSSION

                           A. Claim Construction

      For petitions filed on or after November 13, 2018, a claim shall be
construed using the same claim construction standard that would be used to
construe the claim in a civil action under 35 U.S.C. § 282(b). 37 C.F.R.
§ 42.100(b) (2019).
      Although both parties contend that no claim term requires express
construction (Pet. 3–4; PO Resp. 9), the substance of the parties’ briefing
demonstrates that there is a dispute regarding the claim term “cover.”

      1. “cover”

      Independent claim 9 requires “a lens forming a cover of the housing.”
Ex. 1001, 45:27–46:3. Although independent claim 1 also recites “a lens,” it
does not recite a “cover.” Id. at 44:50–67.
      Patent Owner argues that the claimed “cover” excludes “an optically
clear adhesive/epoxy” and a “resin on a surface.” PO Resp. 51. According
to Patent Owner, “the ’191 Patent distinguishes a resin on a surface from a
cover, explaining: ‘the cylindrical housing 1430 (and transparent
cover 1432) . . . can protect the detectors 1410c and conductors 1412c more
effectively than currently-available resin epoxies.’” Id. (quoting Ex. 1001,
36:37–46).
      Patent Owner alleges that Dr. Kenny also “distinguished a sealing
resin from a cover, acknowledging a ‘layer of sealing resin’ is ‘one way to
protect the components without using a cover.’” Id. at 51–52 (quoting
Ex. 2009, 395:22–396:17). Patent Owner argues its understanding is




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consistent with the prior art cited by Petitioner. Id. at 52 (citing Ex. 1008
¶ 103, Fig. 17; Ex. 1023 ¶ 35; Ex. 2004 ¶ 113).
         Petitioner replies that “there is nothing in the specification or the
prosecution history [of the ’191 patent] that would lead a [person of ordinary
skill in the art] to conclude that ‘cover’ should be interpreted based on
anything other than its plain meaning.” Pet. Reply 24 (citing Thorner v.
Sony Computer Entertainment America LLC, 669 F.3d 1362, 1368 (Fed. Cir.
2012)). That plain meaning, according to Petitioner, is that “a cover is
merely ‘something that protects, shelters, or guards.’” Id. (quoting
Ex. 1050; Ex. 1047 ¶ 48). Petitioner argues that Patent Owner’s reliance on
the ’191 patent Specification takes text out of context and, when context is
considered, it is clear that “the epoxy resin to which the ’191 patent
compares its cover is not [an] epoxy cover . . . but rather epoxy that is
applied to solder joints.” Id. at 24–25 (citing Ex. 1001, 36:50–59; Ex. 1047
¶ 50).
         Petitioner also contends that Patent Owner “mischaracterizes
Dr. Kenny’s deposition testimony to say he agreed that ‘sealing resin’ is
somehow distinguished from a cover.” Id. at 24. Petitioner contends that
Dr. Kenny simply “clarified that using a sealing resin is ‘a pretty common
way to protect electronic components.’” Id. (citing Ex. 2009, 395:22–396:8;
Ex. 1047 ¶ 49). Moreover, Petitioner contends that “such extrinsic evidence
would not justify departure from plain meaning under Thorner.” Id.
         In its Sur-reply, Patent Owner maintains that the ’191 patent
“specifically distinguishes a ‘resin’ on a surface from a ‘cover,’” and
Petitioner’s opposing reading is not persuasive. PO Sur-reply 20–21.




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      Upon review of the record, we disagree with Patent Owner’s limiting
construction of “cover” to exclude epoxy and resin. The plain and ordinary
meaning of the term does not support Patent Owner’s view. A “cover”
ordinarily connotes “something that protects, shelters, or guards.” Ex. 1050
(Merriam-Webster’s Collegiate Dictionary, 11th ed. (©2005)), 288. That
plain and ordinary meaning is consistent with the ’191 patent’s description
of “flex circuit cover 360, which can be made of plastic or another suitable
material . . . [and] can cover and thereby protect a flex circuit (not shown).”
Ex. 1001, 22:66–23:2. It is also consistent with the ’191 patent’s description
and illustration of “transparent cover 1432” in Figure 14D, which covers and
protects detectors 1410c and conductors 1412c, and which “can be
fabricated from glass or plastic, among other materials.” See id. at 36:42–49
(emphasis added), Figs. 14D–14E.
      This is not the situation in which a special definition for a claim term
has been set forth in the specification with reasonable clarity, deliberateness,
and precision, so as to give notice of the inventor’s own lexicography. See
Merck & Co. v. Teva Pharms. USA, Inc., 395 F.3d 1364, 1370 (Fed. Cir.
2005); In re Paulsen, 30 F.3d 1475, 1480 (Fed. Cir. 1994). Nor do we
discern that Patent Owner “demonstrate[d] an intent to deviate from the
ordinary and accustomed meaning of a claim term by including in the
specification expressions of manifest exclusion or restriction, representing a
clear disavowal of claim scope.” Teleflex, Inc. v. Ficosa North America
Corp., 299 F.3d 1313, 1325 (Fed. Cir. 2002).
      Here, based upon our review of the intrinsic evidence, no such special
definition or express disavowal of the term “cover” to exclude epoxy and




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resin exists. Patent Owner relies on the following description of Figure 14D
in that regard:
            In certain embodiments, the cylindrical housing 1430 (and
      transparent cover 1432) forms an airtight or substantially airtight
      or hermetic seal with the submount 1400c. As a result, the
      cylindrical housing 1430 can protect the detectors 1410c and
      conductors 1412c from fluids and vapors that can cause
      corrosion.    Advantageously, in certain embodiments, the
      cylindrical housing 1430 can protect the detectors 1410c and
      conductors 1412c more effectively than currently-available resin
      epoxies, which are sometimes applied to solder joints between
      conductors and detectors.
Ex. 1001, 36:50–59 (emphases added). First, the sentence cited by Patent
Owner begins with the phrase “[i]n certain embodiments,” which indicates
the claimed invention is not limited and is open to other embodiments, so
there is no lexicography or disavowal here. Second, we agree with
Petitioner’s reading of this passage as distinguishing the prior art from the
claimed invention based on the location of the material (applied only to
solder joints between conductors and detectors in the prior art, as opposed to
covering the conductors and detectors in the invention) and not the type of
material. Third, at best, the ’191 patent expresses a preference for a cover to
be made of glass or plastic, because such materials provide “more
effective[]” protection than resin epoxies that were known when the ’191
patent was filed. See id. at 36:55–59. But even this reading recognizes that
resin epoxies provide some amount of protection, albeit perhaps a lesser
amount than glass or plastic, and are not excluded from forming the material
of a cover.
      Dr. Kenny’s deposition testimony cited by Patent Owner also does not
persuade us that, in the context of the ’191 patent, epoxy or resin is excluded
from the material of a cover. Dr. Kenny testifies that “a layer of sealing

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resin” “[c]ould” be used to protect the electronic components in a sensor
(Ex. 2009, 395:22–396:8). He was then asked “So that would be one way to
protect the components without using a cover, correct?” to which he
answered “[t]here are many ways to protect the elements other than using a
cover” and maintained that the proposed combination of prior art has a
“cover” to achieve purposes other than protecting electronic components,
i.e., “to improve adhesion and to improve light gathering for the operation of
the system.” Id. at 396:9–17. He did not squarely testify that sealing resin
may never be a cover.
      Accordingly, in the context of the ’191 patent, we do not construe the
claimed “cover” to exclude epoxy and resin.

      2. Other Claim Terms
      Upon consideration of the entirety of the arguments and evidence
presented, we conclude no further explicit construction of any claim term is
needed to resolve the issues presented by the arguments and evidence of
record. See Nidec Motor Corp. v. Zhongshan Broad Ocean Motor Co.
Matal, 868 F.3d 1013, 1017 (Fed. Cir. 2017) (per curiam) (claim terms need
to be construed “only to the extent necessary to resolve the controversy”
(quoting Vivid Techs., Inc. v. Am. Sci. & Eng’g, Inc., 200 F.3d 795, 803
(Fed. Cir. 1999))).

                            B. Principles of Law
      A claim is unpatentable under 35 U.S.C. § 103 if “the differences
between the subject matter sought to be patented and the prior art are such
that the subject matter as a whole would have been obvious at the time the
invention was made to a person having ordinary skill in the art to which said


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subject matter pertains.” KSR Int’l Co. v. Teleflex Inc., 550 U.S. 398, 406
(2007). The question of obviousness is resolved on the basis of underlying
factual determinations, including (1) the scope and content of the prior art;
(2) any differences between the claimed subject matter and the prior art;
(3) the level of skill in the art; and (4) objective evidence of non-
obviousness. 2 Graham v. John Deere Co., 383 U.S. 1, 17–18 (1966). When
evaluating a combination of teachings, we must also “determine whether
there was an apparent reason to combine the known elements in the fashion
claimed by the patent at issue.” KSR, 550 U.S. at 418 (citing In re Kahn,
441 F.3d 977, 988 (Fed. Cir. 2006)). Whether a combination of prior art
elements would have produced a predictable result weighs in the ultimate
determination of obviousness. Id. at 416–417.
        In an inter partes review, the petitioner must show with particularity
why each challenged claim is unpatentable. Harmonic Inc. v. Avid Tech.,
Inc., 815 F.3d 1356, 1363 (Fed. Cir. 2016); 37 C.F.R. § 42.104(b). The
burden of persuasion never shifts to Patent Owner. Dynamic Drinkware,
LLC v. Nat’l Graphics, Inc., 800 F.3d 1375, 1378 (Fed. Cir. 2015).
        We analyze the challenges presented in the Petition in accordance
with the above-stated principles.

                      C. Level of Ordinary Skill in the Art
        Petitioner identifies the appropriate level of skill in the art as that
possessed by a person having “a Bachelor of Science degree in an academic
discipline emphasizing the design of electrical, computer, or software
technologies, in combination with training or at least one to two years of


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    Patent Owner does not present objective evidence of non-obviousness.

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related work experience with capture and processing of data or information.”
Pet. 4 (citing Ex. 1003 ¶¶ 21–22). “Alternatively, the person could have also
had a Master of Science degree in a relevant academic discipline with less
than a year of related work experience in the same discipline.” Id.
      Patent Owner makes several observations regarding Petitioner’s
identified level of skill in the art but, “[f]or this proceeding, [Patent Owner]
nonetheless applies Petitioner’s asserted level of skill.” PO Resp. 10 (citing
Ex. 2004 ¶¶ 35–38).
      We adopt Petitioner’s assessment as set forth above, which appears
consistent with the level of skill reflected in the Specification and prior art.

              D. Obviousness over the Combined Teachings of
                            Aizawa and Inokawa
      Petitioner contends that claims 1–6, 8–16, 18, and 19 of the ’191
patent would have been obvious over the combined teachings of Aizawa and
Inokawa. Pet. 6–43.
                      1. Overview of Aizawa (Ex. 1006)
      Aizawa is a U.S. patent application publication titled “Pulse Wave
Sensor and Pulse Rate Detector,” and discloses a pulse wave sensor that
detects light output from a light emitting diode and reflected from a patient’s
artery. Ex. 1006, codes (54), (57).




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      Figure 1(a) of Aizawa is reproduced below.




Figure 1(a) is a plan view of a pulse wave sensor. Id. ¶ 23. As shown in
Figure 1(a), pulse wave sensor 2 includes light emitting diode (“LED”) 21,
four photodetectors 22 symmetrically disposed around LED 21, and
holder 23 for storing LED 21 and photodetectors 22. Id. Aizawa discloses
that, “to further improve detection efficiency, . . . the number of the
photodetectors 22 may be increased.” Id. ¶ 32, Fig. 4(a). “The same effect
can be obtained when the number of photodetectors 22 is 1 and a plurality of
light emitting diodes 21 are disposed around the photodetector 22.” Id. ¶ 33.
      Figure 1(b) of Aizawa is reproduced below.




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Figure 1(b) is a sectional view of the pulse wave sensor. Id. ¶ 23. As shown
in Figure 1(b), pulse wave sensor 2 includes drive detection circuit 24 for
detecting a pulse wave by amplifying the outputs of photodetectors 22. Id.
¶ 23. Arithmetic circuit 3 computes a pulse rate from the detected pulse
wave and transmitter 4 transmits the pulse rate data to an “unshown
display.” Id. The pulse rate detector further includes outer casing 5 for
storing pulse wave sensor 2, acrylic transparent plate 6 mounted to detection
face 23a of holder 23, and attachment belt 7. Id. ¶ 23.
      Aizawa discloses that LED 21 and photodetectors 22 “are stored in
cavities 23b and 23c formed in the detection face 23a” of the pulse wave
sensor. Id. ¶ 24. Detection face 23a “is a contact side between the holder 23
and a wrist 10, respectively, at positions where the light emitting face 21s of
the light emitting diode 21 and the light receiving faces 22s of the
photodetectors 22 are set back from the above detection face 23a.” Id. ¶ 24.
Aizawa discloses that “a subject carries the above pulse rate detector 1 on
the inner side of his/her wrist 10 . . . in such a manner that the light emitting
face 21s of the light emitting diode 21 faces down (on the wrist 10 side).”
Id. ¶ 26. Furthermore, “the above belt 7 is fastened such that the acrylic
transparent plate 6 becomes close to the artery 11 of the wrist 10. Thereby,
adhesion between the wrist 10 and the pulse rate detector 1 is improved.”
Id. ¶¶ 26, 34.
                     2. Overview of Inokawa (Ex. 1008)
      Inokawa is a Japanese published patent application titled “Optical
Vital Sensor, Base Device, Vital Sign Information Gathering System, and
Sensor Communication Method,” and discloses a pulse sensor device.
Ex. 1008 ¶ 6.



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      Figure 1 of Inokawa is reproduced below.




Figure 1 illustrates a schematic view of a pulse sensor. Id. ¶ 56. Pulse
sensor 1 includes box-shaped sensor unit 3 and flexible annular wristband 5.
Id. ¶ 57. Sensor unit 3 includes a top surface with display 7 and control
switch 9, and a rear surface (sensor-side) with optical device component 11
for optically sensing a user’s pulse. Id.
      Figure 2 of Inokawa is reproduced below.




Figure 2 illustrates a schematic view of the rear surface of the pulse sensor.
Id. ¶ 58. The rear-side (sensor-side) of pulse sensor 1 includes a pair of
light-emitting elements, i.e., green LED 21 and infrared LED 23, as well as


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photodiode 25 and lens 27. Id. In various embodiments, Inokawa discloses
that the sensor-side lens is convex. See id. ¶¶ 99, 107. Green LED 21
senses “the pulse from the light reflected off of the body (i.e.[,] change in the
amount of hemoglobin in the capillary artery),” and infrared LED 23 senses
body motion from the change in reflected light. Id. ¶ 59. The pulse sensor
stores this information in memory. Id. ¶ 68. To read and store information,
the pulse sensor includes a CPU that “performs the processing to sense
pulse, body motion, etc. from the signal . . . and temporarily stores the
analysis data in the memory.” Id. ¶ 69.
      Figure 3 of Inokawa is reproduced below.




Figure 3 illustrates a schematic view of a pulse sensor mounted to a base
device. Id. ¶ 60. Pulse sensor 1 is depicted as mounted to base device 17,
which “is a charger with communication functionality.” Id. When so
mounted, sensor optical device component 11 and base optical device
component 41 face each other in close proximity. Id. ¶ 66. In this position,


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pulse sensor 1 can output information to the base device through the coupled
optical device components. Id. ¶ 67. Specifically, the pulse sensor CPU
performs the controls necessary to transmit pulse information using infrared
LED 23 to photodetector 45 of base device 17. Id. ¶¶ 67, 70, 76. In an
alternative embodiment, additional sensor LEDs and base photodetectors can
be used to efficiently transmit data and improve accuracy. Id. ¶ 111.

                              3. Independent Claim 1

      Petitioner contends that claim 1 would have been obvious over the
combined teachings of Aizawa and Inokawa. Pet. 13–22 (combination), 22–
29 (claim 1).

                   i.   “A noninvasive optical physiological sensor
                        comprising”
      The cited evidence supports Petitioner’s undisputed contention that
Aizawa discloses a noninvasive optical physiological measurement device,
i.e., a pulse sensor. Pet. 22–23; see, e.g., Ex. 1006 ¶ 2 (“[A] pulse wave
sensor for detecting the pulse wave of a subject from light reflected from a
red corpuscle in the artery of a wrist of the subject by irradiating the artery
of the wrist with light.”).

                  ii.   “[a] a plurality of emitters configured to emit light
                        into tissue of a user”

Petitioner’s Undisputed Contentions
      Petitioner contends that Aizawa discloses one emitter—LED 21—and
also states that, in certain embodiments, multiple LEDs may be employed.
Pet. 7, 17. Patent Owner does not dispute this contention, and we agree with
Petitioner. See Ex. 1006 ¶¶ 23 (“LED 21”), 32 (“The arrangement of the


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light emitting diode 21 and the photodetectors 22 is not limited to this.”).
For example, Aizawa explains that “[t]he same effect can be obtained when
the number of photodetectors 22 is 1 and a plurality of light emitting
diodes 21 are disposed around the photodetector.” Id. ¶ 33.
      Petitioner also contends that Inokawa teaches a sensor with two
LEDs, a green LED to sense pulse and an infrared LED to sense body
motion. Pet. 10–11. Petitioner contends that when Inokawa’s sensor is
mounted on a base device, the infrared LED is used to wirelessly transmit
vital information to the base device. Id. at 12–13. Patent Owner does not
dispute these contentions, and we agree with Petitioner. Inokawa teaches a
pair of LEDs 21, 23, where “the basic function of the S-side green LED 21 is
to sense the pulse from the light reflected off of the body . . ., while the S-
side infrared LED 23 serves to sense body motion from the change in this
reflected light.” Ex. 1008 ¶¶ 58–59. Inokawa also explains that “vital sign
information stored in the memory 63 [of the sensor], such as pulse and body
motion, is transmitted to the base device 17 using the S-side infrared
LED 23 of the pulse sensor 1 and the B-side PD 45 of the base device 17,”
such that “there is no need to use a special wireless communication circuit or
a communication cable.” Id. ¶¶ 76–77.
Petitioner’s Disputed Contentions
      Moreover, Petitioner contends that a person of ordinary skill in the art
would have been motivated to “provid[e] an additional emitter to Aizawa
[to] allow Aizawa’s device to use its existing infrared LED to detect body
motion while using the added green LED to detect pulse,” which would have
provided “more reliable pulse measurement that takes into account and




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corrects for inaccurate readings stemming from body movement.” Pet. 17–
18, 24; Ex. 1003 ¶¶ 71–73.
      As a second and independent motivation, Petitioner also contends that
incorporating Inokawa’s teachings would have allowed for wireless data
communication from Aizawa’s sensor, without the need for a physical
communications cable or a separate wireless communication circuit.
Pet. 20–21. Petitioner contends that although Aizawa discloses data
transmission, Aizawa “is silent about how such transmission would be
implemented.” Id. at 19–20. According to Petitioner, a skilled artisan
“would have . . . recognized that incorporating Inokawa’s base device and
LED-based data transmission would allow Aizawa to upload data from its
sensor in a way that is wireless (thus avoiding the problems of a physical
cable) and that does not require a separate RF circuit,” and which would
“improve data transmission accuracy by using the second LED, such as the
green LED, to transmit checksum information.” Id. at 21–22 (citing, e.g.,
Ex. 1003 ¶¶ 77–79).
      To illustrate its proposed modification, Petitioner includes annotated
and modified views of Aizawa’s Figure 1(b), reproduced below. Pet. 18; see
also id. at 23 (same); Ex. 1003 ¶ 72.




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Petitioner’s modified figure on the left depicts the sensor of Aizawa, with its
single emitter identified and colored green; Petitioner’s modified figure on
the right depicts Aizawa’s sensor in which the single emitter has been
divided into two emitters, colored green and purple, operating at two
different wavelengths, as Petitioner contends would have been rendered
obvious by Inokawa. Pet. 18–19, 23–24. Petitioner contends that this
modification entails use of a known solution to improve similar systems in
the same way and would have achieved predictable results. Id. at 19, 22
(citing Ex. 1003 ¶¶ 73–74, 80); see also id. at 23–24 (citing, e.g., Ex. 1003
¶¶ 69–81).
Patent Owner’s Arguments
       Patent Owner disputes Petitioner’s contentions regarding the
obviousness of modifying Aizawa to include two emitters. See PO
Resp. 36–42; Sur-reply 13–15.
       First, Patent Owner argues that neither Aizawa nor Inokawa discloses
a device with multiple detectors and multiple emitters in the same sensor,
because Aizawa’s embodiments have either a single emitter and multiple
detectors (e.g., Ex. 1006, Fig. 1(a)) or multiple emitters and a single detector
(e.g., id. ¶ 33), and Inokawa discloses multiple emitters and a single detector
(e.g., Ex. 1008, Fig. 2). See PO Resp. 36–37 (citing, e.g., Ex. 2004 ¶¶ 79–
80).
       Second, Patent Owner argues that the evidence does not support either
of Petitioner’s two proffered motivations for modifying Aizawa to include
two emitters. As to the first motivation (to measure body movement using a
second emitter), Patent Owner asserts that Dr. Kenny erroneously testifies
that Aizawa cannot do this with its single emitter. PO Resp. 38 (citing, e.g.,



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Ex. 1006 ¶ 15; Ex. 2007, 400:7–401:10; Ex. 2004 ¶ 84). Patent Owner
argues that “Aizawa, however, expressly states that it provides a ‘device for
computing the amount of motion load from the pulse rate.’” Id.
         As to Petitioner’s second motivation (to enable data transmission to a
base device using an optical communication link), Patent Owner argues that
“Aizawa already includes a wireless transmitter . . . so Aizawa does not
need to incorporate Inokawa’s base-device [optical] data transmission
arrangement.” PO Resp. 38–39 (citing, e.g., Ex. 1006 ¶¶ 23, 28, 35;
Ex. 2004 ¶¶ 85–86). Indeed, Patent Owner argues “Dr. Kenny
acknowledged Aizawa does not indicate there are any problems with
Aizawa’s form of data transmission.” Id. at 39 (citing Ex. 2007, 409:13–
410:2). Patent Owner further argues that “Aizawa’s goal is ‘real-time
measuring’ with the transmitter ‘transmitting the measured pulse rate data to
a display’” but that “Inokawa’s base device, however, only transmits pulse
rate data ‘when the pulse sensor . . . is mounted onto the base device’” and,
thus, “eliminates the ability to take and display real-time measurements.”
Id. at 39–40 (citing, e.g., Ex. 1006 ¶¶ 4, 15; Ex. 1008, Abstract; Ex. 2004
¶ 86).
         Patent Owner insists Inokawa does not aid Petitioner’s case because
Inokawa discloses the benefits of using a second emitter in only two
situations: (1) to improve over a “mechanically-connected system,”
e.g., with a cable for communication, and, (2) to avoid use of a “dedicated
wireless communication circuit,” whereas “Aizawa already uses wireless
transmission to provide real-time heart measurements.” Id. at 40–41 (citing,
e.g., Ex. 1008 ¶ 4; Ex. 2004 ¶ 87).




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      Third, Patent Owner accuses Petitioner and Dr. Kenny of overlooking
further complications that would ensue from modifying Aizawa to have two
emitters. Patent Owner argues that Dr. Kenny overlooked how placing “two
LEDs in close proximity may cause thermal interference that could create
significant issues for sensor performance.” PO Resp. 41 (citing, e.g.,
Ex. 2004 ¶ 88). Patent Owner also argues that in the proposed modification,
when Dr. Kenny added a second LED, “he widened [Aizawa’s] cavity
without . . . disclosing in his declaration that he had done so,” which could
impact optical performance of the device. Id. at 41–42.
Petitioner’s Reply
      Concerning Petitioner’s first motivation, Petitioner asserts that
Aizawa does not disclose any details related to data transmission, and adding
an additional LED enables the sensor to distinguish between blood flow and
body movement, which provides a “more reliable” pulse measurement,
which is Petitioner’s asserted improvement to Aizawa. Pet. Reply 16
(citing, e.g., Ex. 1003 ¶ 72; Ex. 2007, 401:11–402:4; Ex. 1047 ¶ 36).
Moreover, Petitioner contends that by using multiple LEDs at different
wavelengths, “two separate signals” can be collected, which “will allow
Aizawa’s system to ‘take into account and correct for inaccurate readings
related to body movement’ by subtracting the ‘signal component
corresponding to body movement [] from the pulse signal to help better
isolate the desired pulse data.’” Id. (quoting Ex. 1003 ¶ 72).
      Concerning Petitioner’s second motivation, Petitioner maintains that
Inokawa’s use of two emitters having different wavelengths to upload data
to a base device using optical communication advantageously improves the
accuracy of the transmission by providing checksum information. Id. at 17



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(citing, e.g., Ex. 1003 ¶ 78; Ex. 1008 ¶¶ 111, 44, 48; Ex. 2007, 407:7–
408:20, 416:5–15; Ex. 1047 ¶ 38). Moreover, Petitioner notes that Aizawa
mentions real-time measurement only once and does not “mention that such
data must also be transmitted to some external device in real time.” Id. at 18
(citing Ex. 1047 ¶ 38). Likewise, Petitioner explains that a person of
ordinary skill in the art “would have been fully capable of weighing
potential benefits associated with different transmission methods, for
instance recognizing that a quicker transmission may be achieved in one
instance and a more accurate one in another.” Id.
      As to the “other complications” that Patent Owner alleges would
result from the proposed modification, Petitioner asserts “such minor issues
are ‘part of what [a person of ordinary skill in the art] would bring . . . to the
problem and would know how to make the changes needed.’” Id. at 18
(quoting Ex. 2007, 384:8–388:12; Ex. 1047 ¶ 39).
Patent Owner’s Sur-reply
      Concerning Petitioner’s first motivation, Patent Owner argues that
Inokawa’s disclosure is just as sparse as Aizawa’s disclosure regarding how
to use optical data to measure body movement. PO Sur-reply 13–14 (citing
Ex. 1008 ¶ 59). Patent Owner also asserts that “Petitioner cites nothing in
Inokawa that suggests” that Inokawa’s two emitter data gathering is more
reliable or otherwise superior to Aizawa’s single emitter data gathering. Id.
      Concerning Petitioner’s second motivation, Patent Owner argues that
the proposed modification eliminates Aizawa’s ability to conduct “real-time
collection and display of physiological measurements—a key goal of
Aizawa’s system.” Id. at 14.




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      Patent Owner also notes that Petitioner does not dispute that the
proposed modification would cause problems such as “additional costs,
energy use, and thermal problems” that would ensue from using two emitters
in Aizawa’s device. Id. at 15.
Analysis
      Upon review of the foregoing, we conclude that a preponderance of
the evidence supports Petitioner’s contention that it would have been
obvious to replace Aizawa’s single near infrared LED 21 with an infrared
LED and a green LED, in light of Inokawa.
      First, a person of ordinary skill in the art would have been motivated
to make this replacement to improve the pulse measurements recorded by
Aizawa’s detector. Inokawa teaches that the infrared LED’s signal can be
used “to detect vital signs” such as “body motion,” and the green LED’s
signal can be “used to detect pulse.” Ex. 1008, Fig. 2, ¶¶ 7, 14, 58–59.
      Patent Owner correctly points out that Aizawa describes its
single-emitter detector as transmitting its pulse data to “a device for
computing the amount of motion load from the pulse rate.” Ex. 1006 ¶¶ 15,
28, 35. But, this description is the only cited disclosure in Aizawa
concerning computing a motion characteristic of the user. Further, we are
unable to discern any other disclosure in Aizawa relating to motion
computation, or what Aizawa proposes to do with its motion computation.
See id. Based on the sparse nature of Aizawa’s disclosure concerning
motion load, it is not clear exactly what Aizawa proposes to do with the
computed motion load, after it is computed. See, e.g., Ex. 1047 ¶ 36
(“Patent Owner fails to explain how Aizawa senses and computes motion
load. Indeed, Aizawa is completely silent on this point.”). Aizawa does,



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however, describe the motion load as being computed “from the pulse rate,”
rather than being an input to the pulse rate calculation. Ex. 1006 ¶¶ 15, 35.
      In a deposition for other proceedings related to this inter partes
review, see supra § I.B, Dr. Kenny whether “Aizawa’s sensor could not
account for motion load?”; Dr. Kenny answered that “Aizawa’s sensor
attempts to prevent motion load rather than account for it.” Ex. 2007,
400:7–11 (deposition for IPR2020-01520, IPR2020-01537, and IPR2020-
01539). He explained that, because Aizawa uses only a single emitter with a
single wavelength, “what [Aizawa] sees as a signal would be some mixture
of pulse rate and motion load if there was no effort to prevent motion load,”
so Aizawa seeks to solve the problem of “prevent[ing] motion load from
corrupting the pulse rate signal.” Id. at 400:12–401:10. Dr. Kenny did not
further explain this distinction between preventing and accounting for
motion load in his deposition testimony cited by the parties as relating to this
issue. Id. at 400:7–402:4. We do not rely on this distinction as a basis for
our present decision, because we find no express support for it in Aizawa’s
disclosure (see Ex. 1006 ¶¶ 15, 28, 35), and it is not explained in persuasive
detail by Dr. Kenny.
      We nonetheless credit Dr. Kenny’s declaration testimony that a person
of ordinary skill in the art, upon reviewing Inokawa’s disclosure of using
two emitters of different wavelengths to calculate a user’s pulse and motion
separately, would have understood that these two separate measurements
would “allow for a more reliable pulse measurement that takes into account
and corrects for inaccurate readings stemming from body movement” by
“subtracting the ‘signal component corresponding to body movement [] from
the pulse signal to help better isolate the desired pulse data.’” Ex. 1047



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¶¶ 35, 36, 37 (“processed in a way to compensate for movement and create a
more reliable measurement of the physiological parameter”); Ex. 1003
¶¶ 71–73. Aizawa does not disclose using the computed motion load in this
fashion, so it appears that this would improve upon the accuracy of Aizawa’s
pulse measurements, by using the computed motion load to isolate and
account for noise. See Ex. 1006 ¶¶ 15, 28, 35.
      Dr. Madisetti offers no meaningful opposing testimony in this regard.
See, e.g., Ex. 2004 ¶ 84. Instead, Dr. Madisetti incorrectly reads
Dr. Kenny’s motivation testimony as being limited to the desirability of
adding the bare ability to measure body movement to Aizawa. See id. In
fact, Dr. Kenny further testified that it would have been beneficial to use the
measured body movement to improve the pulse measurement of the device.
See Ex. 1003 ¶¶ 71–73; Ex. 1047 ¶¶ 36–37. Dr. Madisetti does not address
that testimony. See Ex. 2004 ¶ 84.
      Thus, because Dr. Madisetti’s testimony sets up a straw man to attack,
rather than directly addressing the entirety of Dr. Kenny’s testimony in this
regard, Dr. Kenny’s testimony stands unrebutted in the record before us.
Dr. Kenny’s testimony also makes intuitive sense that measuring the user’s
motion separately from the user’s pulse measurement, for example by using
two interrogating emitters of two different wavelengths, would provide a
reliable means of correcting the pulse data for motion artifacts by using the
separately measured motion data, rather than by trying to segregate these
two components in the single data stream provided by Aizawa’s single
emitter device. See, e.g., Ex. 1047 ¶¶ 36–37. We, therefore, are persuaded
by Dr. Kenny’s unrebutted testimony that using two emitters of different
wavelengths would improve Aizawa’s device in this way.



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      Independently, we are also persuaded that a person of ordinary skill in
the art would have been motivated to replace Aizawa’s single near infrared
LED 21 with an infrared LED and a green LED, to provide a reliable method
of uploading pulse data stored by Aizawa’s wrist-worn pulse rate detector 1
to another device for display to the user. Inokawa expressly touts such
optically-based uploading of data from Inokawa’s wrist-worn sensor 1 to
Inokawa’s base device 17 as a benefit of incorporating two emitters in
sensor 1. See Ex. 1008, Figs. 3, 19, ¶¶ 3–7, 14, 76–77, 109–111. Inokawa
identifies two specific benefits of this optically-based data communication
means. First, the infrared LED can transmit the pulse data, and the green
LED can separately transmit “checksum” information to increase the
accuracy of data transmission. Id. at Fig. 19, ¶¶ 14, 109–111. Second, using
light emitters in this fashion to perform two functions (data collection by
emitting light into the user’s wrist, and data transmission by emitting light to
photodetectors in a base device) obviates the need for providing “a special
wireless communication circuit [in the wrist-worn sensor 1] or a
communication cable.” Id. ¶¶ 3–7, 76–77.
      Patent Owner correctly points out that Aizawa already has a
“transmitter” 4 for uploading pulse data stored by Aizawa’s wrist-worn
pulse rate detector 1 to another device for processing and for display to the
user. Ex. 1006, Fig. 1(b), ¶¶ 15, 23, 28, 35. However, Aizawa’s Figure 1(b)
illustrates transmitter 4 only as an empty box contained within outer
casing 5, and Aizawa’s written description does not provide further
structural details concerning transmitter 4. See id. In particular, Aizawa
does not describe exactly how transmitter 4 transmits its data to the other
device. See id.



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      Patent Owner contends that Aizawa’s transmitter 4 is a “wireless”
transmitter, and Dr. Kenny agreed to as much during his deposition. See,
e.g., PO Resp. 40; Ex. 2007, 414:19–21. They appear to equate “wireless”
communication to radio frequency communication, and not to include
optical communication, even though both radio frequency and optical
communication do not use a wire. Based on the foregoing testimony, we
assume, for this decision, that Aizawa contemplates radio frequency
communication as one embodiment by which transmitter 4 may transmit
data to devices other than detector 1.
      Patent Owner argues, and Dr. Madisetti testifies, that Aizawa’s
express disclosure goes even further. They assert Aizawa’s “goal” is to
measure and display pulse data in real time during exercise, using the
wireless transmitter. See, e.g., PO Resp. 39; Ex. 2004 ¶¶ 86 (“the ability to
take and display real-time measurements, one of Aizawa’s stated goals”), 87.
We find that Aizawa does not support this assertion. Instead, Aizawa
discusses prior art devices that “estimat[e] a burden on the heart of a person
who takes exercise by real-time measuring his/her heart rate at the time of
exercise” (Ex. 1006 ¶ 4 (emphasis added)), and then describes Aizawa’s
detector 1 as having a transmitter for transmitting the measured pulse rate
data to another device for display (id. ¶ 15). Aizawa does not indicate when
this transmission occurs. Aizawa also refers to “noise caused by the shaking
of the body of the subject” as a problem to be addressed (id. ¶ 6), but this
problem occurs regardless of whether the shaking results from exercise or
the normal movement of the user’s wrist over the course of the day. Thus,
Aizawa does not tout, as an important feature of Aizawa’s invention, the
real time display of pulse rate data during exercise, regardless of whether the



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data gathered by Aizawa’s wrist-worn detector 1 is transmitted wirelessly or
otherwise. Id. ¶¶ 4, 6, 15.
      No doubt, a person of ordinary skill in the art would have viewed the
capability of a wrist-worn pulse detector to transmit its pulse data to another
device for display in real time while the user is exercising to be a desirable
feature in some cases, even if this is not one of Aizawa’s specifically stated
goals. See, e.g., Ex. 1048 ¶ 67 (Dr. Kenny stating: “By wirelessly
transmitting the collected data . . . the condition of a subject [can be
determined] ‘remotely.’”); Ex. 2009, 393:6–14 (in a deposition for other
related proceedings, Dr. Kenny agreeing that a person of ordinary skill in the
art “would have seen the ability to wirelessly transmit collected data as an
advantage”). Nonetheless, Inokawa expressly discloses that, in other cases,
the benefits achieved by wireless transmission can be outweighed by
obviating the need for the wrist-worn sensor to include a special wireless
communication circuit. See Ex. 1008 ¶¶ 3–7 (discussing problems
associated with wireless transmission, such as the need for a dedicated
circuit, which is avoided by Inokawa’s system with “few malfunctions” and
a “simple structure”), 76–77 (“As a result, there is no need to use a special
wireless communication circuit . . ., which makes it possible to transmit vital
sign information to the base device 17 accurately, easily, and without
malfunction.”). We therefore conclude that Petitioner’s case for obviousness
in this regard is supported by a preponderance of the evidence. See, e.g., In
re Urbanski, 809 F.3d 1237, 1243–44 (Fed. Cir. 2016) (persons of ordinary
skill in the art may be motivated to pursue desirable properties of one prior
art reference, even at the expense of foregoing a benefit taught by another
prior art reference).



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      We disagree with Patent Owner’s argument that Petitioner’s case for
obviousness is deficient on the basis that neither Aizawa nor Inokawa
expressly discloses a wrist-worn sensor device that has both a plurality of
emitters and at least four detectors, as claim 1 recites. Obviousness does not
require “‘some motivation or suggestion to combine the prior art teachings’
[to] be found in the prior art.” KSR, 550 U.S. at 407, 415–418. Nor does it
require the bodily incorporation of Inokawa’s device into Aizawa’s device.
See, e.g., In re Keller, 642 F.2d 413, 425 (CCPA 1981) (test for obviousness
is not whether the features of one reference may be bodily incorporated into
the structure of the other reference, but rather is “what the combined
teachings of the references would have suggested to those of ordinary skill
in the art”); see also In re Merck & Co., 800 F.2d 1091, 1097 (Fed. Cir.
1986) (nonobviousness is not established by attacking references
individually when unpatentability is predicated upon a combination of prior
art disclosures). Instead, “[a] person of ordinary skill is also a person of
ordinary creativity, not an automaton,” and “in many cases a person of
ordinary skill will be able to fit the teachings of multiple patents together
like pieces of a puzzle.” KSR, 550 U.S. at 420–421.
      In this case, we are persuaded that a person of ordinary skill in the art
would have been motivated to modify Aizawa’s wrist-worn detector 1 to
replace its single near infrared LED 21 with an infrared LED and a green
LED, based on Inokawa, for all the reasons provided above. A person of
ordinary skill in the art would additionally have known to keep all four
detectors 22 that are already present in Aizawa’s detector 1, so that “[e]ven
when the attachment position of the sensor is dislocated, a pulse wave can be
detected accurately,” as disclosed by Aizawa. Ex. 1006 ¶¶ 9, 27. In short,



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the combination of Aizawa and Inokawa teaches that having multiple
emitters is beneficial, and having multiple detectors is beneficial, for
different and not inconsistent reasons.
      Finally, we agree with Petitioner’s position that any thermal
interference and power consumption issues that may arise in Aizawa’s
wrist-worn pulse detector, by using two emitters instead of one emitter, are
well within the capabilities of a person of ordinary skill in the art to solve.
We credit Dr. Kenny’s testimony in this regard. See Ex. 1003 ¶¶ 74, 80
(“would have led to the predictable result of more accurate and convenient
data transmission without significantly altering or hindering the functions
performed by Aizawa’s sensor”); Ex. 1047 ¶ 39. For example, Dr. Kenny
acknowledges that Aizawa already discloses adding additional emitters.
Ex. 1003 ¶ 39 (citing Ex. 1006 ¶ 33). Dr. Kenny further testifies that this
modification “amount[s] to nothing more than the use of a known technique
[i.e., Inokawa’s use of two emitters in a wrist-worn pulse detector] to
improve similar devices [i.e., Aizawa’s wrist-worn pulse detector] in the
same way and combining prior art elements according to known methods to
yield predictable results.” Id. ¶¶ 74, 80.
      Patent Owner cites portions of Dr. Kenny’s deposition testimony that,
in Patent Owner’s view, indicate Dr. Kenny fails to appreciate the
significance of optical interference complications posed by adding a second
emitter to Aizawa’s device, and fails to explain how this would have been
overcome. See PO Resp. 56–57 (citing Ex. 2007, 379:17–21, 384:16–
388:16, 389:17–390:20, 394:11–395:17). We have reviewed this deposition
testimony, and we conclude Patent Owner overstates its significance. It
establishes, at most, that Dr. Kenny did not expressly address this issue in



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his declaration (Exhibit 1003), but Dr. Kenny’s opinion is that this would
have been within the capability of a person of ordinary skill in the art to
resolve. Based on the evidentiary record presented to us, we agree with
Dr. Kenny. For example, Inokawa discloses a wrist-worn pulse sensor 1
having two emitters 21 and 23 in close proximity to each other. See
Ex. 1008, Figs. 1–2. An artisan must be presumed to know something about
the art apart from what the relied-upon references disclose. See In re
Jacoby, 309 F.2d 513, 516 (CCPA 1962).
      Dr. Madisetti’s testimony opposing Dr. Kenny’s foregoing opinion is
premised solely on Dr. Kenny’s alleged failure to explain how issues that
arise from adding a second emitter to Aizawa would have been solved;
Dr. Madisetti does not provide any affirmative reason why these issues
would have been difficult for a person of ordinary skill in the art to solve, in
the context of Aizawa’s device or wrist-worn pulse sensing devices in
general. See Ex. 2004 ¶ 88.
      Thus, we conclude a person of ordinary skill in the art would have
been motivated to replace Aizawa’s single near infrared LED 21 with an
infrared LED and a green LED, and would have had a reasonable
expectation of success in doing so.

                 iii.   “[b] a plurality of detectors configured to detect light
                        that has been attenuated by tissue of the user, wherein
                        the plurality of detectors comprise at least four
                        detectors”

      The cited evidence supports Petitioner’s undisputed contention that
Aizawa discloses at least four detectors 22 that detect light that has been
emitted by LED 21 and attenuated by body tissue. Pet. 24–25; see, e.g.,
Ex. 1006 ¶ 27 (disclosing that light emitted from LED 21 “is reflected by a


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red corpuscle running through the artery 11 of the wrist 10 and . . . is
detected by the plurality of photodetectors 22 so as to detect a pulse wave”);
Ex. 1003 ¶¶ 82–83.

                 iv.   “[c] a housing configured to house at least the
                       plurality of detectors in a circular portion of the
                       housing”

      The cited evidence supports Petitioner’s undisputed contention that
Aizawa discloses holder 23, which houses the detectors in a circular portion
of the housing. Pet. 25; see, e.g., Ex. 1006 ¶ 23 (“holder 23 for storing . . .
light emitting diode 21 and the photodetectors 22”), Figs. 1(a)–(b) (depicting
circular holder 23 surrounding detectors 22).

                  v.   “[d] a lens configured to be located between tissue of
                       the user and the plurality of detectors when the
                       noninvasive optical physiological sensor is worn by
                       the user, wherein the lens comprises a single
                       outwardly protruding convex surface configured to
                       cause tissue of the user to conform to at least a
                       portion of the single outwardly protruding convex
                       surface when the noninvasive optical physiological
                       sensor is worn by the user and during operation of the
                       noninvasive optical physiological sensor”

Petitioner’s Contentions
      With reference to an annotated version of Aizawa’s Figure 1(b)
(reproduced below), Petitioner contends that Aizawa “teaches a light
permeable cover in the form of an acrylic transparent plate 6 (blue) that is
mounted at the detection face 23a” of the sensor, between the user’s tissue
and the emitter/detector assembly. Pet. 8–9; Ex. 1003 ¶¶ 55–56.




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The figure above shows Petitioner’s annotated version of Aizawa’s
Figure 1(b), in which transparent plate 6 is shaded in blue and identified as
“Light permeable cover.” Petitioner contends that beyond disclosing that the
acrylic transparent “helps improve ‘detection efficiency,’ Aizawa does not
provide much other detail, for instance regarding its shape.” Pet. 13 (citing
Ex. 1006 ¶ 30).
      Petitioner reasons, however, that one of ordinary skill in the art would
have “looked to Inokawa to enhance light collection efficiency, specifically
by modifying the flat cover of Aizawa to include a convex protrusion that
acts as a lens.” Id. at 14 (citing Ex. 1003 ¶¶ 87–91), 27 (“obvious to modify
the flat acrylic plate of Aizawa . . . into a lens having a single outwardly
protruding convex surface . . . to further Aizawa’s objective of enhancing its
light-collection efficiency”). In that regard, Petitioner points to Inokawa’s
Figure 2. Petitioner’s annotated version of that figure is reproduced below.




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Id. at 14. Figure 2 above depicts Inokawa’s lens 27 shaded in blue.
       Petitioner expresses that “Inokawa teaches that its cover may be either
flat . . . such that ‘the surface is less prone to scratches’” or may be in the
form of the lens shape shown above to “increase the light-gathering ability
of the LED.” Id. at 15–16 (quoting Ex. 1008 ¶ 15); see Ex. 1003 ¶¶ 88–91.
Petitioner contends that a person of ordinary skill in the art “making the
design choice to prioritize improved improved light collection efficiency
over reduced suseptibility to scratches could have readily modified Aizawa’s
cover to include a lens as per Inokawa.” Pet. 16 (citing Ex. 1003 ¶ 91).
Petitioner also contends that a skilled artisan would have had a reasonable
expectation of success in combining those teachings. Id. at 15 (citing
Ex. 1003 ¶ 90). Petitioner adds that Aizawa’s “transparent acrylic
material . . . can be readily formed into a lens as in Inokawa.” Id. at 16
(citing Ex. 1003 ¶ 91; Ex. 1009, 3:46–51, Fig. 1; Ex. 1023, Fig. 6, ¶¶ 22, 32,
35).
       Petitioner provides annotated and modified versions of Aizawa’s
Figure 1(b) that depict the modification of the proposed combination, which
are reproduced below. Id. at 15 (citing Ex. 1003 ¶ 89).



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Petitioner’s annotated figure on the left depicts the device with Aizawa’s flat
cover, and the annotated and modified figure on the right depicts the device
resulting from the combination of Aizawa and Inokawa, in which a person of
ordinary skill in the art would have replaced Aizawa’s flat cover with a
curved protrusion to “increase the light-gathering ability.” Id. (quoting Ex.
1008 ¶ 15).
      According to Petitioner, a person of ordinary skill in the art “would
have understood how to implement Inokawa’s lens in Aizawa’s device with
a reasonable expectation of success.” Pet. 15 (citing Ex. 1003 ¶ 90). The
shape of the modified cover in Dr. Kenny’s illustration of the proposed
modification above is similar to the shape of an LED lens illustrated in
Exhibit 1023 (hereafter “Nishikawa”), 3 referenced by Petitioner and
Dr. Kenny in connection with the proposed ground of unpatentability.
Compare Pet. 15 (illustrating proposed modification), with Ex. 1023, Fig. 6,
¶¶ 3, 22, 30, 32, 35 (illustrating lens 50 used with LED 22, and discussing
how to make the illustrated device); see also Pet. 16 (citing Ex. 1023), 50
(discussing teachings of Ex. 1023).



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  U.S. Patent Application Publication No. 2007/0145255 A1, filed Dec. 20,
2006, published June 28, 2007 (Ex. 1023).

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      Petitioner also contends that, in the proposed modification, the convex
surface of the lens will cause the user’s tissue to conform because the rigid
cover will be pressed against the user’s skin with pressure. Pet. 28–29;
Ex. 1003 ¶¶ 92–93, 98; Ex. 1006 ¶¶ 6, 23, 26, 30, 34; Ex. 1008, Fig. 2.
Patent Owner’s Arguments
      Patent Owner contends that the evidence does not support Petitioner’s
argument that it would have been obvious to modify Aizawa’s cover to have
a lens with an outwardly protruding convex surface, in order to improve
detection efficiency by directing incoming light to Aizawa’s
photodetectors 22, with a reasonable expectation of success. PO Resp. 15–
36; PO Sur-reply 1–13; Ex. 2004 ¶¶ 48–78.
      According to Patent Owner, the evidence establishes that Petitioner’s
proposed modification would direct light toward the center of Aizawa’s
detector 1 where emitter 21 is located, rather than toward the periphery
where detectors 22 are located. PO Resp. 15–23; Ex. 2004 ¶¶ 48–65. Thus,
Patent Owner’s view is that a person of ordinary skill in the art “would not
have expected Inokawa’s protruding surface to accomplish” the objective of
enhancing light collection efficiency relied upon by Petitioner, because
Petitioner’s proposed modification instead “would direct light away from the
periphery-located detectors” in Aizawa, the opposite result to Petitioner’s
contention. PO Resp. 19; Ex. 2004 ¶¶ 42–43, 48–57.
      In support, Patent Owner points to Inokawa’s Figure 2, in which two
arrows illustrate light that passes through the convex protrusion of lens 27
toward the center of Inokawa’s pulse sensor 1 where detector 25 is located.
PO Resp. 16–17 (citing Ex. 1008 ¶ 58); Ex. 2004 ¶¶ 51–52. Patent Owner
also points to the ’191 patent’s Figure 14B, which illustrates several light



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rays 1420, 1422 passing through a partially cylindrical protrusion 605 to be
centrally focused on detector(s) 1410B. PO Resp. 18 (citing Ex. 1001, 36:3–
6, 36:13–15; Ex. 2004 ¶¶ 53–54). Patent Owner cites portions of
Dr. Kenny’s deposition testimony that, in Patent Owner’s view, support
Patent Owner’s contentions in these regards. See PO Resp. 2, 16–17 (citing
Ex. 2006, 83:15–84:2, 86:19–87:1, 108:21–109:14, 202:11–204:20, 204:1–
20).
       Patent Owner also asserts that “Dr. Kenny admitted that the impact of
Inokawa’s convex lens would not be ‘obvious’ in the context of [the]
different configuration of LEDs and detectors” presented by Aizawa.
PO Resp. 19–20 (citing Ex. 2006, 87:2–6). For example, Patent Owner
points out that “light reaching Aizawa’s detectors must travel in an opposite
direction from the light in Inokawa.” Id. at 20 (Ex. 2004 ¶¶ 59–62). In
addition, according to Patent Owner, “Petitioner’s combination is
particularly problematic because” Aizawa uses “small detectors [22] with
small openings [of cavities 23c] surrounded by a large amount of opaque
material.” PO Resp. 21 (citing Ex. 1006, Fig. 1(a); Ex. 2004 ¶ 63). In
support of its view, Patent Owner cites portions of Dr. Kenny’s deposition
testimony. Id. at 22 (citing Ex. 2006, 257:11–18). Patent Owner also argues
that to account for this, “Petitioner is forced to increase the size of Aizawa’s
detectors approximately five-fold and eliminate Aizawa’s large opaque
barriers—with no analysis or explanation of such changes or the[ir] impact.”
Id. at 22–23 (citing Ex. 2004 ¶ 65).
       Patent Owner further argues that Dr. Kenny, during his deposition,
attempted to evade the foregoing problems by “disclaim[ing] Petitioner’s
reasoning [for obviousness] and assert[ing] new and improper opinions” that



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undermine the reasoning provided in the Petition. PO Resp. 23. For
example, Patent Owner asserts that Dr. Kenny’s attempt to distinguish
between the ’191 patent’s Figure 14B as illustrating a lens that condenses
collimated light toward the center, as compared to Aizawa and Inokawa in
which the lens focuses diffuse light reflected by the user’s body is not
persuasive and is not supported by record evidence. PO Resp. 24–25 (citing
Ex. 2006, 170:9–171:5; Ex. 2007, 288:13–289:5, 294:17–298:10, 298:11–
299:18, 423:7–424:18; Ex. 2004 ¶¶ 67–68). Patent Owner also objects to
Dr. Kenny’s testimony that, “while a protruding surface would generally
direct more light to the center,” it “would also capture some light that
otherwise would not be captured” by Aizawa’s detectors 22, as lacking
evidentiary support and relying on impermissible hindsight. PO Resp. 26
(citing Ex. 1001, 7:61–63; Ex. 2004 ¶¶ 69–70; Ex. 2006, 204:21–206:5,
206:22–208:1; Ex. 2007, 294:17–298:10).
      Patent Owner moreover asserts that “Dr. Kenny repeatedly distanced
himself from his own similar combination” of Aizawa and Inokawa by
refusing to talk about the specific shape, size, material, and dimensional
tolerances of the combination, so, in Patent Owner’s view, his testimony
falls short because it demonstrates at most only that the references could
have been combined. Id. at 2–3, 27–31 (citing, e.g., Ex. 2004 ¶¶ 71–73;
Ex. 2006, 51:14–52:16, 75:20–77:2, 91:9–92:13, 96:20–21, 97:11–21,
100:17–101:18, 132:10–18, 154:4–7, 164:8–16, 189:11–190:3; Ex. 2007,
308:12–309:8, 310:18–311:9, 318:3–6, 324:21–325:19, 333:20–335:4).
      Indeed, according to Patent Owner, because ordinary skill does not
require specific education or experience with optics or optical physiological
monitors (see supra Section II.C), “[i]t strains credibility that a [person of



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ordinary skill in the art] . . . could balance all of the factors Dr. Kenny
identified” to reach the claimed invention. PO Resp. 31. Patent Owner
relies on Dr. Kenny’s testimony as establishing the complexity of designing
optical physiological sensors. Id. at 3–4, 31–32 (citing Ex. 2006, 86:19–
87:6; Ex. 2007, 331:19–332:11, 336:11–337:15). Patent Owner concludes
Petitioner has failed to establish a reasonable expectation of success because
Dr. Kenny’s testimony “focuses almost entirely on manufacturing.” Id.
at 32 (citing Ex. 1003 ¶ 91; Ex. 2004 ¶ 75).
      Patent Owner moreover asserts Petitioner errs in relying on Nishikawa
as supporting the unpatentability of claim 1 because Nishikawa is “not
identified as part of” the ground, which, instead, “includes only two
references,” Aizawa and Inokawa. PO Resp. 33 (citing Pet. 13–14; Ex. 1003
¶¶ 86–91); id. at 34–35 (citing 35 U.S.C. § 312(a)(3); Intelligent Bio-
Systems, Inc. v. Illumina Cambridge Ltd., 821 F.3d 1359, 1369 (Fed. Cir.
2016)). Patent Owner asserts Dr. Kenny “relies heavily” on Nishikawa,
particularly “to inform the specific shape of the cover in his combination,
which is found nowhere in Aizawa and Inokawa.” Id. at 33–34 (citing
Ex. 2004 ¶¶ 76–77; Ex. 2006, 179:21–180:13; Ex. 2007, 364:2–13;
Ex. 2008, 73:8–12).
      Furthermore, in Patent Owner’s view, Dr. Kenny’s reliance on
Nishikawa “makes no sense” because “Nishikawa’s device is not a
physiological sensor” but rather is “an encapsulated LED” that “directs
outgoing light through the encapsulation material and thus focuses on the
emission of light, not the detection of an optical signal.” PO Resp. 35 (citing
Ex. 1023, code (57), ¶¶ 3, 32, 35; Ex. 2004 ¶ 78). Patent Owner contrasts
such disclosure with Aizawa and Inokawa, both of which “detect[] incoming



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light that passes through the cover and reaches the detectors,” and which
have a “drastically” smaller scale than Nishikawa’s LEDs. Id. (citing
Ex. 1008, Fig. 2; Ex. 2004 ¶ 78).
Petitioner’s Reply
      In reply, Petitioner insists “Inokawa’s lens enhances the light-
gathering ability of Aizawa,” which would have motivated an ordinarily
skilled artisan “to incorporate ‘an Inokawa-like lens [having a protrusion]
into the cover of Aizawa to increase the light collection efficiency.’” Pet.
Reply 2–3 (bolding omitted) (citing Pet. 13–15; Ex. 1003 ¶¶ 86–89;
Ex. 1008, Fig. 2, ¶¶ 15, 58). Petitioner dismisses Patent Owner’s and
Dr. Madisetti’s opposition as being “misinformed” because a person of
ordinary skill in the art “would understand that Inokawa’s lens generally
improves ‘light concentration at pretty much all of the locations under the
curvature of the lens,’ as opposed to only at a single point at the center.” Id.
at 3 (quoting Ex. 2006, 164:8–16); Ex. 1047 ¶¶ 7–9.
      For example, Petitioner contends that Patent Owner and Dr. Madisetti
“ignore[] the well-known principle of reversibility,” by which “a ray going
from P to S will trace the same route as one from S to P.” Pet. Reply 4
(underlining omitted) (citing, e.g., Ex. 1052, 4 84, 87–92); Ex. 1047 ¶¶ 10–
22. Petitioner contends that Dr. Madisetti was evasive when he was asked to
apply the reversibility principle to the combination of Aizawa and Inokawa
in this case. Pet. Reply 6 (citing Ex. 1034, 89:12–19). Petitioner further


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  Eugene Hecht, Optics (2nd ed. 1990). In referring to Exhibit 1052,
Petitioner refers to the document’s native page numbering (top corner of
each page) and not the added page numbering of the exhibit (bottom, middle
of each page). For consistency, we also refer to the native page numbering
of Exhibit 1052.

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contends that, “based at least on the principle of reversibility,” one of
ordinary skill in the art “would have understood that both configurations of
LEDs and detectors—i.e., with the LED at the center as in Aizawa or with
the detector at the center as in Inokawa—would similarly benefit from the
enhanced light-gathering ability of an Inokawa-like lens.” Id. at 9 (citing
Ex. 1047 ¶ 22).
      Petitioner also asserts that Patent Owner and Dr. Madisetti overlook
the fact that light rays reflected by body tissue in the user’s wrist, to be
received by detectors in either Aizawa’s or Inokawa’s pulse sensor, will be
“scattered” and “diffuse” and, therefore, will approach the detectors “from
various random directions and angles.” Pet. Reply 9–10, 13 (annotating
Inokawa’s Fig. 2 to illustrate the cause and nature of the back-scattering);
Ex. 1047 ¶¶ 23–26. This scattered and diffuse light, according to Petitioner,
means that Inokawa’s “lens cannot focus all light toward the sensor’s
center,” as Patent Owner would have it. Pet. Reply 9 (citing Ex. 1047 ¶ 23;
Ex. 2006, 163:12–164:2). Petitioner asserts this is due to Snell’s law, and
provides several illustrations to illustrate why. Id. at 9–15 (citing, e.g.,
Ex. 1047 ¶¶ 23–34).
      Due to the random nature of this scattered light, Petitioner explains
that one of ordinary skill in the art would have understood that a convex
cover “provides a slight refracting effect, such that light rays that may have
missed the detection area are instead directed toward that area.” Pet.
Reply 10 (citing Ex. 1047 ¶¶ 25–26). Petitioner applies this understanding
to Aizawa, and contends that using a lens with a convex protrusion in
Aizawa would “enable backscattered light to be detected within a circular
active detection area surrounding” a central light source. Id.



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      Moreover, Petitioner dismisses the applicability of Figure 14B of the
’191 patent as illustrating the operation of a transmittance-type of sensor
that measures the attenuation of collimated light transmitted through the
user’s body tissue, rather than the reflectance-type sensor of Aizawa. Id.
at 11–13 (citing, e.g., Ex. 1001, 36:11–13; Ex. 1047 ¶¶ 27–31).
      Petitioner further maintains that Patent Owner’s argument that
Petitioner’s illustrations of the light-focusing properties of a convex lens
discussed in the Petition filed in IPR2020-01520 (Ex. 2019, 39) and relied
upon by Dr. Kenny (Ex. 2020 ¶¶ 119–120) do not demonstrate “that a
convex lens directs all light to the center.” Pet. Reply 15 (citing PO
Resp. 16–18, 23). Petitioner contends these illustrations, instead, “are
merely simplified diagrams included to illustrate . . . one example scenario
(based on just one ray and one corpuscle) where a light permeable cover can
‘reduce a mean path length of light traveling to the at least four detectors’”
as recited in claim 12 of the patent challenged in that proceeding. Id. (citing,
e.g., Ex. 1047 ¶ 34).
Patent Owner’s Sur-reply
      Patent Owner asserts that Petitioner’s Reply improperly presents
several new arguments, relying on new evidence, as compared with the
Petition. See, e.g., PO Sur-reply 1 (“new optics theories” and “new
arguments”), 2, 6, 7, 9, 10, 12, 13.
      Patent Owner also contends that Petitioner mischaracterizes Patent
Owner’s position, which is not that Inokawa’s lens with a convex protrusion
“would direct ‘all’ light ‘only at a single point at the center’” of the sensor.
Id. at 2, n.2 (quoting Pet. Reply 3; citing, e.g., Ex. 2027, 63:7–64:6, 94:20–
96:1, 96:18–97:7). Patent Owner’s position, rather, is that Inokawa’s lens



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condenses more light (not necessarily all light) “towards the center of the
sensor” as compared to a flat surface. Id. at 2 (quoting PO Resp. 18; citing,
e.g., Ex. 2004 ¶¶ 34, 43, 49, 51–52, 54–55, 67).
      Patent Owner moreover asserts “[t]here can be no legitimate dispute
that a convex surface directs light centrally (and away from the periphery).”
PO Sur-reply 3–6 (citing PO Resp. 15–18; Ex. 2006, 164:8–16, 166:10–17,
170:22–171:5; Ex. 2020 ¶¶ 119, 200; Ex. 2027, 181:9–182:5). Patent Owner
contends that Petitioner’s argument “that Inokawa would improve light-
gathering at all locations, regardless of the location of the LEDs and
detectors” is belied by Dr. Kenny’s testimony that “Inokawa’s benefit would
not be clear if Inokawa’s LEDs and detectors were moved” and “confirmed
that a convex surface would direct light toward the center of the underlying
sensor.” Id. at 6 (citing Pet. Reply 3–4; Ex. 2006, 86:19–87:6, 202:11–
204:20).
      Patent Owner argues that Petitioner’s discussion of the principle of
reversibility is “irrelevant” because it “assumes ideal conditions that are not
present when tissue scatters and absorbs light.” PO Sur-reply 6–8 (citing
Ex. 2027, 17:12–19:2, 29:11–30:7, 31:8–32:3, 38:17–42:6, 207:9–209:21,
210:8–6). The random nature of backscattered light, in Patent Owner’s
view, “hardly supports Petitioner’s argument that light will necessarily travel
the same paths regardless of whether the LEDs and detectors are reversed,”
and is irrelevant to the central issue presented here of “whether a convex
surface—as compared with a flat surface—would collect and focus
additional light on Aizawa’s peripherally located detectors.” Id. at 8–9
(citing Ex. 2027, 212:3–14).




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      Patent Owner also argues that Petitioner’s position that a convex
cover will provide a “slight” refracting effect, “directly undermines
Petitioner’s provided motivation to combine,” i.e., to enhance light
collection efficiency. Id. at 10–11.
Analysis
      Upon review of the foregoing, we conclude that a preponderance of
the evidence supports Petitioner’s view that it would have been obvious to
modify Aizawa’s cover 6 to include a lens with a single outwardly
protruding convex surface like that taught in Inokawa, in order to increase
the amount of backscattered light that will be received by Aizawa’s four
peripheral detectors 22, as compared with Aizawa’s existing flat cover.
      It is clear that Aizawa’s and Inokawa’s pulse sensors both gather data
by emitting light into the user’s wrist tissue and collecting light that reflects
back to the sensor from the user’s tissue. See, e.g., Ex. 1006, Figs. 1(b), 2
(sensor 2 has emitter 21 and four detectors 22, all facing a user’s wrist 10);
Ex. 1008, Figs. 1, 2 (sensor 1 has two emitters 21, 23 and one detector
(photodiode 25), all facing the user’s wrist when held in place by
wristband 5). Dr. Kenny testifies, and Patent Owner agrees, that the
reflection of this light by the user’s wrist tissue randomizes the propagation
direction of the reflected light rays. See Ex. 1047 ¶¶ 12, 14–17, 23;
Ex. 2020 ¶ 128; PO Sur-reply 7 (“Even Petitioner admits that tissue
randomly scatters and absorbs light rays . . . .”). This reflection principle is
illustrated by Dr. Kenny’s annotations to Inokawa’s Figure 2 reproduced
below:




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Here, Dr. Kenny has modified Inokawa’s Figure 2 by (1) removing two
black arrows, (2) coloring Inokawa’s light detector in red and Inokawa’s two
light emitters in green, and (3) adding several green arrows to illustrate the
various directions that light rays may be directed after impinging on and
reflecting off different tissues in the user’s wrist. Ex. 1047 ¶ 32.
      This randomized direction of reflected light rays results in
backscattered light that is diffuse, rather than collimated, in nature.
Figure 4.12 of Exhibit 1052 illustrates the difference between diffuse and
collimated light, and is reproduced below:




This figure provides at left a photograph and an illustration showing
incoming collimated light reflecting from a smooth surface, and at right a

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photograph and an illustration of incoming collimated light reflecting from a
rough surface. See Ex. 1052, 87–88. The smooth surface provides specular
reflection, in which the reflected light rays are collimated like the incoming
light rays. See id. The rough surface provides diffuse reflection, in which
the reflected light rays travel in random directions. See id.
      This diffuse nature of the light reflected from the user’s wrist tissue,
which both Aizawa and Inokawa aim to collect to generate pulse data,
suggests that a lens might be useful to increase the amount of collected light
and thereby increase the reliability of the pulse data generated using the
collected light. Indeed, that is taught by Inokawa. Inokawa describes using
its lens 27 to “increase the light-gathering ability” of Inokawa’s light
photodiode or detector 25.5 Ex. 1008 ¶¶ 15, 58. Furthermore, there is also
no dispute that Inokawa’s lens 27 is understood to be shaped to include a
single convex protruding surface. See, e.g., Ex. 1003 ¶¶ 87–88
(characterizing Inokawa as teachings a “convex protrusion that acts as a
lens”); PO Resp. 1 (describing Inokawa as teaching a “convex lens”). Thus,
Inokawa demonstrates that it was known in the art to use a lens comprising a
single convex protrusion to focus diffuse light reflected from body tissue on
to the light detecting elements of a wrist-worn pulse sensor, and to increase
the light gathered by the sensor thereby improving the device’s calculation
of the user’s pulse.
      A preponderance of the evidence supports Petitioner’s view that it
would have been obvious for a person of ordinary skill in the art to apply


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  Although Inokawa refers to the “LED” such as emitters 21, 23 in that
regard (Ex. 1008 ¶ 15), rather than photodiode 25, it is undisputed that
photodiode 25 is the only component of Inokawa’s sensor 1 that gathers
light.

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Inokawa’s lens technology to Aizawa’s wrist-worn pulse sensor to similarly
improve its light collection as compared to Aizawa’s existing flat cover.
That is depicted in the following illustrations provided by Dr. Kenny:




The illustration at left modifies Aizawa’s Figure 1(b) to color Aizawa’s
emitter in green, its detectors in red, and Aizawa’s existing flat cover in
blue; the illustration on the right includes Aizawa’s Figure 1(b) with the
same color coding, but wherein the flat cover is modified to incorporate a
convex protrusion that covers Aizawa’s peripheral light detectors and central
light emitter. See Ex. 1003 ¶ 89. We are persuaded by Dr. Kenny’s
testimony that Snell’s law indicates that “light rays that may have otherwise
missed the detection area are instead directed toward that area as they pass
through the interface provided by the cover,” and is especially true “in
configurations like Aizawa’s in which light detectors are arranged
symmetrically about a central light source, so as to enable backscattered
light to be detected within a circular active detection area surrounding that
source.” Ex. 1047 ¶ 26; see also id. ¶¶ 23–26.
      Patent Owner correctly notes that Inokawa’s single detector 25 is
located in the central portion of Inokawa’s sensor 1, whereas Aizawa’s four
detectors 22 are located towards the periphery of Aizawa’s sensor 2.
Compare Ex. 1008, Fig. 2, with Ex. 1006, Figs. 1(a)–1(b). Nevertheless,



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Petitioner’s proposed modification of Aizawa takes that arrangement into
account, as can be seen by the following comparison between Inokawa’s
sensor and Petitioner’s proposed modification of Aizawa’s sensor:




The illustration at left annotates Inokawa’s Figure 2 to identify the central
detector in red and the lens in blue (see Ex. 1003 ¶ 87), and the illustration at
right annotates Petitioner’s proposed modification of Aizawa to illustrate the
peripheral detectors in red and the lens in blue (see id. ¶ 89). As can be
seen, the lenses are not identical. In Inokawa the lens’s curvature is most
pronounced at the center of the lens near the central detector, and in the
proposed modification to Aizawa, the lens’s curvature is most pronounced at
the edges of the lens near the peripheral detectors. Thus, Dr. Kenny’s
proposed modification of Aizawa takes Inokawa’s general teaching of using
a convex protruding lens to increase the amount of incoming light directed
to a light detector, and applies it to the light detectors of Aizawa. See, e.g.,
Ex. 1003 ¶ 88 (“[B]ecause the path of light is reversible, the light collection
function of Inokawa’s lens would work the same way regardless of whether
light is emitted toward the center (and detected by a centrally located
photodiode) or emitted away from the center (and detected by a peripherally
located photodiode).”), 90 (“That is, depending on the desired
objective of the user (e.g., less scratches or improved light-gathering), the
shape of the cover can be readily modified.”), 91 (“[T]o achieve the goal of

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improving light collection efficiency, which both Aizawa and Inokawa
share, a [person of ordinary skill in the art] would have been able to, with a
reasonable expectation of success, modify Aizawa’s light permeable cover
to have a lens as taught by Inokawa.”); Ex. 1047 ¶¶ 7–34.
      We are cognizant of Patent Owner’s contention that Petitioner’s
ground “improperly” relies upon a reference, Nishikawa, that was not
identified as a part of the ground of unpatentability. PO Resp. 33. As Patent
Owner observes, Dr. Kenny characterizes his testimony as being “inspired
by” or “motivated” in part based on Nishikawa’s disclosure when it comes
to the shape of a convex lens. See, e.g., PO Resp. 34–36 (citing, e.g.,
Ex. 2007, 364:2–13; Ex. 2008, 73:8–12). We, however, disagree with Patent
Owner that any impropriety arises from Dr. Kenny’s contemplation of the
teachings of Nishikawa in connection with the shape of a lens for a
physiological sensor. The nature of Petitioner’s and Dr. Kenny’s
consideration of Nishikawa is explained in cited portions of Dr. Kenny’s
declaration, even if Nishikawa is not listed as a third reference in the
identification of the ground. See Ex. 1003 ¶ 91 (“[M]any prior art references
of this period, such as Nishikawa (shown below) demonstrate exactly how
such a lens shape [as taught by Inokawa] may be incorporated into a molded
cover.”); Pet. 16. Indeed, it follows readily from the Petition that a skilled
artisan would have appreciated that Nishikawa’s teachings provide insight as
to how “the transparent acrylic material used to make Aizawa’s plate can be
readily formed into a lens structure as in Inokawa.” Pet. 16. Nishikawa
describes how its “lens unit 50” can be a transparent resin formed in the
shape illustrated in Figure 6 by injection molding. Ex. 1023 ¶¶ 22, 32, 35.
Dr. Kenny also explains that Nishikawa’s lens shape design “is intended to



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provide curvature in the lens where it can do the most good and otherwise
try to avoid excess use of material in order to create curvature in locations
where it wouldn’t do any good.” Ex. 2006, 179:21–180:13.
      Moreover, we observe that a rejection based on obviousness
“require[s] an analysis that reads the prior art in context, taking account of
‘demands known to the design community,’ ‘the background knowledge
possessed by a person having ordinary skill in the art,’ and ‘the inferences
and creative steps that a person of ordinary skill in the art would employ.’”
Randall Mfg. v. Rea, 733 F.3d 1355, 1362 (Fed. Cir. 2013) (quoting KSR,
550 U.S. at 418). Furthermore, record evidence can be useful to
“demonstrate the knowledge and perspective one of ordinary skill in the art.”
Id.; see also Ariosa Diagnostics v. Verinata Health, Inc., 805 F.3d 1359,
1365 (Fed. Cir. 2015) (“Art can legitimately serve to document the
knowledge that skill artisan would bring to bear in reading the prior art
identified as producing obviousness.”).
        As noted above, Dr. Kenny makes clear that his view as to
obviousness of the claims of the ’191 patent was “inspired by” or
“motivated” in part by Nishikawa’s teachings as to shapes generally known
to those in the art of manufacturing a lens. See, e.g., Ex. 2007, 364:2–13;
Ex. 2008, 73:12–21. We conclude that the record establishes that
Nishikawa’s teachings are representative of background knowledge of one
of ordinary skill in the art and provide context and perspective of a skilled
artisan as to the type of shapes available for a convex protruding surface,
such as that disclosed in Inokawa. That Dr. Kenny considered record
evidence cited in the Petition as informing his view of what a skilled artisan




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would understand as to known types of lens shapes does not establish, in our
view, any impropriety as part of that ground.
        Patent Owner additionally asserts, and Dr. Madisetti testifies, that
Petitioner’s combination of Aizawa and Inokawa is “problematic” because it
overlooks the “small” size of Aizawa’s detectors 22 and the openings or
cavities 23c in which they are housed. See PO Resp. 21 (citing Ex. 1006,
Fig. 1(a); Ex. 2004 ¶ 63). Patent Owner, however, does not articulate what
significance the size of Aizawa’s detector components have in the
obviousness evaluation based on the teachings of the prior art.
        We additionally do not agree with Patent Owner’s argument that
Petitioner’s Reply presents new arguments and evidence that should have
been first presented in the Petition. The Petition proposed a specific
modification of Aizawa to include a convex protrusion in the cover, for the
purpose of increasing the light gathering ability of Aizawa’s device. See,
e.g., Pet. 13–17. Patent Owner, in its Response, challenged that contention
with several arguments that Petitioner’s proposed convex protrusion would
not operate in the way the Petition alleged. See, e.g., PO Resp. 15–36. In its
Reply, Petitioner provided arguments and evidence attempting to rebut the
contentions in the Patent Owner Response. See PTAB Consolidated Trial
Practice Guide (Nov. 2019),6 73 (“A party also may submit rebuttal
evidence in support of its reply.”). The Reply does not change Petitioner’s
theory for obviousness; rather, the Reply presents more argument and
evidence in support of the same theory for obviousness presented in the
Petition. Compare Pet. 13–17, with Pet. Reply 2–15.



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    Available at https://www.uspto.gov/TrialPracticeGuideConsolidated.

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      Patent Owner finally argues that a conclusion of obviousness “strains
credibility” because the level of ordinary skill in the art (see supra
Section II.C) does not require specific education or experience with optics or
optical physiological monitors. See, e.g., PO Resp. 31. We disagree.
Concerning motivation, the record demonstrates that an ordinarily skilled
artisan would have readily appreciated that: (1) Aizawa’s detector 1
operates by gathering light data with its photodetectors 22; (2) a lens was
known to focus light on photodetectors; and (3) optical lenses may be
formed by providing a convex protrusion in the lens to focus light. Indeed,
Inokawa discloses such utility, function, and structure as a part of its convex
lens. See, e.g., Ex. 1008 ¶¶ 15, 58, Fig. 2. We are persuaded that a person
of ordinary skill in the art would have understood these general concepts of
optics.
      Concerning reasonable expectation of success, we rely on
Dr. Kenny’s testimony that a person of ordinary skill in the art “would have
sought to incorporate a convex lens as in Inokawa into Aizawa’s acrylic
plate to thereby increase light collection efficiency, in turn leading to more
reliable pulse wave detection,” “would have further understood how to” do
so, “depending on the desired objective of the user,” and would have
enjoyed a reasonable expectation of success in doing so. Ex. 1003 ¶¶ 88,
90–91; Ex. 2006, 179:21–180:13, 202:11–20.
      Thus, we conclude that one of ordinary skill in the art would have had
adequate reason to replace Aizawa’s flat cover 6 with a cover comprising a
convex protrusion, to improve light detection efficiency, and would have
had a reasonable expectation of success in doing so.




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                 vi.    Summary

      For the foregoing reasons, we determine that Petitioner has met its
burden of demonstrating by a preponderance of the evidence that claim 1
would have been obvious over the cited combination of references.

                           4. Independent Claim 9
      Independent claim 9 consists of limitations that are substantially
similar to elements [a]–[d] of claim 1. Compare Ex. 1001, 44:50–67, with
id. at 45:26–36 (reciting a “planar surface”; “at least four detectors”
arranged in a “grid pattern” on the planar surface; and “a lens forming a
cover of the housing”). In asserting that claim 9 also would have been
obvious over the combined teachings of Aizawa and Inokawa, Petitioner
refers to substantially the same arguments presented as to claim 1. See
Pet. 35–38; Ex. 1003 ¶¶ 106–113.
      Patent Owner does not present any argument for this claim other than
those we have already considered with respect to independent claim 1. PO
Resp. 12–42.
      For the same reasons discussed above, we determine that Petitioner
has met its burden of demonstrating by a preponderance of the evidence that
claim 9 would have been obvious over the cited combination of references.
See supra II.D.3.i–v; Ex. 1003 ¶¶ 106–113.

               5. Dependent Claims 2–6, 8, 10–16, 18, and 19

      Petitioner presents undisputed contentions that claims 2–6, 8, 10–16,
18, and 19, which depend directly or indirectly from independent claim 1 or
9, are unpatentable over the combined teachings of Aizawa and Inokawa,




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and provides arguments explaining how the references teach the limitations
of these claims. Pet. 29–34, 38–43; Ex. 1003 ¶¶ 94–105, 114–124.
      Patent Owner does not present any arguments for these claims other
than those we have already considered with respect to independent claim 1.
PO Resp. 42 (“The Petition fails to establish that independent claims 1 and 9
would have been obvious . . . and thus fails to establish obviousness as to
any of the challenged dependent claims.”).
      We have considered the evidence and arguments of record and
determine that Petitioner has demonstrated by a preponderance of the
evidence that claims 2–6, 8, 10–16, 18, and 19 would have been obvious
over the combined teachings of the cited references and as supported by the
testimony of Dr. Kenny.

              E. Obviousness over the Combined Teachings of
                       Mendelson-1988 and Inokawa

      Petitioner contends that claims 1–6, 8–16, 18, and 19 of the
’191 patent would have been obvious over the combined teachings of
Mendelson-1988 and Inokawa. Pet. 46–70.

                1. Overview of Mendelson-1988 (Ex. 1015)

      Mendelson-1988 discloses a pulse oximeter, with an optical
reflectance sensor suitable for noninvasive monitoring of a user’s arterial
hemoglobin oxygen saturation (SpO2), via the user’s forehead. See
Ex. 1015, 167 (title & abstract). Figure 2 is reproduced below:




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Figure 2 illustrates the sensor of Mendelson-1988, including: (A) a top view
diagram; (B) a side view diagram; and (C) a photograph. Id. at 169.
      The sensor includes two red LEDs and two infrared LEDs for emitting
light into the user’s tissue, and six photodiodes “arranged symmetrically in a
hexagonal configuration” surrounding the four emitters, to detect light
reflected back to the sensor from the user’s tissue. Id. at 168 (“SENSOR
DESIGN”). The user’s “SpO2 can be calculated from the ratio of the
reflected red and infrared photoplethysmograms.” Id. at 167. “To minimize
the amount of light transmission and reflection between the LEDs and the
photodiodes within the sensor, a ring-shaped, optically opaque shield of
black Delrin . . . was placed between the LEDs and the photodiode chips.”
Id. at 168 (col. 2). “The optical components were encapsulated inside the
package using optically clear adhesive.” Id. “The microelectronic package
was mounted inside a black Delrin housing.” Id.


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                           2. Independent Claim 1

      Petitioner contends that claim 1 would have been obvious over the
combined teachings of Mendelson-1988 and Inokawa. Pet. 47–51
(combination), 51–56 (claim 1).

                   i.   “A noninvasive optical physiological sensor
                        comprising”

      The cited evidence supports Petitioner’s undisputed contention that
Mendelson-1988 discloses a noninvasive optical physiological sensor,
i.e., an “optical reflectance sensor” that monitors “arterial hemoglobin
oxygen saturation,” a physiological parameter of the wearer. Pet. 51; see,
e.g., Ex. 1015, Abstract, 167, 172; Ex. 1003 ¶ 130.

                  ii.   “[a] a plurality of emitters configured to emit light
                        into tissue of a user”

      The cited evidence supports Petitioner’s undisputed contention that
Mendelson-1988 discloses two red LEDs and two infrared LEDs that emit
light into user tissue. Pet. 51; see, e.g., Ex. 1015, 168 (“The optical
reflectance sensor used in this study consists of two red (peak emission
wavelength: 660 nm) and two infrared (peak emission wavelength: 930 nm)
LED chips.”)), Fig. 2(a); Ex. 1003 ¶ 131.

                 iii.   “[b] a plurality of detectors configured to detect light
                        that has been attenuated by tissue of the user, wherein
                        the plurality of detectors comprise at least four
                        detectors”

      The cited evidence supports Petitioner’s undisputed contention that
Mendelson-1998 discloses “six silicon photodiodes . . . arranged
symmetrically in a hexagonal configuration” on the sensor. Pet. 52; see,


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e.g., Ex. 1015, 168–169, Figs. 2(A)–(B). Mendelson-1998 discloses that the
photodiodes output “current pulses” indicative of a physiological parameter
of the wearer in response to light emitted by the emitters and reflected from
the skin. Pet. 52; see, e.g., Ex. 1015, 167 (“SpO2 can be calculated from the
ratio of the reflected red and infrared photoplethysmograms.”); Ex. 1003
¶ 132.

                   iv.    “[c] a housing configured to house at least the
                          plurality of detectors in a circular portion of the
                          housing”

Petitioner’s Undisputed Contentions
         The cited evidence supports Petitioner’s contention that Mendelson-
1988 discloses an AIRPAX package, i.e., a housing in which the detectors
are located. Pet. 60; Ex. 1015, 168. Petitioner’s annotated version of
Mendelson-1988’s Figures 2B is reproduced below.




Pet. 53. The modified figure depicts a side view of Mendelson-1988’s
sensor with a housing (depicted in red) in which the detectors (depicted in
green) are located. Id.; Ex. 1003 ¶ 133.
Petitioner’s Disputed Contentions
         Petitioner contends that although the housing of Mendelson-1998
appears to have a square shape, not a circular one, a person of ordinary skill



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in the art “would have recognized that microelectronic packaging as used in
Mendelson-1988 comes in various shapes and sizes,” and that such an
artisan “would have considered using a differently shaped housing, namely a
circular one, to be obvious” because a circular housing was common and the
shape would have imparted nothing new or inventive. Pet. 54–55 (citing,
e.g., Ex. 1003 ¶¶ 134–135). For example, Petitioner relies on Mendelson-
799,7 which discloses a sensor for an optical measurement device having a
circular shape. Id. (citing Ex. 1025, Fig. 7, 9:34–36).
Patent Owner’s Arguments
        Patent Owner argues that Mendelson-1988 and Inokawa provide
square housings for their components. PO Resp. 52–53. According to
Patent Owner, “[t]he Petition never identifies a motivation to pick a circular-
shaped housing instead of the existing square shape” and that a skilled
artisan would not have made such a modification without some perceived
benefit for doing so. Id. at 53–54 (citing, e.g., Ex. 2004 ¶ 118). Patent
Owner objects to Petitioner’s reliance on the sensor shape taught by
Mendelson-799 because (1) Mendelson-799 is not included in any ground,
and (2) Mendelson-799 does not disclose a cover and, as such, cannot
disclose the combined claim features. Id. at 54.
Petitioner’s Reply
        In its Reply, Petitioner contends that “neither the ’191 patent nor
[Patent Owner] provides any explanation of how the particular housing
shape solves some problem or presents some unexpected result.” Pet.
Reply 26.



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    U.S. Patent No. 6,801,799 B2 (“Mendelson-799,” Ex. 1025).

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Patent Owner’s Sur-reply
      In its Sur-reply, Patent Owner reiterates its positions from its
Response. PO Sur-reply 23.
Analysis
      We are persuaded by Petitioner’s contentions. Mendelson-1988
discloses a housing in the form of an AIRPAX package that has a square
shape when viewed from above. See Ex. 1015, Fig. 2(A). Petitioner’s and
Dr. Kenny’s general assessment that a person of ordinary skill in the art
would have been aware that a circular housing shape was a known option for
housing components of a physiological sensor finds support in the record.
Pet. 53–55; Ex. 1003 ¶¶ 133–135. In that respect, although Mendelson-799
was not listed in the styling of the proposed grounds of unpatentability based
on Mendelson-1988 and Inokawa, its teachings plainly were offered in the
Petition as evidence of the background knowledge that an ordinarily skilled
artisan would have brought to bear in an evaluation of the teachings
Mendelson-1988 and Inokawa. Pet. 54. Moreover, it is clear that Patent
Owner understood that the proposed ground offered in the Petition
considered the disclosure of Mendelson-799, and Patent Owner had
opportunity to address that disclosure. Indeed, Patent Owner availed itself
of that opportunity during trial (see, e.g., PO Resp. 52–54; PO Sur-reply 23).
      We further find unavailing Patent Owner’s argument that
“Mendelson[-]799 does not disclose a cover (or even epoxy encapsulation).”
PO Resp. 54. Figure 7 of Mendelson-799 is reproduced below:




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Figure 7 is a top view of optical sensor 10 comprising light source 12
composed of three LEDs 12A, 12B, and 12C emitting light of three different
wavelengths, and an array of six near detectors 18 and six far detectors 16
“arranged in two concentric ring-like arrangements” surrounding light
source 12. Ex. 1025, 9:23–34. “All these elements are accommodated in a
sensor housing 17” which, as can be seen in Figure 7, is clearly circular. Id.
at 9:34–35. Patent Owner does not articulate why the presence or absence of
a cover in Mendelson-799 somehow serves to discount the unambiguous
presentation of a sensor housing having a circular shape.
      Furthermore, one of ordinary skill in the art would have understood
that the AIRPAX package of Mendelson-1988 and the housing 17 of
Mendelson-799 are performing the same function of enclosing a central
collection of light emitters which are surrounded by an array of light
detectors in an optical sensor attached to a user’s body. See, e.g., Ex. 1015,
Figs. 2A–2B; Ex. 1025, Fig. 7. The evidence of record also does not suggest
that the shape of such a housing has any functional significance in the
operation of the optical sensor, or that any particular known shape was
preferred or restricted. Thus, the evidence suggests that a square shape and a
circular shape of such a housing were known in the art to be predictable

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substitutes for one another, and therefore obvious variants. See, e.g., KSR,
550 U.S. at 416 (“[W]hen a patent claims a structure already known in the
prior art that is altered by the mere substitution of one element for another
known in the field, the combination must do more than yield a predictable
result.”); id. at 417 (“[W]hen a patent ‘simply arranges old elements with
each performing the same function it had been known to perform’ and yields
no more than one would expect from such an arrangement, the combination
is obvious.” (citation omitted)).
      Thus, we conclude a person of ordinary skill in the art would have
found it obvious to modify the square shape of Mendelson-1988’s sensor to
be circular, and would have had a reasonable expectation of success in doing
so.

                  v.   “[d] a lens configured to be located between tissue of
                       the user and the plurality of detectors when the
                       noninvasive optical physiological sensor is worn by
                       the user, wherein the lens comprises a single
                       outwardly protruding convex surface configured to
                       cause tissue of the user to conform to at least a
                       portion of the single outwardly protruding convex
                       surface when the noninvasive optical physiological
                       sensor is worn by the user and during operation of the
                       noninvasive optical physiological sensor”

Petitioner’s Contentions
      Petitioner contends that Mendelson-1988’s sensor discloses a light
permeable cover, i.e., the “OPTICALLY CLEAR EPOXY” in Figure 2B,
that covers the detectors and is located between the user’s tissue and the
detectors when worn. Pet. 47, 55–56; Ex. 1003 ¶¶ 67, 136–145. Petitioner
states that Mendelson-1998 does not provide further details, such as the
“precise shape of this layer’s interface with the skin.” Pet. 47; Ex. 1003


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¶ 137. As discussed above in Section II.D.3, Petitioner contends that
Inokawa’s sensor includes lens 27 positioned over light detector 25. Pet. 65.
Petitioner reasons that an ordinarily skilled artisan would have been
motivated, with a reasonable expectation of success, to modify
Mendelson-1988’s optical SpO2 sensor, in light of Inokawa’s optical pulse
sensor, by adding a lens with a single outwardly protruding convex surface
to Mendelson-1988’s cover to improve the sensor’s light detection
efficiency. Id. at 48–49.
      Dr. Kenny provides the following illustrations to portray the proposed
modification of Mendelson-1988’s sensor (Ex. 1003 ¶¶ 140–141):




At the left, Dr. Kenny has excerpted and annotated Mendelson-1988’s
Figure 2B, to identify the pre-existing cover (colored blue) which covers the
light emitters and detectors. See id. At the right, Dr. Kenny has illustrated
the device resulting from the proposed modification of the cover to have a
single convex protrusion (also colored blue). See id.
      Petitioner adds that a person of ordinary skill in the art would have
had a reasonable expectation of success in implementing Inokawa’s lens
structure in Mendelson-1998, and that the modification would have
“require[d] only routine knowledge of sensor design and assembly.”


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Pet. 59–60; Ex. 1003 ¶ 142. For example, Petitioner contends that prior art
to Nishikawa demonstrates that “molding clear epoxy, as in
Mendelson-1988, into a lens was well understood.” Pet. 50 (citing Ex. 1023,
Fig. 6, ¶¶ 22, 32, 35; Ex. 1003 ¶ 143). Indeed, Petitioner notes that
Mendelson-1998 and Nishikawa utilize the same material, which “can have
the same index of refraction, and, as such, the interface between the
encapsulation portion and the lens portion will not adversely affect the
optical performance of the modified system.” Id. (citing Ex. 1023 ¶ 37;
Ex. 1003 ¶ 144).
      Finally, Petitioner contends that “[a]ttaching a rigid device,” as
suggested by the proposed combination of Mendelson-1998 and Inokawa,
“in such a manner will cause at least some deformation of the tissue to occur
because the skin is more pliable than the cover,” such that the modified
sensor and lens “acts to further deform the tissue of the user around the
convex surface of the lens when the device is pressed against the tissue.”
Pet. 56; Ex. 1003 ¶ 145.
Patent Owner’s Arguments
      Patent Owner is of the view that Petitioner has not met its burden to
demonstrate the obviousness of modifying Mendelson-1988’s sensor in light
of Inokawa to have a protrusion, based on substantially the same analysis
and testimony discussed above in the context of combining Aizawa and
Inokawa. See PO Resp. 46–50; Ex. 2004 ¶¶ 98–109; supra Section II.D.3.v.
For example, Patent Owner argues that Mendelson-1988, like Aizawa,
provides central emitters surrounded by several peripherally located
detectors. Compare Ex. 1015, 169 (Fig. 2) (showing four central LEDs
surrounded by six photodiodes), with Ex. 1006, Figs. 1(a)–1(b) (showing



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one central LED 21 surrounded by four photodetectors 22); PO Resp. 46.
Given this arrangement, Patent Owner reiterates its argument that the
proposed combination in view of Inokawa would direct light away from the
peripheral detectors, and toward the center of the sensor, thereby
diminishing the received signal. PO Resp. 48–50.
        Additionally, and as discussed above in the context of combining
Aizawa and Inokawa, Patent Owner argues that Petitioner improperly relies
upon Nishikawa’s teachings, although Nishikawa is not identified as part of
the asserted ground of unpatentability. PO Resp. 54–55.
Petitioner’s Reply
        Petitioner incorporates its contentions as set forth regarding the
proposed combination of Aizawa and Inokawa, and responds that
Dr. Kenny’s consideration of Nishikawa was proper, as providing further
support for the proposed combination. Pet. Reply 23, 26–27.
Patent Owner’s Sur-reply
        Patent Owner’s Sur-reply generally reiterates its arguments
challenging Petitioner’s contentions. PO Sur-reply 20–24.
Analysis
        As an initial matter, we find that a preponderance of the evidence
establishes that the Mendelson-1988 sensor’s optically clear epoxy is a light
permeable cover that is arranged above a portion of the housing and covers
the sensor’s detectors. 8 In particular, it is clear from Figures 2A and 2B that
the epoxy extends from the top of the sensor at the dotted line in the figure,
down into the well of the AIRPAX package, to cover all four LEDs and all
six photodiodes disposed at the bottom of the well. See also Ex. 1015, 168


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    We note that claim 1 does not recite a “cover.” See supra § II.A.1.

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(“The optical components were encapsulated inside the package using
optically clear adhesive.”).
      We also conclude that a preponderance of the evidence supports
Petitioner’s contention that it would have been obvious to modify the top
surface of Mendelson-1988’s epoxy to include a lens including a single
convex protruding surface, in order to increase the amount of backscattered
light that will be received by Mendelson-1988’s peripheral detectors. Our
reasoning is substantially identical to the analysis provided above in
connection with the ground based on Aizawa and Inokawa, with
Mendelson-1988 replacing Aizawa in the combination. See supra
Section II.D.3. Patent Owner does not cite, and we do not discern, any
material difference between Mendelson-1988 and Aizawa that might lead to
a different result here. For the reasons discussed in Section II.D.3, we do
not agree with Patent Owner’s arguments that the proposed combination
would result in a diminished sensor signal, or that Petitioner improperly
relied upon Nishikawa.

                 vi.   Summary
      For the foregoing reasons, we determine that Petitioner has met its
burden of demonstrating by a preponderance of the evidence that claim 1
would have been obvious over the cited combination of references.

                           3. Independent Claim 9
      Independent claim 9 consists of limitations that are substantially
similar to elements [a]–[d] of claim 1. Compare Ex. 1001, 44:50–67, with
id. at 45:26–36 (reciting a “planar surface”; “at least four detectors”
arranged in a “grid pattern” on the planar surface; and “a lens forming a


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cover of the housing”). In asserting that claim 9 also would have been
obvious over the combined teachings of Mendelson-1988 and Inokawa,
Petitioner refers to substantially the same arguments presented as to claim 1.
See Pet. 63–66; Ex. 1003 ¶¶ 160–165. Specifically, regarding the recitation
of “a lens forming a cover of the housing,” Petitioner maintains that
“Mendelson-1988-Inokawa renders obvious” this limitation and incorporates
its contentions from claim 1. Pet. 66; Ex. 1003 ¶ 165.
      Regarding claim 9, Patent Owner largely relies upon arguments we
have already considered with respect to independent claim 1. PO Resp. 46–
56. Additionally, Patent Owner argues that Petitioner’s proposed
combination does not include the claimed “cover” because Mendelson-1988
encapsulates its components in optically clear adhesive/epoxy, which is not a
“cover.” PO Resp. 46, 51–52. Patent Owner contends that the ’191 patent
distinguishes between resin and covers. Id. at 51 (citing Ex. 1001, 36:50–
60). Patent Owner also argues that Nishikawa, on which Petitioner relies,
“never identifies its resin as a cover,” and instead “discusses encapsulation
of components using an integrally molded resin.” Id. at 52 (citing Ex. 1023
¶ 35). Likewise, Patent Owner characterizes Inokawa’s cover as a “distinct
structure, not an undifferentiated mass of resin on a surface.” Id. (citing
Ex. 1008 ¶ 103).
      Patent Owner’s argument, however, is premised on its proposed claim
construction of the term “cover” as excluding resins and epoxies. Id. For
reasons provided in Section II.A.1 above, we do not find that claim
construction persuasive, and Patent Owner does not distinguish the prior art
from claim 9 on this basis.




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       Thus, for the same reasons discussed above, we determine that
Petitioner has met its burden of demonstrating by a preponderance of the
evidence that claim 9 would have been obvious over the cited combination
of references. See supra II.E.2.i–v; Ex. 1003 ¶¶ 160–165.

              4. Dependent Claims 2–6, 8, 10–16, 18, and 19

       Petitioner presents undisputed contentions that claims 2–6, 8, 10–16,
18, and 19, which depend directly or indirectly from independent claim 1 or
9, are unpatentable over the combined teachings of Mendelson-1988 and
Inokawa, and provides arguments explaining how the references teach the
limitations of these claims. Pet. 56–63, 66–70; Ex. 1003 ¶¶ 146–157, 166–
175.
       Patent Owner does not present any arguments for these claims other
than those we have already considered with respect to independent claim 1.
PO Resp. 56 (“The Petition fails to establish that independent claims 1 and 9
are obvious . . . and therefore fails to establish obviousness as to any of the
challenged dependent claims.”).
       We have considered the evidence and arguments of record and
determine that Petitioner has demonstrated by a preponderance of the
evidence that claims 2–6, 8, 10–16, 18, and 19 would have been obvious
over the combined teachings of the cited references and as supported by the
testimony of Dr. Kenny.




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              F. Obviousness over the Combined Teachings of
                        Aizawa, Inokawa, and Ohsaki

      Petitioner contends that claims 1–6, 8–16, 18, and 19 of the ’191
patent would have been obvious over the combined teachings of Aizawa,
Inokawa, and Ohsaki. Pet. 43–46.
      Because we have already determined that these claims are
unpatentable based on Aizawa and Inokawa, and based on Mendelson-1988
and Inokawa, which are dispositive as to all challenged claims, we need not
reach this additional ground. See SAS Inst. Inc. v. Iancu, 138 S. Ct. 1348,
1359 (2018) (holding that a petitioner “is entitled to a final written decision
addressing all of the claims it has challenged”); Boston Sci. Scimed, Inc. v.
Cook Grp. Inc., 809 F. App’x 984, 990 (Fed. Cir. 2020) (“[T]he Board need
not address issues that are not necessary to the resolution of the
proceeding.”); see supra §§ II.D–E.




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                                III. CONCLUSION
         In summary: 9
      Claims      35 U.S.C. § Reference(s)/         Claims      Claims Not
                                 Basis              Shown         Shown
                                                 Unpatentable Unpatentable
    1–6, 8–16,                  Aizawa,          1–6, 8–16, 18,
                      103
    18, 19                      Inokawa          19
    1–6, 8–16,                  Mendelson-
                                                 1–6, 8–16, 18,
    18, 19            103       1988,
                                                 19
                                Inokawa
    1–6, 8–16,                  Aizawa,
                     10310
    18, 19                      Inokawa,
                                Ohsaki
    Overall                                      1–6, 8–16, 18,
    Outcome                                      19


                                   IV. ORDER
         Upon consideration of the record before us, it is:
         ORDERED that claims 1–6, 8–16, 18, and 19 of the ’191 patent have
been shown to be unpatentable; and



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  Should Patent Owner wish to pursue amendment of the challenged claims
in a reissue or reexamination proceeding subsequent to the issuance of this
decision, we draw Patent Owner’s attention to the April 2019 Notice
Regarding Options for Amendments by Patent Owner Through Reissue or
Reexamination During a Pending AIA Trial Proceeding. See 84 Fed. Reg.
16654 (Apr. 22, 2019). If Patent Owner chooses to file a reissue application
or a request for reexamination of the challenged patent, we remind Patent
Owner of its continuing obligation to notify the Board of any such related
matters in updated mandatory notices. See 37 C.F.R. § 42.8(a)(3), (b)(2).
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  As explained above, because we conclude that the challenged
claims are unpatentable on other grounds, we do not reach the merits of
this ground.

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      FURTHER ORDERED that, because this is a final written decision,
parties to the proceeding seeking judicial review of the decision must
comply with the notice and service requirements of 37 C.F.R. § 90.2.




For PETITIONER:

Walter Renner
Andrew B. Patrick
Hyun Jin In
Roberto DeVoto
FISH & RICHARDSON P.C.
Axf-ptab@fr.com
PTABInbound@fr.com
in@fr.com
devoto@fr.com


For PATENT OWNER:

Joseph Re
Jarom Kesler
Stephen Larson
Jacob Peterson
KNOBBE, MARTENS, OLSEN, & BEAR, LLP
2jrr@knobbe.com
2jzk@knobbe.com
2slw@knobbe.com
2jup@knobbe.com




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                           CERTIFICATE OF SERVICE

      I hereby certify that the original of this Notice of Appeal was filed via

U.S.P.S. Priority Mail Express on July 27, 2022 with the Director of the United

States Patent and Trademark Office at the address below:

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Alexandria, Virginia 22313-1450

      A copy of this Notice of Appeal is being filed and served on July 27, 2022 as

follows:

To the USPTO Patent Trial and Appeal Board:
Patent Trial and Appeal Board
Madison Building East
600 Dulany Street
Alexandria, VA 22313

(via PTABe2e – as authorized by the Board)

To the U.S. Court of Appeals for the Federal Circuit:
Clerk of Court
U.S. Court of Appeals for the Federal Circuit
717 Madison Place, N.W.
Washington, DC 20439

(via CM/ECF – with filing fee)

Counsel for Petitioner Apple, Inc.

                                  W. Karl Renner
                                    Hyun Jin In
                                    Dan Smith
                                 Andrew B. Patrick
                              Fish & Richardson P.C.
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Apple v. Masimo

                                3200 RBC Plaza
                              60 South Sixth Street
                             Minneapolis, MN 55402
                           IPR50095-0025IP1@fr.com
                             PTABInbound@fr.com
                                   in@fr.com

Dated: July 27, 2022             By: /Jarom Kesler/
                                     Jarom D. Kesler (Reg. No. 57,046)
                                     Joseph R. Re (Reg. No. 31,291)
                                     Stephen W. Larson (Reg. No. 69,133)
                                     Jacob L. Peterson (Reg. No. 65,096)
                                     Attorneys for Patent Owner
                                     Masimo Corporation
55958477
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Trials@uspto.gov                                                      Paper 7
571-272-7822                                            Entered: June 3, 2021


       UNITED STATES PATENT AND TRADEMARK OFFICE


        BEFORE THE PATENT TRIAL AND APPEAL BOARD


                             APPLE INC.,
                              Petitioner,

                                     v.

                      MASIMO CORPORATION,
                           Patent Owner.


                           IPR2021-00193
                         Patent 10,299,708 B1



Before JOSIAH C. COCKS, ROBERT L. KINDER, and
AMANDA F. WIEKER, Administrative Patent Judges.

KINDER, Administrative Patent Judge.


                               DECISION
               Granting Institution of Inter Partes Review
                   35 U.S.C. § 314, 37 C.F.R. § 42.4
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                             I.   INTRODUCTION

                                  A. Background

      Apple Inc. (“Petitioner”) filed a Petition requesting an inter partes
review of claims 1–29 (“challenged claims”) of U.S. Patent No. 10,299,708
B1 (Ex. 1001, “the ’708 patent”). Paper 2 (“Pet.”). Masimo Corporation
(“Patent Owner”) waived filing a preliminary response. Paper 5 (“PO
Waiver”).
      We have authority to determine whether to institute an inter partes
review, under 35 U.S.C. § 314 and 37 C.F.R. § 42.4. An inter partes review
may not be instituted unless it is determined that “the information presented
in the petition filed under section 311 and any response filed under section
313 shows that there is a reasonable likelihood that the petitioner would
prevail with respect to at least 1 of the claims challenged in the petition.”
35 U.S.C. § 314 (2018); see also 37 C.F.R. § 42.4(a) (“The Board institutes
the trial on behalf of the Director.”).
      For the reasons provided below and based on the record before us, we
determine that Petitioner has demonstrated a reasonable likelihood that
Petitioner would prevail in showing the unpatentability of at least one of the
challenged claims. Accordingly, we institute an inter partes review on all
grounds set forth in the Petition.

                              B. Related Matters

      The parties identify the following matters related to the ’708 patent:
      Masimo Corporation v. Apple Inc., Civil Action No. 8:20-cv-00048
(C.D. Cal.) (filed Jan. 9, 2020);




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      Apple Inc. v. Masimo Corporation, IPR2020-01520 (PTAB Aug. 31,
2020) (challenging claims of U.S. Patent No. 10,258,265 B1);
      Apple Inc. v. Masimo Corporation, IPR2020-01521 (PTAB Sept. 2,
2020) (challenging claims of U.S. Patent No. 10,292,628 B1);
      Apple Inc. v. Masimo Corporation, IPR2020-01523 (PTAB Sept. 9,
2020) (challenging claims of U.S. Patent No. 8,457,703 B2);
      Apple Inc. v. Masimo Corporation, IPR2020-01524 (PTAB Aug. 31,
2020) (challenging claims of U.S. Patent No. 10,433,776 B2);
      Apple Inc. v. Masimo Corporation, IPR2020-01526 (PTAB Aug. 31,
2020) (challenging claims of U.S. Patent No. 6,771,994 B2);
      Apple Inc. v. Masimo Corporation, IPR2020-01536 (PTAB Aug. 31,
2020) (challenging claims of U.S. Patent No. 10,588,553 B2);
      Apple Inc. v. Masimo Corporation, IPR2020-01537 (PTAB Aug. 31,
2020) (challenging claims of U.S. Patent No. 10,588,553 B2);
      Apple Inc. v. Masimo Corporation, IPR2020-01538 (PTAB Sept. 2,
2020) (challenging claims of U.S. Patent No. 10,588,554 B2);
      Apple Inc. v. Masimo Corporation, IPR2020-01539 (PTAB Sept. 2,
2020) (challenging claims of U.S. Patent No. 10,588,554 B2);
      Apple Inc. v. Masimo Corporation, IPR2020-01713 (PTAB Sept. 30,
2020) (challenging claims of U.S. Patent No. 10,624,564 B1);
      Apple Inc. v. Masimo Corporation, IPR2020-01714 (PTAB Sept. 30,
2020) (challenging claims of U.S. Patent No. 10,631,765 B1);
      Apple Inc. v. Masimo Corporation, IPR2020-01715 (PTAB Sept. 30,
2020) (challenging claims of U.S. Patent No. 10,631,765 B1);
      Apple Inc. v. Masimo Corporation, IPR2020-01716 (PTAB Sept. 30,
2020) (challenging claims of U.S. Patent No. 10,702,194 B1);



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      Apple Inc. v. Masimo Corporation, IPR2020-01722 (PTAB Oct. 2,
2020) (challenging claims of U.S. Patent No. 10,470,695 B2);
      Apple Inc. v. Masimo Corporation, IPR2020-01723 (PTAB Oct. 2,
2020) (challenging claims of U.S. Patent No. 10,470,695 B2);
      Apple Inc. v. Masimo Corporation, IPR2020-01733 (PTAB Sept. 30,
2020) (challenging claims of U.S. Patent No. 10,702,195 B1);
      Apple Inc. v. Masimo Corporation, IPR2020-01737 (PTAB Sept. 30,
2020) (challenging claims of U.S. Patent No. 10,709,366 B1)
      Apple Inc. v. Masimo Corporation, IPR2021-00195 (PTAB Nov. 20,
2020) (challenging claims of U.S. Patent No. 10,376,190 B1);
      Apple Inc. v. Masimo Corporation, IPR2021-00208 (PTAB Nov. 20,
2020) (challenging claims of U.S. Patent No. 10,258,266 B1); and
      Apple Inc. v. Masimo Corporation, IPR2021-00209 (PTAB Nov. 20,
2020) (challenging claims of U.S. Patent No. 10,376,191 B1).
Pet. 97–98; Paper 3, 3–4.
      Patent Owner further identifies the following pending patent
applications, among other issued and abandoned applications, that claim
priority to, or share a priority claim with, the ’708 patent:
      U.S. Patent Application No. 16/834,538;
      U.S. Patent Application No. 17/031,407;
      U.S. Patent Application No. 17/031,316;
      U.S. Patent Application No. 17/031,356;
      U.S. Patent Application No. 16/449,143; and
      U.S. Patent Application No. 16/805,605.
Paper 3, 2–3.




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                             C. The ’708 Patent

      The ’708 patent is titled “Multi-Stream Data Collection System for
Noninvasive Measurement of Blood Constituents,” and issued on May 28,
2019, from U.S. Patent Application No. 16/261,366, filed Jan. 29, 2019.
Ex. 1001, codes (21), (22), (45), (54). The ’708 patent claims priority
through a series of continuation and continuation-in-part applications to
Provisional Application Nos. 61/078,228 and 61/078,207, both filed July 3,
2008. Id. at codes (60), (63).
      The ’708 patent discloses a two-part data collection system including
a noninvasive sensor that communicates with a patient monitor. Id. at 2:31–
33. The sensor includes a sensor housing, an optical source, and several
photodetectors, and is used to measure a blood constituent or analyte, e.g.,
oxygen or glucose. Id. at 2:22–28, 57–58. The patient monitor includes a
display and a network interface for communicating with a handheld
computing device. Id. at 2:38–40.




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      Figure 1 of the ’708 patent is reproduced below.




Figure 1 illustrates a block diagram of data collection system 100 including
sensor 101 and monitor 109. Id. at 11:36–47. Sensor 101 includes optical
emitter 104 and detectors 106. Id. at 11:48–52. Emitters 104 emit light that
is attenuated or reflected by the patient’s tissue at measurement site 102. Id.
at 13:60–67. Detectors 106 capture and measure the light attenuated or
reflected from the tissue. Id. In response to the measured light,
detectors 106 output detector signals 107 to monitor 109 through front-end
interface 108. Id. at 13:64–66, 14:16–22. Sensor 101 also may include
tissue shaper 105, which may be in the form of a convex surface that: (1)
reduces the thickness of the patient’s measurement site; and (2) provides
more surface area from which light can be detected. Id. at 10:61–11:3.
      Monitor 109 includes signal processor 110 and user interface 112. Id.
at 15:6–8. “[S]ignal processor 110 includes processing logic that determines


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measurements for desired analytes . . . based on the signals received from
the detectors.” Id. at 15:10–14. User interface 112 presents the
measurements to a user on a display, e.g., a touch-screen display. Id. at
15:38–48. The monitor may be connected to storage device 114 and
network interface 116. Id. at 15:52–16:3.
      The ’708 patent describes various examples of sensor devices.
Figures 14D and 14F, reproduced below, illustrate sensor devices.




Figure 14D illustrates portions of a detector submount and Figure 14F
illustrates portions of a detector shell. Id. at 6:34–37. As shown in
Figure 14D, multiple detectors 1410c are located within housing 1430 and
under transparent cover 1432, on which protrusion 605b (or partially
cylindrical protrusion 605) is disposed. Id. at 35:23–25, 36:17–24.
Figure 14F illustrates a detector shell 306f including detectors 1410c on
substrate 1400c. Id. at 36:63–37:4. Substrate 1400c is enclosed by shielding
enclosure 1490 and noise shield 1403, which include window 1492a and
window 1492b, respectively, placed above detectors 1410c. Id.
Alternatively, cylindrical housing 1430 may be disposed under noise
shield 1403 and may enclose detectors 1410c. Id. at 37:34–36.

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      Figures 4A and 4B, reproduced below, illustrate an alternative
example of a tissue contact area of a sensor device.




Figures 4A and 4B illustrate arrangements of protrusion 405 including
measurement contact area 470. Id. at 23:8–14. “[M]easurement site contact
area 470 can include a surface that molds body tissue of a measurement
site.” Id. “For example, . . . measurement site contact area 470 can be
generally curved and/or convex with respect to the measurement site.” Id. at
23:31–33. The measurement site contact area may include windows 420–
423 that “mimic or approximately mimic a configuration of, or even house, a
plurality of detectors.” Id. at 23:39–53.

                            D. Illustrative Claim

      Of the challenged claims, claims 1 and 19 are independent. Claim 1 is
illustrative and is reproduced below.
      1. A noninvasive optical physiological sensing system
      comprising:
         [a] a platform including a planar surface;
         [b] a housing including a raised edge portion extending from
      and enclosing at least a portion of the planar surface;
         [c] at least four detectors arranged on the planar surface of the
      platform and within the housing, wherein the at least four

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      detectors are arranged in a grid pattern such that a first detector
      and a second detector are arranged across from each other on
      opposite sides of a central point along a first axis, and a third
      detector and a fourth detector are arranged across from each other
      on opposite sides of the central point along a second axis which
      is perpendicular to the first axis; and
          [d] the housing including a protruding light permeable cover.
Ex. 1001, 44:36–50 (bracketed identifiers a–d added). Independent claim 19
includes limitations similar to limitations [a]–[d] of claim 1 but also requires
distinct limitations discussed more below. Id. at 45:53–46:11 (reciting a
“platform,” “at least four detectors,” and a “light permeable cover . . .
protruding above the raised wall”).

                            E. Applied References
      Petitioner relies upon the following references:
            Beyer, Jr., U.S. Patent No. 7,031,728 B2, filed Sept. 21, 2004,
      issued Apr. 18, 2006 (Ex. 1019, “Beyer”);
            Ohsaki et al., U.S. Patent Application Publication No.
      2001/0056243 A1, filed May 11, 2001, published December 27, 2001
      (Ex. 1014, “Ohsaki”);
            Aizawa, U.S. Patent Application Publication No.
      2002/0188210 A1, filed May 23, 2002, published December 12, 2002
      (Ex. 1006, “Aizawa”);
            Lo et al., U.S. Patent Application Publication
      No. 2004/0138568 A1, filed Jan. 15, 2003, published July 15, 2004
      (Ex. 1028, “Lo”);
            Inokawa et al., Japanese Patent Application Publication
      No. 2006-296564 A, filed April 18, 2005, published November 2,
      2006 (Ex. 1007, “Inokawa”);1



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 Petitioner relies on a certified English translation of Inokawa (Ex. 1008).
In this Decision, we also refer to the translation.

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            Goldsmith et al., U.S. Patent Application Publication
      No. 2007/0093786 A1, filed July 31, 2006, published April 26, 2007
      (Ex. 1027, “Goldsmith”);
            Al-Ali et al., U.S. Patent Application Publication No.
      2008/0242958 A1, filed Mar. 26, 2008, published Oct. 2, 2008
      (Ex. 1030, “Al-Ali”);
            Y. Mendelson et al., “Design and Evaluation of a New
      Reflectance Pulse Oximeter Sensor,” Association for the
      Advancement of Medical Instrumentation, vol. 22, No. 4, 167–173
      (1988) (Ex. 1015, “Mendelson-1988”);
            Y. Mendelson et al., “A Wearable Reflectance Pulse Oximeter
      for Remote Physiological Monitoring,” Proceedings of the 28th IEEE
      EMBS Annual International Conference, 912–915 (2006) (Ex. 1016,
      “Mendelson-2006”).
Pet. 3–4. Petitioner also submits, inter alia, the Declaration of Thomas W.
Kenny, Ph.D. (Ex. 1003).

                           F. Asserted Grounds
      Petitioner asserts that claims 1–29 are unpatentable based upon the
following grounds:
Claim(s) Challenged      35 U.S.C. §                    References/Basis
1–9, 11, 13–15, 19–
                             103            Aizawa, Inokawa
22, 24–27
1–9, 11, 13–15, 19–
                             103            Aizawa, Inokawa, Ohsaki
22, 24–27
16, 27, 28                   103            Aizawa, Inokawa, Mendelson-2006
                                            Aizawa, Inokawa, Mendelson-2006,
17, 18, 29                   103
                                            Beyer
16–18, 27–29                 103            Aizawa, Inokawa, Goldsmith, Lo
10                           103            Aizawa, Inokawa, Al-Ali
1–9, 11–15, 19–26            103            Mendelson-1988, Inokawa




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Claim(s) Challenged       35 U.S.C. §                References/Basis
                                             Mendelson-1988, Inokawa,
16, 27, 28                     103
                                             Mendelson-2006
                                             Mendelson-1988, Inokawa,
17, 18, 29                     103
                                             Mendelson-2006, Beyer

                               II. DISCUSSION

                            A. Claim Construction

      For petitions filed on or after November 13, 2018, a claim shall be
construed using the same claim construction standard that would be used to
construe the claim in a civil action under 35 U.S.C. § 282(b). 37 C.F.R.
§ 42.100(b) (2019). Petitioner submits that no claim term requires express
construction. Pet. 4.
      Based on our analysis of the issues in dispute at this stage of the
proceeding, we agree that no claim terms require express construction at this
time. Nidec Motor Corp. v. Zhongshan Broad Ocean Motor Co., 868 F.3d
1013, 1017 (Fed. Cir. 2017).

                             B. Principles of Law

      A claim is unpatentable under 35 U.S.C. § 103 if “the differences
between the subject matter sought to be patented and the prior art are such
that the subject matter as a whole would have been obvious at the time the
invention was made to a person having ordinary skill in the art to which said
subject matter pertains.” KSR Int’l Co. v. Teleflex Inc., 550 U.S. 398, 406
(2007). The question of obviousness is resolved on the basis of underlying
factual determinations, including (1) the scope and content of the prior art;
(2) any differences between the claimed subject matter and the prior art;
(3) the level of skill in the art; and (4) objective evidence of non-


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obviousness.2 Graham v. John Deere Co., 383 U.S. 1, 17–18 (1966). When
evaluating a combination of teachings, we must also “determine whether
there was an apparent reason to combine the known elements in the fashion
claimed by the patent at issue.” KSR, 550 U.S. at 418 (citing In re Kahn,
441 F.3d 977, 988 (Fed. Cir. 2006)). Whether a combination of prior art
elements would have produced a predictable result weighs in the ultimate
determination of obviousness. Id. at 416–417.
      In an inter partes review, the petitioner must show with particularity
why each challenged claim is unpatentable. Harmonic Inc. v. Avid Tech.,
Inc., 815 F.3d 1356, 1363 (Fed. Cir. 2016); 37 C.F.R. § 42.104(b). The
burden of persuasion never shifts to Patent Owner. Dynamic Drinkware,
LLC v. Nat’l Graphics, Inc., 800 F.3d 1375, 1378 (Fed. Cir. 2015).
      We analyze the challenges presented in the Petition in accordance
with the above-stated principles.

                    C. Level of Ordinary Skill in the Art

      Petitioner identifies the appropriate level of skill in the art as that
possessed by a person having “a Bachelor of Science degree in an academic
discipline emphasizing the design of electrical, computer, or software
technologies, in combination with training or at least one to two years of
related work experience with capture and processing of data or information.”
Pet. 4–5 (citing Ex. 1003 ¶¶ 21–22). “Alternatively, the person could have
also had a Master of Science degree in a relevant academic discipline with
less than a year of related work experience in the same discipline.” Id.



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  Patent Owner does not present objective evidence of non-obviousness at
this stage.

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      For purposes of this Decision, we generally adopt Petitioner’s
assessment as set forth above, which appears consistent with the level of
skill reflected in the Specification and prior art.

              D. Obviousness over the Combined Teachings of
                            Aizawa and Inokawa
      Petitioner presents undisputed contentions that claims 1–9, 11, 13–15,
19–22, 24–27 of the ’708 patent would have been obvious over the
combined teachings of Aizawa and Inokawa. Pet. 7–40.
                      1. Overview of Aizawa (Ex. 1006)
      Aizawa is a U.S. patent application publication titled “Pulse Wave
Sensor and Pulse Rate Detector,” and discloses a pulse wave sensor that
detects light output from a light emitting diode and reflected from a patient’s
artery. Ex. 1006, codes (54), (57).
      Figure 1(a) of Aizawa is reproduced below.




Figure 1(a) is a plan view of a pulse wave sensor. Id. ¶ 23. As shown in
Figure 1(a), pulse wave sensor 2 includes light emitting diode (“LED”) 21,
four photodetectors 22 symmetrically disposed around LED 21, and
holder 23 for storing LED 21 and photodetectors 22. Id. Aizawa discloses
that, “to further improve detection efficiency, . . . the number of the

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photodetectors 22 may be increased.” Id. ¶ 32, Fig. 4(a). “The same effect
can be obtained when the number of photodetectors 22 is 1 and a plurality of
light emitting diodes 21 are disposed around the photodetector 22.” Id. ¶ 33.
      Figure 1(b) of Aizawa is reproduced below.




Figure 1(b) is a sectional view of the pulse wave sensor. Id. ¶ 23. As shown
in Figure 1(b), pulse wave sensor 2 includes drive detection circuit 24 for
detecting a pulse wave by amplifying the outputs of photodetectors 22. Id.
¶ 23. Arithmetic circuit 3 computes a pulse rate from the detected pulse
wave and transmitter 4 transmits the pulse rate data to an “unshown
display.” Id. The pulse rate detector further includes outer casing 5 for
storing pulse wave sensor 2, acrylic transparent plate 6 mounted to detection
face 23a of holder 23, and attachment belt 7. Id. ¶ 23.
      Aizawa discloses that LED 21 and photodetectors 22 “are stored in
cavities 23b and 23c formed in the detection face 23a” of the pulse wave
sensor. Id. ¶ 24. Detection face 23a “is a contact side between the holder 23
and a wrist 10, respectively, at positions where the light emitting face 21s of
the light emitting diode 21 and the light receiving faces 22s of the
photodetectors 22 are set back from the above detection face 23a.” Id. ¶ 24.
Aizawa discloses that “a subject carries the above pulse rate detector 1 on

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the inner side of his/her wrist 10 . . . in such a manner that the light emitting
face 21s of the light emitting diode 21 faces down (on the wrist 10 side).”
Id. ¶ 26. Furthermore, “the above belt 7 is fastened such that the acrylic
transparent plate 6 becomes close to the artery 11 of the wrist 10. Thereby,
adhesion between the wrist 10 and the pulse rate detector 1 is improved.”
Id. ¶¶ 26, 34.
                     2. Overview of Inokawa (Ex. 1008)
      Inokawa is a Japanese published patent application titled “Optical
Vital Sensor, Base Device, Vital Sign Information Gathering System, and
Sensor Communication Method,” and discloses a pulse sensor device.
Ex. 1008 ¶ 6.
      Figure 1 of Inokawa is reproduced below.




Figure 1 illustrates a schematic view of a pulse sensor. Id. ¶ 56. Pulse
sensor 1 includes box-shaped sensor unit 3 and flexible annular wristband 5.
Id. ¶ 57. Sensor unit 3 includes a top surface with display 7 and control
switch 9, and a rear surface (sensor-side) with optical device component 11
for optically sensing a user’s pulse. Id.

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      Figure 2 of Inokawa is reproduced below.




Figure 2 illustrates a schematic view of the rear surface of the pulse sensor.
Id. ¶ 58. The rear-side (sensor-side) of pulse sensor 1 includes a pair of
light-emitting elements, i.e., green LED 21 and infrared LED 23, as well as
photodiode 25 and lens 27. Id. In various embodiments, Inokawa discloses
that the sensor-side lens is convex. See id. ¶¶ 99, 107. Green LED 21
senses “the pulse from the light reflected off of the body (i.e.[,] change in the
amount of hemoglobin in the capillary artery),” and infrared LED 23 senses
body motion from the change in reflected light. Id. ¶ 59. The pulse sensor
stores this information in memory. Id. ¶ 68. To read and store information,
the pulse sensor includes a CPU that “performs the processing to sense
pulse, body motion, etc. from the signal . . . and temporarily stores the
analysis data in the memory.” Id. ¶ 69.




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      Figure 3 of Inokawa is reproduced below.




Figure 3 illustrates a schematic view of a pulse sensor mounted to a base
device. Id. ¶ 60. Pulse sensor 1 is depicted as mounted to base device 17,
which “is a charger with communication functionality.” Id. When so
mounted, sensor optical device component 11 and base optical device
component 41 face each other in close proximity. Id. ¶ 66. In this position,
pulse sensor 1 can output information to the base device through the coupled
optical device components. Id. ¶ 67. Specifically, the pulse sensor CPU
performs the controls necessary to transmit pulse information using infrared
LED 23 to photodetector 45 of base device 17. Id. ¶¶ 67, 70, 76. In an
alternative embodiment, additional sensor LEDs and base photodetectors can
be used to efficiently transmit data and improve accuracy. Id. ¶ 111.




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                              3. Independent Claim 1

      Petitioner presents undisputed contentions that claim 1 would have
been obvious over the combined teachings of Aizawa and Inokawa. Pet. 12–
16 (combination), 16–24 (claim 1).

                   i.“A noninvasive optical physiological sensing system
                     comprising:”

      On this record, the cited evidence supports Petitioner’s undisputed
contention that Aizawa discloses a measurement device, i.e., a pulse sensor
worn on a wearer’s wrist. Pet. 16; see, e.g., Ex. 1006 ¶ 2 (“[A] pulse wave
sensor for detecting the pulse wave of a subject from light reflected from a
red corpuscle in the artery of a wrist of the subject by irradiating the artery
of the wrist with light.”).

                  ii.“a platform including a planar surface;”

      On this record, the cited evidence supports Petitioner’s undisputed
contention that Aizawa discloses holder 23 for storing light emitting
diode 21 and photodetectors 22 and a platform including a planar surface on
which holder 23 is placed. Pet. 17–18; see, e.g., Ex. 1006 ¶¶ 23 (“LED 21
. . . for emitting light having a wavelength of a near infrared range”),
Figs. 1(a)–(b). Petitioner provides the following annotated Figure 1(b)
depicting the planar surface in brown.




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Pet. 18. Annotated Figure 1(b) depicts Aizawa’s sensor with the platform
with a planar surface depicted in brown. Id. Petitioner contends that a
person of ordinary skill in the art “would have understood that the various
electronic components of Aizawa, including its detectors and emitter, are
positioned within the holder 23 and further connected, through the identified
platform that supports the holder 23, to a drive circuit 24 on the other side of
the holder/platform.” Id. (citing Ex. 1006 ¶ 23; Ex. 1003 ¶ 75).

                 iii.“[b] a housing including a raised edge portion extending
                     from and enclosing at least a portion of the planar
                     surface”
      On this record, the cited evidence supports Petitioner’s undisputed
contention that Aizawa discloses holder 23, which includes a flat surface and
a circular raised edge extending from the surface. Pet. 19; see, e.g.,
Ex. 1006 ¶ 23 (“holder 23 for storing . . . light emitting diode 21 and the
photodetectors 22”), Figs. 1(a)–(b) (depicting holder 23 surrounding each
detector 22); Ex. 1003 ¶¶ 76–77. Petitioner provides annotated versions of
Aizawa’s Figures 1(a) and 1(b), which are reproduced below.




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Pet. 19–20. Figures 1(a) and 1(b) depict side and top views of Aizawa’s
sensor with the housing depicted in red (holder 23), the raised edge depicted
in purple, and the planar surface depicted in brown. Id.

                 iv.“[c] at least four detectors arranged on the planar
                    surface of the platform and within the housing, wherein
                    the at least four detectors are arranged in a grid pattern
                    such that a first detector and a second detector are
                    arranged across from each other on opposite sides of a
                    central point along a first axis, and a third detector and a
                    fourth detector are arranged across from each other on



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                    opposite sides of the central point along a second axis
                    which is perpendicular to the first axis; and”

      On this record, the cited evidence supports Petitioner’s undisputed
contention that Aizawa discloses at least four detectors 22 that are disposed
around light emitting diode 21 symmetrically in a perpendicular grid pattern
around light emitting diode 21. Pet. 20–21; see, e.g., Ex. 1006 ¶¶ 23 (“drive
detection circuit 24 for detecting a pulse wave by amplifying the outputs of
the photodetectors 22”), Fig. 1(a) (depicting detectors 22 spaced apart
around LED 21 in a symmetric grid pattern), Fig. 1(b) (depicting detectors
22 connected to a drive circuit 24 on the other side of the housing), 28 (“the
amplified output is converted into a digital signal for the computation of a
pulse rate”); Ex. 1003 ¶¶ 78–80.
      Petitioner provides annotated Figure 1(a) of Aizawa showing how the
four detectors “are arranged relative to a central point and first/second axes
in the manner claimed, with the first/second axes being perpendicular to
each other.” Pet. 22.




Pet. 22. Annotated Figure 1(a) depicts four detectors (in red) arranged in a
grid pattern such that the first and second detector form a first axis that is



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perpendicular to a second axis formed by the third and fourth detectors. Id.
We find Petitioner’s showing persuasive on the current record.

                  v.“[d] the housing including a protruding light permeable
                    cover.”

      On this record, the cited evidence supports Petitioner’s undisputed
contentions regarding this limitation. Pet. 12–16, 22–24. Specifically,
Petitioner contends that Aizawa discloses a protruding cover in the form of
an “acrylic transparent plate” mounted over at least a portion of the housing
and to cover the at least four detectors. Id. at 22; Ex. 1006 ¶¶ 23, 34
(“[A]crylic transparent plate 6 is provided on the detection face 23a of the
holder 23 to improve adhesion to the wrist 10.”), Fig. 1(b) (depicting flat,
transparent plate 6 between sensor 2 and wrist 10); Ex. 1003 ¶ 83 (“Because
the light permeable cover of Aizawa . . . protrudes from the rest of the
housing and is designed to be pressed into the skin when worn, it is
protruding—and is thus a protruding light permeable cover.”).
      Petitioner further contends that Inokawa also teaches a protruding
light permeable cover and provides motivation for incorporating such a
cover into Aizawa. Pet. 13, 23. Specifically, Inokawa’s lens 27 is
positioned between its sensor and the wearer’s skin, which increases the
light gathering ability of the sensor. Id. at 13, 23; see, e.g., Ex. 1008 ¶¶ 15
(“This lens makes it possible to increase the light-gathering ability of the
LED as well as to protect the LED or PD.”), 58 (disclosing “a single
photodiode (S-side PD) 25 that receives the reflected light from these
[LEDs], and an S-side lens 27”), Fig. 2.
      In light of these teachings, Petitioner contends that a person of
ordinary skill in the art “would have found it obvious to modify the flat


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acrylic plate of Aizawa, as illustrated below, to further Aizawa’s objective of
enhancing light-collection efficiency,” i.e., “by modifying the light
permeable cover of Aizawa to include a convex protrusion that acts as a
lens.” Pet. 13, 23–24.




Pet. 14–15, 23–24; Ex. 1006 ¶¶ 13 (explaining that transparent plate 6 seeks
to “improve adhesion” and “improve the detection efficiency of pulse
waves”), 30 (same); Ex. 1008 ¶ 15; Ex. 1003 ¶¶ 82–87. Petitioner’s
annotated and modified Figures depict Aizawa’s sensor including its flat
transparent plate (left) and a modified version of Aizawa’s sensor in which
the plate includes a convex protrusion. Pet. 14, 24.
      Petitioner contends this modification would have enjoyed a reasonable
expectation of success because, for example, Inokawa teaches that the cover
may be flat, like that of Aizawa, to reduce scratches, or in the form of a lens,
as in Petitioner’s proposed modification, to increase light gathering ability.
Id. at 14–16; see, e.g., Ex. 1008 ¶¶ 15 (“This lens makes it possible to
increase the light-gathering ability.”), 106 (“[B]ecause the surface of the
covers 123, 131 is flat, the surface is less prone to scratches than when the
lens protrudes.”); Ex. 1003 ¶ 88.




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      At this stage of the proceeding, Petitioner’s stated reasoning for the
proposed modification is sufficiently supported, including by the unrebutted
testimony of Dr. Kenny. See, e.g., Ex. 1003 ¶¶ 83–88.

                 vi. Summary

      For the foregoing reasons, we are persuaded that Petitioner’s cited
evidence and reasoning demonstrates a reasonable likelihood that Petitioner
would prevail in its contentions regarding claim 1.

                           4. Independent Claim 19

      Independent claim 19 consists of certain limitations that are similar to
elements [a]–[d] of claim 1, but claim 19 also has distinct claim language.
Compare Ex. 1001, 44:36–50, with id. at 45:53–46:11. In asserting that
claim 19 also would have been obvious over the combined teachings of
Aizawa and Inokawa, Petitioner refers to similar arguments presented as to
claim 1. See Pet. 35–38; Ex. 1003 ¶¶ 110–115. We address the differences
in claim scope, and Petitioner’s arguments, below.
      Similar to claim 1, claim 19 requires a platform and a housing, but
uniquely the claim further requires the “platform forming a base of a
housing, the housing including a raised wall protruding from the platform.”
Ex. 1001, 45:55–56. Dr. Kenny explains how Aizawa teaches these unique
“base of a housing” limitations of claim 19. See Ex. 1003 ¶¶ 111–112
(Aizawa’s “holder and the platform together provide the housing in the
manner claimed” and “the housing includes a raised wall . . . that protrudes
from the platform.”). Thus, Petitioner shows how Aizawa teaches these
limitations. Pet. 35–36.




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      Claim 19 similarly requires “at least four detectors” but instead of a
having a “grid pattern” limitation (as with claim 1), claim 19 uniquely
requires that the four detectors are spaced apart and “configured to output
one or more signals responsive to light from one or more light emitters
attenuated by body tissue, the one or more signals indicative of a
physiological parameter of a wearer of the noninvasive optical physiological
sensing system.” Ex. 1001, 46:3–8. Petitioner explains persuasively how
Aizawa’s detectors detect light reflected by a red corpuscle running through
an artery of the wrist, such that a pulse wave is detected. Pet. 36–37 (citing
Ex. 1006 ¶ 27). For example, Aizawa’s detectors output “waveform of a
pulse wave,” and the output can be amplified and “converted into a digital
signal for the computation of a pulse rate.” Ex. 1006 ¶ 28. “Thus,”
according to Petitioner, “the detectors of Aizawa ‘output one or more signals
responsive to light from the one or more light emitters attenuated by body
tissue.’” Pet. 37 (quoting Ex. 1003 ¶ 114).
      The remaining limitations of claim 19 are substantially the same as
claim 1 discussed above. Considering the record before us, we are
persuaded that Petitioner’s cited evidence and reasoning demonstrates a
reasonable likelihood that Petitioner would prevail in its contentions
regarding claim 19.

          5. Dependent Claims 2–9, 11, 13–15, 20–22, and 24–27

      Petitioner presents undisputed contentions that claims 2–9, 11, 13–15,
20–22, and 24–27, which depend directly or indirectly from independent
claim 1 or 19, are unpatentable over the combined teachings of Aizawa and
Inokawa, and provides arguments explaining how the references teach the
limitations of these claims. Pet. 24–35, 38–40; Ex. 1003 ¶¶ 90–109, 116–


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122. Patent Owner does not offer, at this stage, any arguments addressing
Petitioner’s substantive showing. PO Waiver. We have reviewed these
arguments and the cited evidence, and we determine Petitioner has
demonstrated a reasonable likelihood of prevailing as to these contentions.
        Moreover, as discussed in detail above, Petitioner has demonstrated a
reasonable likelihood of prevailing on the challenge to claims 1 and 19.
Therefore, pursuant to USPTO policy implementing the decision in SAS
Inst., Inc. v. Iancu, 138 S. Ct. 1348 (2018) (“SAS”), we institute as to all
claims challenged in the petition and on all grounds in the petition. See
PTAB Consolidated Trial Practice Guide (Nov. 2019) (“Consolidated
Guide”)3, 5–6, 64.

                              E. Other Grounds

        Petitioner provides arguments and evidence, including the Kenny
Declaration, in support of Petitioner’s various other grounds challenging
claims 1–29 of the ’708 patent. Pet. 40–96; Ex. 1003 ¶¶ 123–227. Patent
Owner does not offer, at this stage, any arguments addressing Petitioner’s
substantive showing. PO Waiver. We have reviewed these arguments and
the cited evidence, and we determine Petitioner has demonstrated a
reasonable likelihood of prevailing as to these contentions. We institute
review of all of these challenges. See SAS, 138 S. Ct. 1348; Consolidated
Practice Guide, 5–6, 64.




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    Available at https://www.uspto.gov/TrialPracticeGuideConsolidated.

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                              III. CONCLUSION

       The Supreme Court held that a final written decision under 35 U.S.C.
§ 318(a) must decide the patentability of all claims challenged in the
petition. SAS, 138 S. Ct. 1348. After considering the evidence and
arguments presented in the Petition, we determine that Petitioner has
demonstrated a reasonable likelihood of success in proving that at least
claims 1 and 19 of the ’708 patent are unpatentable. Accordingly, we
institute an inter partes review of all claims and all grounds set forth in the
Petition.
       At this stage of the proceeding, we have not made a final
determination as to the patentability of any challenged claim or as to the
construction of any claim term.

                                  IV. ORDER
       In consideration of the foregoing, it is hereby:
       ORDERED that, pursuant to 35 U.S.C. § 314(a), an inter partes
review of claims 1–29 of the ’708 patent is instituted with respect to all
grounds set forth in the Petition; and
       FURTHER ORDERED that, pursuant to 35 U.S.C. § 314(c) and
37 C.F.R. § 42.4(b), inter partes review of the ’708 patent shall commence
on the entry date of this Order, and notice is hereby given of the institution
of a trial.




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FOR PETITIONER:

W. Karl Renner
Robert J. Devoto
Hyun Jin In
FISH & RICHARDSON P.C.
axf-ptab@fr.com
devoto@fr.com
in@fr.com




FOR PATENT OWNER:

Joseph R. Re
Stephen W. Larson
Jarom D. Kesler
Jacob L. Peterson
KNOBBE, MARTENS, OLSON, & BEAR, LLP
2jrr@knobbe.com
2swl@knobbe.com
2jzk@knobbe.com
2jup@knobbe.com




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Trials@uspto.gov                                                      Paper 7
571-272-7822                                               Date: June 3, 2021


       UNITED STATES PATENT AND TRADEMARK OFFICE


        BEFORE THE PATENT TRIAL AND APPEAL BOARD


                             APPLE INC.,
                              Petitioner,

                                     v.

                      MASIMO CORPORATION,
                           Patent Owner.


                            IPR2021-00195
                         Patent 10,376,190 B1



Before JOSIAH C. COCKS, ROBERT L. KINDER, and
AMANDA F. WIEKER, Administrative Patent Judges.

WIEKER, Administrative Patent Judge.


                               DECISION
               Granting Institution of Inter Partes Review
                             35 U.S.C. § 314
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                             I.   INTRODUCTION

                                  A. Background

      Apple Inc. (“Petitioner”) filed a Petition requesting an inter partes
review of claims 1–14 and 16–30 (“challenged claims”) of U.S. Patent
No. 10,376,190 B1 (Ex. 1001, “the ’190 patent”). Paper 2 (“Pet.”). Masimo
Corporation (“Patent Owner”) waived filing a preliminary response. Paper 6
(“PO Waiver”).
      We have authority to determine whether to institute an inter partes
review, under 35 U.S.C. § 314 and 37 C.F.R. § 42.4. An inter partes review
may not be instituted unless it is determined that “the information presented
in the petition filed under section 311 and any response filed under section
313 shows that there is a reasonable likelihood that the petitioner would
prevail with respect to at least 1 of the claims challenged in the petition.”
35 U.S.C. § 314 (2018); see also 37 C.F.R. § 42.4(a) (“The Board institutes
the trial on behalf of the Director.”).
      For the reasons provided below and based on the record before us, we
determine that Petitioner has demonstrated a reasonable likelihood that
Petitioner would prevail in showing the unpatentability of at least one of the
challenged claims. Accordingly, we institute an inter partes review on all
grounds set forth in the Petition.

                              B. Related Matters

      The parties identify the following matters related to the ’190 patent:
      Masimo Corporation v. Apple Inc., Civil Action No. 8:20-cv-00048
(C.D. Cal.) (filed Jan. 9, 2020);




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      Apple Inc. v. Masimo Corporation, IPR2020-01520 (PTAB Aug. 31,
2020) (challenging claims of U.S. Patent No. 10,258,265 B1);
      Apple Inc. v. Masimo Corporation, IPR2020-01521 (PTAB Sept. 2,
2020) (challenging claims of U.S. Patent No. 10,292,628 B1);
      Apple Inc. v. Masimo Corporation, IPR2020-01523 (PTAB Sept. 9,
2020) (challenging claims of U.S. Patent No. 8,457,703 B2);
      Apple Inc. v. Masimo Corporation, IPR2020-01524 (PTAB Aug. 31,
2020) (challenging claims of U.S. Patent No. 10,433,776 B2);
      Apple Inc. v. Masimo Corporation, IPR2020-01526 (PTAB Aug. 31,
2020) (challenging claims of U.S. Patent No. 6,771,994 B2);
      Apple Inc. v. Masimo Corporation, IPR2020-01536 (PTAB Aug. 31,
2020) (challenging claims of U.S. Patent No. 10,588,553 B2);
      Apple Inc. v. Masimo Corporation, IPR2020-01537 (PTAB Aug. 31,
2020) (challenging claims of U.S. Patent No. 10,588,553 B2);
      Apple Inc. v. Masimo Corporation, IPR2020-01538 (PTAB Sept. 2,
2020) (challenging claims of U.S. Patent No. 10,588,554 B2);
      Apple Inc. v. Masimo Corporation, IPR2020-01539 (PTAB Sept. 2,
2020) (challenging claims of U.S. Patent No. 10,588,554 B2);
      Apple Inc. v. Masimo Corporation, IPR2020-01713 (PTAB Sept. 30,
2020) (challenging claims of U.S. Patent No. 10,624,564 B1);
      Apple Inc. v. Masimo Corporation, IPR2020-01714 (PTAB Sept. 30,
2020) (challenging claims of U.S. Patent No. 10,631,765 B1);
      Apple Inc. v. Masimo Corporation, IPR2020-01715 (PTAB Sept. 30,
2020) (challenging claims of U.S. Patent No. 10,631,765 B1);
      Apple Inc. v. Masimo Corporation, IPR2020-01716 (PTAB Sept. 2,
2020) (challenging claims of U.S. Patent No. 10,702,194 B1);



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      Apple Inc. v. Masimo Corporation, IPR2020-01722 (PTAB Oct. 2,
2020) (challenging claims of U.S. Patent No. 10,470,695 B2);
      Apple Inc. v. Masimo Corporation, IPR2020-01723 (PTAB Oct. 2,
2020) (challenging claims of U.S. Patent No. 10,470,695 B2);
      Apple Inc. v. Masimo Corporation, IPR2020-01733 (PTAB Sept. 30,
2020) (challenging claims of U.S. Patent No. 10,702,195 B1);
      Apple Inc. v. Masimo Corporation, IPR2020-01737 (PTAB Sept. 30,
2020) (challenging claims of U.S. Patent No. 10,709,366 B1)
      Apple Inc. v. Masimo Corporation, IPR2021-00193 (PTAB Nov. 20,
2020) (challenging claims of U.S. Patent No. 10,299,708 B1);
      Apple Inc. v. Masimo Corporation, IPR2021-00208 (PTAB Nov. 20,
2020) (challenging claims of U.S. Patent No. 10,258,266 B1); and
      Apple Inc. v. Masimo Corporation, IPR2021-00209 (PTAB Nov. 20,
2020) (challenging claims of U.S. Patent No. 10,376,191 B1).
Pet. 100; Paper 3, 3–4.
      Patent Owner further identifies the following pending patent
applications, among other issued and abandoned applications, that claim
priority to, or share a priority claim with, the ’190 patent:
      U.S. Patent Application No. 16/834,538;
      U.S. Patent Application No. 17/031,407;
      U.S. Patent Application No. 17/031,316;
      U.S. Patent Application No. 17/031,356;
      U.S. Patent Application No. 16/449,143; and
      U.S. Patent Application No. 16/805,605.
Paper 3, 1–3.




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                             C. The ’190 Patent

      The ’190 patent is titled “Multi-Stream Data Collection System for
Noninvasive Measurement of Blood Constituents,” and issued on August 13,
2019, from U.S. Patent Application No. 16/409,304, filed May 10, 2019.
Ex. 1001, codes (21), (22), (45), (54). The ’190 patent claims priority
through a series of continuation and continuation-in-part applications to
Provisional Application Nos. 61/078,228 and 61/078,207, both filed July 3,
2008. Id. at codes (60), (63).
      The ’190 patent discloses a two-part data collection system including
a noninvasive sensor that communicates with a patient monitor. Id. at 2:31–
33. The sensor includes a sensor housing, an optical source, and several
photodetectors, and is used to measure a blood constituent or analyte, e.g.,
oxygen or glucose. Id. at 2:22–28, 57–58. The patient monitor includes a
display and a network interface for communicating with a handheld
computing device. Id. at 2:38–40.
      Figure 1 of the ’190 patent is reproduced below.




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Figure 1 illustrates a block diagram of data collection system 100 including
sensor 101 and monitor 109. Id. at 11:36–47. Sensor 101 includes optical
emitter 104 and detectors 106. Id. at 11:48–52. Emitters 104 emit light that
is attenuated or reflected by the patient’s tissue at measurement site 102. Id.
at 13:60–67. Detectors 106 capture and measure the light attenuated or
reflected from the tissue. Id. In response to the measured light,
detectors 106 output detector signals 107 to monitor 109 through front-end
interface 108. Id. at 13:64–66, 14:16–22. Sensor 101 also may include
tissue shaper 105, which may be in the form of a convex surface that:
(1) reduces the thickness of the patient’s measurement site; and (2) provides
more surface area from which light can be detected. Id. at 10:61–11:3.
      Monitor 109 includes signal processor 110 and user interface 112. Id.
at 15:6–8. “[S]ignal processor 110 includes processing logic that determines
measurements for desired analytes . . . based on the signals received from
the detectors.” Id. at 15:10–14. User interface 112 presents the
measurements to a user on a display, e.g., a touch-screen display. Id. at
15:38–48. The monitor may be connected to storage device 114 and
network interface 116. Id. at 15:52–16:3.
      The ’190 patent describes various examples of sensor devices.
Figures 14D and 14F, reproduced below, illustrate sensor devices.




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Figure 14D illustrates portions of a detector submount and Figure 14F
illustrates portions of a detector shell. Id. at 6:34–37. As shown in
Figure 14D, multiple detectors 1410c are located within housing 1430 and
under transparent cover 1432, on which protrusion 605b (or partially
cylindrical protrusion 605) is disposed. Id. at 35:23–25, 36:17–24.
Figure 14F illustrates detector shell 306f including detectors 1410c on
substrate 1400c. Id. at 36:63–37:4. Substrate 1400c is enclosed by shielding
enclosure 1490 and noise shield 1403, which include window 1492a and
window 1492b, respectively, placed above detectors 1410c. Id.
Alternatively, cylindrical housing 1430 may be disposed under noise
shield 1403 and may enclose detectors 1410c. Id. at 37:34–36.
      Figures 4A and 4B, reproduced below, illustrate an alternative
example of a tissue contact area of a sensor device.




Figures 4A and 4B illustrate arrangements of protrusion 405 including
measurement contact area 470. Id. at 23:8–14. “[M]easurement site contact
area 470 can include a surface that molds body tissue of a measurement
site.” Id. “For example, . . . measurement site contact area 470 can be
generally curved and/or convex with respect to the measurement site.” Id. at
23:31–33. The measurement site contact area may include windows 420–



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423 that “mimic or approximately mimic a configuration of, or even house, a
plurality of detectors.” Id. at 23:39–53.

                             D. Illustrative Claim

      Of the challenged claims, claims 1 and 26 are independent. Claim 1 is
illustrative and is reproduced below.
      1. A noninvasive optical physiological measurement device
      adapted to be worn by a wearer, the noninvasive optical
      physiological measurement device providing an indication of a
      physiological parameter of the wearer comprising:
          [a] one or more light emitters;
         [b] a housing having a surface and a circular raised edge
      extending from the surface;
         [c] at least four detectors arranged on the surface and spaced
      apart from each other, the at least four detectors configured to
      output one or more signals responsive to light from the one or
      more light emitters attenuated by body tissue, the one or more
      signals indicative of a physiological parameter of the wearer; and
          [d] a light permeable cover arranged above at least a portion
      of the housing, the light permeable cover comprising a protrusion
      arranged to cover the at least four detectors.
Ex. 1001, 44:37–53 (bracketed identifiers a–d added). Independent claim 26
includes limitations substantially similar to limitations [a]–[d] of claim 1.
Id. at 46:22–40 (reciting a “wall” and a “lens portion”).

                            E. Applied References

      Petitioner relies upon the following references:
            Beyer, Jr., U.S. Patent No. 7,031,728 B2, filed Sept. 21, 2004,
      issued Apr. 18, 2006 (Ex. 1019, “Beyer”);
            Ohsaki et al., U.S. Patent Application Publication No.
      2001/0056243 A1, filed May 11, 2001, published December 27, 2001
      (Ex. 1014, “Ohsaki”);

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            Aizawa, U.S. Patent Application Publication No.
      2002/0188210 A1, filed May 23, 2002, published December 12, 2002
      (Ex. 1006, “Aizawa”);
            Lo et al., U.S. Patent Application Publication
      No. 2004/0138568 A1, filed Jan. 15, 2003, published July 15, 2004
      (Ex. 1028, “Lo”);
            Inokawa et al., Japanese Patent Application Publication
      No. 2006-296564 A, filed April 18, 2005, published November 2,
      2006 (Ex. 1007, “Inokawa”);1
            Goldsmith et al., U.S. Patent Application Publication
      No. 2007/0093786 A1, filed July 31, 2006, published April 26, 2007
      (Ex. 1027, “Goldsmith”);
            Al-Ali et al., U.S. Patent Application Publication No.
      2008/0242958 A1, filed Mar. 26, 2008, published Oct. 2, 2008
      (Ex. 1030, “Al-Ali”);
            Y. Mendelson et al., “Design and Evaluation of a New
      Reflectance Pulse Oximeter Sensor,” Association for the
      Advancement of Medical Instrumentation, vol. 22, No. 4, 167–173
      (1988) (Ex. 1015, “Mendelson-1988”); and
            Y. Mendelson et al., “A Wearable Reflectance Pulse Oximeter
      for Remote Physiological Monitoring,” Proceedings of the 28th IEEE
      EMBS Annual International Conference, 912–915 (2006) (Ex. 1016,
      “Mendelson-2006”).
Pet. 4. Petitioner also submits, inter alia, the Declaration of Thomas W.
Kenny, Ph.D. (Ex. 1003).




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 Petitioner relies on a certified English translation of Inokawa (Ex. 1008).
In this Decision, we also refer to the translation.

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                            F. Asserted Grounds

      Petitioner asserts that claims 1–14 and 16–30 are unpatentable based
upon the following grounds:
 Claim(s) Challenged        35 U.S.C. §                References/Basis
 1–14, 16, 17, 19–23,
                                103           Aizawa, Inokawa
 26–29
 1–14, 16, 17, 19–23,
                                103          Aizawa, Inokawa, Ohsaki
 26–29
                                             Aizawa, Inokawa, Mendelson-
 23, 24                         103
                                             2006
                                             Aizawa, Inokawa, Goldsmith,
 23–25                          103
                                             Lo
                                             Aizawa, Inokawa, Mendelson-
 25                             103
                                             2006, Beyer
 5                              103          Aizawa, Inokawa, Al-Ali
                                             Mendelson-1988, Inokawa,
 1–14, 16–22, 26–30             103
                                             Mendelson-2006
                                             Mendelson-1988, Inokawa,
 25                             103
                                             Mendelson-2006, Beyer

                               II. DISCUSSION

                           A. Claim Construction

      For petitions filed on or after November 13, 2018, a claim shall be
construed using the same claim construction standard that would be used to
construe the claim in a civil action under 35 U.S.C. § 282(b). 37 C.F.R.
§ 42.100(b) (2019). Petitioner submits that no claim term requires express
construction. Pet. 4–5.
      Based on our analysis of the issues in dispute at this stage of the
proceeding, we agree that no claim terms require express construction at this
time. Nidec Motor Corp. v. Zhongshan Broad Ocean Motor Co., 868 F.3d
1013, 1017 (Fed. Cir. 2017).



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                             B. Principles of Law

      A claim is unpatentable under 35 U.S.C. § 103 if “the differences
between the subject matter sought to be patented and the prior art are such
that the subject matter as a whole would have been obvious at the time the
invention was made to a person having ordinary skill in the art to which said
subject matter pertains.” KSR Int’l Co. v. Teleflex Inc., 550 U.S. 398, 406
(2007). The question of obviousness is resolved on the basis of underlying
factual determinations, including (1) the scope and content of the prior art;
(2) any differences between the claimed subject matter and the prior art;
(3) the level of skill in the art; and (4) objective evidence of non-
obviousness.2 Graham v. John Deere Co., 383 U.S. 1, 17–18 (1966). When
evaluating a combination of teachings, we must also “determine whether
there was an apparent reason to combine the known elements in the fashion
claimed by the patent at issue.” KSR, 550 U.S. at 418 (citing In re Kahn,
441 F.3d 977, 988 (Fed. Cir. 2006)). Whether a combination of prior art
elements would have produced a predictable result weighs in the ultimate
determination of obviousness. Id. at 416–417.
      In an inter partes review, the petitioner must show with particularity
why each challenged claim is unpatentable. Harmonic Inc. v. Avid Tech.,
Inc., 815 F.3d 1356, 1363 (Fed. Cir. 2016); 37 C.F.R. § 42.104(b). The
burden of persuasion never shifts to Patent Owner. Dynamic Drinkware,
LLC v. Nat’l Graphics, Inc., 800 F.3d 1375, 1378 (Fed. Cir. 2015).
      We analyze the challenges presented in the Petition in accordance
with the above-stated principles.


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  Patent Owner does not present objective evidence of non-obviousness at
this stage.

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                     C. Level of Ordinary Skill in the Art

      Petitioner identifies the appropriate level of skill in the art as that
possessed by a person having “a Bachelor of Science degree in an academic
discipline emphasizing the design of electrical, computer, or software
technologies, in combination with training or at least one to two years of
related work experience with capture and processing of data or information.”
Pet. 5 (citing Ex. 1003 ¶¶ 21–22). “Alternatively, the person could have also
had a Master of Science degree in a relevant academic discipline with less
than a year of related work experience in the same discipline.” Id.
      For purposes of this Decision, we generally adopt Petitioner’s
assessment as set forth above, which appears consistent with the level of
skill reflected in the Specification and prior art.

              D. Obviousness over the Combined Teachings of
                            Aizawa and Inokawa

      Petitioner presents undisputed contentions that claims 1–14, 16, 17,
19–23, and 26–29 of the ’190 patent would have been obvious over the
combined teachings of Aizawa and Inokawa. Pet. 8–42.
                      1. Overview of Aizawa (Ex. 1006)
      Aizawa is a U.S. patent application publication titled “Pulse Wave
Sensor and Pulse Rate Detector,” and discloses a pulse wave sensor that
detects light output from a light emitting diode and reflected from a patient’s
artery. Ex. 1006, codes (54), (57).




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      Figure 1(a) of Aizawa is reproduced below.




Figure 1(a) is a plan view of a pulse wave sensor. Id. ¶ 23. As shown in
Figure 1(a), pulse wave sensor 2 includes light emitting diode (“LED”) 21,
four photodetectors 22 symmetrically disposed around LED 21, and
holder 23 for storing LED 21 and photodetectors 22. Id. Aizawa discloses
that, “to further improve detection efficiency, . . . the number of the
photodetectors 22 may be increased.” Id. ¶ 32, Fig. 4(a). “The same effect
can be obtained when the number of photodetectors 22 is [one] and a
plurality of light emitting diodes 21 are disposed around the photodetector
22.” Id. ¶ 33.
      Figure 1(b) of Aizawa is reproduced below.




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Figure 1(b) is a sectional view of the pulse wave sensor. Id. ¶ 23. As shown
in Figure 1(b), pulse wave sensor 2 includes drive detection circuit 24 for
detecting a pulse wave by amplifying the outputs of photodetectors 22. Id.
¶ 23. Arithmetic circuit 3 computes a pulse rate from the detected pulse
wave and transmitter 4 transmits the pulse rate data to an “unshown
display.” Id. The pulse rate detector further includes outer casing 5 for
storing pulse wave sensor 2, acrylic transparent plate 6 mounted to detection
face 23a of holder 23, and attachment belt 7. Id. ¶ 23.
      Aizawa discloses that LED 21 and photodetectors 22 “are stored in
cavities 23b and 23c formed in the detection face 23a” of the pulse wave
sensor. Id. ¶ 24. Detection face 23a “is a contact side between the holder 23
and a wrist 10, respectively, at positions where the light emitting face 21s of
the light emitting diode 21 and the light receiving faces 22s of the
photodetectors 22 are set back from the above detection face 23a.” Id. ¶ 24.
Aizawa discloses that “a subject carries the above pulse rate detector 1 on
the inner side of his/her wrist 10 . . . in such a manner that the light emitting
face 21s of the light emitting diode 21 faces down (on the wrist 10 side).”
Id. ¶ 26. Furthermore, “the above belt 7 is fastened such that the acrylic
transparent plate 6 becomes close to the artery 11 of the wrist 10. Thereby,
adhesion between the wrist 10 and the pulse rate detector 1 is improved.”
Id. ¶¶ 26, 34.
                     2. Overview of Inokawa (Ex. 1008)
      Inokawa is a Japanese published patent application titled “Optical
Vital Sensor, Base Device, Vital Sign Information Gathering System, and
Sensor Communication Method,” and discloses a pulse sensor device.
Ex. 1008 ¶ 6.



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      Figure 1 of Inokawa is reproduced below.




Figure 1 illustrates a schematic view of a pulse sensor. Id. ¶ 56. Pulse
sensor 1 includes box-shaped sensor unit 3 and flexible annular wristband 5.
Id. ¶ 57. Sensor unit 3 includes a top surface with display 7 and control
switch 9, and a rear surface (sensor-side) with optical device component 11
for optically sensing a user’s pulse. Id.
      Figure 2 of Inokawa is reproduced below.




Figure 2 illustrates a schematic view of the rear surface of the pulse sensor.
Id. ¶ 58. The rear-side (sensor-side) of pulse sensor 1 includes a pair of
light-emitting elements, i.e., green LED 21 and infrared LED 23, as well as


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photodiode 25 and lens 27. Id. In various embodiments, Inokawa discloses
that the sensor-side lens is convex. See id. ¶¶ 99, 107. Green LED 21
senses “the pulse from the light reflected off of the body (i.e.[,] change in the
amount of hemoglobin in the capillary artery),” and infrared LED 23 senses
body motion from the change in reflected light. Id. ¶ 59. The pulse sensor
stores this information in memory. Id. ¶ 68. To read and store information,
the pulse sensor includes a CPU that “performs the processing to sense
pulse, body motion, etc. from the signal . . . and temporarily stores the
analysis data in the memory.” Id. ¶ 69.
      Figure 3 of Inokawa is reproduced below.




Figure 3 illustrates a schematic view of a pulse sensor mounted to a base
device. Id. ¶ 60. Pulse sensor 1 is depicted as mounted to base device 17,
which “is a charger with communication functionality.” Id. When so
mounted, sensor optical device component 11 and base optical device
component 41 face each other in close proximity. Id. ¶ 66. In this position,


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pulse sensor 1 can output information to the base device through the coupled
optical device components. Id. ¶ 67. Specifically, the pulse sensor CPU
performs the controls necessary to transmit pulse information using infrared
LED 23 to photodetector 45 of base device 17. Id. ¶¶ 67, 70, 76. In an
alternative embodiment, additional sensor LEDs and base photodetectors can
be used to efficiently transmit data and improve accuracy. Id. ¶ 111.

                              3. Independent Claim 1

      Petitioner presents undisputed contentions that claim 1 would have
been obvious over the combined teachings of Aizawa and Inokawa. Pet. 13–
17 (combination), 17–23 (claim 1).

                   i.“A noninvasive optical physiological measurement
                     device adapted to be worn by a wearer, the noninvasive
                     optical physiological measurement device providing an
                     indication of a physiological parameter of the wearer
                     comprising”

      On this record, the cited evidence supports Petitioner’s undisputed
contention that Aizawa discloses a measurement device, i.e., a pulse sensor
worn on a wearer’s wrist. Pet. 17; see, e.g., Ex. 1006 ¶ 2 (“[A] pulse wave
sensor for detecting the pulse wave of a subject from light reflected from a
red corpuscle in the artery of a wrist of the subject by irradiating the artery
of the wrist with light.”).

                  ii.“[a] one or more light emitters”
      On this record, the cited evidence supports Petitioner’s undisputed
contention that Aizawa discloses LED 21 that emits light. Pet. 17–18; see,
e.g., Ex. 1006 ¶¶ 23 (“LED 21 . . . for emitting light having a wavelength of
a near infrared range”), Figs. 1(a)–(b).


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                 iii.“[b] a housing having a surface and a circular raised
                     edge extending from the surface”

      On this record, the cited evidence supports Petitioner’s undisputed
contention that Aizawa discloses holder 23, which includes a flat surface and
a circular raised edge extending from the surface. Pet. 18–19; see, e.g.,
Ex. 1006 ¶ 23 (“holder 23 for storing . . . light emitting diode 21 and the
photodetectors 22”), Figs. 1(a)–(b) (depicting holder 23 surrounding each
detector 22); Ex. 1003 ¶¶ 75–76. Petitioner provides annotated versions of
Aizawa’s Figures 1(a) and 1(b), which are reproduced below.




Pet. 18–19. Figures 1(a) and 1(b) depict side and top views of Aizawa’s
sensor with the housing depicted in red (holder 23), the circular raised edge
depicted in purple, and the surface depicted in brown. Id.

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                 iv.“[c] at least four detectors arranged on the surface and
                    spaced apart from each other, the at least four detectors
                    configured to output one or more signals responsive to
                    light from the one or more light emitters attenuated by
                    body tissue, the one or more signals indicative of a
                    physiological parameter of the wearer”

      On this record, the cited evidence supports Petitioner’s undisputed
contention that Aizawa discloses at least four detectors 22 that are spaced
apart on the device’s surface, wherein each detector outputs a signal
indicative of a physiological parameter in response to light emitted by
LED 21 that is attenuated by body tissue. Pet. 19–21; see, e.g., Ex. 1006
¶ 23 (“drive detection circuit 24 for detecting a pulse wave by amplifying
the outputs of the photodetectors 22”), Fig. 1(a) (depicting detectors 22
spaced apart around LED 21), ¶ 28 (“[T]he amplified output is converted
into a digital signal for the computation of a pulse rate.”); Ex. 1003 ¶¶ 77–
79.

                  v.“[d] a light permeable cover arranged above at least a
                    portion of the housing, the light permeable cover
                    comprising a protrusion arranged to cover the at least
                    four detectors.”

      On this record, the cited evidence supports Petitioner’s undisputed
contentions regarding this limitation. Pet. 13–16, 22–23. Specifically,
Petitioner contends that Aizawa discloses a cover in the form of an “acrylic
transparent plate” mounted over at least a portion of the housing and
covering the at least four photodetectors. Id. at 22; Ex. 1006 ¶¶ 23, 34
(“[A]crylic transparent plate 6 is provided on the detection face 23a of the
holder 23 to improve adhesion to the wrist 10.”), Fig. 1(b) (depicting flat,
transparent plate 6 between sensor 2 and wrist 10). Petitioner contends that


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although Aizawa does not disclose a “protrusion” on the cover, Inokawa
teaches lens 27 positioned between its sensor and the wearer’s skin, which
increases the light gathering ability of the sensor. Id. at 13, 22; see, e.g.,
Ex. 1008 ¶¶ 15 (“This lens makes it possible to increase the light-gathering
ability of the LED as well as to protect the LED or PD.”), 58 (disclosing “a
single photodiode (S-side PD) 25 that receives the reflected light from these
[LEDs], and an S-side lens 27”), Fig. 2.
      In light of these teachings, Petitioner contends that a person of
ordinary skill in the art “would have found it obvious to modify the flat
acrylic plate of Aizawa . . . to further Aizawa’s objective of enhancing light-
collection efficiency,” i.e., “by modifying the light permeable cover of
Aizawa to include a convex protrusion that acts as a lens,” as illustrated
below.




Pet. 14–15, 22–23; Ex. 1006 ¶¶ 13 (explaining that transparent plate 6 seeks
to “improve adhesion” and “improve the detection efficiency of pulse
waves”), 30 (same); Ex. 1008 ¶ 15; Ex. 1003 ¶¶ 82–87. Petitioner’s
annotated and modified Figures depict Aizawa’s sensor including its flat
transparent plate (left) and a modified version of Aizawa’s sensor in which
the plate includes a convex protrusion. Pet. 15, 23.




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      Petitioner contends this modification would have enjoyed a reasonable
expectation of success because, for example, Inokawa teaches that the cover
may be flat, like that of Aizawa, to reduce scratches, or in the form of a lens,
as in Petitioner’s proposed modification, to increase light gathering ability.
Id. at 15–16; see, e.g., Ex. 1008 ¶¶ 15 (“This lens makes it possible to
increase the light-gathering ability.”), 106 (“[B]ecause the surface of the
covers 123, 131 is flat, the surface is less prone to scratches than when the
lens protrudes.”); Ex. 1003 ¶ 87. Petitioner also contends that a person of
ordinary skill in the art “would have found it obvious make the protruded
lens portion sufficiently large to ensure that the above-noted light
concentration effect is felt by all of the detectors.” Pet. 23; see, e.g.,
Ex. 1003 ¶ 85.
      At this stage of the proceeding, Petitioner’s stated reasoning for the
proposed modification is sufficiently supported, including by the unrebutted
testimony of Dr. Kenny. See, e.g., Ex. 1003 ¶¶ 82–87.

                  vi. Summary

      For the foregoing reasons, we are persuaded that Petitioner’s cited
evidence and reasoning demonstrates a reasonable likelihood that Petitioner
would prevail in its contentions regarding claim 1.

                           4. Independent Claim 26

      Independent claim 26 consists of limitations that are substantially
similar to elements [a]–[d] of claim 1. Compare Ex. 1001, 44:37–53, with
id. at 46:22–40 (reciting a “wall” and a “lens portion”). In asserting that
claim 26 also would have been obvious over the combined teachings of
Aizawa and Inokawa, Petitioner refers to substantially the same arguments


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presented as to claim 1. See Pet. 39–41; Ex. 1003 ¶¶ 119–124. For the same
reasons discussed above, we are persuaded that Petitioner’s cited evidence
and reasoning demonstrates a reasonable likelihood that Petitioner would
prevail in its contentions regarding claim 21. See supra II.D.3.i–v.

                 5. Dependent Claims 2–14, 16–25, and 27–30

         Petitioner presents undisputed contentions that claims 2–14, 16–25,
and 27–30, which depend directly or indirectly from independent claim 1 or
26, are unpatentable over the combined teachings of Aizawa and Inokawa,
and provides arguments explaining how the references teach the limitations
of these claims. Pet. 23–39, 41–42; Ex. 1003 ¶¶ 88–118, 125–127. Patent
Owner does not offer, at this stage, any arguments addressing Petitioner’s
substantive showing. PO Waiver. We have reviewed these arguments and
the cited evidence, and we determine Petitioner has demonstrated a
reasonable likelihood of prevailing as to these contentions.
         Moreover, as discussed in detail above, Petitioner has demonstrated a
reasonable likelihood of prevailing on the challenge to claims 1 and 26.
Therefore, pursuant to USPTO policy implementing the decision in SAS Inst.
Inc. v. Iancu, 138 S. Ct. 1348 (2018) (“SAS”), we institute as to all claims
challenged in the petition and on all grounds in the petition. See PTAB
Consolidated Trial Practice Guide (Nov. 2019) (“Consolidated Guide”)3, 5–
6, 64.




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    Available at https://www.uspto.gov/TrialPracticeGuideConsolidated.

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                              E. Other Grounds

      Petitioner provides arguments and evidence, including the Kenny
Declaration, in support of Petitioner’s various other grounds challenging
claims 1–14 and 16–30 of the ’190 patent. Pet. 42–99; Ex. 1003 ¶¶ 128–
231. Patent Owner does not offer, at this stage, any arguments addressing
Petitioner’s substantive showing. PO Waiver. We have reviewed these
arguments and the cited evidence, and we determine Petitioner has
demonstrated a reasonable likelihood of prevailing as to these contentions.
We institute review of all of these challenges. See SAS, 138 S. Ct. 1348;
Consolidated Practice Guide, 5–6, 64.

                              III. CONCLUSION

      The Supreme Court held that a final written decision under 35 U.S.C.
§ 318(a) must decide the patentability of all claims challenged in the
petition. SAS, 138 S. Ct. 1348. After considering the evidence and
arguments presented in the Petition, we determine that Petitioner has
demonstrated a reasonable likelihood of success in proving that at least
claims 1 and 26 of the ’190 patent are unpatentable. Accordingly, we
institute an inter partes review of all claims and all grounds set forth in the
Petition.
      At this stage of the proceeding, we have not made a final
determination as to the patentability of any challenged claim or as to the
construction of any claim term.




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                                  IV. ORDER

       In consideration of the foregoing, it is hereby:
       ORDERED that, pursuant to 35 U.S.C. § 314(a), an inter partes
review of claims 1–14 and 16–30 of the ’190 patent is instituted with respect
to all grounds set forth in the Petition; and
       FURTHER ORDERED that, pursuant to 35 U.S.C. § 314(c) and
37 C.F.R. § 42.4(b), inter partes review of the ’190 patent shall commence
on the entry date of this Order, and notice is hereby given of the institution
of a trial.




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For PETITIONER:

Walter Renner
Roberto DeVoto
Hyun Jin In
FISH & RICHARDSON P.C.
Axf-ptab@fr.com
devoto@fr.com
in@fr.com


For PATENT OWNER:

Joseph Re
Jarom Kesler
Stephen Larson
Jacob Peterson
KNOBBE, MARTENS, OLSEN, & BEAR, LLP
2jrr@knobbe.com
2jzk@knobbe.com
2slw@knobbe.com
2jup@knobbe.com




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Trials@uspto.gov                                                      Paper 7
571-272-7822                                            Entered: June 3, 2021


       UNITED STATES PATENT AND TRADEMARK OFFICE


        BEFORE THE PATENT TRIAL AND APPEAL BOARD


                             APPLE INC.,
                              Petitioner,

                                     v.

                      MASIMO CORPORATION,
                           Patent Owner.


                           IPR2021-00208
                         Patent 10,258,266 B1



Before JOSIAH C. COCKS, ROBERT L. KINDER, and
AMANDA F. WIEKER, Administrative Patent Judges.

KINDER, Administrative Patent Judge.


                               DECISION
               Granting Institution of Inter Partes Review
                             35 U.S.C. § 314
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                             I.   INTRODUCTION

                                  A. Background

       Apple Inc. (“Petitioner”) filed a Petition requesting an inter partes
review of claims 1–6, 8–16, 18, and 19 (“challenged claims”) of U.S. Patent
No. 10,258,266 B1 (Ex. 1001, “the ’266 patent”). Paper 2 (“Pet.”). Masimo
Corporation (“Patent Owner”) waived filing a preliminary response. Paper 5
(“PO Waiver”).
       We have authority to determine whether to institute an inter partes
review, under 35 U.S.C. § 314 and 37 C.F.R. § 42.4. An inter partes review
may not be instituted unless it is determined that “the information presented
in the petition filed under section 311 and any response filed under section
313 shows that there is a reasonable likelihood that the petitioner would
prevail with respect to at least 1 of the claims challenged in the petition.”
35 U.S.C. § 314 (2018); see also 37 C.F.R. § 42.4(a) (2020) (“The Board
institutes the trial on behalf of the Director.”).
       For the reasons provided below and based on the record before us, we
determine that Petitioner has demonstrated a reasonable likelihood that
Petitioner would prevail in showing the unpatentability of at least one of the
challenged claims. Accordingly, we institute an inter partes review on all
grounds set forth in the Petition.

                               B. Related Matters

       The parties identify the following matters related to the ’266 patent:
       Masimo Corporation v. Apple Inc., Civil Action No. 8:20-cv-00048
(C.D. Cal.);




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      Apple Inc. v. Masimo Corporation, IPR2020-01520 (PTAB Aug. 31,
2020) (challenging claims of U.S. Patent No. 10,258,265 B1);
      Apple Inc. v. Masimo Corporation, IPR2020-01521 (PTAB Sept. 2,
2020) (challenging claims of U.S. Patent No. 10,292,628 B1);
      Apple Inc. v. Masimo Corporation, IPR2020-01523 (PTAB Sept. 9,
2020) (challenging claims of U.S. Patent No. 8,457,703 B2);
      Apple Inc. v. Masimo Corporation, IPR2020-01524 (PTAB Aug. 31,
2020) (challenging claims of U.S. Patent No. 10,433,776 B2);
      Apple Inc. v. Masimo Corporation, IPR2020-01526 (PTAB Aug. 31,
2020) (challenging claims of U.S. Patent No. 6,771,994 B2);
      Apple Inc. v. Masimo Corporation, IPR2020-01536 (PTAB Aug. 31,
2020) (challenging claims of U.S. Patent No. 10,588,553 B2);
      Apple Inc. v. Masimo Corporation, IPR2020-01537 (PTAB Aug. 31,
2020) (challenging claims of U.S. Patent No. 10,588,553 B2);
      Apple Inc. v. Masimo Corporation, IPR2020-01538 (PTAB Sept. 2,
2020) (challenging claims of U.S. Patent No. 10,588,554 B2);
      Apple Inc. v. Masimo Corporation, IPR2020-01539 (PTAB Sept. 2,
2020) (challenging claims of U.S. Patent No. 10,588,554 B2);
      Apple Inc. v. Masimo Corporation, IPR2020-01713 (PTAB Sept. 30,
2020) (challenging claims of U.S. Patent No. 10,624,564 B1);
      Apple Inc. v. Masimo Corporation, IPR2020-01714 (PTAB Sept. 30,
2020) (challenging claims of U.S. Patent No. 10,631,765 B1);
      Apple Inc. v. Masimo Corporation, IPR2020-01715 (PTAB Sept. 30,
2020) (challenging claims of U.S. Patent No. 10,631,765 B1);
      Apple Inc. v. Masimo Corporation, IPR2020-01716 (PTAB Sept. 30,
2020) (challenging claims of U.S. Patent No. 10,702,194 B1);



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      Apple Inc. v. Masimo Corporation, IPR2020-01722 (PTAB Oct. 2,
2020) (challenging claims of U.S. Patent No. 10,470,695 B2);
      Apple Inc. v. Masimo Corporation, IPR2020-01723 (PTAB Oct. 2,
2020) (challenging claims of U.S. Patent No. 10,470,695 B2);
      Apple Inc. v. Masimo Corporation, IPR2020-01733 (PTAB Sept. 30,
2020) (challenging claims of U.S. Patent No. 10,702,195 B1);
      Apple Inc. v. Masimo Corporation, IPR2020-01737 (PTAB Sept. 30,
2020) (challenging claims of U.S. Patent No. 10,709,366 B1);
      Apple Inc. v. Masimo Corporation, IPR2021-00193 (PTAB Nov. 20,
2020) (challenging claims of U.S. Patent No. 10,299,708 B1);
      Apple Inc. v. Masimo Corporation, IPR2021-00195 (PTAB Nov. 20,
2020) (challenging claims of U.S. Patent No. 10,376,190 B1); and
      Apple Inc. v. Masimo Corporation, IPR2021-00209 (PTAB Nov. 20,
2020) (challenging claims of U.S. Patent No. 10,376,191 B1).
Pet. 1, 72–73;1 Paper 3, at 1, 3–4.
      Patent Owner further identifies certain issued patent applications, as
well as other pending and abandoned applications, that claim priority to, or
share a priority claim with, the ’266 patent. Paper 3, at 1–3.

                             C. The ’266 Patent
      The ’266 patent is titled “Multi-Stream Data Collection System for
Noninvasive Measurement of Blood Constituents,” and issued on April 16,


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  Petitioner lists “U.S. Patent[] 10,299,708 (IPR2020-00193)” as a related
inter partes review petition. Pet. 73. The case number associated with
Patent No. 10,299,708 B1 is IPR2021-00193 and not “IPR2020-00193” as
listed by Petitioner.

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2019, from U.S. Patent Application No. 16/212,537, filed December 6,
2018. Ex. 1001, codes (21), (22), (45), (54). The ’266 patent claims priority
through a series of continuation and continuation-in-part applications to
Provisional Application Nos. 61/086,060, 61/086,108, 61/086,063, and
61/086,057, each filed on August 4, 2008, as well as 61/091,732 filed on
August 25, 2008, and 61/078,228 and 61/078,207, both filed July 3, 2008.
Id. at codes (60), (63).
      The ’266 patent discloses a two-part data collection system including
a noninvasive sensor that communicates with a patient monitor. Id. at 2:31–
33. The sensor includes a sensor housing, an optical source, and several
photodetectors, and is used to measure a blood constituent or analyte, e.g.,
oxygen or glucose. Id. at 2:22–28, 55–58. The patient monitor includes a
display and a network interface for communicating with a handheld
computing device. Id. at 2:35–41.




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      Figure 1 of the ’266 patent is reproduced below.




Figure 1 illustrates a block diagram of data collection system 100 including
sensor 101 and monitor 109. Id. at 11:36–38. Sensor 101 includes
emitter 104 and detectors 106. Id. at 11:48–50. Emitter 104 emits light that
is attenuated or reflected by the patient’s tissue at measurement site 102. Id.
at 13:61–64. Detectors 106 capture and measure the light attenuated or
reflected from the tissue. Id. In response to the measured light,
detectors 106 output detector signal 107 to monitor 109 through front-end
interface 108. Id. at 14:16–22. Sensor 101 also may include tissue
shaper 105, which may be in the form of a convex surface that: (1) reduces
the thickness of the patient’s measurement site; and (2) provides more
surface area from which light can be detected. Id. at 10:59–11:3.
      Monitor 109 includes signal processor 110 and user interface 112. Id.
at 15:6–8. “[S]ignal processor 110 includes processing logic that determines


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measurements for desired analytes . . . based on the signals received from
the detectors 106.” Id. at 15:12–15. User interface 112 presents the
measurements to a user on a display, e.g., a touch-screen display. Id. at
15:38–42. In response to user input or device orientation, user interface 112
can “reorient its display indicia.” Id. at 15:44–48. The monitor may include
storage device 114 and network interface 116. Id. at 15:52–54. In some
embodiments, the monitor, including the display, is attached to the patient
by a strap. Id. at 17:64–67.
      The ’266 patent describes various examples of sensor devices.
Figures 14D and 14F, reproduced below, illustrate sensor devices.




Figure 14D illustrates a detector submount and Figure 14F illustrates
portions of a detector shell. Id. at 6:34–37. As shown in Figure 14D,
multiple detectors 1410c are located within housing 1430 and under
transparent cover 1432, on which protrusion 605b is disposed. Id. at 36:17–
24. Figure 14F illustrates detector shell 306f including detectors 1410c on
substrate 1400c. Id. at 36:63–64. In some embodiments, the detector shell
includes walls to separate individual photodiode arrays and to “prevent or

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reduce mixing of light signals.” Id. at 22:28–31. Substrate 1400c is
enclosed by shielding enclosure 1490 and noise shield 1403, which include
window 1492a and window 1492b, respectively, placed above
detectors 1410c. Id. at 36:65–37:8.
      Figures 4A and 4B, reproduced below, illustrate an alternative
example of a tissue contact area of a sensor device.




Figures 4A and 4B illustrate arrangements of protrusion 405 including
measurement site contact area 470. Id. at 23:8–14. “[M]easurement site
contact area 470 can include a surface that molds body tissue of a
measurement site.” Id. “For example, the measurement site contact
area 470 can be generally curved and/or convex with respect to the
measurement site.” Id. at 23:31–33. The measurement site contact area
includes windows 420–423 that “mimic or approximately mimic a
configuration of, or even house, a plurality of detectors.” Id. at 23:39–53.

                            D. Illustrative Claim
      Of the challenged claims, claims 1 and 9 are independent. Claim 1 is
illustrative and is reproduced below.
             1. A noninvasive optical physiological sensor comprising:



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             [a] a plurality of emitters configured to emit light into
      tissue of a user;
            [b] a plurality of detectors configured to detect light that
      has been attenuated by tissue of the user, wherein the plurality of
      detectors comprise at least four detectors;
            [c] a housing configured to house at least the plurality of
      detectors; and
            [d] a lens configured to be located between the tissue of
      the user and the plurality of detectors when the noninvasive
      optical physiological sensor is worn by the user, wherein the lens
      comprises a single outwardly protruding convex surface
      configured to cause tissue of the user to conform to at least a
      portion of the single outwardly protruding convex surface when
      the noninvasive optical physiological sensor worn by the user
      and during operation of the noninvasive optical physiological
      sensor.
Ex. 1001, 44:36–54 (bracketed lettering [a]–[d] added). Independent claim 9
includes limitations similar to limitations [a]–[d] of claim 1, and also
includes additional recitations. Id. at 45:13–23 (additionally reciting a
“circular housing including a planar surface” and a “grid pattern”).

                            E. Applied References

      Petitioner relies upon the following references:
            Ohsaki et al., U.S. Patent Application Publication No.
      2001/0056243 A1, filed May 11, 2001, published December 27, 2001
      (Ex. 1014, “Ohsaki”);
            Aizawa, U.S. Patent Application Publication No.
      2002/0188210 A1, filed May 23, 2002, published December 12, 2002
      (Ex. 1006, “Aizawa”);




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               Inokawa et al., Japanese Patent Application Publication
         No. 2006-296564 A, filed April 18, 2005, published November 2,
         2006 (Ex. 1007, “Inokawa”);2 and
               Y. Mendelson, et al., “Design and Evaluation of a New
         Reflectance Pulse Oximeter Sensor,” Association for the
         Advancement of Medical Instrumentation, Vol. 22, No. 4, 167–173
         (1988) (Ex. 1015, “Mendelson-1988”).
Pet. 2. Petitioner also submits, inter alia, the Declaration of Thomas W.
Kenny, Ph.D. (Ex. 1003).

                              F. Asserted Grounds
         Petitioner asserts that claims 1–6, 8–16, 18, and 19 are unpatentable
based upon the following grounds (Pet. 2):3
    Claims Challenged         35 U.S.C. §                References/Basis
    1–6, 8–16, 18, and 19         103           Aizawa, Inokawa


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 Petitioner relies on a certified English translation of Inokawa (Ex. 1008).
Ex. 1008, 24. In this Decision, we also refer to the translation.
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  In a section titled “Challenge,” Petitioner asserts, inter alia, that claims 17,
18, and 29 are unpatentable over 35 U.S.C. § 103 based on the combination
of Mendelson-1988, Inokawa, Mendelson-2006 and Beyer. Pet. 1–2.
However, Mendelson-2006 and Beyer are not listed as exhibits in the
Petition (see id. at ii–iii), were not produced into the record as evidence, and
Petitioner does not present any arguments regarding the patentability of
claims 17, 18, and 29 over these references. Because Petitioner has not
produced Mendelson-2006 and Beyer as evidence in this proceeding, and
because Petitioner has not argued this ground in the Petition, we understand
this identification in the table of grounds on pages 1–2 to be inadvertent
error, and we do not consider this ground challenging claims 17, 18, and 29
based on Mendelson-1988, Inokawa, Mendelson-2006 and Beyer as part of
the Petition. Notably, claims 17 and 29 are not addressed anywhere in the
Petition, and thus will not be addressed in the final written decision. See
also Pet. 1 (identifying the challenged claims as only “claims 1–6, 8–16, 18,
and 19,” and omitting claims 17 and 29).

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  Claims Challenged          35 U.S.C. §                References/Basis
 1–6, 8–16, 18, and 19           103           Aizawa, Inokawa, Ohsaki
 1–6, 8–16, 18, and 19           103           Mendelson-1988, Inokawa

                               II. DISCUSSION
                            A. Claim Construction

      For petitions filed on or after November 13, 2018, a claim shall be
construed using the same claim construction standard that would be used to
construe the claim in a civil action under 35 U.S.C. § 282(b). 37 C.F.R.
§ 42.100(b) (2019). Petitioner submits that no claim term requires express
construction. Pet. 4.
      Based on our analysis of the issues in dispute at this stage of the
proceeding, we conclude that no further claim terms require express
construction at this time. Nidec Motor Corp. v. Zhongshan Broad Ocean
Motor Co. Matal, 868 F.3d 1013, 1017 (Fed. Cir. 2017).

                             B. Principles of Law
      A claim is unpatentable under 35 U.S.C. § 103 if “the differences
between the subject matter sought to be patented and the prior art are such
that the subject matter as a whole would have been obvious at the time the
invention was made to a person having ordinary skill in the art to which said
subject matter pertains.” KSR Int’l Co. v. Teleflex Inc., 550 U.S. 398, 406
(2007). The question of obviousness is resolved on the basis of underlying
factual determinations, including (1) the scope and content of the prior art;
(2) any differences between the claimed subject matter and the prior art;
(3) the level of skill in the art; and (4) objective evidence of non-




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obviousness.4 Graham v. John Deere Co., 383 U.S. 1, 17–18 (1966). When
evaluating a combination of teachings, we must also “determine whether
there was an apparent reason to combine the known elements in the fashion
claimed by the patent at issue.” KSR, 550 U.S. at 418 (citing In re Kahn,
441 F.3d 977, 988 (Fed. Cir. 2006)). Whether a combination of prior art
elements would have produced a predictable result weighs in the ultimate
determination of obviousness. Id. at 416–417.
      In an inter partes review, the petitioner must show with particularity
why each challenged claim is unpatentable. Harmonic Inc. v. Avid Tech.,
Inc., 815 F.3d 1356, 1363 (Fed. Cir. 2016); 37 C.F.R. § 42.104(b). The
burden of persuasion never shifts to Patent Owner. Dynamic Drinkware,
LLC v. Nat’l Graphics, Inc., 800 F.3d 1375, 1378 (Fed. Cir. 2015).
      We analyze the challenges presented in the Petition in accordance
with the above-stated principles.

                    C. Level of Ordinary Skill in the Art

      Petitioner identifies the appropriate level of skill in the art as that
possessed by a person having “a Bachelor of Science degree in an academic
discipline emphasizing the design of electrical, computer, or software
technologies, in combination with training or at least one to two years of
related work experience with capture and processing of data or information.”
Pet. 4 (citing Ex. 1003 ¶¶ 21–22). Petitioner also notes that a person of
ordinary skill in the art (“POSITA”) “could have also had a Master of




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  Patent Owner does not present objective evidence of non-obviousness at
this stage.

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Science degree in a relevant academic discipline with less than a year of
related work experience in the same discipline.” Id.
      For purposes of this Decision, we generally adopt Petitioner’s
assessment as set forth above, which appears consistent with the level of
skill reflected in the Specification and prior art.

              D. Obviousness over the Combined Teachings of
                            Aizawa and Inokawa

      Petitioner presents undisputed contentions that claims 1–6, 8–16, 18,
and 19 of the ’266 patent would have been obvious over the combined
teachings of Aizawa and Inokawa. Pet. 7–44.
                      1. Overview of Aizawa (Ex. 1006)
      Aizawa is a U.S. patent application publication titled “Pulse Wave
Sensor and Pulse Rate Detector,” and discloses a pulse wave sensor that
detects light output from a light emitting diode and reflected from a patient’s
artery. Ex. 1006, codes (54), (57).
      Figure 1(a) of Aizawa is reproduced below.




Figure 1(a) is a plan view of a pulse wave sensor. Id. ¶ 23. As shown in
Figure 1(a), pulse wave sensor 2 includes light emitting diode (“LED”) 21,
four photodetectors 22 symmetrically disposed around LED 21, and

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holder 23 for storing LED 21 and photodetectors 22. Id. Aizawa discloses
that, “to further improve detection efficiency, . . . the number of the
photodetectors 22 may be increased.” Id. ¶ 32, Fig. 4(a). “The same effect
can be obtained when the number of photodetectors 22 is 1 and a plurality of
light emitting diodes 21 are disposed around the photodetector 22.” Id. ¶ 33.
      Figure 1(b) of Aizawa is reproduced below.




Figure 1(b) is a sectional view of the pulse wave sensor. Id. ¶ 23. As shown
in Figure 1(b), pulse wave sensor 2 includes drive detection circuit 24 for
detecting a pulse wave by amplifying the outputs of photodetectors 22. Id.
Arithmetic circuit 3 computes a pulse rate from the detected pulse wave and
transmitter 4 transmits the pulse rate data to an “unshown display.” Id. The
pulse rate detector further includes outer casing 5 for storing pulse wave
sensor 2, acrylic transparent plate 6 mounted to detection face 23a of
holder 23, and attachment belt 7. Id.
      Aizawa discloses LED 21 and photodetectors 22 “are stored in
cavities 23b and 23c formed in the detection face 23a” of the pulse wave
sensor. Id. ¶ 24. Detection face 23a “is a contact side between the holder 23
and a wrist 10, respectively, at positions where the light emitting face 21s of
the light emitting diode 21 and the light receiving faces 22s of the

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photodetectors 22 are set back from the above detection face 23a.” Id.
Aizawa further discloses that “a subject carries the above pulse rate detector
1 on the inner side of his/her wrist 10 with a belt in such a manner that the
light emitting face 21s of the light emitting diode 21 faces down (on the
wrist 10 side).” Id. ¶ 26. Furthermore, “the above belt 7 is fastened such
that the acrylic transparent plate 6 becomes close to the artery 11 of the wrist
10. Thereby, adhesion between the wrist 10 and the pulse rate detector 1 is
improved.” Id.

                     2. Overview of Inokawa (Ex. 1008)
      Inokawa is a Japanese published patent application titled “Optical
Vital Sensor, Base Device, Vital Sign Information Gathering System, and
Sensor Communication Method,” and discloses a pulse sensor device.
Ex. 1008 ¶ 6.
      Figure 1 of Inokawa is reproduced below.




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Figure 1 illustrates a schematic view of a pulse sensor. Id. ¶ 56. Pulse
sensor 1 includes box-shaped sensor unit 3 and flexible annular wristband 5.
Id. ¶ 57. Sensor unit 3 includes a top surface with display 7 and control
switch 9, and a rear surface (sensor-side) with optical device component 11
for optically sensing a user’s pulse. Id.
      Figure 2 of Inokawa is reproduced below.




Figure 2 illustrates a schematic view of the rear surface of the pulse sensor.
Id. ¶ 58. The rear-side (sensor-side) of pulse sensor 1 includes a pair of
light-emitting elements, i.e., green LED 21 and infrared LED 23, as well as
photodiode 25 and lens 27. Id. In various embodiments, Inokawa discloses
that the sensor-side lens is convex. See id. ¶¶ 99, 107. Green LED 21
senses “the pulse from the light reflected off of the body (i.e.[,] change in the
amount of hemoglobin in the capillary artery),” and infrared LED 23 senses
body motion from the change in reflected light. Id. ¶ 59. The pulse sensor
stores this information in memory. Id. ¶ 68. To read and store information,
the pulse sensor includes a CPU that “performs the processing to sense
pulse, body motion, etc. from the signal . . . and temporarily stores the
analysis data in the memory.” Id. ¶ 69.




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      Figure 3 of Inokawa is reproduced below.




Figure 3 illustrates a schematic view of a pulse sensor mounted to a base
device. Id. ¶ 60. Pulse sensor 1 is depicted as mounted to base device 17,
which “is a charger with communication functionality.” Id. When so
mounted, sensor optical device component 11 and base optical device
component 41 face each other in close proximity. Id. ¶ 66. In this position,
pulse sensor 1 can output information to the base device through the coupled
optical device components. Id. ¶ 67. Specifically, the pulse sensor CPU
performs the controls necessary to transmit pulse information using infrared
LED 23 to photodetector 45 of base device 17. Id. ¶¶ 67, 70, 76–77. In an
alternative embodiment, additional sensor LEDs and base photodetectors can
be used to efficiently transmit data and improve accuracy. Id. ¶ 111.




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              3. Independent Claim 1 (Aizawa and Inokawa)

      Petitioner presents undisputed contentions that claim 1 would have
been obvious over the combined teachings of Aizawa and Inokawa. Pet. 23–
30.

                  i.“A noninvasive optical physiological sensor comprising:”
      On this record, the cited evidence supports Petitioner’s undisputed
contentions that Aizawa discloses this limitation. Pet. 23.
      Figure 2 of Aizawa shows a user wearing a pulse wave sensor on the
inner side of his/her wrist. Ex. 1006 ¶ 26. Accordingly, Petitioner’s reliance
on Figure 2 of Aizawa and the corresponding disclosure sufficiently disclose
the subject matter of the preamble.5 See Pet. 23.
      At this stage of the proceeding, Petitioner’s stated reasoning is
sufficiently supported.

                 ii.“[a] a plurality of emitters configured to emit light into
                    tissue of a user”

      On this record, the cited evidence supports Petitioner’s undisputed
contentions regarding this limitation. Pet. 17–24.
      Petitioner contends, “[w]hile Aizawa contemplates the use of multiple
emitters, Aizawa never specifically identifies the use of multiple emitters
operating at different wavelengths in conjunction with multiple detectors.”
Pet. 17 (citing Ex. 1006 ¶ 33; Ex. 1003 ¶¶ 69–80). We note that the claim
language does not require multiple emitters operating at different

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  Whether the preamble is limiting need not be resolved at this stage of the
proceeding, because Petitioner shows sufficiently for purposes of institution
that the recitation in the preamble is satisfied by the prior art.


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wavelengths. Thus, our patentability analysis is limited to what the claims
actually recite.
      Petitioner contends that a person of ordinary skill in the art would
have found it obvious to incorporate the two LEDs of Inokawa into Aizawa.
Pet. 24. Petitioner relies on Figure 1(b) of Aizawa, which shows pulse wave
sensor 2 comprising a single LED 21 “for emitting light having a
wavelength of near infrared range.” Ex. 1006 ¶ 23. Inokawa teaches a pulse
sensor comprising two LEDs–a sensor-side green LED for sensing “the
pulse from the light reflected off of the body,” and a sensor-side infrared
LED for sensing “body motion from the change in this reflected light.”
Ex. 1008 ¶ 59; see also id. ¶ 14, Fig. 2. Petitioner’s annotated Figure 2 of
Inokawa is reproduced below.




Annotated Figure 2 depicts pulse sensor 1 comprising sensor-side
photodiode 25 (shown in red) that receives reflected light from sensor-side
green LED 21 (shown in green) and a sensor-side infrared LED 23 (shown
in purple). Pet. 11; see also Ex. 1008 ¶ 58.




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      Petitioner contends that the teaching of Inokawa would motivate a
person of ordinary skill in the art to modify the pulse wave sensor in
Figure 1(b) of Aizawa to include “two different emitters operating at
different wavelengths.” Pet. 17. Specifically, Petitioner contends, “while
Aizawa only expressly mentions using ‘light having a wavelength of an
infrared range’ to detect the pulse rate, Inokawa discloses dividing the role
of a single LED into two different LEDs, specifically ‘with an infrared LED
used to detect vital signs . . . and a green LED used to detect pulse.’”
Pet. 17–18. Petitioner presents annotated and modified Figure 1(b) of
Aizawa to illustrate the resulting pulse wave sensor of Aizawa when
modified according to the teaching of Inokawa. Pet. 19. Petitioner’s
annotated and modified Figure 1(b) of Aizawa is reproduced below.




Annotated Figure 1(b) (left) depicts pulse wave sensor 2 comprising a single
LED 21 (shown in green) emitting light to nearby photodetectors 22 (shown
in red). Annotated and modified Figure 1(b) (right) depicts pulse wave
sensor 2 configured with two LEDs (shown in green and purple and labeled
as “Emitter 1” and “Emitter 2”) emitting light to photodetectors 22 (shown
in red). Id.
      Petitioner reasons “[a] POSITA would have recognized, in view of
Inokawa, that providing an additional emitter to Aizawa would allow

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Aizawa’s device to use it existing infrared LED to detect body motion while
using the added green LED to detect pulse,” and “[t]he added ability to
measure body movement can allow for more reliable pulse measurement that
takes into account and corrects for inaccurate readings stemming from body
movement.” Pet. 18 (citing Ex. 1003 ¶ 72).6 According to Dr. Kenny,
“[w]hile it’s possible that adding more emitters to Aizawa may lead to
increased power consumption, a POSITA seeking to improve detection
performance would have nevertheless looked to Inokawa’s multiple-emitter
setup to achieve enhanced performance benefits.” Ex. 1003 ¶ 72.
      At this stage of the proceeding, Petitioner’s stated reasoning for
modifying Aizawa to include two LEDs is sufficiently supported, including
by the unrebutted testimony of Dr. Kenny.
      Petitioner provides an additional rationale “for improving Aizawa by
adding a second/LED emitter.” Pet. 20. Specifically, Petitioner references
the embodiment depicted in Figure 19 of Inokawa disclosing a base device
configured to transmit data from a sensor using a green LED and an infrared
LED. Pet. 21–23; see also Ex. 1008 ¶¶ 109–111 (describing sensor-side
green LED 165 and sensor-side infrared LED 163 for transmitting data to
base-side photodetectors 155, 157); Fig. 3 (depicting a base device
comprising multiple sensor-side LEDs). As we explain supra, the record
before us sufficiently supports Petitioner’s contentions regarding modifying



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  Petitioner provides additional reasoning “for improving Aizawa by adding
a second/LED emitter.” Pet. 20. Specifically, Petitioner references the
embodiment depicted in Figure 19 of Inokawa disclosing a base device
configured to transmit data from a sensor using a green LED and an infrared
LED. Pet. 21–23. Based on the record before us, we need not consider that
additional reasoning at this stage of the proceeding.

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Figure 1(b) of Aizawa to include the green and infrared LEDs depicted in
Figure 2 of Inokawa. Thus, further analysis of Petitioner’s proposal to
modify Figure 1(b) of Aizawa based on the teachings of Figure 19 of
Inokawa is unnecessary.

                 iii.“[b] a plurality of detectors configured to detect light that
                     has been attenuated by tissue of the user, wherein the
                     plurality of detectors comprise at least four detectors”

      On this record, the cited evidence supports Petitioner’s undisputed
contention that Figure 1(a) of Aizawa discloses four “photodetectors 22 . . .
[that] detect light ‘reflected by a red corpuscle running through the artery 11
of the wrist 10.’” Pet. 25 (quoting Ex. 1006 ¶ 27); see, e.g., Ex. 1006,
Fig. 1(a) (depicting four photodetectors 22); id. ¶ 27 (“[F]our photodetectors
22 are disposed around the light emitting diode 21.”).
      At this stage of the proceeding, Petitioner’s stated reasoning is
sufficiently supported.

                  iv.“[c] a housing configured to house at least the plurality
                     of detectors; and”
      On this record, the cited evidence supports Petitioner’s undisputed
contentions regarding this limitation. Pet. 25–26.
      Petitioner contends “the holder of Aizawa provides a housing that
houses the plurality of detectors.” Pet. 26. In support of this contention,
Petitioner provides annotated Figures 1(a) and 1(b) of Aizawa, reproduced
below.




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Annotated Figure 1(a) (top) is a plan view of pulse wave sensor 2, and
depicts holder 23 (highlighted in green) surrounding photodetectors 22
(shown in red). Pet. 26; see also Ex. 1006 ¶ 23; Ex. 1003 ¶ 84. Annotated
Figure 1(b) (bottom) is a sectional view of pulse wave sensor 2, and depicts
holder 23 (labeled in green text as “Housing”) surrounding
photodetectors 22 (shown in red). Pet. 26.
      At this stage of the proceeding, Petitioner’s stated reasoning is
sufficiently supported.




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                  v. “[d] a lens configured to be located between the tissue of
                    the user and the plurality of detectors when the
                    noninvasive optical physiological sensor is worn by the
                    user, wherein the lens comprises a single outwardly
                    protruding convex surface configured to cause tissue of
                    the user to conform to at least a portion of the single
                    outwardly protruding convex surface when the
                    noninvasive optical physiological sensor worn by the user
                    and during operation of the noninvasive optical
                    physiological sensor.”

      On this record, the cited evidence supports Petitioner’s undisputed
contentions regarding this limitation. Pet. 13–17, 26–30.
      Figure 1(b) of Aizawa teaches a pulse wave sensor comprising an
acrylic transparent plate 6. Ex. 1006 ¶ 30 “Since the acrylic transparent
plate 6 is provided on the detection face 23a of the holder 23, adhesion
between the pulse rate detector 1 and the wrist 10 can be improved.” Id. As
shown in Figure 1(b), the acrylic transparent plate is notably flat in shape
and is arranged between photodetectors 22 and a person’s wrist 10.
Similarly, Figure 2 of Inokawa teaches a pulse wave sensor comprising lens
27 that appears to protrude toward a person’s body, and is arranged between
photodetector 25 and the person’s body. Petitioner contends “the ‘lens
makes it possible to increase the light-gathering ability of the LED’” (Pet.
14–15 (citing Ex. 1008 ¶ 15)), and that the lens achieves increased light
collection efficiency by “refracting/concentrating the incoming light signals
reflected by the blood” (Pet. 15 (citing Ex. 1003 ¶¶ 88–89)).
      Dr. Kenny testifies “the acrylic plate of Aizawa is flat and is not
described as including a lens” (Ex. 1003 ¶ 86), but that “a POSITA would
have been able to look to Inokawa to enhance light collection efficiency . . .
by modifying the light permeable cover of Aizawa to include a convex


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protrusion that acts as a lens, as per Inokawa” (id. ¶ 87). See Ex. 1008 ¶ 107
(describing an embodiment where the sensor-side optical device component
is convex), ¶ 99 (“[T]he pulse sensor [sensor]-side optical device component
is convex.”). Based on the testimony of Dr. Kenny, Petitioner proposes
modifying the flat-shaped acrylic transparent plate 6 of Aizawa to include a
convex-shaped lens as taught by Inokawa, in order to “increase the light
collection efficiency, which would lead to more reliable pulse detection.”
Pet. 15 (citing Ex. 1003 ¶¶ 88–89). Petitioner’s annotated Figure 1(b) of
Aizawa, and modified Figure 1(b) of Aizawa based on Inokawa’s teaching
of a protruding convex-shaped lens, are reproduced below.




Annotated Figure 1(b) of Aizawa (left) depicts a pulse wave sensor
comprising flat acrylic transparent plate 6 (shown in blue) arranged below
photodetectors (shown in red). Pet. 15, 28. Modified Figure (1b) of Aizawa
(right) depicts the acrylic transparent plate 6 modified to include a convex
lens (shown in blue) as taught by Inokawa. Id.
      In addition to Petitioner’s stated reasoning that the convex lens of
Inokawa would “increase the light collection efficiency” of the pulse sensor
of Aizawa (Pet. 15), Petitioner further reasons a person of ordinary skill in
the art would prioritize a convex lens over a flat cover, such as acrylic
transparent plate 6 shown in Figure 1(b) of Aizawa, even though Inokawa


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teaches that a flat cover is “less prone to scratches.” Pet. 16 (citing Ex. 1008
¶ 106 (“Another advantage is that, because the surface of the covers . . . is
flat, the surface is less prone to scratches than when the lens protrudes.”)).
Relying on the testimony of Dr. Kenny, Petitioner contends “a POSITA
making the design choice to prioritize improved light collection efficiency
over reduced susceptibility to scratches could have readily modified
Aizawa’s cover to have a lens as per Inokawa.” Pet. 16 (citing Ex. 1003
¶ 91).
         On the record before us, we find persuasive Petitioner’s stated
reasoning regarding modifying the flat cover of Aizawa to include a convex
lens.
         Petitioner further contends, the pulse wave sensor of Aizawa (as
modified by Inokawa) “will cause the tissue of the user to further conform
around the convex surface of the lens when the device is pressed against the
tissue” and that, “because the cover of Aizawa is made of transparent
acrylic, . . . a well-known rigid material, it would be sufficiently rigid to
deform the tissue.” Pet. 29–30 (citing Ex. 1003 ¶¶ 92–93, 98); see also
Ex. 1008, Fig. 2 (depicting convex sensor-side lens pressing into and
conforming the skin of the user’s body). Dr. Kenny testifies to the benefits
of a rigid lens, such as the acrylic convex lens 6 of Aizawa (as modified by
Inokawa). In particular, Dr. Kenny states “a rigid lens would be far better as
compared to a ‘pliable lens’ . . . in providing the improved optical
performance and light-gathering function as contemplated in the
combination [of Aizawa and Inokawa],” and reasons that “[a] POSITA
would use a lens material that was more rigid than the tissue it is meant to
come into contact with and deform in order to achieve the benefits of



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improved optical efficiency.” Ex. 1003 ¶ 99. We find persuasive
Petitioner’s stated reasons regarding Aizawa/Inokawa’s acrylic convex lens
tissue conforming properties.

                 vi. Summary

      For the foregoing reasons, we are persuaded that Petitioner’s cited
evidence and reasoning demonstrates a reasonable likelihood that Petitioner
would prevail in its contentions regarding claim 1.

                            4. Claims 2–6 and 8

      Petitioner presents undisputed contentions that dependent claims 2–6
and 8, which depend directly or indirectly from independent claim 1, are
unpatentable over the combined teachings of Aizawa and Inokawa, and
provides arguments explaining how the references teach the limitations of
these claims. Pet. 30–35; see also Ex. 1003 ¶¶ 94–103, 105.
      Patent Owner does not offer, at this stage, any arguments addressing
Petitioner’s substantive showing. See PO Waiver. We have reviewed these
arguments and the cited evidence, and we determine Petitioner has
demonstrated a reasonable likelihood of prevailing as to these contentions.
      Moreover, as discussed in detail above, Petitioner has demonstrated a
reasonable likelihood of prevailing on the challenge to claim 1 over the
combined teachings of Aizawa and Inokawa. Therefore, pursuant to USPTO
policy implementing the decision in SAS Inst., Inc. v. Iancu, 138 S. Ct. 1348
(2018) (“SAS”), we institute as to all claims challenged in the petition and on




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all grounds in the petition. See PTAB Consolidated Trial Practice Guide
(Nov. 2019) (“Consolidated Guide”),7 5–6, 64.

                5. Independent Claim 9 (Aizawa and Inokawa)
        Independent claim 9 consists of limitations that are substantially
similar to limitations [a]–[d] of claim 1. Compare Ex. 1001, 44:37–54, with
id. at 45:13–23 (reciting “a housing” as opposed to “a circular housing
including a planar surface”; “at least four detectors” as opposed to “at least
four detectors arranged on the planar surface” and “the four detectors are
arranged in a grid pattern”; “a lens” as opposed to “a lens forming a cover”
and omitting details of the lens’ location; the sensor is “worn by the user” as
compared to omitting details regarding user wear).
        In asserting that claim 9 also would have been obvious over the
combined teachings of Aizawa and Inokawa, Petitioner refers to the same
arguments presented as to claim 1 (Pet. 35–36, 39 (“See supra Ground 1A”))
and also presents additional arguments corresponding to the claimed
“circular housing,” “planar surface,” and “grid pattern” limitations (Pet. 36–
39). Specifically, Petitioner presents modified and annotated Figures 1(a)
and (1b) of Aizawa (reproduced below) to demonstrate the claimed circular
housing and planar surface.




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    Available at https://www.uspto.gov/TrialPracticeGuideConsolidated.

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Annotated Figure 1(a) (left) depicts pulse wave sensor 2 comprising
holder 23 with detectors 22 arranged in a standard north, south, east, west
grid pattern (depicted in blue). Pet. 38. The circular shape of the holder is
highlighted in green. Id. Annotated Figure 1(b) (right) depicts pulse wave
sensor 2 comprising holder 23 (labeled in green text as “Circular housing”).
Pet. 36. The holder is adjacent to a surface, highlighted in brown, that
Petitioner equates to the claimed “planar surface.” Id.
       For the same reasons discussed above, we are persuaded that
Petitioner’s cited evidence and reasoning demonstrate a reasonable
likelihood that Petitioner would prevail in its contentions regarding
independent claim 9. See supra II.D.3.i–v.

                        6. Claims 10–16, 18, and 19
       Petitioner presents undisputed contentions that dependent claims 10–
16, 18, and 19, which depend directly or indirectly from independent
claim 9, are unpatentable over the combined teachings of Aizawa and
Inokawa, and provides arguments explaining how the references teach the
limitations of these claims. Pet. 39–44; see also Ex. 1003 ¶¶ 114–121, 123–
124.




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      Patent Owner does not offer, at this stage, any arguments addressing
Petitioner’s substantive showing. See PO Waiver. We have reviewed these
arguments and the cited evidence, and we determine Petitioner has
demonstrated a reasonable likelihood of prevailing as to these contentions.
      Moreover, as discussed in detail above, Petitioner has demonstrated a
reasonable likelihood of prevailing on the challenge to claim 9 over the
combined teachings of Aizawa and Inokawa. Therefore, pursuant to USPTO
policy implementing the decision in SAS, we institute as to all claims
challenged in the Petition and on all grounds in the Petition. See
Consolidated Guide, 5–6, 64.

  E. Obviousness over the Combined Teachings of Aizawa, Inokawa, and
                                 Ohsaki

      Petitioner presents undisputed contentions that claims 1–6, 8–16, 18,
and 19 of the ’266 patent would have been obvious over the combined
teachings of Aizawa, Inokawa, and Ohsaki. Pet. 44–46. Ohsaki is relied
upon to provide “an additional motivation and rationale for a POSITA to
modify Aizawa to include a ‘lens’ as per element [1d].” Pet. 46. Petitioner
contends that remaining claim limitations [1a]–[1c] are unpatentable for the
same reasons raised with respect to the challenge of claim 1 based on the
combination of Aizawa and Inokawa. Id. (“The resulting combination
would have provided all remaining elements . . . in the same manner
previously described in Ground 1A.”).

                     1. Overview of Ohsaki (Ex. 1014)

      Ohsaki is a U.S. patent application publication titled “Wristwatch-type
Human Pulse Wave Sensor Attached on Back Side of User’s Wrist,” and



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discloses an optical sensor for detecting a pulse wave of a human body.
Ex. 1014, code (54), ¶ 3. Figure 1 of Ohsaki is reproduced below.




Figure 1 illustrates a cross-sectional view of pulse wave sensor 1 attached on
the back side of user’s wrist 4. Id. ¶¶ 12, 16. Pulse wave sensor 1 includes
detecting element 2 and sensor body 3. Id. ¶ 16.
      Figure 2 of Ohsaki, reproduced below, illustrates further detail of
detecting element 2.




Figure 2 illustrates a mechanism for detecting a pulse wave. Id. ¶ 13.
Detecting element 2 includes package 5, light emitting element 6, light
receiving element 7, and translucent board 8. Id. ¶ 17. Light emitting
element 6 and light receiving element 7 are arranged on circuit board 9
inside package 5. Id.



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      “[T]ranslucent board 8 is a glass board which is transparent to light,
and attached to the opening of the package 5. A convex surface is formed
on the top of the translucent board 8.” Id. “[T]he convex surface of the
translucent board 8 is in intimate contact with the surface of the user’s skin,”
preventing detecting element 2 from slipping off the detecting position of the
user’s wrist. Id. ¶ 25. Ohsaki describes that when a translucent board has a
flat surface, the detected pulse wave may be adversely affected by
movement of the user’s wrist. Id. By preventing the detecting element from
slipping, the convex surface suppresses “variation of the amount of the
reflected light which is emitted from the light emitting element 6 and
reaches the light receiving element 7 by being reflected by the surface of the
user’s skin.” Id. Additionally, the convex surface prevents penetration by
“noise such as disturbance light from the outside.” Id.
      Sensor body 3 is connected to detecting element 2 by signal line 13.
Id. ¶ 20. Signal line 13 connects detecting element 2 to drive circuit 11,
microcomputer 12, and a monitor display (not shown). Id. Drive circuit 11
drives light emitting element 6 to emit light toward wrist 4. Id. Detecting
element 2 receives reflected light which is used by microcomputer 12 to
calculate pulse rate. Id. “The monitor display shows the calculated pulse
rate.” Id.

             2. Independent Claim 1 (Aizawa, Inokawa, and Ohsaki)

      Petitioner presents undisputed contentions that claim 1 would have
been obvious over the combined teachings of Aizawa, Inokawa, and Ohsaki.
Pet. 45–46.




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                  i.[1a]–[1c]

      Petitioner contends claim limitations [1a]–[1c] are unpatentable for
the same reasons raised with respect to Petitioner’s challenge based on the
combination of Aizawa and Inokawa. Pet. 46 (“The resulting combination
would have provided all remaining elements . . . in the same manner
previously described in Ground 1A”). The ground based on Aizawa and
Inokawa is addressed supra at II.D.3.(i)–(iv). At this stage of the
proceeding, Petitioner’s stated reasoning with respect to these limitations,
and the basis for combining Aizawa and Inokawa, is sufficiently supported,
including by the unrebutted testimony of Dr. Kenny.

                    i.“[d] a lens configured to be located between the tissue
                      of the user and the plurality of detectors when the
                      noninvasive optical physiological sensor is worn by the
                      user, wherein the lens comprises a single outwardly
                      protruding convex surface configured to cause tissue of
                      the user to conform to at least a portion of the single
                      outwardly protruding convex surface when the
                      noninvasive optical physiological sensor worn by the
                      user and during operation of the noninvasive optical
                      physiological sensor.”
      On this record, the cited evidence supports Petitioner’s undisputed
contentions regarding this limitation and the rationale for combining Ohsaki
with Aizawa and Inokawa. Pet. 45–46.
      As noted supra at section II.D.3.v, we find persuasive Petitioner’s
rationale for modifying the flat-shaped acrylic plate of Aizawa to include a
convex-shaped lens as taught by Inokawa. Petitioner contends that “Ohsaki
provides an additional motivation and rationale for a POSITA to modify
Aizawa.” Pet. 46.



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      Ohsaki teaches a pulse wave sensor comprising a translucent board 8
that is “intimate contact with the surface of the user’s skin.” Ex. 1014 ¶ 25.
“If the translucent board 8 has a flat surface, the detected pulse wave is
adversely affected by the movement of the user’s wrist.” Id. In the
alternative, the translucent board may be configured with a convex surface
to suppress variations in the amount of reflected light. Id.
      Petitioner contends “Ohsaki teaches that adding a convex surface to a
flat cover . . . can help prevent the device from slipping on the tissue” and
that Aizawa is also concerned with preventing slippage. Pet. 46 (citing
Ex. 1006 ¶¶ 26, 30; Ex. 1014 ¶ 25); see Ex. 1006 ¶ 26 (“[A]dhesion between
the wrist 10 and the pulse rate detector 1 is improved.”). Petitioner reasons
“a POSITA wanting to achieve improved adhesion between the detector and
the skin, as expressly recognized in Aizawa, would have readily modified
Aizawa’s cover to have a convex protrusion as per Ohsaki.” Pet. 46.
      At this stage of the proceeding, Petitioner’s stated reasoning is
sufficiently supported.

                   F. Remaining Grounds of Obviousness
      As discussed in detail above, Petitioner has demonstrated a reasonable
likelihood of prevailing on the challenge to claims 1 and 9 as having been
obvious over Aizawa and Inokawa, and the challenge to claim 1 as having
been obvious over Aizawa, Inokawa, and Ohsaki. Therefore, pursuant to
USPTO policy implementing the decision in SAS, we institute as to all
claims challenged in the Petition and on all grounds in the Petition. See
Consolidated Guide, 5–6, 64.




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                              III. CONCLUSION

       The Supreme Court held that a final written decision under 35 U.S.C.
§ 318(a) must decide the patentability of all claims challenged in the
petition. See SAS, 138 S. Ct. 1348. After considering the evidence and
arguments presented in the Petition, we determine that Petitioner has
demonstrated a reasonable likelihood of success in proving that at least
claims 1 and 9 of the ’266 patent are unpatentable. Accordingly, we institute
an inter partes review of all claims and all grounds set forth in the Petition.
       At this stage of the proceeding, we have not made a final
determination as to the patentability of any challenged claim or as to the
construction of any claim term.

                                  IV. ORDER

       In consideration of the foregoing, it is hereby:
       ORDERED that, pursuant to 35 U.S.C. § 314(a), an inter partes
review of claims 1–6, 8–16, 18, and 19 of the ’266 patent is instituted with
respect to all grounds set forth in the Petition, as best understood and as set
forth in Section I.F of this Decision (see supra n.3); and
       FURTHER ORDERED that, pursuant to 35 U.S.C. § 314(c) and
37 C.F.R. § 42.4(b), inter partes review of the ’266 patent shall commence
on the entry date of this Order, and notice is hereby given of the institution
of a trial.




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FOR PETITIONER:

W. Karl Renner
Robert J. Devoto
Hyun Jin In
FISH & RICHARDSON P.C.
axf-ptab@fr.com
devoto@fr.com
in@fr.com

FOR PATENT OWNER:

Joseph R. Re
Stephen W. Larson
Jarom D. Kesler
Jacob L. Peterson
KNOBBE, MARTENS, OLSON, & BEAR, LLP
2jrr@knobbe.com
2swl@knobbe.com
2jzk@knobbe.com
2jup@knobbe.com




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Trials@uspto.gov                                                      Paper 7
571-272-7822                                               Date: June 3, 2021


       UNITED STATES PATENT AND TRADEMARK OFFICE


        BEFORE THE PATENT TRIAL AND APPEAL BOARD


                             APPLE INC.,
                              Petitioner,

                                     v.

                      MASIMO CORPORATION,
                           Patent Owner.


                            IPR2021-00209
                         Patent 10,376,191 B1



Before JOSIAH C. COCKS, ROBERT L. KINDER, and
AMANDA F. WIEKER, Administrative Patent Judges.

WIEKER, Administrative Patent Judge.


                               DECISION
               Granting Institution of Inter Partes Review
                             35 U.S.C. § 314
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                             I.   INTRODUCTION

                                  A. Background

      Apple Inc. (“Petitioner”) filed a Petition requesting an inter partes
review of claims 1–6, 8–16, 18, and 19 (“challenged claims”) of U.S. Patent
No. 10,376,191 B1 (Ex. 1001, “the ’191 patent”). Paper 2 (“Pet.”). Masimo
Corporation (“Patent Owner”) waived filing a preliminary response. Paper 6
(“PO Waiver”).
      We have authority to determine whether to institute an inter partes
review, under 35 U.S.C. § 314 and 37 C.F.R. § 42.4. An inter partes review
may not be instituted unless it is determined that “the information presented
in the petition filed under section 311 and any response filed under section
313 shows that there is a reasonable likelihood that the petitioner would
prevail with respect to at least 1 of the claims challenged in the petition.”
35 U.S.C. § 314 (2018); see also 37 C.F.R. § 42.4(a) (“The Board institutes
the trial on behalf of the Director.”).
      For the reasons provided below and based on the record before us, we
determine that Petitioner has demonstrated a reasonable likelihood that
Petitioner would prevail in showing the unpatentability of at least one of the
challenged claims. Accordingly, we institute an inter partes review on all
grounds set forth in the Petition.

                              B. Related Matters

      The parties identify the following matters related to the ’191 patent:
      Masimo Corporation v. Apple Inc., Civil Action No. 8:20-cv-00048
(C.D. Cal.) (filed Jan. 9, 2020);




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      Apple Inc. v. Masimo Corporation, IPR2020-01520 (PTAB Aug. 31,
2020) (challenging claims of U.S. Patent No. 10,258,265 B1);
      Apple Inc. v. Masimo Corporation, IPR2020-01521 (PTAB Sept. 2,
2020) (challenging claims of U.S. Patent No. 10,292,628 B1);
      Apple Inc. v. Masimo Corporation, IPR2020-01523 (PTAB Sept. 9,
2020) (challenging claims of U.S. Patent No. 8,457,703 B2);
      Apple Inc. v. Masimo Corporation, IPR2020-01524 (PTAB Aug. 31,
2020) (challenging claims of U.S. Patent No. 10,433,776 B2);
      Apple Inc. v. Masimo Corporation, IPR2020-01526 (PTAB Aug. 31,
2020) (challenging claims of U.S. Patent No. 6,771,994 B2);
      Apple Inc. v. Masimo Corporation, IPR2020-01536 (PTAB Aug. 31,
2020) (challenging claims of U.S. Patent No. 10,588,553 B2);
      Apple Inc. v. Masimo Corporation, IPR2020-01537 (PTAB Aug. 31,
2020) (challenging claims of U.S. Patent No. 10,588,553 B2);
      Apple Inc. v. Masimo Corporation, IPR2020-01538 (PTAB Sept. 2,
2020) (challenging claims of U.S. Patent No. 10,588,554 B2);
      Apple Inc. v. Masimo Corporation, IPR2020-01539 (PTAB Sept. 2,
2020) (challenging claims of U.S. Patent No. 10,588,554 B2);
      Apple Inc. v. Masimo Corporation, IPR2020-01713 (PTAB Sept. 30,
2020) (challenging claims of U.S. Patent No. 10,624,564 B1);
      Apple Inc. v. Masimo Corporation, IPR2020-01714 (PTAB Sept. 30,
2020) (challenging claims of U.S. Patent No. 10,631,765 B1);
      Apple Inc. v. Masimo Corporation, IPR2020-01715 (PTAB Sept. 30,
2020) (challenging claims of U.S. Patent No. 10,631,765 B1);
      Apple Inc. v. Masimo Corporation, IPR2020-01716 (PTAB Sept. 2,
2020) (challenging claims of U.S. Patent No. 10,702,194 B1);



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      Apple Inc. v. Masimo Corporation, IPR2020-01722 (PTAB Oct. 2,
2020) (challenging claims of U.S. Patent No. 10,470,695 B2);
      Apple Inc. v. Masimo Corporation, IPR2020-01723 (PTAB Oct. 2,
2020) (challenging claims of U.S. Patent No. 10,470,695 B2);
      Apple Inc. v. Masimo Corporation, IPR2020-01733 (PTAB Sept. 30,
2020) (challenging claims of U.S. Patent No. 10,702,195 B1);
      Apple Inc. v. Masimo Corporation, IPR2020-01737 (PTAB Sept. 30,
2020) (challenging claims of U.S. Patent No. 10,709,366 B1)
      Apple Inc. v. Masimo Corporation, IPR2021-00193 (PTAB Nov. 20,
2020) (challenging claims of U.S. Patent No. 10,299,708 B1);
      Apple Inc. v. Masimo Corporation, IPR2021-00195 (PTAB Nov. 20,
2020) (challenging claims of U.S. Patent No. 10,376,190 B1); and
      Apple Inc. v. Masimo Corporation, IPR2021-00208 (PTAB Nov. 20,
2020) (challenging claims of U.S. Patent No. 10,258,266 B1).
Pet. 71–72; Paper 3, 3–4.
      Patent Owner further identifies the following pending patent
applications, among other issued and abandoned applications, that claim
priority to, or share a priority claim with, the ’191 patent:
      U.S. Patent Application No. 16/834,538;
      U.S. Patent Application No. 17/031,407;
      U.S. Patent Application No. 17/031,316;
      U.S. Patent Application No. 17/031,356;
      U.S. Patent Application No. 16/449,143; and
      U.S. Patent Application No. 16/805,605.
Paper 3, 1–3.




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                             C. The ’191 Patent

      The ’191 patent is titled “Multi-Stream Data Collection System for
Noninvasive Measurement of Blood Constituents,” and issued on August 13,
2019, from U.S. Patent Application No. 16/409,515, filed May 10, 2019.
Ex. 1001, codes (21), (22), (45), (54). The ’191 patent claims priority
through a series of continuation and continuation-in-part applications to
Provisional Application Nos. 61/078,228 and 61/078,207, both filed July 3,
2008. Id. at codes (60), (63).
      The ’191 patent discloses a two-part data collection system including
a noninvasive sensor that communicates with a patient monitor. Id. at 2:35–
37. The sensor includes a sensor housing, an optical source, and several
photodetectors, and is used to measure a blood constituent or analyte, e.g.,
oxygen or glucose. Id. at 2:26–32, 61–62. The patient monitor includes a
display and a network interface for communicating with a handheld
computing device. Id. at 2:42–45.
      Figure 1 of the ’191 patent is reproduced below.




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Figure 1 illustrates a block diagram of data collection system 100 including
sensor 101 and monitor 109. Id. at 11:42–44. Sensor 101 includes optical
emitter 104 and detectors 106. Id. at 11:54–56. Emitters 104 emit light that
is attenuated or reflected by the patient’s tissue at measurement site 102. Id.
at 13:67–14:3. Detectors 106 capture and measure the light attenuated or
reflected from the tissue. Id. In response to the measured light,
detectors 106 output detector signals 107 to monitor 109 through front-end
interface 108. Id. at 14:3–6, 14:22–28. Sensor 101 also may include tissue
shaper 105, which may be in the form of a convex surface that: (1) reduces
the thickness of the patient’s measurement site; and (2) provides more
surface area from which light can be detected. Id. at 10:57–11:9.
      Monitor 109 includes signal processor 110 and user interface 112. Id.
at 15:12–14. “[S]ignal processor 110 includes processing logic that
determines measurements for desired analytes . . . based on the signals
received from the detectors.” Id. at 15:17–20. User interface 112 presents
the measurements to a user on a display, e.g., a touch-screen display. Id. at
15:42–55. The monitor may be connected to storage device 114 and
network interface 116. Id. at 15:56–62.
      The ’191 patent describes various examples of sensor devices.
Figures 14D and 14F, reproduced below, illustrate sensor devices.




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Figure 14D illustrates portions of a detector submount and Figure 14F
illustrates portions of a detector shell. Id. at 6:40–43. As shown in
Figure 14D, multiple detectors 1410c are located within housing 1430 and
under transparent cover 1432, on which protrusion 605b (or partially
cylindrical protrusion 605) is disposed. Id. at 35:36–40, 36:30–37.
Figure 14F illustrates a detector shell 306f including detectors 1410c on
substrate 1400c. Id. at 37:9–17. Substrate 1400c is enclosed by shielding
enclosure 1490 and noise shield 1403, which include window 1492a and
window 1492b, respectively, placed above detectors 1410c. Id. at 37:18–25.
Alternatively, cylindrical housing 1430 may be disposed under noise
shield 1403 and may enclose detectors 1410c. Id. at 37:47–49.
      Figures 4A and 4B, reproduced below, illustrate an alternative
example of a tissue contact area of a sensor device.




Figures 4A and 4B illustrate arrangements of protrusion 405 including
measurement contact area 470. Id. at 23:13–19. “[M]easurement site
contact area 470 can include a surface that molds body tissue of a
measurement site.” Id. “For example, . . . measurement site contact
area 470 can be generally curved and/or convex with respect to the
measurement site.” Id. at 23:36–38. The measurement site contact area may



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include windows 420–423 that “mimic or approximately mimic a
configuration of, or even house, a plurality of detectors.” Id. at 23:44–58.

                            D. Illustrative Claim

      Of the challenged claims, claims 1 and 9 are independent. Claim 1 is
illustrative and is reproduced below.
      1. A noninvasive optical physiological sensor comprising:
          [a] a plurality of emitters configured to emit light into tissue
              of a user;
          [b] a plurality of detectors configured to detect light that has
             been attenuated by tissue of the user, wherein the plurality
             of detectors comprise at least four detectors;
          [c] a housing configured to house at least the plurality of
             detectors in a circular portion of the housing; and
          [d] a lens configured to be located between tissue of the user
             and the plurality of detectors when the noninvasive optical
             physiological sensor is worn by the user, wherein the lens
             comprises a single outwardly protruding convex surface
             configured to cause tissue of the user to conform to at least
             a portion of the single outwardly protruding convex
             surface when the noninvasive optical physiological sensor
             is worn by the user and during operation of the
             noninvasive optical physiological sensor.
Ex. 1001, 44:50–67 (bracketed identifiers a–d added). Independent claim 9
includes limitations similar to limitations [a]–[d] of claim 1. Id. at 45:26–36
(reciting a “planar surface” and “at least four detectors” arranged in a “grid
pattern” on the planar surface).




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                            E. Applied References

        Petitioner relies upon the following references:
              Ohsaki et al., U.S. Patent Application Publication No.
        2001/0056243 A1, filed May 11, 2001, published December 27, 2001
        (Ex. 1014, “Ohsaki”);
              Aizawa, U.S. Patent Application Publication No.
        2002/0188210 A1, filed May 23, 2002, published December 12, 2002
        (Ex. 1006, “Aizawa”);
              Inokawa et al., Japanese Patent Application Publication
        No. 2006-296564 A, filed April 18, 2005, published November 2,
        2006 (Ex. 1007, “Inokawa”);1 and
              Y. Mendelson et al., “Design and Evaluation of a New
        Reflectance Pulse Oximeter Sensor,” Association for the
        Advancement of Medical Instrumentation, Vol. 22, No. 4, 167–173
        (1988) (Ex. 1015, “Mendelson-1988”).
Pet. 3. Petitioner also submits, inter alia, the Declaration of Thomas W.
Kenny, Ph.D. (Ex. 1003).

                             F. Asserted Grounds
        Petitioner asserts that claims 1–6, 8–16, 18, and 19 are unpatentable
based upon the following grounds:
    Claim(s) Challenged      35 U.S.C. §             References/Basis
    1–6, 8–16, 18, 19            103           Aizawa, Inokawa
    1–6, 8–16, 18, 19            103           Aizawa, Inokawa, Ohsaki
    1–6, 8–16, 18, 19            103           Mendelson-1988, Inokawa




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 Petitioner relies on a certified English translation of Inokawa (Ex. 1008).
In this Decision, we also refer to the translation.

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                               II. DISCUSSION

                            A. Claim Construction

      For petitions filed on or after November 13, 2018, a claim shall be
construed using the same claim construction standard that would be used to
construe the claim in a civil action under 35 U.S.C. § 282(b). 37 C.F.R.
§ 42.100(b) (2019). Petitioner submits that no claim term requires express
construction. Pet. 3–4.
      Based on our analysis of the issues in dispute at this stage of the
proceeding, we agree that no claim terms require express construction at this
time. Nidec Motor Corp. v. Zhongshan Broad Ocean Motor Co., 868 F.3d
1013, 1017 (Fed. Cir. 2017).

                             B. Principles of Law
      A claim is unpatentable under 35 U.S.C. § 103 if “the differences
between the subject matter sought to be patented and the prior art are such
that the subject matter as a whole would have been obvious at the time the
invention was made to a person having ordinary skill in the art to which said
subject matter pertains.” KSR Int’l Co. v. Teleflex Inc., 550 U.S. 398, 406
(2007). The question of obviousness is resolved on the basis of underlying
factual determinations, including (1) the scope and content of the prior art;
(2) any differences between the claimed subject matter and the prior art;
(3) the level of skill in the art; and (4) objective evidence of non-
obviousness.2 Graham v. John Deere Co., 383 U.S. 1, 17–18 (1966). When
evaluating a combination of teachings, we must also “determine whether


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  Patent Owner does not present objective evidence of non-obviousness at
this stage.

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there was an apparent reason to combine the known elements in the fashion
claimed by the patent at issue.” KSR, 550 U.S. at 418 (citing In re Kahn,
441 F.3d 977, 988 (Fed. Cir. 2006)). Whether a combination of prior art
elements would have produced a predictable result weighs in the ultimate
determination of obviousness. Id. at 416–417.
      In an inter partes review, the petitioner must show with particularity
why each challenged claim is unpatentable. Harmonic Inc. v. Avid Tech.,
Inc., 815 F.3d 1356, 1363 (Fed. Cir. 2016); 37 C.F.R. § 42.104(b). The
burden of persuasion never shifts to Patent Owner. Dynamic Drinkware,
LLC v. Nat’l Graphics, Inc., 800 F.3d 1375, 1378 (Fed. Cir. 2015).
      We analyze the challenges presented in the Petition in accordance
with the above-stated principles.

                     C. Level of Ordinary Skill in the Art

      Petitioner identifies the appropriate level of skill in the art as that
possessed by a person having “a Bachelor of Science degree in an academic
discipline emphasizing the design of electrical, computer, or software
technologies, in combination with training or at least one to two years of
related work experience with capture and processing of data or information.”
Pet. 4 (citing Ex. 1003 ¶¶ 21–22). “Alternatively, the person could have also
had a Master of Science degree in a relevant academic discipline with less
than a year of related work experience in the same discipline.” Id.
      For purposes of this Decision, we generally adopt Petitioner’s
assessment as set forth above, which appears consistent with the level of
skill reflected in the Specification and prior art.




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              D. Obviousness over the Combined Teachings of
                            Aizawa and Inokawa

      Petitioner presents undisputed contentions that claims 1–6, 8–16, 18,
and 19 of the ’191 patent would have been obvious over the combined
teachings of Aizawa and Inokawa. Pet. 6–43.
                     1. Overview of Aizawa (Ex. 1006)
      Aizawa is a U.S. patent application publication titled “Pulse Wave
Sensor and Pulse Rate Detector,” and discloses a pulse wave sensor that
detects light output from a light emitting diode and reflected from a patient’s
artery. Ex. 1006, codes (54), (57).
      Figure 1(a) of Aizawa is reproduced below.




Figure 1(a) is a plan view of a pulse wave sensor. Id. ¶ 23. As shown in
Figure 1(a), pulse wave sensor 2 includes light emitting diode (“LED”) 21,
four photodetectors 22 symmetrically disposed around LED 21, and
holder 23 for storing LED 21 and photodetectors 22. Id. Aizawa discloses
that, “to further improve detection efficiency, . . . the number of the
photodetectors 22 may be increased.” Id. ¶ 32, Fig. 4(a). “The same effect
can be obtained when the number of photodetectors 22 is 1 and a plurality of
light emitting diodes 21 are disposed around the photodetector 22.” Id. ¶ 33.


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      Figure 1(b) of Aizawa is reproduced below.




Figure 1(b) is a sectional view of the pulse wave sensor. Id. ¶ 23. As shown
in Figure 1(b), pulse wave sensor 2 includes drive detection circuit 24 for
detecting a pulse wave by amplifying the outputs of photodetectors 22. Id.
¶ 23. Arithmetic circuit 3 computes a pulse rate from the detected pulse
wave and transmitter 4 transmits the pulse rate data to an “unshown
display.” Id. The pulse rate detector further includes outer casing 5 for
storing pulse wave sensor 2, acrylic transparent plate 6 mounted to detection
face 23a of holder 23, and attachment belt 7. Id. ¶ 23.
      Aizawa discloses that LED 21 and photodetectors 22 “are stored in
cavities 23b and 23c formed in the detection face 23a” of the pulse wave
sensor. Id. ¶ 24. Detection face 23a “is a contact side between the holder 23
and a wrist 10, respectively, at positions where the light emitting face 21s of
the light emitting diode 21 and the light receiving faces 22s of the
photodetectors 22 are set back from the above detection face 23a.” Id. ¶ 24.
Aizawa discloses that “a subject carries the above pulse rate detector 1 on
the inner side of his/her wrist 10 . . . in such a manner that the light emitting
face 21s of the light emitting diode 21 faces down (on the wrist 10 side).”
Id. ¶ 26. Furthermore, “the above belt 7 is fastened such that the acrylic

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transparent plate 6 becomes close to the artery 11 of the wrist 10. Thereby,
adhesion between the wrist 10 and the pulse rate detector 1 is improved.”
Id. ¶¶ 26, 34.
                     2. Overview of Inokawa (Ex. 1008)
      Inokawa is a Japanese published patent application titled “Optical
Vital Sensor, Base Device, Vital Sign Information Gathering System, and
Sensor Communication Method,” and discloses a pulse sensor device.
Ex. 1008 ¶ 6.
      Figure 1 of Inokawa is reproduced below.




Figure 1 illustrates a schematic view of a pulse sensor. Id. ¶ 56. Pulse
sensor 1 includes box-shaped sensor unit 3 and flexible annular wristband 5.
Id. ¶ 57. Sensor unit 3 includes a top surface with display 7 and control
switch 9, and a rear surface (sensor-side) with optical device component 11
for optically sensing a user’s pulse. Id.




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      Figure 2 of Inokawa is reproduced below.




Figure 2 illustrates a schematic view of the rear surface of the pulse sensor.
Id. ¶ 58. The rear-side (sensor-side) of pulse sensor 1 includes a pair of
light-emitting elements, i.e., green LED 21 and infrared LED 23, as well as
photodiode 25 and lens 27. Id. In various embodiments, Inokawa discloses
that the sensor-side lens is convex. See id. ¶¶ 99, 107. Green LED 21
senses “the pulse from the light reflected off of the body (i.e.[,] change in the
amount of hemoglobin in the capillary artery),” and infrared LED 23 senses
body motion from the change in reflected light. Id. ¶ 59. The pulse sensor
stores this information in memory. Id. ¶ 68. To read and store information,
the pulse sensor includes a CPU that “performs the processing to sense
pulse, body motion, etc. from the signal . . . and temporarily stores the
analysis data in the memory.” Id. ¶ 69.




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      Figure 3 of Inokawa is reproduced below.




Figure 3 illustrates a schematic view of a pulse sensor mounted to a base
device. Id. ¶ 60. Pulse sensor 1 is depicted as mounted to base device 17,
which “is a charger with communication functionality.” Id. When so
mounted, sensor optical device component 11 and base optical device
component 41 face each other in close proximity. Id. ¶ 66. In this position,
pulse sensor 1 can output information to the base device through the coupled
optical device components. Id. ¶ 67. Specifically, the pulse sensor CPU
performs the controls necessary to transmit pulse information using infrared
LED 23 to photodetector 45 of base device 17. Id. ¶¶ 67, 70, 76. In an
alternative embodiment, additional sensor LEDs and base photodetectors can
be used to efficiently transmit data and improve accuracy. Id. ¶ 111.




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                            3. Independent Claim 1

      Petitioner presents undisputed contentions that claim 1 would have
been obvious over the combined teachings of Aizawa and Inokawa. Pet. 13–
22 (combination), 22–29 (claim 1).

                   i.“A noninvasive optical physiological sensor comprising”

      On this record, the cited evidence supports Petitioner’s undisputed
contention that Aizawa discloses a pulse sensor. Pet. 22–23; see, e.g.,
Ex. 1006 ¶ 2 (“[A] pulse wave sensor for detecting the pulse wave of a
subject from light reflected from a red corpuscle in the artery of a wrist of
the subject by irradiating the artery of the wrist with light.”).

                  ii.“[a] a plurality of emitters configured to emit light into
                     tissue of a user”

      On this record, the cited evidence supports Petitioner’s undisputed
contentions regarding this limitation. Specifically, Petitioner contends that
Aizawa discloses LED 21. Pet. 7; see, e.g., Ex. 1006 ¶ 23 (“LED 21 . . . for
emitting light having a wavelength of a near infrared range”). Petitioner also
contends that Inokawa discloses using two emitters of different wavelengths
and that “work can be divided between the various means, with an infrared
LED used to detect vital signs and transmit vital sign information, and a
green LED used to detect pulse.” Pet. 10–11, 17; see, e.g., Ex. 1008 ¶¶ 14
(quoted), 58 (a pair of LEDs 21, 23), 59 (detecting pulse and body motion).
Petitioner also contends that when Inokawa’s sensor is mounted on its base
device, vital information is transmitted to the base device through the LEDs.
Pet. 12–13; see, e.g., Ex. 1008 ¶¶ 76–77 (explaining that “vital sign
information stored in the memory 63 [of the sensor], such as pulse and body


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motion, is transmitted to the base device 17 using the S-side infrared
LED 23 of the pulse sensor 1 and the B-side PD 45 of the base device 17,”
such that “there is no need to use a special wireless communication circuit or
a communication cable”).
      Petitioner further contends that a person of ordinary skill in the art
would have been motivated to “provid[e] an additional emitter to Aizawa
[to] allow Aizawa’s device to use its existing infrared LED to detect body
motion while using the added green LED to detect pulse,” which would have
provided “more reliable pulse measurement that takes into account and
corrects for inaccurate readings stemming from body movement.” Pet. 17–
18, 24; see also id. at 19–22, 24 (contending the combination also would
have provided for wireless communication through the LEDs); Ex. 1003
¶¶ 71–73.
      To illustrate its proposed modification, Petitioner includes annotated
and modified views of Aizawa’s Figure 1(b), reproduced below. Pet. 18; see
also id. at 23 (same); Ex. 1003 ¶ 72.




Petitioner’s modified figures depict the sensor of Aizawa in which the single
emitter has been divided into two emitters operating at two different
wavelengths, as Petitioner contends would have been rendered obvious by
Inokawa. Id. at 18–19, 23–24.


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      At this stage of the proceeding, Petitioner’s stated reasoning for the
proposed modification is sufficiently supported, including by the unrebutted
testimony of Dr. Kenny. See, e.g., Ex. 1003 ¶¶ 69–81.

                 iii.“[b] a plurality of detectors configured to detect light
                     that has been attenuated by tissue of the user, wherein
                     the plurality of detectors comprise at least four
                     detectors”

      On this record, the cited evidence supports Petitioner’s undisputed
contention that Aizawa discloses at least four detectors 22 that detect light
that has been emitted by LED 21 and attenuated by body tissue. Pet. 24–25;
see, e.g., Ex. 1006 ¶ 27 (disclosing that light emitted from LED 21 “is
reflected by a red corpuscle running through the artery 11 of the wrist 10 and
. . . is detected by the plurality of photodetectors 22 so as to detect a pulse
wave”); Ex. 1003 ¶¶ 82–83.

                  iv.“[c] a housing configured to house at least the plurality
                     of detectors in a circular portion of the housing”
      On this record, the cited evidence supports Petitioner’s undisputed
contention that Aizawa discloses holder 23, which houses the detectors in a
circular portion of the housing. Pet. 25; see, e.g., Ex. 1006 ¶ 23 (“holder 23
for storing . . . light emitting diode 21 and the photodetectors 22”),
Figs. 1(a)–(b) (depicting circular holder 23 surrounding detectors 22).




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                  v. “[d] a lens configured to be located between tissue of
                    the user and the plurality of detectors when the
                    noninvasive optical physiological sensor is worn by the
                    user, wherein the lens comprises a single outwardly
                    protruding convex surface configured to cause tissue of
                    the user to conform to at least a portion of the single
                    outwardly protruding convex surface when the
                    noninvasive optical physiological sensor is worn by the
                    user and during operation of the noninvasive optical
                    physiological sensor”

      On this record, the cited evidence supports Petitioner’s undisputed
contentions regarding this limitation. Pet. 13–17, 26–29. Specifically,
Petitioner contends that Aizawa discloses a cover in the form of an “acrylic
transparent plate” that is mounted at the detector face of the sensor. Id. at 8–
9, 26; Ex. 1006 ¶¶ 23, 34 (“[A]crylic transparent plate 6 is provided on the
detection face 23a of the holder 23 to improve adhesion to the wrist 10.”),
Fig. 1(b) (depicting flat, transparent plate 6 between sensor 2 and wrist 10).
Petitioner contends that Aizawa does not provide detail regarding the shape
of the cover. Pet. 13–14. However, Petitioner contends that Inokawa
teaches lens 27 positioned between its sensor and the wearer’s skin, which
increases the light gathering ability of the sensor. Id. at 11; see, e.g.,
Ex. 1008 ¶¶ 15 (“This lens makes it possible to increase the light-gathering
ability of the LED as well as to protect the LED or PD.”), 58 (disclosing “a
single photodiode (S-side PD) 25 that receives the reflected light from these
[LEDs], and an S-side lens 27”), Fig. 2.
      In light of these teachings, Petitioner contends that a person of
ordinary skill in the art would have found it obvious to modify the flat
acrylic plate of Aizawa to “incorporate an Inokawa-like lens into the cover
of Aizawa to increase the light collection efficiency, which would lead to


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more reliable pulse detection.” Pet. 14–15, 27; Ex. 1003 ¶¶ 86–89.
Petitioner provides annotated and modified views of Aizawa’s Figure 1(b),
reproduced below.




Pet. 14–15, 27; Ex. 1003 ¶ 89. Petitioner’s annotated and modified figures
depict Aizawa’s sensor including its flat transparent plate (left) and a
modified version of Aizawa’s sensor in which the plate includes a convex
protruding lens. Pet. 15, 23, 27; see also id. at 28–29 (depicting tissue
conforming against convex protruding lens).
      Petitioner contends this modification would have enjoyed a reasonable
expectation of success because, for example, Inokawa teaches that the cover
may be flat, like that of Aizawa, to reduce scratches, or in the form of a lens,
as in Petitioner’s proposed modification, to increase light gathering ability.
Id. at 15–16; see, e.g., Ex. 1008 ¶¶ 15 (“This lens makes it possible to
increase the light-gathering ability.”), 106 (“[B]ecause the surface of the
covers 123, 131 is flat, the surface is less prone to scratches than when the
lens protrudes.”); Ex. 1003 ¶ 90.
      At this stage of the proceeding, Petitioner’s stated reasoning for the
proposed modification is sufficiently supported, including by the unrebutted
testimony of Dr. Kenny. See, e.g., Ex. 1003 ¶¶ 85–93.




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                 vi. Summary

      For the foregoing reasons, we are persuaded that Petitioner’s cited
evidence and reasoning demonstrates a reasonable likelihood that Petitioner
would prevail in its contentions regarding claim 1.

                           4. Independent Claim 9

      Independent claim 9 consists of limitations that are substantially
similar to elements [a]–[d] of claim 1. Compare Ex. 1001, 44:50–67, with
id. at 45:26–36 (reciting a “planar surface” and “at least four detectors”
arranged in a “grid pattern” on the planar surface).
      In asserting that claim 9 also would have been obvious over the
combined teachings of Aizawa and Inokawa, Petitioner refers to
substantially the same arguments presented as to claim 1. See Pet. 35–38;
Ex. 1003 ¶¶ 106–113. For the same reasons discussed above, we are
persuaded that Petitioner’s cited evidence and reasoning demonstrates a
reasonable likelihood that Petitioner would prevail in its contentions
regarding claim 9. See supra II.D.3.i–v.

              5. Dependent Claims 2–6, 8, 10–16, 18, and 19
      Petitioner presents undisputed contentions that claims 2–6, 8, 10–16,
18, and 19, which depend directly or indirectly from independent claim 1 or
9, are unpatentable over the combined teachings of Aizawa and Inokawa,
and provides arguments explaining how the references teach the limitations
of these claims. Pet. 29–34, 38–43; Ex. 1003 ¶¶ 94–105, 114–124. Patent
Owner does not offer, at this stage, any arguments addressing Petitioner’s
substantive showing. PO Waiver. We have reviewed Petitioner’s arguments




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and the cited evidence, and we determine Petitioner has demonstrated a
reasonable likelihood of prevailing as to these contentions.
         Moreover, as discussed in detail above, Petitioner has demonstrated a
reasonable likelihood of prevailing on the challenge to claims 1 and 9.
Therefore, pursuant to USPTO policy implementing the decision in SAS Inst.
Inc. v. Iancu, 138 S. Ct. 1348 (2018) (“SAS”), we institute as to all claims
challenged in the petition and on all grounds in the petition. See PTAB
Consolidated Trial Practice Guide (Nov. 2019) (“Consolidated Guide”)3, 5–
6, 64.

                               E. Other Grounds
         Petitioner provides arguments and evidence, including the Kenny
Declaration, in support of Petitioner’s two other grounds challenging claims
1–6, 8–16, 18, and 19 of the ’191 patent. Pet. 43–70; Ex. 1003 ¶¶ 125–175.
Patent Owner does not offer, at this stage, any arguments addressing
Petitioner’s substantive showing. PO Waiver. We have reviewed
Petitioner’s arguments and the cited evidence, and we determine Petitioner
has demonstrated a reasonable likelihood of prevailing as to these
contentions. We institute review of all of these challenges. See SAS, 138 S.
Ct. 1348; Consolidated Practice Guide, 5–6, 64.

                              III. CONCLUSION

         The Supreme Court held that a final written decision under 35 U.S.C.
§ 318(a) must decide the patentability of all claims challenged in the
petition. SAS, 138 S. Ct. 1348. After considering the evidence and



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    Available at https://www.uspto.gov/TrialPracticeGuideConsolidated.

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arguments presented in the Petition, we determine that Petitioner has
demonstrated a reasonable likelihood of success in proving that at least
claims 1 and 26 of the ’191 patent are unpatentable. Accordingly, we
institute an inter partes review of all claims and all grounds set forth in the
Petition.
       At this stage of the proceeding, we have not made a final
determination as to the patentability of any challenged claim or as to the
construction of any claim term.

                                  IV. ORDER

       In consideration of the foregoing, it is hereby:
       ORDERED that, pursuant to 35 U.S.C. § 314(a), an inter partes
review of claims 1–6, 8–16, 18, and 19 of the ’191 patent is instituted with
respect to all grounds set forth in the Petition; and
       FURTHER ORDERED that, pursuant to 35 U.S.C. § 314(c) and
37 C.F.R. § 42.4(b), inter partes review of the ’191 patent shall commence
on the entry date of this Order, and notice is hereby given of the institution
of a trial.




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IPR2021-00209
Patent 10,376,191 B1

For PETITIONER:

Walter Renner
Roberto DeVoto
Hyun Jin In
FISH & RICHARDSON P.C.
Axf-ptab@fr.com
devoto@fr.com
in@fr.com


For PATENT OWNER:

Joseph Re
Jarom Kesler
Stephen Larson
Jacob Peterson
KNOBBE, MARTENS, OLSEN, & BEAR, LLP
2jrr@knobbe.com
2jzk@knobbe.com
2slw@knobbe.com
2jup@knobbe.com




                                 25
        Case: 22-2071   Document: 4        Page: 447   Filed: 09/06/2022




                                                               Filed July 27, 2022

On behalf of:
     Patent Owner Masimo Corporation
By: Jarom D. Kesler (Reg. No. 57,046)
     Joseph R. Re (Reg. No. 31,291)
     Stephen W. Larson (Reg. No. 69,133)
     Jacob L. Peterson (Reg. No. 65,096)
     KNOBBE, MARTENS, OLSON & BEAR, LLP
     2040 Main Street, 14th Floor
     Irvine, CA 92614
     Tel.: (949) 760-0404
     Email: AppleIPR2021-0193-708@knobbe.com


         UNITED STATES PATENT AND TRADEMARK OFFICE


          BEFORE THE PATENT TRIAL AND APPEAL BOARD


                              APPLE INC.
                               Petitioner,

                                      v.

                        MASIMO CORPORATION,
                             Patent Owner.


                            IPR2021-00193
                           Patent 10,299,708


           PATENT OWNER’S NOTICE OF APPEAL TO
    THE U.S. COURT OF APPEALS FOR THE FEDERAL CIRCUIT
          Case: 22-2071     Document: 4       Page: 448   Filed: 09/06/2022
IPR2021-00193 – Patent 10,299,708
Apple v. Masimo

      Pursuant to 28 U.S.C. § 1295(a)(4)(A), 35 U.S.C. §§ 141(c), 142, and 319,

37 C.F.R. §§ 90.2(a) and 90.3, and Rule 4(a) of the Federal Rules of Appellate

Procedure, Patent Owner Masimo Corporation (“Masimo”) hereby appeals to the

United States Court of Appeals for the Federal Circuit from the Judgment – Final

Written Decision (Paper 30) entered on June 1, 2022 (Attachment A) and from all

underlying orders, decisions, rulings, and opinions that are adverse to Masimo

related thereto and included therein, including those within the Decision Granting

Institution of Inter Partes Review, entered June 3, 2021 (Paper 7).           Masimo

appeals the Patent Trial and Appeal Board’s determination that claims 1-29 of U.S.

Patent 10,299,708 are unpatentable, and all other findings and determinations,

including but not limited to claim construction, as well as all other issues decided

adverse to Masimo’s position or as to which Masimo is dissatisfied in IPR2021-

00193 involving Patent 10,299,708.

      Masimo is concurrently providing true and correct copies of this Notice of

Appeal, along with the required fees, to the Director of the United States Patent

and Trademark Office and the Clerk of the United States Court of Appeals for the

Federal Circuit.




                                        -1-
          Case: 22-2071   Document: 4     Page: 449   Filed: 09/06/2022
IPR2021-00193 – Patent 10,299,708
Apple v. Masimo

                              Respectfully submitted,

                              KNOBBE, MARTENS, OLSON & BEAR, LLP

Dated: July 27, 2022          By: /Jarom Kesler/
                              Jarom D. Kesler (Reg. No. 57,046)
                              Joseph R. Re (Reg. No. 31,291)
                              Stephen W. Larson (Reg. No. 69,133)
                              Jacob L. Peterson (Reg. No. 65,096)

                              Attorneys for Patent Owner
                              Masimo Corporation




                                    -2-
           Case: 22-2071     Document: 4    Page: 450   Filed: 09/06/2022
IPR2021-00193 – Patent 10,299,708
Apple v. Masimo

                           CERTIFICATE OF SERVICE

      I hereby certify that the original of this Notice of Appeal was filed via

U.S.P.S. Priority Mail Express on July 27, 2022 with the Director of the United

States Patent and Trademark Office at the address below:

Office of the Solicitor
United States Patent and Trademark Office
Mail Stop 8, P.O. Box 1450
Alexandria, Virginia 22313-1450

      A copy of this Notice of Appeal is being filed and served on July 27, 2022 as

follows:

To the USPTO Patent Trial and Appeal Board:
Patent Trial and Appeal Board
Madison Building East
600 Dulany Street
Alexandria, VA 22313

(via PTABe2e – as authorized by the Board)

To the U.S. Court of Appeals for the Federal Circuit:
Clerk of Court
U.S. Court of Appeals for the Federal Circuit
717 Madison Place, N.W.
Washington, DC 20439

(via CM/ECF – with filing fee)

Counsel for Petitioner Apple, Inc.

                                  W. Karl Renner
                                    Hyun Jin In
                                    Dan Smith
                                 Andrew B. Patrick
                              Fish & Richardson P.C.
           Case: 22-2071   Document: 4   Page: 451    Filed: 09/06/2022
IPR2021-00193 – Patent 10,299,708
Apple v. Masimo

                                3200 RBC Plaza
                              60 South Sixth Street
                             Minneapolis, MN 55402
                           IPR50095-0009IP1@fr.com
                             PTABInbound@fr.com
                                   in@fr.com

Dated: July 27, 2022             By: /Jarom Kesler/
                                     Jarom D. Kesler (Reg. No. 57,046)
                                     Joseph R. Re (Reg. No. 31,291)
                                     Stephen W. Larson (Reg. No. 69,133)
                                     Jacob L. Peterson (Reg. No. 65,096)
                                     Attorneys for Patent Owner
                                     Masimo Corporation
55957357
        Case: 22-2071   Document: 4        Page: 452   Filed: 09/06/2022




                                                               Filed July 27, 2022

On behalf of:
     Patent Owner Masimo Corporation
By: Jarom D. Kesler (Reg. No. 57,046)
     Joseph R. Re (Reg. No. 31,291)
     Stephen W. Larson (Reg. No. 69,133)
     Jacob L. Peterson (Reg. No. 65,096)
     KNOBBE, MARTENS, OLSON & BEAR, LLP
     2040 Main Street, 14th Floor
     Irvine, CA 92614
     Tel.: (949) 760-0404
     Email: AppleIPR2021-0195-190@knobbe.com


         UNITED STATES PATENT AND TRADEMARK OFFICE


          BEFORE THE PATENT TRIAL AND APPEAL BOARD


                              APPLE INC.
                               Petitioner,

                                      v.

                        MASIMO CORPORATION,
                             Patent Owner.


                            IPR2021-00195
                           Patent 10,376,190


           PATENT OWNER’S NOTICE OF APPEAL TO
    THE U.S. COURT OF APPEALS FOR THE FEDERAL CIRCUIT
          Case: 22-2071     Document: 4        Page: 453   Filed: 09/06/2022
IPR2021-00195 – Patent 10,376,190
Apple v. Masimo

      Pursuant to 28 U.S.C. § 1295(a)(4)(A), 35 U.S.C. §§ 141(c), 142, and 319,

37 C.F.R. §§ 90.2(a) and 90.3, and Rule 4(a) of the Federal Rules of Appellate

Procedure, Patent Owner Masimo Corporation (“Masimo”) hereby appeals to the

United States Court of Appeals for the Federal Circuit from the Judgment – Final

Written Decision (Paper 32) entered on May 25, 2022 (Attachment A) and from all

underlying orders, decisions, rulings, and opinions that are adverse to Masimo

related thereto and included therein, including those within the Decision Granting

Institution of Inter Partes Review, entered June 3, 2021 (Paper 7).            Masimo

appeals the Patent Trial and Appeal Board’s determination that claims 1-14 and

16-30 of U.S. Patent 10,376,190 are unpatentable, and all other findings and

determinations, including but not limited to claim construction, as well as all other

issues decided adverse to Masimo’s position or as to which Masimo is dissatisfied

in IPR2021-00195 involving Patent 10,376,190.

      Masimo is concurrently providing true and correct copies of this Notice of

Appeal, along with the required fees, to the Director of the United States Patent

and Trademark Office and the Clerk of the United States Court of Appeals for the

Federal Circuit.




                                         -1-
          Case: 22-2071   Document: 4     Page: 454   Filed: 09/06/2022
IPR2021-00195 – Patent 10,376,190
Apple v. Masimo

                              Respectfully submitted,

                              KNOBBE, MARTENS, OLSON & BEAR, LLP

Dated: July 27, 2022          By: /Jarom Kesler/
                              Jarom D. Kesler (Reg. No. 57,046)
                              Joseph R. Re (Reg. No. 31,291)
                              Stephen W. Larson (Reg. No. 69,133)
                              Jacob L. Peterson (Reg. No. 65,096)

                              Attorneys for Patent Owner
                              Masimo Corporation




                                    -2-
        Case: 22-2071   Document: 4        Page: 455   Filed: 09/06/2022




                                                               Filed July 27, 2022

On behalf of:
     Patent Owner Masimo Corporation
By: Jarom D. Kesler (Reg. No. 57,046)
     Joseph R. Re (Reg. No. 31,291)
     Stephen W. Larson (Reg. No. 69,133)
     Jacob L. Peterson (Reg. No. 65,096)
     KNOBBE, MARTENS, OLSON & BEAR, LLP
     2040 Main Street, 14th Floor
     Irvine, CA 92614
     Tel.: (949) 760-0404
     Email: AppleIPR2021-0208-266@knobbe.com


         UNITED STATES PATENT AND TRADEMARK OFFICE


          BEFORE THE PATENT TRIAL AND APPEAL BOARD


                              APPLE INC.
                               Petitioner,

                                      v.

                        MASIMO CORPORATION,
                             Patent Owner.


                            IPR2021-00208
                           Patent 10,258,266


           PATENT OWNER’S NOTICE OF APPEAL TO
    THE U.S. COURT OF APPEALS FOR THE FEDERAL CIRCUIT
          Case: 22-2071     Document: 4        Page: 456   Filed: 09/06/2022
IPR2021-00208 – Patent 10,258,266
Apple v. Masimo

      Pursuant to 28 U.S.C. § 1295(a)(4)(A), 35 U.S.C. §§ 141(c), 142, and 319,

37 C.F.R. §§ 90.2(a) and 90.3, and Rule 4(a) of the Federal Rules of Appellate

Procedure, Patent Owner Masimo Corporation (“Masimo”) hereby appeals to the

United States Court of Appeals for the Federal Circuit from the Judgment – Final

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related thereto and included therein, including those within the Decision Granting

Institution of Inter Partes Review, entered June 3, 2021 (Paper 7).            Masimo

appeals the Patent Trial and Appeal Board’s determination that claims 1-6, 8-16,

18 and 19 of U.S. Patent 10,258,266 are unpatentable, and all other findings and

determinations, including but not limited to claim construction, as well as all other

issues decided adverse to Masimo’s position or as to which Masimo is dissatisfied

in IPR2021-00208 involving Patent 10,258,266.

      Masimo is concurrently providing true and correct copies of this Notice of

Appeal, along with the required fees, to the Director of the United States Patent

and Trademark Office and the Clerk of the United States Court of Appeals for the

Federal Circuit.




                                         -1-
          Case: 22-2071   Document: 4     Page: 457   Filed: 09/06/2022
IPR2021-00208 – Patent 10,258,266
Apple v. Masimo

                              Respectfully submitted,

                              KNOBBE, MARTENS, OLSON & BEAR, LLP

Dated: July 27, 2022          By: /Jarom Kesler/
                              Jarom D. Kesler (Reg. No. 57,046)
                              Joseph R. Re (Reg. No. 31,291)
                              Stephen W. Larson (Reg. No. 69,133)
                              Jacob L. Peterson (Reg. No. 65,096)

                              Attorneys for Patent Owner
                              Masimo Corporation




                                    -2-
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     ATTACHMENT A
        Case: 22-2071   Document: 4        Page: 459   Filed: 09/06/2022




                                                               Filed July 27, 2022

On behalf of:
     Patent Owner Masimo Corporation
By: Jarom D. Kesler (Reg. No. 57,046)
     Joseph R. Re (Reg. No. 31,291)
     Stephen W. Larson (Reg. No. 69,133)
     Jacob L. Peterson (Reg. No. 65,096)
     KNOBBE, MARTENS, OLSON & BEAR, LLP
     2040 Main Street, 14th Floor
     Irvine, CA 92614
     Tel.: (949) 760-0404
     Email: AppleIPR2021-0209-191@knobbe.com


         UNITED STATES PATENT AND TRADEMARK OFFICE


          BEFORE THE PATENT TRIAL AND APPEAL BOARD


                              APPLE INC.
                               Petitioner,

                                      v.

                        MASIMO CORPORATION,
                             Patent Owner.


                            IPR2021-00209
                           Patent 10,376,191


           PATENT OWNER’S NOTICE OF APPEAL TO
    THE U.S. COURT OF APPEALS FOR THE FEDERAL CIRCUIT
          Case: 22-2071     Document: 4        Page: 460   Filed: 09/06/2022
IPR2021-00209 – Patent 10,376,191
Apple v. Masimo

      Pursuant to 28 U.S.C. § 1295(a)(4)(A), 35 U.S.C. §§ 141(c), 142, and 319,

37 C.F.R. §§ 90.2(a) and 90.3, and Rule 4(a) of the Federal Rules of Appellate

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related thereto and included therein, including those within the Decision Granting

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18 and 19 of U.S. Patent 10,376,191 are unpatentable, and all other findings and

determinations, including but not limited to claim construction, as well as all other

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in IPR2021-00209 involving Patent 10,376,191.

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Appeal, along with the required fees, to the Director of the United States Patent

and Trademark Office and the Clerk of the United States Court of Appeals for the

Federal Circuit.




                                         -1-
          Case: 22-2071   Document: 4     Page: 461   Filed: 09/06/2022
IPR2021-00209 – Patent 10,376,191
Apple v. Masimo

                              Respectfully submitted,

                              KNOBBE, MARTENS, OLSON & BEAR, LLP

Dated: July 27, 2022          By: /Jarom Kesler/
                              Jarom D. Kesler (Reg. No. 57,046)
                              Joseph R. Re (Reg. No. 31,291)
                              Stephen W. Larson (Reg. No. 69,133)
                              Jacob L. Peterson (Reg. No. 65,096)

                              Attorneys for Patent Owner
                              Masimo Corporation




                                    -2-
Case: 22-2071   Document: 4   Page: 462   Filed: 09/06/2022




     ATTACHMENT A
